Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4169 Page 1 of 251




                              Exhibit A




                                                                       Exhibit A
                                                                        000013
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4170 Page 2 of 251
              Case 1:1s-cv('31-PLF Document 1 Filed 09/26r Page 1 of 20



                               UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA



       LESBI NOHEMI MARTINEZ-MARTINEZ,
       Port Isabel Service Detention Center
                                                   Case No.   1: 18-cv-2231
       27991 Buena Vista Blvd
       Los Fresnos, Texas 78566;

       Plaintiff,

       v.

       U.S. IMMIGRATION AND CUSTOMS
       ENFORCEMENT ("ICE"),
       500 12th Street SW Washington, DC 20530;

       U.S. DEPARTMENT OF HOMELAND
       SECURITY ("DHS"),
       245 Murray Lane SW Mailstop 0485
       Washington, DC 20528-0075;

       U.S. CUSTOMS AND BORDER PROTECTION
       ("CBP"),
       1300 Pennsylvania Ave. NW
       Washington, DC 20229;

       U.S. CITIZENSHIP AND IMMIGRATION
       SERVICES ("USCIS"),
       20 Massachusetts Avenue NW
       Washington, DC 20529;

       THOMAS HOMAN, ACTING DIRECTOR OF
       ICE,
       500 12th Street SW Washington, DC 20536;

       DANIEL BIBLE, SAN ANTONIO FIELD OFFICE
       DIRECTOR, ICE,
       San Antonio Field Office
       1777 NE Loop 410 Floor 15
       San Antonio, TX, 78217;

       ANDREW HURON, SAN ANTONIO ASSISTANT
       FIELD OFFICE DIRECTOR, ICE,
       San Antonio Field Office
       1777 NE Loop 410 Floor 15
       San Antonio, TX, 78217;


                                                                              Exhibit A
                                                                               000014
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4171 Page 3 of 251
             Case 1:18-cv{'31-PLF Document 1 Filed 09/26(\ Page 2 of 20




       KIRSTJEN NIELSEN, SECRETARY OF DHS,
       500 12th Street SW Washington, DC 20536;

       JEFFERSON BEAUREGARD SESSIONS III,.
       ATTORNEY GENERAL OF THE UNITED
       STATES,
       950 Pennsylvania Avenue NW Washington, DC
       20530;

       L. FRANCIS CISSNA, DIRECTOR OF USCIS,
       20 Massachusetts Avenue NW Washington, DC 20529;

       KEVIN K. MCALEENAN, ACTING
       COMMISSIONER OF CBP,
       1300 Pennsylvania Ave, NW Washington, DC 20229;

       Defendants.




                                                                          Exhibit A
                                                                           000015
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4172 Page 4 of 251
              Case 1:18-cv(31-PLF Document 1 Filed 09/26( Page 3 of 20



                                                          TABLE OF CONTENTS

       INTRODUCTION ........................................................................................................................ I
       JURISDICTION ........................................................................................................................... 2
       VENUE ........................................................................................................................................ 3
       PARTIES ...................................................................................................................................... 3
       RELEVANT FACTS ................................................................................................................... 5
       CAUSES OF ACTION .............................................................................................................. I 0
       PRAYER FOR RELIEF ............................................................................................................. 14




                                                                                                                                          Exhibit A
                                                                                                                                            000016
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4173 Page 5 of 251
                  Case 1:18-cv('31-PLF Document 1 Filed 09/26(' Page 4 of 20




                                                       TABLE OF AUTHORITIES

                                                                                                                                          Page(s)

       Cases

       Bell v. Wolfish,
          441 U.S. 520 (1979) .............................................................................................................. 11

       Ms. L v. US. Immigration & Customs Enf't,
          No. 3:18-cv-00428-DMS-MDD, 2018 U.S. Dist. LEXIS 107364 (S.D. Cal.
          June 26, 2018) ......................................................................................................................... 8

       Ms. L v. US. Immigration & Customs Enf't,
          No. 3:18-cv-00428-DMS-MDD (S.D. Cal. June 26, 2018) ...................................... 2, 8, 9, 10

       Statutes

       5 U.S.C. § 706(2)(A) ................................................................................................................... 12

       8 u.s.c. § 1103 ............................................................................................................................ .4

       8 u.s.c. § 1158 ....................................................................................................................... 1, 13

       8 U.S.C. § 1158(a)(l) .................................................................................................................. 10

       8 u.s.c. § 1225(b)(l) .................................................................................................................. 10

       28 u.s.c. § 1331 ........................................................................................................................... 2

       28 U.S.C. § 1391 ........................................................................................................................... 3

       28 U.S.C. § 2241 ........................................................................................................................... 2

       Other Authorities

       8 C.F.R. §§ 235.3(b)(4), 208.30, and 1003.42 ............................................................................ 10

       Administrative Procedure Act ..................................................................................................... 12

       Executive Order 13841 .............................................................................................................. 6, 8

       Immigration and Naturalization Act ............................................................................................. 7

       International Convention on Civil and Political Rights, Art. 17 ................................................ .13

       U.S. Constitution Fifth Amendment ................................................................................... passim

                                                                             ii

                                                                                                                                          Exhibit A
                                                                                                                                           000017
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4174 Page 6 of 251
                 Case 1:18-cv('31-PLF Document 1 Filed 09/26(' Page 5 of 20



       United States Constitution Art. I., § 9, cl. 2 .................................................................................. 2




                                                                      iii

                                                                                                                               Exhibit A
                                                                                                                                000018
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4175 Page 7 of 251
              Case 1:18-cv(31-PLF Document 1 Filed 09/26(' Page 6 of 20



                       PETITION FOR HABEAS CORPUS AND COMPLAINT
                          FOB DECJ,ABATOBY AND IN.UJNCTIVE BEJ,JEF


              Lesbi Nohemi Martinez-Martinez ("Ms. Martinez" or "Plaintiff'), by and through

       counsel, files this civil action and petition for habeas corpus against Defendants U.S.

       Immigration and Customs Enforcement ("ICE"); U.S. Department of Homeland Security

       ("DHS"); U.S. Customs and Border Protection ("CBP"); U.S. Citizenship and Immigration

       Services ("USCIS"); Thomas Homan, Acting Director of ICE; Daniel Bible, San Antonio Field

       Office Director, ICE; Andrew Huron, San Antonio Assistant Field Office Director, ICE;

       Kirstjen Nielsen, Secretary ofDHS; Jefferson Beauregard Sessions III, Attorney General of the

       United States; L. Francis Cissna, Director of USCIS; and Kevin K. McAleenan, Acting

       Commissioner of CBP; (collectively, "Defendants") to vindicate Ms. Martinez's substantive

       and procedural due process rights under the Fifth Amendment of the U.S. Constitution and her

       rights under the International Convention on Civil and Political Rights, and the United Nations

       Convention Relating to Status of Refugees, 8 U.S.C. § 1158.

                                            INTBODJJCTJON

              This complaint arises from the United States Government's forcible separation of Ms.

       Martinez from her young sister, Y.M. Ms. Martinez, a thirty year old Honduran woman, is the

       sole primary caregiver, legal guardian, and biological sister of Y.M., a fifteen-year old girl

       who has lived with Ms. Martinez since birth and has been in the sole care of Ms. Martinez

       since the death of their biological mother. Ms. Martinez considers Y.M. to be her daughter.

       Ms. Martinez brings this action to halt her pending deportation until she has a full and fair

       opportunity to seek asylum in the United States.     That opportunity, guaranteed to her by

       statute, has been denied by the forcible separation of Ms. Martinez from Y.M. The trauma of

       that separation rendered Ms. Martinez unable to meaningfully prepare for and participate in



                                                                                              Exhibit A
                                                                                               000019
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4176 Page 8 of 251
              Case 1:18-cv('31-PLF Document 1 Filed 09/26( Page 7 of 20



       the credible fear interview that formed a part of her asylum proceedings, resulting in an

       erroneous negative credible fear determination by the Asylum Officer. The forced separation

       by the Defendants of Ms. Martinez's daughter, in addition to causing substantial emotional

       distress to both mother and daughter, improperly tainted the credible fear assessment. In the

       absence of the relief sought in this action, Ms. Martinez will be deported to Honduras without

       having received a fair asylum proceeding, and she will likely suffer significant injury or death

       at the hands of the criminal elements that caused Ms. Martinez to flee Honduras with her

       daughter in the first place.

               In addition, Ms. Martinez may be a member of the class certified in Ms. L v. US.

       Immigration & Customs Erif't, No. 3:18-cv-00428-DMS-MDD at 17 (S.D. Cal. June 26, 2018)

       ("Ms. L"). Counsel understand that there are formal and informal efforts underway by various

       counsel to clarify that legal guardians like Ms. Martinez, as well as detained biological parents,

       are to be afforded a de nova credible fear interview if the earlier interview was conducted

       while the parent was dealing with the raw emotional trauma of being separated from his or her

       child. If Ms. Martinez is part of the Ms. L class, Defendants will be prohibited from deporting

       her before she is given a de novo and fair credible fear interview. For all the reasons set forth

       in this Complaint and the accompanying papers, Ms. Martinez's deportation should be stayed

       until she has been given a fair opportunity to pursue her right to asylum in the United States.

                                              JURISDICTION

               1.       This case arises under the Fifth Amendment to the United States Constitution

        and other federal statutes cited in this Petition and Complaint. The Court has jurisdiction

        pursuant to 28 U.S.C. § 1331 (federal question jurisdiction); 28 U.S.C. § 2241 (habeas

        jurisdiction); and Art. I., § 9, cl. 2 of the United States Constitution ("Suspension Clause").

        Ms. Martinez is in federal custody for purposes of habeas jurisdiction.        This Court has
                                                       2

                                                                                                 Exhibit A
                                                                                                  000020
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4177 Page 9 of 251
              Case 1:18-cvZ31-PLF Document 1 Filed 09/26( Page 8 of 20



        personal jurisdiction because the official acts giving rise to Plaintiffs harm were directed

        from federal government agencies headquartered in the District of Columbia.

                                                     VENJJE

               2.       Venue is proper under 28 U.S.C. § 1391 because at least one of the

        Defendants is subject to personal jurisdiction in this district with regards to this action.

                                                   PARTIES

               3.       Plaintiff Ms. Martinez is a citizen of Honduras. She is the biological sister of,

        legal guardian of, and sole primary caregiver for, Y.M., who is also a citizen of Honduras.

        Ms. Martinez is the de facto mother ofY.M., who is a 15-year old girl.

               4.       Defendant U.S. Immigration and Customs Enforcement ("ICE") is the sub-

        agency of DHS that is responsible for carrying out removal orders and overseeing

        immigration detention.

               5.      Defendant U.S. Department of Homeland Security ("DHS") has responsibility

        for enforcing the immigration laws of the United States and is a department of the executive

        branch of the Government which has been delegated with authority over certain immigration

        matters relevant to this action.

              6.       Defendant U.S. Customs and Border Protection ("CBP") is the sub-agency of

        DHS that is responsible for the initial processing and detention of noncitizens apprehended

        near the U.S. border.

              7.       Defendant U.S. Citizenship and Immigration Services ("USCIS") is the sub-

        agency of DHS that, through its Asylum Officers, conducts interviews of certain individuals

        apprehended at the border to determine whether they have a credible fear of persecution and

        should be permitted to apply for asylum.

                                                        3

                                                                                                       Exhibit A
                                                                                                        000021
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4178 Page 10 of
                                       251
             case 1:18-cv.('31-PLF Document 1 Filed D9/26r Page 9 of 20



                 8.   Defendant Thomas Homan is sued in his official capacity as the Director of

       ICE.

                 9.   Defendant Daniel Bible is sued in his official capacity as Field Office

       Director, San Antonio Field Office, ICE.

                10.   Andrew Huron is sued in his official capacity as Assistant Field Office

       Director, San Antonio Field Office, ICE.

                11.   Defendant Kirstjen Nielsen is sued in her official capacity as the Secretary of

      the Department of Homeland Security. In this capacity, she has responsibility for each of the

       component agencies within DHS: ICE, USCIS, and CBP. As a result, Respondent Nielsen

      has responsibility for the administration of the immigration laws pursuant to 8 U.S.C. §

       1103, including laws relating to the credible fear interview process, and is empowered to

      grant asylum or other relief.

                12.   Defendant Jefferson Beauregard Sessions III is sued in his official capacity as

      the Attorney General of the United States.         At all times relevant to this Petition and

      Complaint, he had responsibility for the administration of the immigration laws pursuant to 8

      U.S.C. § 1103, including laws relating to the credible fear interview process, oversaw the

      Executive Office of Immigration Review, and was empowered to grant asylum or other

      relief.

                13.   Defendant L. Francis Cissna is sued in his official capacity as the Director of

      users.
                14.   Defendant Kevin K. McAleenan is sued in his official capacity as the Acting

      Commissioner of CBP.




                                                     4

                                                                                              Exhibit A
                                                                                               000022
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4179 Page 11 of
                                        251 1 Filed 09/26/('Page 10 of 20
            Case l:lB-cv-('-31-PLF Document



                                            BEJ,EVANT FACTS 1

                 15.    Ms. Martinez is a citizen of Honduras. She is the de facto mother and

         biological sister of Y.M., a minor child, and has been Y.M.'s legal guardian and caregiver

         since their biological mother died in 2016.

                 16.    In May 2018, Ms. Martinez and Y.M. fled Honduras after death threats were

         made against them and after Ms. Martinez suffered acts of violence by various criminal

         elements in her town who the local police and government tacitly support. Among other

         things, the local police do not become involved in investigating crime or preventing gang

         violence in Ms. Martinez's town without being paid bribes to do so, and because Ms.

         Martinez has very little money, the death threats against her and Y.M. (like the other acts of

         violence Ms. Martinez was subjected to) had no chance of being prevented or investigated,

         as police and other governmental authorities would have taken no action to prevent potential

         crimes against Ms. Martinez and Y.M.

                 17.    Ms. Martinez feared that she and Y.M. would be killed if they stayed in

         Honduras any longer. Shortly after Ms. Martinez received a death threat from a man who

         demanded money from her, she and Y.M. fled their home in May 2018 in an effort to obtain

         asylum in the United States. Ms. Martinez and Y.M. entered the United States on June I,

         2018.




     1
       The factual information provided herein is drawn from the statements of Ms. Martinez and
     certain relatives in the United States, and non-privileged factual information from
     communications between Ms. Martinez and counsel for the Texas Civil Rights Project, the
     organization that initially made contact with Ms. Martinez and similarly situated immigrants
     seeking asylum in the United States. These facts are set forth in more detail in Ms. Martinez's
     Request for Reconsideration of her negative credible fear determination, attached to this
     Petition and Complaint as Exhibit A. Despite diligent effotis, counsel for Plaintiff have not yet
     been able to secure a declaration from Ms. Martinez.
                                                   5

                                                                                               Exhibit A
                                                                                                000023
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4180 Page 12 of
                                       251
            Case 1:18-cv-{'31-PLF Document 1 Filed 09/26/('Page 11 of 20



              18.      Shortly after Ms. Martinez and Y.M. entered the United States, agents from

       Defendant Customs and Border Protection ("CBP") forcibly separated Y.M. from Ms.

       Martinez, leaving Ms. Martinez disoriented and in shock at the loss of her child, and causing

       substantial and perhaps lasting emotional trauma to both Ms. Martinez and Y.M. Press

       reports indicate that Defendants' policies of "no tolerance" and forced family separations

       were intended to cause substantial emotional trauma to immigrants, like Ms. Martinez, who

       fled violence to seek asylum in the United States.

             19.       On June 20, 2018, President Trump issued Executive Order 13841

       ("Executive Order"), which ostensibly reversed his administration's policy of forcibly

       separating children from their families upon entry into the United States. Notwithstanding,

       the Government continues to keep minor children, such as Y.M., from their detained parents

       without any hearings or legal process and without any showing that the minor has suffered

       abuse, neglect, or that the parent is unfit.

             20.       The Government's forcible separation policy has been widely denounced,

       including by mental health professionals.       The American Academy of Pediatrics has

      criticized the policy because of the severe trauma that forced separation from parents and

      other caregivers causes children. This is particularly true for those children who are already

      traumatized due to conditions in their homeland.      The parents of these children are also
                                                                                                         F
      traumatized. The resulting cognitive and emotional damage from such family separations can         L

      be permanent. The Trump Administration acknowledged as much by ending the practice

      with the June 20, 2018 Executive Order.

             21.       Ms. Martinez's forcible separation from Y.M. was a devastating event which

      caused Ms. Martinez significant psychological and emotional trauma. Ms. Martinez and

      Y.M. continue to suffer every day they are separated from one another and, as a result, Ms.
                                                   6

                                                                                             Exhibit A
                                                                                              000024
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4181 Page 13 of
                                      251 1 Filed 09/26/(Page 12 of 20
            Case 1:18-cv-(31-PLF Document



       Martinez has received mental health treatment at the Port Isabel Detention Center, where she

       is being held.

             22.        During this period of intense psychological trauma, Ms. Martinez applied for

       asylum in the U.S. On June 26, 2018, Defendant USCIS conducted a credible fear interview

       of Ms. Martinez.

             23.        Having been forcibly separated from Y.M. for over three weeks, Ms. Martinez

       was in severe emotional distress and in a state of shock during her interview. She struggled

       to focus and respond to the interviewer's questions and was unable to describe fully the

       threats and governmental neglect that led her to flee Honduras with her daughter. These

       threats support her credible fear that Ms. Martinez and Y.M. will be killed or seriously

       harmed if they return to Honduras.

            24.         Without a full understanding of the threats against Ms. Martinez and Y.M.

      that caused them to embark on the dangerous journey to the U.S. border, and having failed to

       question Ms. Martinez adequately or to sufficiently consider the psychological trauma

       affecting her, the Asylum Officer found that she lacked a credible fear of persecution. As a

      result, after an emergency application to stay her deportation was recently denied, Ms.

      Martinez is now scheduled to be deported, perhaps in the near future.

            25.         Ms. Martinez's deportation would further traumatize Y.M., who continues to

      suffer psychological trauma while apart from Ms. Martinez.

            26.         The Due Process Clause of the U.S. Constitution's Fifth Amendment

      prohibits the Government from separating children from their primary caregivers without

      justification and adequate process. This rule is based on the self-evident proposition that

      forced separation of families is abhorrent, and otherwise contrary to the basic principles of

      this country.
                                                     7

                                                                                             Exhibit A
                                                                                              000025
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4182 Page 14 of
                                      251 1 Filed 09/26/('Page 13 of 20
            Case 1:18-cv-r'n-PLF Document



             27.     Pursuant to federal statutes, including the Immigration and Naturalization Act,

       the Convention Against Torture, and associated implementing regulations, an asylum

       applicant's credible fear determination can be made only after a full and fair proceeding.

       Having been forcibly separated from Y.M. only weeks before her credible fear interview,

       Ms. Martinez was denied such a right to a full and fair proceeding due to the grief and

       emotional trauma she was experiencing.

            28.      Furthermore, as an adult parent, Ms. Martinez was forcibly separated from her

       minor child and detained in immigration custody by DHS, Ms. Martinez may be a member

       of the class certified in Ms. L v. US. Immigration & Customs Enf't, No. 3:18-cv-00428-

       DMS-MDD, 2018 U.S. Dist. LEXIS 107364, at *27 (S.D. Cal. June 26, 2018) (ECF No. 82).

            29.      This class certified by the Ms. L court includes all "adult parents" of separated

       minor children, and on its face does not exclude legal guardians, like Ms. Martinez. See Ms.

       L v. US. Immigration & Customs Enf't, No. 3:18-cv-00428-DMS-MDD, 2018 U.S. Dist.

       LEXIS 107364, at *27 (S.D. Cal. June 26, 2018) (ECF No. 82). As an initial matter, the Ms.

      L court repeatedly stated that its order directing Defendants to reunited class members and

      their minor children was meant to mitigate the suffering of separated families, and not

      merely biological parents and children. See id. at *3-6, *11-15, *22, *25, *27-28. Further,

      although the Ms. L court expressly excluded certain categories of parents from the class, the

      court did not exclude legal guardians or other non-biological or de facto parents. Id at *17,

       *28 n.10 (excluding "parents with criminal history or communicable disease, or those

      apprehended in the interior of the country or subject to the [President's executive order

      prohibiting family separations after June 20, 2018].)

            30.      In a tentative class settlement reached in Ms. L, Defendants have tacitly

      acknowledged that credible fear interviews conducted by Asylum Officers during the period
                                                   8

                                                                                               Exhibit A
                                                                                                000026
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4183 Page 15 of
                                      251
            Case 1:18-cv-(ll-PLF Document 1 Filed 09/26/(Page 14 of 20



         in which asylum seekers were traumatized by forced family separation are inherently tainted,

         unfair, and contrary to law. (See Putative Settlement Agreement in Ms. L, copy attached

         hereto as Exhibit B.) In that regard, the proposed settlement agreement, if approved, will

         require ICE to conduct de nova, good faith, credible fear interviews to detainees seeking

         asylum who, like Ms. Martinez, were suffering from the emotional trauma caused by forced

         family separations when their initial credible fear interview was conducted.

                 31.    It is apparent Defendants do not consider Ms. Martinez a member of the class,

         given that Ms. Martinez is presently considered eligible to be deported, but this is a

         determination that the Ms. L court has not yet made. 2

                 32.    The United States District Court for the Southern District of California has

         prohibited Defendants from deporting Ms. L class members without their children absent the

         individual's affirmative, knowing, and voluntary waiver of that right, or a determination that

         the parent is unfit. There has been no such waiver by Ms. Martinez or determination in this

         case.

                 33.    On September 6, 2018, Ms. Martinez filed with ICE an Application for Stay

         of Deportation or Removal which argued, among other things, that she was likely a member

         of the Ms. L class and therefore could not be deported.       On September 20, 2018, Ms.

         Martinez filed with the Houston, Texas Asylum Office a properly supported Request for

         Reconsideration of the negative finding from Ms. Martinez's earlier credible fear interview.

         A copy of the Request for Reconsideration is attached to this Complaint as Exhibit A. On

         September 21, 2018, counsel for Ms. Martinez received from ICE a letter stating that Ms.


     2
       Undersigned counsel understand that certain legal guardians who received negative credible
     fear determinations based on interview conducted while they were emotionally traumatized
     from the separation of their children intend to file papers in Ms. L seeking clarification that
     legal guardians are within the settlement class.
                                                      9

                                                                                                Exhibit A
                                                                                                 000027
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4184 Page 16 of
                                       251
            Case 1:18-cv-('31-PLF Document 1 Filed 09/26/('Page 15 of 20



       Martinez's Application for Stay of Deportation or Removal was denied. As of the date of

       filing of this action, undersigned counsel have received no notice regarding any action by

       ICE or DHS on her Motion for Reconsideration.

             34.       As a result of the Defendants' actions in this case, Ms. Martinez is facing

       imminent deportation, which could potentially be in violation of the injunction issued in the

       Ms. L case, without having had a full and fair opportunity to pursue her asylum claim and

       forcing her to leave behind her minor child, who suffers each day she continues to be

       separated from her de facto mother.

             35.       Given the irreparable and continuous emotional damage caused by

       Defendants' action, Ms. Martinez requests a stay of her deportation and an order obligating

      the Asylum Office to conduct a good faith, de nova credible fear interview at which counsel

       for Ms. Martinez may attend. Ms. Martinez seeks no relief from the Court as it relates to the

      Asylum Office's conclusions from a de nova credible fear interview, only that Ms. Martinez

      be accorded a fair chance to establish her credible fear of persecution in an interview to be

      conducted in the future at which Ms. Martinez may be represented by counsel.

                                          CAJJSES OF ACTION

                                                 COJJNT I
                                       cyjolatjon of Asylum Statute)


            36.       All of the foregoing allegations are repeated and re-alleged as though fully set

      forth herein.

            37.        Under United States law, noncitizens with a credible fear of persecution in

      their country of origin shall have a fair opportunity to apply for asylum in the United States.

      See 8 U.S.C. § 1225(b)(l); 8 C.F.R. §§ 235.3(b)(4), 208.30, and 1003.42; 8 U.S.C. §


                                                     10

                                                                                               Exhibit A
                                                                                                000028
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4185 Page 17 of
            Case 1:18-cv(~'31-PLF Document
                                       251 1 Filed 09/261(\Page 16 of 20



       l 158(a)(l). Ms. Martinez has a private right of action to vindicate her right to apply for

       asylum.

             38.      Defendants' separation of Ms. Martinez from Y.M. violates federal asylum

       law, because it impermissibly infringed upon Ms. Martinez's ability to pursue her asylum

       claim by requiring her to submit to her credible fear interview while she was emotionally

       traumatized by Defendants' wrongful separation from her daughter.

                                                COJJNTII
                      CPunjshment of CjyU Detajpee ju Yiolatjon of Due Process)


             39.      The U.S. Constitution's Fifth Amendment prohibits punishment of immigrants

       held in civil detention. Bell v. Wolfish, 441 U.S. 520, 538-39 & n.20 (1979).

             40.      At all times after Ms. Martinez entered the United States in June 2018,

       Defendants and their agents and employees have continuously detained Ms. Martinez

      pursuant to civil immigration detention statutes.      Defendants have never detained Ms.

      Martinez as a convicted criminal. Defendants intend to punish Ms. Martinez by deporting

      her back to Honduras without her child, to face the very real possibility of death or serious

      physical injury, without giving her a fair opportunity to establish a credible fear of

      persecution and otherwise gaining asylum in the United States.

            41.       Defendants' foregoing actions that punish Ms. Martinez are patently

      excessive in relation to any legitimate government objective.

                                               COUNT III

                     CFumjly Separatjop jp yjolatjop of Substantjye Due Process)
           <Agujpst AU Defepdupts Except JJSCJS Defendapts ju Tbejr Officjal Capacjtjes)




                                                    II

                                                                                            Exhibit A
                                                                                             000029
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4186 Page 18 of
                                      251
            Case 1:18-cv-(31-PLF Document 1 Filed 09/26/(Page 17 of 20



             42.       All of the foregoing allegations are repeated and re-alleged as though fully set

       forth herein.

             43.        The Due Process Clause of the United States Constitution's Fifth Amendment

       protects all "persons" on United States soil, including Ms. Martinez.

             44.        Ms. Martinez has a liberty interest under the Due Process Clause in remaining

       together as a family with her daughter Y.M., and the means for mother and daughter to be

       reunited starts with a good faith, de nova credible fear interview that is not tainted by the

       forced separation of Ms. Martinez from Y.M.

             45.        The separation of Ms. Martinez from Y.M. violates substantive due process

       because it furthers no legitimate purpose, not to mention a compelling governmental interest.

                                                  COUNT IV

                    CAdmjnjstratjye Procedure Act-Arbjtracy apd Canrjcjous Practjce)
                            CAgajnst All Defendapts Except JJSCJS Defepdants)

             46.       All of the foregoing allegations are repeated and re-alleged as though fully set

       forth herein.

             4 7.       The AP A prohibits agency action that is arbitrary and capricious and contrary

      to constitutional right.

             48.        Defendants' separation of Ms. Martinez from Y.M. without a compelling

      justification and without a mechanism, protocol, or system to guarantee that the asylum

      process, including the opportunity for a fair credible fear interview that is conducted in good

      faith, is arbitrary and capricious, and in violation of the APA. 5 U.S.C. § 706(2)(A).

                                                  COUNTY
           petjtjon for Habeas Corpus !Tuder Treatjes of the JJnjted States; Internatjonal
        Cogyentjon on CjyU and Poljtjcal Rjght;s CClajm for lnjugctjye and Declaratory BeUef
                         Agajgst AJJ Defendants ju Tbejr Officjal Capacjtjes)

                                                      12

                                                                                                Exhibit A
                                                                                                 000030
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4187 Page 19 of
                                     251
            Case 1:18-cv-r'll-PLF Document 1 Filed 09/26!\'?age 18 of 20




             49.       All of the foregoing allegations are repeated and re-alleged as though fully set

       forth herein.

             50.       The ICCPR has been signed and ratified by the United States.

             51.        Under Article 17 of the ICCPR, "[n]o one shall be subjected to arbitrary or

       unlawful interference with her privacy, family, home or correspondence, nor to unlawful

       attacks on her honor and reputation." Article 23 states that "family is the natural and

       fundamental group unit of society and is entitled to protection by society and the State."

             52.        By forcibly separating Ms. Martinez from Y.M., Defendants have subjected

       Ms. Martinez to arbitrary, unlawful, and unjustified interference with her family in violation

       of the ICCPR, which improperly tainted her credible fear interview that was conducted while

       she was traumatized by being separated from her daughter.

                                                 COUNT VI

         Petjtjon for Habeas Corpus lJnder I 4aws and Treaties of the lJnjted States; JJpjted
         Natjons Conyentjon Belatjng to Status of Refugees and 8 JJ,S,C, § 1158 (CJajm for
       Injunctjye and Declaratory Reljef Agajgst All Defendagts ju Thejr Officjal Canacjtjes)


             53.       All of the foregoing allegations are repeated and re-alleged as though fully set

      forth herein.

             54.        The United States is party to the 1967 Protocol Relating to the Status of

      Refugees and key provisions have been incorporated into U.S. law giving individuals a cause

      for action for litigation. Under federal law, "any alien who is physically present in the United

      States or who arrives in the United States (whether or not at a designated port of arrival and

      including an alien who is brought to the United States after having been interdicted in

      international or United States waters), irrespective of such alien's status, may apply for

      asylum." 8 U.S.C. § 1158.
                                                      13

                                                                                                Exhibit A
                                                                                                 000031
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4188 Page 20 of
                                       251
            Case 1:18-cv-r'll-PLF Document 1 Filed 09/26/("Page 19 of 20



             55.      Because the right to seek asylum and the definition of refugee, which stems

       from an international treaty, is directly incorporated into federal law, it creates a legal cause

       for action for Ms. Martinez.

             56.      Defendants have unlawfully interfered with Ms. Martinez's right to seek

       asylum and punished her for doing so by traumatically separating her from her daughter and

       conducting her credible fear interview while she suffered from the emotional trauma of that

       separation.

                                          PRAYER FOB BEJ,JEF

             WHEREFORE, Plaintiffs pray that this Court:

             A.      Declare the separation of Ms. Martinez from Y.M. to have unlawfully violated

                     Ms. Martinez's substantive due process rights and interfered with her right to

                     pursue a fair asylum claim in the United States;

             B.      Enjoin Defendants from deporting or otherwise removing Ms. Martinez from the

                     United States until she is given a good faith de nova opportunity to pursue her

                     asylum claims;

             C.      Enter an Order requiring ICE and the Asylum Office to conduct a good faith,

                     de nova credible fear interview, at which Ms. Martinez may be accompanied

                     by counsel; and

             D.      Order all other relief that is just and proper.




                                                       14

                                                                                                Exhibit A
                                                                                                 000032
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4189 Page 21 of
                                     251
          Case 1:18-cv-{'31-PLF Document 1 Filed 09/26/(°'Page 20 of 20



              Respectfully submitted this 261h day of September, 2018.



                                                     Isl Martin M McNerney
                                                     Martin M. McNerney
                                                     DC Bar No. 333161
                                                     mmcnerney@kslaw.com

                                                     Joshua C. Toll
                                                     DC Bar No. 463073
                                                     jtoll@kslaw.com

                                                     Kathleen L. Benner
                                                     DC Bar No. 1046230
                                                     Court admission pending
                                                     kbenner@kslaw.com

                                                     King & Spalding, LLP
                                                     1700 Pennsylvania Avenue
                                                     Suite 200
                                                     Washington, DC 20006
                                                     (T) 202-737-0500

                                                     Naana A. Frimpong
                                                     Pro hac vice to be filed
                                                     nfrimpong@kslaw.com

                                                     King & Spalding, LLP
                                                     1800 Peachtree Street NE
                                                     Atlanta, GA 30309
                                                     (T) 1-404-572-4600

                                                     Attorneys/or Plaintiff




                                                15

                                                                                Exhibit A
                                                                                 000033
  Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4190 Page 22 of
                                        251 1-1 Filed 0912;'1 Page 1 of 2
              Case 1:18-cv('31-PLF Document
                                                                         CIVIL COVER SHEET
JS--44 f'Rev. 6117 Dci
 I. (•) PLAINTIUS                                                                               DEFENDANTS
 LESBI NOHEMI MARTINEZ-MARTINEZ,                                                                U.S. Immigration and Customs Enforcement; U.S.
 Port Isabel .Service Detention Center                                                          Department of Homeland Security; U.S. Customs and. Border
 27991 Buena Vista Blvd                                                                         Protection; U.S. Citizenship and Immigration Services;
 Los Fresnos, Texas 78566                                                                       -
                                                                                                T.homas
                                                                                                    '
                                                                                                         Homan, -
                                                                                                             - Aeling  . Director,. -
                                                                                                                             . . ...... U.S.
                                                                                                                                        . Immigration -
                                                                                                                                             . . . ,-and
                                                                                                                                                      ... _...                       _
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF Cameron
                                                                                                                                                                                           .
                                                                                                      COUNTY OF RESillENCE OF FIRST LISTED DEFENDANT
                         ()l:XCEPT IN U.S. PLAINTIFF CASES)                                                             (IN U.S.PLAINTIFF CASES ONLY)
                                                                                                         NOT! lNLllNOcoiamMNATWN~tJMl.T!lBWCATIONOF1lmnut'TOPL\NDtNVOL\:'l!P

 (<) ATIORNEYS (FIRMNAME; ADDRESS, AND TELEPHONE NUMBER)                                          ATIORNEYS (IFKNOWN)
Martin C. McNerney, Joshua C. Toll, Kathleen L. Benner,
and Naana A Frimpong ((202} 7~7,0500)
King & Spalding LLP
1700 Pennsylvania Avenue, NW, Suite 200
Washiniiton, DC 20006                                                                                                         .

 II. BASIS OF JURISDICTION                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Pl.AC!! AN• IN ONE BOX.FOR
     (!>LACE AN• IN ONEBOXOl!ILY)                                                 PLAlNTJFF AND ONEBOX.FORDEFENDANT) FQRDIYERSITYCASESQNLY!
                                                                                                        l'TF   DFT                                                            l'TF       DFJ:
 0      1 U.S. Go:venunent
          Plairtti!T
                                  0     3 Fedetal Question
                                         (U.S. GoVefnnte.nt:Nota Party)           Citlief!. of:fWS, State           Qt        01    1.n<:01porated or Principal Place        ()4 ()4
                                                                                                                                    of Business in This State
    UcS. Govem.ment . 0 4Diversity
 0 ZOefe-ndaut                                                                    Citizen o:fAuo~er Slate           O<        ()2   lricarp.orated and Princjpal _Plilce     Os          ()5
                         (lndiCa~ Citizenship of
                                                                                                                                    ofBusineis in. Another State
                                         Partiesin.itemlll)                       CitizeA or Subject ofa
                                                                                  FQreign-Countty
                                                                                                                    ()3       O>    Foreig1fNation                           O• ()6
                                                       IV. CASE ASSIGNMENTAND NATURE OF SUIT
              tPlac-e an X iil onP caft'!:!O""'- A.:N~ that best.1·t'uresents: vou.r·Cause of Action iilul ...... in a ·t'or.1;esnondinP .Natti1·e·o.f.Suit\
 0     A; A11titr11st         0       B. personal liljllY)•!                            0 c. Ad1nl11islrali1« Agency                           0 D. 'T;empornryReslr11i11i11g
                                          M11lprnctlce                                                Revienr                                             Order/Prellml11«rJ'
 0410 Autitru.-;t                                                                                                                                         lnj11nc/lo11
                              D 3iO Airplane                                            0151 Medicai:e Ar.t
                              D 315 Aii:plnn~ :P~uiuct Lfability                                                                                 An); nature Of suit· frorn·;mY cat-ego!)'
                              D 320- A...-;auU;. Libel & Slander                        ~nc-1111 §gcgTin:
                                                                                                                                                 m3y be selectl!~-ror this Category nf
                              CJJ30 Fe_deralE1ntdoye-1-s :Uability                      0 861 BIA (lJ9511)
                                                                                                                                             J · c.ase- a.t\ia_nlneut.
                                                                                        Os6.l .BlorkLung (97~)
                              a·345
                              0340Mariue
                                          Marine 'Product.Liability
                                      350 )loto1·Veh:ichi
                                                                                        0 863.Dl\VCIDIWW (405(g))
                                                                                        0864 S.SID Tkli>XVl
                                                                                                                                             I· *Clf Aaiitrust, then-A gu,·eflls)"'


                              CJ ·lss l\fbtor Ve bide P1·af~ttct Liabiiity.             0 865 RSl \4Q5(g))
                                                                                        "'~he1·--SJ:af11-t~~
                              CJ 360 001,er Pe:i;sonal'Jnjury                           J.,.,..J 891 Agrir.ulltl,r,al Acts
                              D :362 Met1i_i;afli~lpra:dke                              Cl 89l'Ellvil'.'!lnmeutal i'i:i:atter-s
                              0"36~-Prodrict Liab_ilily
                              EJ 367 Hl!altb. Care/Fharma~eu.fical                      D ~9'1 Other_ Stalu_tory ActiouS· (If
                                                                                                      ~dministral!v.e M;e~(~-"_is
                                         Pe~q~.Inj111'' _PrQduct Liability
                                                                                                      lnvolveP)
                              0.368 A."best~s ~r:t?d11ct .Liability
                                                                                                                                                           .




0 E. Ge11erol CMI (Other)                                                OR                   0        F, Pro Se Ge11ernl Civil
 ~ l!nau:lll:                                 E:fruptcy                                               ·Federal Ta:s: Suits                      0 462 Natutalii~tion
  ~ 210 Land Condemn:,wtiOn                    ~~422Appeaii7 use iss                                   o:s70 Taus ~S plaintiff or                         A11plk;d.jon

 B
 02~0 'ForKlosure
   2_30 Rent, Le:u;e & Ejectment
       2:40.Toris tQ Land
                                              0 423 \Vithdrawal 28USC157

                                              Prisoner' Peti1'1ons.
                                                                                                             defeiidant)
                                                                                                       0 871 IRS-Third Pai1y 26 USC
                                                                                                             7609.
                                                                                                                                                C:J'465 Othllr lmmigridio_n

                                                                                                                                                CJ
                                                                                                                                                        Al:tionS
                                                                                                                                                    ~70 .Jtacketeer Influenced
 0245 TOrt Prriduct Liability                 b=:! 535 Death Penalty                                                                                    -~ Cornipt Org<iniz3tiuu
                                              D.540 Mandamus-& Other                                   Forfeiture!Pilnal+u
 0     290 All ot)!er Rea! Prop.,ty.                                                                                                            CJ.4B(f Consnmer Credit
                                              0   sso Civil Rigots                                     W 625 Di'lig Relate{I Seizur_e.of
                                                                                                            Propei'Q' nusc ss1                  0     490 C.hlelS•tellite TV
 Personal Prone-,._,
 ~37QOtherFraud
                                              8'555-Prisun Conditions
                                                  56l} Civil Detailiee -·Coriditiow'                   06900ther                                CJ 850 SecuritiesJCummudiUes!
                                                                                                                                                          Exchange
 CJ 3.71 'Truth,in Lending                             of Coitfiol!metit
                                                                                                       Other Statutes                           D 896 Arbitration
 0380 Oihei·Personal Property
           Damage                             E:f      erty Rights
                                                                                                       0375False Claio!J; Att
                                                                                                       0376 QuiT•IP (3+.usc
                                                                                                                                                D 89!> Atbninistrative Procedure
                                                                                                                                                          A~t/Revielv Or Appeal of
 D     385 Properly Damage                             820 Cµ_pyrights
                                                                                                        .    3729(•))                                     Agent}' De-Cision
           Prodnc~ Liability                  0B30Pa!ent
                                              D 83.5 P;tfent-J\bbreviatedNe-1v                         Cl 400 State R.eappQrtl<1nm_e.nt         c:J   950 ~n:stitutionality of Stat~:
                                                                                                  .
                                                                                                       0 430 Banks & .Banking                             Statu_tes
                                                             Drug-~4.pplication
                                              0: 840 Trademark                                         Cl 450 Commercell~C-                     0     890 ()th"' SJotl>tory A<tion•
                                                                                                                  Rateslek,                               {if not administrath--e agency
                                                                                                       D 460 Depor~tltion                                 :re-tjew _or ".('ri,-acyAct)
                                                  ..    ..                                                                                                              '   .....    .



                                                                                                                                                                   000034
 Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4191 Page 23 of
                                        251
             Case 1:18-cv-{'31-PLF Document 1-1 Filed 0912(' Page 2 of 2

   0 C. Habeas Corpus!                                   0 .ii. Emp/oynumt                                         0 (.F(}!AmrivacyAct                                  0 J. Stude111 toa11
          .        2255                                          D/scrlmi11alio11
   0 s39·Habeil1 Corpus- Gfnilral                         OM~ c1vu n1gh,.-E:1nv1oy~·••!.                           C:J89~F1"\ednm' nf.tttfOrmAtfnn.At't.                D 1!l2. J\ccovecy.n_rDefnultf:d ·
   0.510 .Mo~o.n/Vst~itti!'Sr1dcnccc                           {Criicria! Tat~, g.cn-der/s~x~                      D 8,90 Ptllcr_St11tutp1:y _Attion$                               Stud1iufl,1mu
   CXJ 463 HnbliiH Cot'pus.-,j\Uc1i                            nfltlonal urlglnt-                                                (i!PrlVA<yA<I)                                     ·(~dudiu~.veter.-ns)

              .Detehtl!t                                     . diS~rifni11atiO~.-dis11biiiiy1 agti1.
                                                               ~ligioti 1 ·_:rctaUatiBri)




  0 l<. Labor/ERl!;A                                      0 .L. Qthef C.lvJI Rig/Jt,f                             0      M. Co11tract                                   O N. .r111·e11,J.11dge
                   (11o~·e111ploym1ml)                                •(no11-e111ploy111enl)                                                                                  Court
                                                                                                                   O:t.lO .t11~tir.110Ce
   D 11.~ FRirJ.-1lbttr St_~11d1irds At.t                 c:J44(Votlog(l(notV01lnJrRlgM•                           t:J llU l\lodn•                                      0     44i Chill Righi!~ V•ting
   D 720L1bur/Mgmt...Re:lnlions                                  Act)                                             0.130 Mill~r Att                                                (lrYotlngRighli ;\c!l
   D .740 LaboH!nllwayAct                                 CJ4.~3 .ll.~ukin·I//·J\.CCQ:PU.tt•.. ditflOQs           :D t~O.l'Jl!gptinblC·.imi:'tr11ment
   D 7~1Famlly n•d Medlin!                                CJ 440 Other C!Vll Rtgl1ts                               D !50 ll•~•very of0.<>'P•Ymtnl
               t.rnve A~t                                 CJ 44$ t\Ilierk!J:ils w/01Sttbilit.(e$.-                               &(Enforctmerlt' of
   D 790 (JU,., W.~•• UUgation                                        Emplt>)'m~l\t                                              J\idgment
   C,) _791 El'.lipl• Ret. Int. Sccurit)•-A.cl            0446.A:mofitJlns Wf1Jlsabiilti~$ , , _                   0- ts:i:a~·COv~.~y qf'OvtrpttyhtenJ
                                                                 6.tllet                                             · ·.~rV~tt;riu1ls lleittfits
                                                          D.448 Ed11•llt1tin                                       c:l• 6Jt slol!4b\>li.l~r's·.~µits
                                                                                                                   CJ l90. OthCr COritrricts
                                                                                                                   Cl.t9S'Co_nfract-?rodu~f L_labilJty
                                                                                                                   Ol~U'r••<his• .

  Y.OIDGIN
  (!11 Original 0 ~\\emoyed 0 31\cma~dcd                0 4J1<i11,<taltd 0 5l'r•nirorred ·                                        0 61!1illti;d1Jiirl<1 07App,all•                     O~S:M1dti".d~irl_et
   · 'Pnu:t.!odl.ng . triJ.q1 Stl1tt . ll'oniAppellote'   or Reupcnf~.     ·trO-m·liooUO:ir'                                          .l~itlgnllon               :o_lstrltt Judge           t.Uigntlo11--- . .
                                 C9urt                'Ccn1r~                                             dtstt'IC.t {~pt!dfy}                                   rtom.Mng.                  ·n1r~ct .FUe
                                                                                                                                                                 .ru:~t~c:

  YI, t't\U!H!: 01<' ACJ'IPN (ClTETllE U.S. CtVlLSTATtffR 'lNllERWH!Cll V.0.UARE 111LiNGANll WRl'l'E A BRIEF S1'A'J'E~IEN1' OF CAUSE.)
    \liolarlon of Fl!!h .l(menamerit Ova Proaess, Violation of ll U;S,C: 1225                                                                                                                              .
  YIJ, REQUESTEI> IN                                   CHEcK:r:l<'rfIIS ~':l'-A.C,(,ASs,         DEMANDS                                                  Cheek YrtS'ority if'dei11Hiidt:d iµ iotnp'hil1tt -,
       COMP!.>AINT                                     f\.{;TIO~:JJNO'l!R F,~-C.i>,.23
                                                                                                     ,JUR.Y DEii-Li.ND:                                   yr,sc:J .. N'o.00                            .
  Ylll; RllLATED CASE(S)                                                                         YESOO
          lFANY

  DATE:                09/26/2018                           SU'.;NATURE OF A'IT(JRNEY OF \lF.CORJ)

                                                        Jf'IBTRl)(;TIONSJ'Oll COMJ!LE'l'll\'G..CIVIL C0VEll 8HEE1'~$.<t4
                                                                                 i\-11tlmrily-,-tor.Ciyil Cbvtr~hec:f

      --The JS·.44 C:i.vll ~oved1lNCt and tlie. i1i~otmailori ·coiluitited ·hC:rein 11CJ_1h1.'f.rcP1iicQS'n()r;.,11pplcments thc . ffh'ngs an.4 $crViccs·.~.r-pl<,'lldir!gs,.or otl~e.r-pupers.as-.roqulrcd
by laW1 except ns provid.cd.~)I local ru)os_.of-court.'. ~fh.is ft;tnn, approved b.Y the Judicial Col)[ere.nc.e.of'tbe.Unite<l..States ln.SepleJnber ·J 974; ls requifed-YQ.r-the t.,tSe :t;tf tlui
Clerk 9fCo_urrfor the pt_1rp.o_~c::of _iriitf~t_in8-._thl}.clvll docket sheet 'Cdns~qu~.f!tlr. ~ Ci\lil cQycr·~h~.tjs. Sil~inittcd to_ tlle .Clerk of Co.utt-fur.eaC.h t:ivil ·c.omplaft)tfilt,:~;
Li,$,tcd b~ow are.tips-for !),O~flpl~timt lfie·ci,vil. cov,e.r i!fi~ct, Thc!!\J; tip$; <:011),qidc with thc:R<l;ntanNmp.erat~·o.n tlu:..cyver sfi.ect:
              J.           CbUNTY.:Ofl itP~U)ENC.B.oF· FIRST LISTED PLA!Nlli.<_F/DEFEN_DANT (b) County of rosi_denc« li~e· 1l,00 I to indicate pltiintiff if ro'Sidcnt
                           Qf Wasbin_~ton, DC,.88888 if-plaintiff:is resident u'f United States.but.not W11shin~toni_.DC, and. 99999 if pla:iudtf is-ou~lde:.the. Uili1cd:Statc$. ,
              IU.          ClT,IZENSfUP op· PRl!'f{,';IPAL :P:ART!ES;: Th_is se,ction j:}.cortipletetfQ!.\l.Y. if'diliersitY of cftiz'em~hip M,ts spfoett:d i:\S 1he rinsis..oiJufiSdicliOr1
                           under.Sectioh·lh

              JV:          CASE.ASSIGNMHN'r AND .NATURE oF:$tilT: ThC.a_$l811ltie.nt .-0tiijudgul9 yQUr9ase wUl.dQpenll on thil _categoryyou sCl~tthtit fo:sf
                           ruprcsartL"\ the ~-cause .of acl,ipn fo~nd irryour complaint Yuu.may selec_t' m:\ly llil~ categcny, .You J.n'lW.t nlsO..sel~cl' Qlli!.corresf)Ouding
                           rmt_url;! oT::iu'i.t fotJnd undQt the l!ateg9ry-of'..Jhli'~ase·.                                                                                  ·

              Vl.          CAUSE OF ACTJONo Cite the U.S..Civil Statuic undcrwhichypu am filinsnnd write a hrjefstatcmcnrnfthu primary O!\US<.
              YUJ.         ~ELATED.CASE(.S),:·fF· ANY;· lf.you-indicatcd that thure.is arel~~d-0ast\Y0tl iqust,C;U~pli~t<,a rchitcd'C11$~ fon\1~.which ma.Y· be qb~ai~cd 'from
                           lhe·~Jerk's'Oflice.-


              Btc~use of the, need f0.r ~~c:u.i:ttle-Sil\i c6mplele. lntonnal!Oli;-yQli',5hottld_ eilstitC lhe acictir1'cy tif llic )nfonnuti9n pro:vii;!c-d pririr~o. signing-the ibr_m.




                                                                                                                                                                                       Exhibit A
                                                                                                                                                                                         000035
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4192 Page 24 of
                         ~'            251                ~
           Case 1:18-cv-O,  1-PLF Document 1-2 Filed 09/26\ Page 1 of 215




                         Exhibit A
                           to the Complaint




                                                                     Exhibit A
                                                                      000036
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4193 Page 25 of
                                      251
           Case 1:18-cv-0("1-PLF Document 1-2 Filed 0912r Page 2 of 215




                         September 20, 2018


                         VIA ELECTRONIC MAIL
                         users
                         Houston Asylum Office
                         16630 Imperial Valley Drive, Suite 200
                         Houston, TX 77060
                         rfr.houston.asylum@uscis.dhs.gov

                        Respondent:        Lesbi Nohemi Martinez-Martinez
                        File Number:       A-215-582-112
                        Re:                Request for Reconsideration


      Dear Sir or Madam:

              King & Spalding represents Lesbi Nohemi Martinez-Martinez (hereinafter "Ms.
      Martinez") in her effort to seek asylum in the United States, and on her behalf we submit
      this Request for Reconsideration so that Ms. Martinez can be given a second Credible
      Fear Interview. As discussed in more detail below, the Government has acknowledged in
      the proposed settlements in the Ms. L and MMM family separation class action lawsuits
      that credible fear interviews conducted with immigrant detainee parents after their
      children were forcibly removed from their care are tainted because of the mental trauma
      caused by the forced separation, and that fairness requires that such detainees be granted
      a second credible fear interview, during which the detainee is assisted by counsel. The
      same fundamental fairness concerns apply in Ms. Martinez' case, and justice requires that
      she be given a second interview where she is assisted by counsel so that the viable
      grounds of her asylum claim can be properly heard. A Form G-28, Notice of Entry of
      Appearance, is attached.

               Basis for Request for Reconsideration and Credible Fear Interview

              Ms. Martinez respectfully requests that the Asylum Office reconsider the
      previously issued decision in her credible fear interview and grant a new interview based
      on (I) her mental health conditions at the time of that interview, in particular the
      depression and symptoms of severe trauma she suffered from being forcibly separated
      from her child, each of.which show a need to conduct a new credible fear interview, and
      (2) the fact that she has a viable asylum claim.




                                                                                            Exhibit A
                                                                                             000037
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4194 Page 26 of
                                     251
           case 1:1s-cv-r1-PLF Document 1-2 Filed 0912r\ Page 3 of 215



                                             BACKGROUND FACTS

                                Ms. Martinez's Legal Guardianship of Mariela

              Ms. Martinez has lived continuously with her younger sister Yency Mariela
      Martinez-Martinez ("Mariela"), for whom she is the legal guardian and considers her
      daughter, since 2003 when Mariela was born. See Certification of Clarissa Moliterno
      (hereafter Moliterno Cert.) if 3. Ms. Martinez and Mariela lived in Honduras until Ms.
      Martinez concluded that the constant threats of physical violence against her and Mariela
      required them to seek asylum in the United States. Following the death of their mother in
      2016, Ms. Martinez obtained formal legal guardianship of Mariela who at the time was
      13 years old. Exhibit A at 2-4. Ms. Martinez's father, who at the time had moved in with
      a new girlfriend, agreed that it was in Mariela's best interest for Ms. Martinez to obtain
      full custody and he signed a document providing his authorization. Id. Since obtaining
      legal guardianship in 2016, Ms. Martinez has acted as Mariela's mother, and called
      Mariela her daughter. Moliterno Cert. if 4.

                                         Violent Conditions in Honduras

              Honduras, by nearly any metric, is one of the most dangerous countries in the
      world. The murder rate in Honduras is consistently one of the highest of any peacetime
      country. 1 Firearms are used in over 80 percent of homicides, which is nearly double the
      global rate. 2 Many of these murders are linked to Honduras's "powerful criminal
      groups," 3 which includes gangs like MS-13 and Barrio 18. 4 These gangs, which the
      Honduran government refuses or is unable or unwilling to control, often exert influence
      over "entire neighborhoods," demanding "extortion payments from business and
      residents," smuggling and selling drugs, and running kidnapping rings. 5

              Honduras is uniquely dangerous for women. According to the U.N., Honduras has
      the highest rate of "femicide," or the killing of a woman because she is a woman, in the
      world. 6 The number of women murdered in Honduras has been rising steadily but spiked


      1
          See, e.g., International homicides (per I 00, 000 people), THE WORLD BANK,
      https://data.worldbank.org/indicatorNc.ihr.PSrc.P5?year_high_desc~true (last accessed Sept. 14,
      2018)(1isting Honduras's murder rate for 2015 at 64 per 100,000 people); Kuang Keng Kuek Ser, Map:
      Here are countries with the world's highest murder rates, PUBLIC RADIO INTERNATIONAL, June 27, 2016
      available at https ://www.pri.org/stori es/20 16-0 6-2 7/map-here-are-co untries-worIds-highest-murder-rates
      (last accessed Sept. 14, 2018)(listing Honduras's murder rate for 2014 at 74.6 per 100,000 people).
      2
        David Gagne, 80% of Homicides in Honduras Result of Gun Violence: Report, INSIGHT CRIME, July 27,
      2016, available at https://www.insightcrime.org/news/brief/80-of-homicides-in-honduras-result-of-gun-
      violence-report/ (last accessed Sept. 14, 2018).
      'Id.
      4
        Honduras Profile, INSIGHT CRIME, Aug. 27, 2018, available at https://www.insightcrime.org/honduras-
      organized-crime-news/honduras/ (last accessed Sept. 14, 2018).
      'Id.
      6
        Juju Chang, et al., 'Men can do anything they want to women in Honduras': Inside one of the most
      dangerous places on Earth to be a woman, ABC NEWS, May 3, 2017, available at

                                                            2
                                                                                                                 Exhibit A
                                                                                                                  000038
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4195 Page 27 of
                                      2511-2 Filed 09/26(°' Page 4 of 215
           Case 1:18-cv-0;'1-PLF Document



      after 2010. Within Latin America, Honduras recently ranked third in femicide rates. 7
      Femicides in Honduras have spiked since 2006, rising 300 percent from 202 murders in
      2006 to 606 in 2012. 8 This, in a country with a population less than that of New York
      City. 9 Over 96 percent of femicides in Honduras go unpunished, and 40% of women
      interviewed for a 2015 UNHCR study who fled the country due to violence did not report
      abuses to police because they "thought it would be useless." 10 In fact, in 2012, femicide
      was considered the second-highest cause of death for women of reproductive age in
      Honduras. 11

              Following the 2009 coup in Honduras, government inability or unwillingness to
      protect low-income women has only grown worse. As explained in one analysis, ten
      percent of the women interviewed for the UNHCR study (2015) reported that the police
      or other authorities were directly implicated in harming them. 1

              In general, the police and governmental authorities of Honduras provide little help
      to the victims of crime. The World Justice Project ranked Honduras 103rd of the 113
      countries it surveyed in 2017 for its Rule of Law Index. 13 In other words, Honduras's
      civil and governmental institutions enable the gang violence because they devote
      insufficient resources to protect citizens or enforce its laws. Police corruption is rampant.
      Gift-giving and bribes are widespread, and the enforcement of anti-corruption laws is
      lacking, resulting in "widespread impunity" for the corrupt officials. 14 As of2017, nearly
      half of the 9,000 police officers investigated by the Special Commission for Police
      Reform Restructurin~ were removed from duty, often due to their involvement in
      corruption or crime. 1 The grim result of Honduras's corruption is that most crimes go
      uninvestigated, particularly crimes against women. In 2014, the United Nations reported
      that 95 percent of sexual violence and "femicide" cases were never investigated. 16




      https://abcnews.go.com/International/men-women-honduras-inside-dangerous-places-earth-
      woman/story?id=47135328 (last accessed Sept. 14, 2018).
      7
        Cecilia Menjivar and Shannon Drysdale Walsh, The Architecture ofFemicide: The State, Inequalities,
      and Everyday Gender Violence in Honduras, 52(2) Latin Am. Res. Rev. 221, 226 (2017), available at
      https://doi.org/10.25222/laJT.73 (last accessed Sept. 19, 2018) (citing Alvazzi de! Frate 2011).
      8
        Id. at 229.
      9
           Id.
      10
           Id. at 228.
      11
           Id. at 229 (citing IACHR 2013, 388).
      12
           Id. at 233.
      13
         Rule of Law Index: Honduras, WORLD JuSTICE PROJECT, available at
      http://data.worldjusticeproject.org/#/groups/HND (last accessed Sept. 14, 2018).
      14
         Honduras Corruption Report, GAN BUSINESS ANTI-CORRUPTION PORTAL, Aug. 2016,
      https://www.business-anti-corruption.com/country-profiles/honduras/ (last accessed Sept. 14, 2018).
      15
         Honduras: Events of2017, HUMAN RIGHTS WATCH, available at https://www hrw.org/world-
      report/2018/country-chapters/honduras (last accessed Sept. 14, 2018).
      16
         Chang, 'Men can do anything they want to women in Honduras'.

                                                          3
                                                                                                             Exhibit A
                                                                                                              000039
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4196 Page 28 of
           Case 1:18-cv-O,(~1-PLF Document 1-2 Filed 09/2Q\
                                       251                  · Page 5 of 215      -"

              The area of Honduras from which Ms. Martinez and her daughter come from is a
      small village called "El Carril" in Olanchito, Yoro. 17 Moliterno Cert. if 4; Exhibit A.
      "Yoro' is one Honduras' largest municipalities and is ruled by a violent and corrupt
      family. 18 Ms. Martinez has also lived for a period oftime in another dangerous Honduran
      city, La Ceiba. Exhibit B at I 0. According to the United States Department of State
      OSAC Bureau of Diplomatic Security in its "Honduras 2018 Crime & Safety Report,
      "[m]ost of Honduras' major cities (Tegucigalpa, San Pedro Sula, La Ceiba), as well as
      several Honduran departments (have homicide rates higher than the national average,
      including... [the department capital] Yoro, Yoro." 19 Olanchito has, like other areas in
      Honduras, suffered from high levels of violence. For example, in the last year, local news
      has run stories discussing two young men found dead in Olanchito, 20 a couple murdered
      near Olanchito, 21 and a wave of violence in Olanchito including the murder of a rancher
      and merchant. 22

             Travel from Honduras to the United State is also very dangerous. Almost seventy
      percent of immigrants fleeing El Salvador, Guatemala and Honduras report being
      subjected to violence during their journey, with nearly thirty percent of women reporting
      sexual abuse. 23 This violence is rerpetrated not only by criminal organizations, but by
      Mexican security forces as well. 2 It is a traumatic and exhausting experience, only to be
      taken as a measure of last resort, and even for those few who do not directly experience
      violence, the fear of such events is constant.

            Violence and Persecution Faced by Ms. Martinez and Flight to the United States

             The violent murders prevalent in Honduras have touched Ms. Martinez
      personally. Her uncle was found murdered in their home. Moliterno Cert. if 6. Ms.
      Martinez's family reported this murder to the police but because they were unable to

      17
         Steven Dudley and Felipe Puerta, A Honduras Political Clan and Its Criminal Fiefdom, INSIGHT CRIME,
      Oct. 19, 2017, available at https://www.insightcrime.org/investigations/honduras-political-clan-criminal-
      fiefdom/ !last accessed Sept. 19. 2018).
      IB Id.
      19
         Honduras 2018 Crime & Safety Report, UNITED STATES DEPARTMENT OF STATE OFFICE OF DIPLOMATIC
      SECURITY, Apr. 3, 2018, https://www.osac.gov/Pages/ContentReportDetails.aspx?cid~23798 (last accessed
      Sept. 19, 2018).
      20
         Encuentran sin vida a dos j6venes en Olanchito, EL PAis, Oct. 17, 2017,
      http://www.elpais.hn/2017/10/17 /encuentran-sin-vida-dos-jovenes-olanchito/ (translation available upon
      request).
      21
         Identifican a pareja asesinada cerca de! rio Agalteca, en Olanchito, Yara, ELHERALDO, Jan. 23, 2018,
      https://www.elheraldo.hn/sucesos/l l 45795-466/identifican-a-parej a-asesinada-cerca-del-r%C3 %ADo-
      agalteca-en-o lanchito-yoro (Jranslation available upon request).
      22
         Ola de violencia en Olanchito: ganadero y comerciante asesinados, TIEMPO, Dec. 17, 2017,
      https://tiempo .hn/ola-de-violencia-en-olanchito-dos-asesinados/ Ctranslation available upon request).
      23
         Report: Forced to Flee Central America's Northern Triangle. A neglected humanitarian crisis,
      MEDECINS SANS FRONTIERS/DOCTORS WITHOUT BORDERS, May 11, 2017,
      https://www.doctorswithoutborders.org/what-we-do/news-stories/research/report-forced-flee-central-
      americas-northern-triangle (last accessed Sept. 15, 2018).
      24
           Id.


                                                          4
                                                                                                            Exhibit A
                                                                                                             000040
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4197 Page 29 of
                                     251
           Case 1:18-cv-o\1-PLF Document 1-2 Filed 09/26\ Page 6 of 215



      "pay" authorities for an investigation, none occurred. To date, Ms. Martinez does not
      know the cause of her uncle's death. Murders, such as that of her uncle, are common-
      place in the community where Ms. Martinez was living. Id

              Indeed, Ms. Martinez and her family have suffered a long history of abuse in
      Honduras. She was sexually abused as a seven year old child by her uncle, a trauma for
      which she has had to seek psychological assistance to attempt to cope. Moliterno Cert. 'if
      1O; Exhibit B at 11, 14, 18, 20. Further, over a two year period, she suffered verbal and
      repeated sexual abuse by her now ex-boyfriend. Moliterno Cert. 'if 7; Exhibit Bat 10-14,
      20. After she managed to flee this abusive relationship, her ex-boyfriend stalked her and
      continued to threaten her. Exhibit B at 14. Ms. Martinez did not report this abuse to the
      police in Honduras because she did not believe that the authorities would assist her, a
      poor woman, absent the payment of bribes. Moliterno Cert. 'if 7. Ms. Martinez fears that
      should she return to Honduras, her ex-boyfriend will find her and continue to seek to
      abuse her again. Id.

              In addition to the sexual violence she experienced as a child, the abuse she
      suffered at the hands of her boyfriend, and the violent conditions in her community, Ms.
      Martinez was sexually abused and harassed repeatedly by her employers who sought
      sexual favors from her. Moliterno Cert. 'if 8; Exhibit B at 16, 20. Ms. Martinez did not
      report any of these instances of abuse by her employers to the police because she
      believed that her former bosses were connected to people in authority in the community,
      including within the police force. Moliterno Cert. 'if 8; Exhibit Bat 16-17. Ms. Martinez
      feared that if she reported the abuse, her former supervisors would have her killed.
      Moliterno Cert. 'if 8. Ms. Martinez fears that were she to return to Honduras, these former
      supervisors will attack her again. Id.; Exhibit B at 16.

             Fearing that she would face further harassment from her supervisors if she sought
      employment in other companies, Ms. Martinez decided to start selling pastries and
      tamales with her mother, and later clothes. Moliterno Cert. 'i['i[ 5, 9. However, Ms.
      Martinez was not able to avoid the threats of violence prevalent in her country by
      changing jobs. Early this year, Ms. Martinez was selling her wares, when a strange man
      approached her and demanded money. Moliterno Cert. 'if 5. Ms. Martinez paid the man
      the sums he demanded on approximately three occasions. Id However, when he
      approached her the last time, she told him that she had no money to give to him. Id.;
      Exhibit B at 15, 20. He threatened physical violence and death to her and her child if she
      did not give in to his demand. Id These types of extortion requests are common in
      Honduras. 25 Fearing for her life and the life of her daughter, Ms. Martinez fled Honduras.
      Id

             Forced Separation of Ms. Martinez from her Daughter and Resulting Severe
                                        Emotional Distress

             On or about June 1, 2018, Ms. Martinez and her daughter crossed the border into
      the United States. Exhibit B at 3. Consistent with the government's "zero tolerance"
      25
           Honduras Profile, INSIGHT CRIME.

                                                  5
                                                                                             Exhibit A
                                                                                              000041
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4198 Page 30 of
                                     251
           case 1:18-cv-<'1-PLF Document 1-2 Filed 09126(" Page 7 of 215



      policy, following their entry into the United States, Ms. Martinez and her child were
      separated and sent to different detention centers. See Certification of Laura Pena
      (hereafter Pena Cert.) ~ 2. Ms. Martinez was detained at the Port Isabel Detention Center
      in Texas, while Mariela was transferred into Office of Refugee Resettlement custody.
      Pena Cert. ~ 2. Ms. Martinez's forced separation from her daughter was emotionally
      devastating. She was incredibly worried about her child, and felt responsible for having
      subjected her daughter to the trauma of the separation and the detention. Pena Cert.~ 2, 3,
      6. For many days following the separation, Ms. Martinez could not visit her daughter, did
      not know where she was, or how she was being treated. Ms. Martinez was in a constant
      state of worry and anxiety and depression, she was crying repeatedly, and indicated that
      she felt numb. Pena Cert.~ 2, 3; Moliterno Cert.~ 4.

              On or about June 26, 2018, while still suffering from the emotional toll caused by
      being forcibly separated from her child, Ms. Martinez was interviewed by an asylum
      officer and he determined that she did not have a credible fear of returning to Honduras.
      Exhibit Bat 7. On or about July 17, 2018, an Immigration Judge affirmed the asylum
      officer's credible fear determination and ordered that the matter be returned to the
      Department of Homeland Security for Ms. Martinez's removal. Id. at 22.

              Although no official mental health diagnosis was obtained (in the short period of
      time between her arrival in the United States and her credible fear interview), a lawyer
      who encountered her during these initial first weeks of separation indicated that she
      demonstrated symptoms of severe emotional distress and trauma. Pena Cert. ~ 2, 3, 7
      (discussing Ms. Martinez's compromised mental and physical health); Moliterno Cert. ~
      4. Ms. Martinez has recently been seeing a psychologist in detention who has
      subsequently provided her some measure of relief, and King & Spalding is in the process
      of obtaining the medical records regarding Ms. Martinez's treatment. Moliterno Cert.~ 4.

                        Detrimental Effects of Forced Separation from A Child

       Background on Acute Trauma Reaction. Post-Traumatic Stress Disorder and Depression

              There are few events more traumatic for parents than to be forcibly separated
      from their children. This trauma is amplified for refugees who have already suffered the
      loss of their homes, jobs, and community support. For many refugees, these events will
      result in significant psychological distress, including post-traumatic stress and mood
      disorders. 26 Post-traumatic stress disorder ("PTSD") is "a delayed or protracted response
      to a stressful event or situation of an exceptionally threatening or catastrophic nature,
      which is likely to cause pervasive distress in almost anyone.',27 Mood disorders are



      26
         Elisa Bolton, PTSD in Refagees~V.S. DEPARTMENT OF VETERANS AFFAIRS, Feb. 3, 2016, available at
      https://www.ptsd.va.gov/professional/trauma/other/ptsd-refugees.asp (last accessed September 17, 2018).
      27
         WORLD HEALTII ORGANIZATION, lNT'L STATISTICAL CLASSIFICATION OF DISEASES AND RELATED
      HEALTH PROBLEMS, I 0th Rev. (2016), available at
      http://apps.who.int/classifications/icdlO/browse/20 l 6/en#/F30-F39 (last accessed Sept. 15, 2018).

                                                          6
                                                                                                            Exhibit A
                                                                                                             000042
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4199 Page 31 of
                                       251
                         ! '1-PLF Document                ( ' · Page 8 of 215
           Case 1:18-cv-O,                 1-2 Filed 09/26,



       mental health conditions characterized by fluctuations in one's emotional state 28 and
       include mental illnesses such as major depression, dysthymia, and bipolar disorder.

              While the specific manifestations of these mental health conditions may be
      different, both mood disorders and PTSD lead to specific difficulties relevant to court
      proceedings: flat affect and overgeneral memory. 29 Further, emotional numbing, which is
      characterized by limited or blunted emotional response, including flat affect, is also a
      symptom of mood disorders and PTSD. 30 A person with a flat affect may speak in a
      monotone, have few emotional expressions, and may generally appear apathetic or
      disinterested. However, these behavioral manifestations may not accurately reflect how
      the individual actually feels about his or her experiences. Instead, they are often utilized
      as a means to cope with trauma or other painful and difficult experiences.

               Individuals with PTSD or mood disorders may also develop other coping
      mechanisms to deal with their situations, including how they recall memories. It is a
      common belief that people have heightened memories of events that occurred during a
      particularly emotional or intense period. However, this is true only to a limited extent. 31
      In reality, particularly for traumatic events, individuals recall the event, but not specific
      details. Remembering events but failing to recall peripheral facts is referred to as
      "overgeneral memory." 32 Studies indicate that people with PTSD and depression are
      more likely to have overgeneral memory. 33 It is theorized that because the recollection of
      specific facts of traumatic events can be distressing, individuals subconsciously forget
      details as a means of avoiding these negative and painful feelings. 34




      28
           Id
      29
        Birgit Kleim, et al., The Impact ofImprisonment on Overgeneral Autobiographical Memory in Former
      Political Prisoners, 26 J. OF TRAUMATIC STRESS 626, 626 (2013).
      30
         Richard L. Amdur et al., Emotional Processing in Combat-Related Posttraumatic Stress Disorder: A
      Comparison with Traumatized and Normal Controls, 14 J. ANXIETY DISORDERS 219, 220 (2000).
      31
         Anne E. Van Giezen et al., Consistency of Memory for Emotionally Arousing Events: A Review of
      Prospective and Experimental Studies, 25 CLINICAL PSYCH. REV. 935, 936 (2005),; cf Shamsul Haque,
      Autobiographical Memory and Hierarchical Search Strategies in Depressed and Non-Depressed
      Participants, 14 BMC PSYCHIATRY 310, 310 (2014), available at
      https://www.ncbi.nlm.nih.gov/pmc/articles/ PMC4240842/ (last accessed Sept. 15, 2018) (describing how
      depressed patients retrieved memories more quickly but had less specific recall than non-depressed people).
      32 Id

      33
         Kleim, The Impact ofImprisonment on Overgeneral Autobiographical Memory in Former Political
      Prisoners, at 626 (describing this phenomenon).
      34
         Haque, Autobiographical Memory and Hierarchical Search Strategies in Depressed and Non-Depressed
      Participants, at 310.


                                                          7
                                                                                                             Exhibit A
                                                                                                              000043
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4200 Page 32 of
                         ~\            251                 ~
           Case 1:18-cv-Oi  1-PLF Document 1-2 Filed 09/26( ·. Page 9 of 215




               Because of overgeneral memory, people with depression or PTSD are more likely
      to confuse names and dates. They become limited in their ability to provide a full
      narrative and they are unable to recall details. Further, they may have a flat affect that can
      often give the false impression that they are indifferent to or unaffected by the traumatic
      or violent events they may have witnesses or experienced. These behaviors are all
      symptoms of an individual's mental health conditions and reflect the person's impaired
      ability to advocate on behalf of himself or herself and to participate meaningfully in the
      asylum process. As a result, providing accommodations is crucial to ensure that people
      such as Ms. Martinez have a fair opportunity to present their cases in court.

                          Detrimental Effects of Farced Separation from A Child

               There are significant negative long-tenn and short-term effects on the emotional
      health of parents who lost their children through detention center separations. In the
      short-term, severe anxiety brought on by separation results in "an overall decline in daily
      functioning." 35 Other deleterious effects include impaired memory, a lack of ability to
      concentrate, and intense and excessive fears, 36 all of which hinder asylum seekers' ability
      to advocate their claims. In the long-run, this forced separation may cause depression,
      PTSD, and the loss of will to live from what is regarded by Aurelie Athan, a clinical
      psychologist who studies motherhood at Columbia University, as "a mental health
      catastrophe. " 37 This mental shut down, resulting from the extreme stress generated by the
      loss of their children, can create difficulties in recalling the experiences and persecution
      that motivated the parents to flee their homes and communities originally. Parents may
      also be subject to what Dr. William R. Klemm, a senior professor of Neuroscience at
      Texas A&M labels "brain freezes," where "thinking can §et so preoccupied with the
      stress-inducing stimuli that other thoughts cannot emerge." 8 This chronic and extreme
      mental stress can become so unbearable that some parents may be driven to take their
      own lives. 39 It is essential that proper safeguards be implemented to assist these parents
      to overcome the barriers to effective advocacy created by the trauma they have
      experienced and that they be allowed to appropriately advocate their claims.




      "Signs & Symptoms ofSeparation Anxiety, SHAKER CLINIC,
      http://www.shakerclinic.com/anxiety/separation-anxiety/symptoms-effects (last accessed Sept. 15, 2018).
      "Id.
      37
         Rosa Furneaux, Forcibly Separating Children From Their Mothers Doesn "t Just Hurt the Kids,
      MOTHERJONES, Jun. 21, 2018, https://www motherjones.com/politics/2018/06/trump-forced-family-
      separation-children-devastating-effects-mothers-l/ (last accessed Sept. 15, 2018).
      38
         William R. Klemm, Thwart Stress Effects of Memory, PSYCHOLOGY TODAY, Dec. 29, 2016,
      https://www.psychologytoday.com/us/blog/memory-medic/201612/thwart-stress-effects-memory (last
      accessed Sept. 15, 2018),
      39
         Jeffery C. Mays & Matt Stevens, Honduran Man Kills HimselfAfter Being Separated From Family at
      U.S. Border, Reports Say, N.Y. TIMES, Jun. 10, 2018, https://www.nytimes.com/2018/06/10/us/border-
      patrol-texas-family-separated-suicide.html (last accessed Sept. 15, 2018).

                                                          8
                                                                                                            Exhibit A
                                                                                                                000044
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4201 Page 33 of
                                          251
          Case 1:18-cv-02,f \ .-PLF Document 1-2 Filed 09/26/\" 'Page 10 of 215



                          Basis for Safeguards in the Credible Fear Interview Process
                                           before the Asylum Office

               Parents separated from their children can suffer from an array of emotional and
      mental illnesses, including PTSD and mood disorders, which may significantly impair
      their mental functioning. While Title 8 does not specifically define "mentally
      incompetent," the definition of "mental or psychological disorder," found at 6 C.F.R. §
       15.3(d)(ii), includes "mental retardation, organic brain syndrome, emotional or mental
      illness, and specific learning disabilities" (emphasis added). Codified in various sections
      of Title 8 of the Code of Federal Regulations ("C.F.R.") are the legal requirements for
      dealing with mentally incompetent applicants and although 8 C.F .R. § 1240.4 relates
      specifically to removal proceedings before Executive Office for Immigration Review, the
      provision gives useful guidance for the conduct of asylum interviews. In such instances,
      an attorney, legal representative, legal guardian, near relative, or friend who has been
      served with a copy of the notice to appear shall be permitted to appear on behalf of the
      respondent. Allowing an advocate so assist or speak on their behalf as necessary permits
      traumatized parents an equal opportunity to advocate in an effective and appropriate
      manner.

                                                   ARGUMENT

      I.         Ms. Martinez Was Suffering the Effects of Forced Separation From Her
                 Child During Her Initial Credible Fear Determination and Fundamental
                 Fairness Requires That She Be Afforded a New Interview

                 A.      The Asylum Officer Failed to Appropriately Consider Ms. Martinez's
                         Diminished State at the Time of the Interview

                Immigration Judges must ensure that immigration proceedings are fundamentally
      fair. 40 Thus, Immigration Judges must prescribe safeguards when necessary to ensure that
      each respondent has an "adequate opportunity to present his or her case during a
      hearing." 41 The Board of Immigration Appeals requires that immigration courts make
      accommodations for persons with mental health conditions. 42 Absent such safeguards and
      accommodations, the testimony of a person with mental health trauma may confuse,
      rather than clarify, the record. 43 Further, the assigned asylum officer is required to
      conduct the credible fear interview of an asylum seeker "in a nonadversarial manner,
      separate and apart from the general public" and "[t]he purpose of the interview shall be to

      40
         See INA§ 240(b)(4)(B) (requiring that respondents have a "reasonable opportunity" to examine and
      rebut evidence against them); Matter of Tomas, 19 I&N Dec. 464, 465 (BIA 1987) (describing importance
      of fundamental fairness of immigration proceedings); and Matter of Exame, 18 I&N Dec. 303 (BIA 1982)
      (same).
      41
         Matter of M-A-M, 25 I&N Dec. 474, 477-78 (BIA 2011).
      42
        See Matter ofJ-R-R-A, 26 l&N Dec. 609, 610-12 (BIA 2015); Matter of M-A-M, 25 I&NDec. 474, 480
      (BIA 2011).
      43
           See Matter ofJ-R-R-A, 26 I&N Dec. 609, 611-12 (BIA 2015) (describing importance of safeguards for
      person with cognitive limitations).

                                                          9
                                                                                                           Exhibit A
                                                                                                               000045
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4202 Page 34 of
                                     251
          Case 1:18-cv-oz.-PLF Document 1-2 Filed 09/26/:-' Page 11 of 215



      elicit all relevant and useful information bearing on whether the applicant has a credible
      fear of persecution ... " 44 If, for any reason, the asylum officer who is "conducting the
      credible fear interview detennines that the alien is unable to participate effectively in the
      interview because of illness, fatigue, or other impediments, the officer may reschedule
      the interview." 45 Given the extreme stress on Ms. Martinez, her asylum officer should
      have used his discretion to delay her Credible Fear Interview until such a time when she
      was not impaired, and better able to answer the asylum officer's questions and otherwise
      articulate her experiences.

              In Ms. Martinez's initial Credible Fear Interview, she was unable to convey key
      facts because the Asylum Officer failed to take into proper account her diminished
      mental health condition. See generally, Exhibit Bat 11-13, 15, 17-19. Ms. Martinez was
      suffering from depression and severe emotional trauma from being separated from her
      daughter, Mariela, which rendered her unable to recall specific facts or articulate all the
      reasons why she was seeking asylum. Moliterno Cert. ~ 5, Pefia Cert. ~~ 3, 6. However,
      the Asylum Officer failed to make any attempt to ascertain Ms. Martinez's current mental
      health status or its potential effect on Ms. Martinez's ability to effectively participate in
      the interview. See generally, Exhibit B at 11-13, 15, 17-19. The Asylum Officer asked
      briefly about Ms. Martinez's physical health, but she did not ask any follow up questions
      regarding Ms. Martinez's psychological status or whether she was receiving any, or
      needed, treatment for her diminished mental health condition. See generally Exhibit B.
      Ms. Martinez's past history of trauma prevented her from remembering or articulating all
      of the relevant details during her Credible Fear Interview.

               When the Asylum Officer asked Ms. Martinez about whether she had been abused
      by her partner, she appeared confused and found it difficult to answer basic questions.
      For example, in response to a question "has anyone physically harmed you?" Ms.
      Martinez responded, "No they just hit me." Exhibit B at 9. Ms. Martinez was also unable
      to provide a concrete number of occasions when she suffered abuse, nor was able to
      provide the details of a specific instance of abuse. Id. at 11-12. When the Asylum Officer
      asked Ms. Martinez for details about the man who had threatened her if she did not pay
      him, she was unable to recall or provide detail, including information that would have
      been pertinent to her asylum claim. Id. at 15, 20. Throughout the interview, the Asylum
      Officer failed to ask any questions regarding whether Ms. Martinez's fragile emotional
      state and extreme concern about her daughter would prevent her from fully discussing the
      events and circumstances that caused Mr. Martinez and her daughter to flee Honduras. Id.
      Indeed, the asylum officer displayed no compassion in the manner in which she
      interrogated Ms. Martinez, asking her the following question about her sexual assault as a
      seven year old: [f]or what reasons did your Uncle harm you when you were a child." Id.
      at 18. In response, Ms. Martinez told her that she did not "know the reason." Id.

             As discussed above, the effects of depression and likely PTSD are well recorded.
      Persons suffering from depression or PTSD often suffer from "overgeneral memory," a

      44
           8 C.F.R. § 208.30(d) (emphasis added).
      45
           8 C.F.R. § 208.30(d)(l).

                                                    10
                                                                                                Exhibit A
                                                                                                 000046
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4203 Page 35 of
                                      251
           Case 1:18-cv-or.-PLF Document 1-2 Filed 09/26/i"Page 12 of 215



      coping mechanism where the affected person subconsciously avoids negative feelings by
      forgetting the specific details of past, traumatic events. 46 Because of overgeneral
      memory, a person suffering from depression or PTSD is more likely to confuse names
      and dates and is less likely to tell a complete and accurate narrative of past events. The
      emotional turmoil of parents separated from their children is also well documented. In the
      short term, separation anxiety causes "an overall decline in daily functioning," including
      impaired memory, a lack of ability to concentrate, and excessive fears. 47 In the long term,
      this "mental health catastrophe" may cause depression, PTSD, and the loss of the will to
      live. 48

              Ms. Martinez manifests the hallmarks of depression and severe emotional trauma
      due to the Government's forced separation from her daughter Mariela. Ms. Martinez has
      been crying "non-stop." Pefia Cert. if 3. Despite being diabetic, Ms. Martinez was at times
      not eating, and unable to sleep at night. Pefia Cert. if 6. In interviews with counsel, Ms.
      Martinez has noted that she is suffering depression due to the separation from her
      daughter. Moliterno Cert. if 4. She feels emotionally numb. Id. She notes that she was sad
      when her mother died, but that emotion was nothing like what she is currently
      experiencing.

             The mental impact of the separation is complicated by Ms. Martinez's own
      personal history. Prior to being separated from Mariela, Ms. Martinez had been forced to
      endure repeated abuse. When she was seven, Ms. Martinez was sexually assaulted by her
      uncle. Moliterno Cert. if 10; Exhibit Bat 11, 14, 18, 20. At 14, Ms. Martinez was seeing a
      psychologist to help cope with the trauma. Moliterno Cert. if 10. From approximately the
      ages of 18 to 20, Ms. Martinez was routinely abused and assaulted by her then-partner.
      Moliterno Cert. if 7; Exhibit Bat 10-14, 20. During her adult life, Ms. Martinez has faced
      unwanted sexual advances from her supervisors in two separate jobs. Moliterno Cert. if 8;
      Exhibit Bat 16, 20.

              Because the Asylum Officer did not delay Ms. Martinez's interview in light of her
      diminished mental state or properly account for Ms. Martinez's mental health and
      anguish during her Credible Fear Interview, Ms. Martinez respectfully requests that she
      be given a new Credible Fear Interview during which she will be assisted by counsel and
      that her Request for Reconsideration be granted.

                 B.       The Government Acknowledges that a New Credible Fear
                          Determination is Appropriate in these Forced Separation Cases
              In the pending proceedings in the family separation class actions before United
      States District Comt Judge Sabraw in the Southern District of California, including the
      Ms. L lawsuit (Case No. 3:18-CV-0428), the Department of Justice clearly acknowledges
      that a parent whose child is forcibly removed from their care lacks the requisite mental

      46
         Sally A. Moore and Lori A. Zoellner, Overgeneral Autobiographical Memo1y and Traumatic Events,
      133(3) PSYCHOL BULL. 419 (2007).
      47
         Signs & Symptoms ofSeparation Anxiety.
      48
           Fumeaux, Forcibly Separating Children From Their Mothers Doesn't Just Hurt the Kids.


                                                          11
                                                                                                          Exhibit A
                                                                                                           000047
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4204 Page 36 of
                          ~.            251                ~
           Case 1:18-cv-Ol: .-PLF Document 1-2 Filed 09/26A  Page 13 of 215




       capacity to present a fair explanation of their credible fear to the Asylum Officer.
       Specifically, the Department of Justice, the Department of Homeland Security, and
      Immigration and Customs Enforcement, recognize that a credible fear interview
      conducted within weeks of asylum-seeking immigrants being separated from their
      children is impermissibly tainted, due to the mental trauma inflicted upon these parents
      brought on by taking children away from their parents. In the tentative settlement in the
      Ms. L lawsuit that was the subject of a hearing before Judge Sabraw on September 14,
      2018, the Government agreed that parents in government detention who had been
      separated from their children who did not establish a credible fear in their initial
      interview will be granted "a de novo review of the credible fear finding ... to determine
      if reconsideration of the negative determination is warranted", and that such de novo
      review shall be conducted in "good faith." 49 Further, the Government agreed that these
      asylum seekers could have an attorney assist them in these de novo reviews of the
      credible fear determinations. 50 Ms. Martinez's initial credible fear interview was
      similarly tainted by her diminished mental state directly caused by the forced separation
      from her daughter, and fundamental fairness requires a good faith, de novo credible fear
      interview for Ms. Martinez, with the assistance of counsel.

                  C.       There is a "[S]ubstantial and [R]ealistic [P]ossibility" that Ms.
                           Martinez will Establish Eligibility for Asylum and Withholding of
                           Removal
              Federal law provides that an asylum seeker is "found to have a credible fear of
      persecution if there is a significant possibility, taking into account the credibility of the
      statements made by the alien in support of the alien's claim and such other facts as are
      known to the officer, the alien can establish eligibility for asylum under section 208 of
      the Act or for withholding of removal under section 241 (b)(3) of the Act." 51 The United
      States Supreme Court has held that a significant possibility may be established even in
      instances where there is as little as a 10 percent chance that the individual will be
      persecuted on account of a protected ground. 52 Per INS v. Cardoza-Fonseca, all that is
      required is that "persecution is a reasonable possibility." 53

              In order to make a credible fear determination, the C.F .R. requires the asylum
      officer to conduct a "threshold screening interview" of all asylum seekers to determine
      whether those individuals are "ineligible to apply for asylum." 54 Ms. Martinez, if given
      an opportunity to present new facts and to recount her experiences in a new screening
      interview, after she has received treatment for the mental trauma caused by the forced
      separation from Mariela, will establish a "significant possibility" that she will ultimately
      prevail on either an asylum claim or a claim of withholding ofremoval.

      49
        Ms. L v. US Immigration and Customs Enforcement, Case No. 3:18-CV-0428, Docket Entry 220, at p.
      3440.
      50
           MMM v. Jefferson B. Sessions, Case No. 3:18-CV-01832, Docket Entry 65-1, at p. 2-3.
      51
           8 C.F.R. § 208.30(e)(2).
      52
           See INS v. Cardoza-Fonseca, 480 U.S. 421, 440 (1987).
      53
           Id
      54
           8 C.F.R. § 208.30(e)(6).


                                                          12
                                                                                                          Exhibit A
                                                                                                           000048
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4205 Page 37 of
                                       251
           Case 1:18-cv-o{'.-PLF Document 1-2 Filed 09/26{..-'Page 14 of 215




                           1.       Ms. Martinez has a Significant Possibility of Prevailing on an
                                    Asylum Claim

              To demonstrate eligibility for asylum, an applicant must show that she is a
      refugee. 55 That is, that she "is unable or unwilling to" return to the country of her
      nationality "because of persecution or a well-founded fear of persecution on account of
      race, religion, nationality, membership in a particular social group, or political
      opinion." 56 Although the INA does not define "persecution," applicable case law has
      defined it as "a threat to life or freedom or infliction of suffering or harm upon those who
      differ in a way regarded as offensive." 57 Persecution may also include: serious physical
      harm, 58 rape or sexual assault, 59 forced abortion, 60 harm to family members and close
      associates, 61 threats, 62 severe economic harm, 63 extortion, 64 and emotional or
      psychological harm. 65 Scheerer v. U.S. Attorney General held that an asylum seeker can
      prove refugee status by simply presenting "specific and credible evidence" of either past

      55
           INA§ 1158(b)(l)(B)(I).
      56
        Id. § 1101(42). See also, Silva v. US. Att '.Y Gen., 448 F.3d 1229, 1236 (I Ith Cir. 2006) ("To establish
      asylum based on past persecution, the applicant must show (1) that she was persecuted, and (2) that the
      persecution was on account ofa protected ground," such as race, religion, nationality, political opinion, or
      membership in a particular social group."); Najjar v. Ashcroft, 257 F.3d 1262, 1289 (I Ith Cir. 2001) ("To
      establish eligibility for asylum based on a well-founded fear of future persecution, the applicant must show
      (I) a subjectively genuine and objectively reasonable fear of persecution that is (2) on account ofa
      protected ground." Id. (emphasis added, citations and quotation marks omitted). "The subjective
      component is generally satisfied by the applicant's credible testimony that he or she genuinely fears
      persecution. In most cases, the objective prong can be fulfilled either by establishing past persecution or
      that he or she has a good reason to fear future persecution." (citation and quotation marks omitted)).
      57
         Matter ofAcosta, 191. & N. Dec. 211, 222 (BIA 1985).
      58
         Ndom v. Ashcroft, 384 F.3d 743, 752 (9th Cir. 2004) (two detentions without formal charges for a
      combined total of25 days in a dark crowded cell, where applicant was shackled in cuffs preventing him
      from straightening his legs and forcing him to urinate on his clothes, constitute persecution); Prasad v. INS,
      47 F.3d 336, 339 (9th Cir. 1995) (detention and physical torture); Tarubac v. INS, 182 F.3d 1114, 1118 (9th
      Cir. 1999) (being kidnapped, beaten, held without food, and threatened is persecution); Matter ofV-T-S, 21
      I. & N. Dec. 792, 801 (BIA 1997) (kidnapping is persecution).
      59
         See, e.g., Zubeda v. Ashcroft, 333 F.3d 463, 472 (3d Cir. 2003); Hernandez-Montiel v. INS, 225 F.3d
      1084, 1097-98 (9th Cir. 2000); Angoucheva v. INS, 106 F.3d 781, 793 (7th Cir. 1997); Lopez-Galarza v.
      INS, 99 F.3d 954, 959 (9th Cir.1996).
      60
         See, e.g., Lidan Ding v, Ashcroft, 387 F.3d 1131, 1139 (9th Cir. 2004).
      61
         See, e.g., Khup v. Ashcroft, 376 F.3d 898, 904 (9th Cir. 2004); Mashiri v. Ashcroft, 383 F.3d 1112, 1119
      (9th Cir. 2004); Navas v. INS, 217 F.3d 646, 658 (9th Cir. 2000); Chouchkov v. INS, 220 F.3d 1077 (9th
      Cir. 2000); Matter ofA-K-, 241. & N. Dec. 275, 278 (BIA 2007).
      62
        See, e.g., Stanojkova v. Holder, 645 F.3d 943, 948 (7th Cir. 2011); Chavarria v. Gonzales, 446 F.3d 508,
      518 (3d Cir. 2006); Mashiri v. Ashcroft, 383 F.3d 1112, 1120 (9th Cir. 2004); Ruano v. Ashcroft, 301 F.3d
      1155, 1160-61 (9th Cir. 2002).
      63
           See, e.g., Matter ofT-Z-, 241. & N. Dec. 163, 173-74 (BIA 2007).
      64
           See, e.g., Silvia Ayala v. Sessions, 855 F.3d I 012, 1015 (9th Cir. 2016); 807 F.3d 53, 59-60 (4th Cir.
      2015).
      65
        See, e.g., Mashiri v. Ashcroft, 383 F.3d 1112 (9th Cir. 2004); Matter of A-K-, 241. & N. Dec 275 (BIA
      2007).

                                                               13
                                                                                                                     Exhlbi!A
                                                                                                                      000049
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4206 Page 38 of
                                       251
           case 1:18-cv-o('.-PLF Document 1-2 Filed 09/26r Page 15 of 215



      persecution or fear of future persecution "on account of her race, religion, nationality,
      membership in a particular social group, or political opinion." 66

                  Family Social Group

              Ms. Martinez, as a member of her family, is part of a recognized particular social
      group. The Board of Immigration Appeals held in Matter of L-E-A- that "Members of an
      immediate family may constitute a particular social group. We have long recognized that
      family ties may meet the requirements of a particular social group depending on the facts
      and circumstances in the case." 67

              Through her family, she has been subject to persecution and has a well-founded
      fear of persecution in the future. Ms. Martinez has been battered and sexually abused
      since the age of seven years when she was assaulted by her uncle. Moliterno Cert. if IO;
      Exhibit Bat 11, 14, 18, 20. He threatened to kill her if she reported the abuse. Exhibit B
      at 20. Her mother, father, and grandmother were informed of the abuse, but no one
      reported the sexual abuse of a child and the threats of murder to the police. Exhibit B at
      15, 20. In addition, she was repeatedly raped, abused and then stalked by her boyfriend
      for several years. Moliterno Cert. if 7; Exhibit Bat 10-12, 14, 20. He beat her about her
      face and head and threw her down before abusing her sexually. Exhibit B at 12-13. Cert.
      In addition to family-based abuse, Ms. Martinez's family has also been targeted by
      external violence. Her uncle was killed in his home, but no investigation occurred
      because her family lacked resources to pay the authorities. Moliterno Cert. if 6. See also
      Section I.A, supra.

                 Low-Income Women Social Group

              Ms. Martinez also is a member of a particular social group of low-income women
      in Honduras. The Board of Immigration Appeals established in Matter of M-E-V-G- that
      applicants must "establish that the group [at issue] is (I) composed of members who
      share a common immutable characteristic, (2) defined with particularity, and (3) socially
      distinct within the society in question." 68 At home, at work or elsewhere, low-income
      Honduran women are repeatedly targeted by their family members, supervisors,
      individuals in authority and numerous criminal gangs and subjected to extortion, physical
      and sexual violence and even death, while their perpetrators continue to operate with
      impunity. See supra at pages 2-4 (Violent Conditions in Honduras).

              Ms. Martinez was repeatedly raped, abused and then stalked by her boyfriend for
      several years and then repeatedly sexually harassed by her employers. Moliterno Cert. if
      7; Exhibit Bat 10-14, 20. Ms. Martinez and her family did not report these crimes to the
      Honduran authorities because of the unwillingness of the authorities to police or even

      66
           445 F.3d 1311, 1315 (I Ith Cir. 2006).
      67
        27 I. & N. Dec. 40, 42 (BIA 2017); see also Hernandez-Avalos v. Lynch, 784 F.3d 944, 949 (4th Cir.
      2015).
      68
           26 I. & N. Dec. 227 (BIA 2014); see also S.E.R.L. v. Sessions, No. 17-2013, 3rd Cir. (July 3, 2018).


                                                             14
                                                                                                                  Exhibit A
                                                                                                                   000050
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4207 Page 39 of
                                      251
           Case 1:18-cv-m:'-PLF Document 1-2 Filed 09/26(' Page 16 of 215



       investigate misconduct, absent corrupt facilitating payments. Moliterno Cert.~ 7; Exhibit
       Bat 17-18. In fact, Ms. Martinez feared that reporting some of these crimes to the police
       would lead the perpetrators of her assault have her killed. Moliterno Cert.~ 8.

              In addition to the sexual violence that Ms. Martinez has endured since childhood,
      she is a single woman of limited means who was living in a country with a widespread
      culture of lawless, violence and impunity. As detailed above, country conditions in
      Honduras are extremely dangerous. In 2015, according to the UN Office on Drugs and
      Crime identified 63.75 out of every 100,000 Hondurans was killed by intentional
      homicide and in 2010, the last year for which there was data, 34.8 % of total homicides
      were victims killed by gangs or organized criminal groups. 69 The city that she calls home
      is recognized as one of the most dangerous cities in what is already one of the most
      violent and dangerous countries in the world. The fact that Ms. Martinez's uncle was
      found murdered in their home, likely as a result of the rampant gang violence, is relevant
      to Ms. Martinez's own fear of harm and persecution. The Ninth Circuit held "a death
      threat, violence against family members, vandalism, economic harm, and emotional
      trauma" amounted to past persecution. 70 It noted in a further case that "Violence directed
      against an applicant's family members provides support for a claim of persecution and in
      some instances is sufficient to establish persecution because such evidence 'may well
      show that [an applicant's] fear of persecution is well-founded."' 71

              The extortion attempts from the man who threatened her and her daughter with
      death is yet another example of the violence and lawlessness present in Ms. Martinez's
      hometown and country and evidence of the fact that as a low-income woman, she was a
      target. These types of extortion threats, directed primarily at women, are commonplace in
      Honduras. Courts have held that credible threats to invoke grave physical harm constitute
      persecution. 72 Furthermore, at least two circuit courts have held that extortion plus the
      threat of violence can constitute persecution: the Ninth Circuit held that "[Vhe IJ
      committed legal error by holding that extortion could not constitute persecution." 3; and
      the Fourth Circuit stated, "Extortion itself can constitute persecution, even if the targeted
      individual will be physically harmed only upon failure to pay." 74 If extortion occurs on
      account of a protected ground, an individual qualifies for a grant of asylum. 75 Ms.
      Martinez was targeted for these extortion payments precisely because she was a poor
      woman with no recourse. The past persecution Ms. Martinez has suffered at the hands of

      69
        See, e.g., Intentional homicide, counts and rates per I 00, 000 population, UNODC STATIS TICS,
      https://data.unodc.org/#state:l (last accessed Sept. 16, 2018); Intentional homicide victims killed by gangs
      or organized criminal groups as percentage of total homicide victims by country/territory (2005-2012),
      UNODC STATISTICS, available at https://data.unodc.org/#state:l (last accessed Sept. 16, 2018).
      70
         Mashiri v. Ashcroft, 383 F.3d 1112, 1120 (9th Cir. 2004).
      71
         Baballah v. Ashcroft, 367 F.3d 1067 (9th Cir. 2003) (quoting UNHCR, Handbook at~ 43).
      72
         See, e.g., Stanojkova v. Holder, 645 F.3d 943, 948 (7th Cir. 2011) (providing examples of threats and
      other nonphysical harm that may constitute persecution).
      73
         Ayala v. Sessions, 855 F.3d 1012, 1015 (9th Cir. 2016).
      74
         Oliva v. Lynch, 807 F.3d 53, 59 (4th Cir. 2015).
      75
         See id. ("Recognizing that extortion can be a form of persecution, the appropriate inquiry is thus whether
      the extortion occurred on account of protected grounds.").

                                                           15
                                                                                                                 Exhibit A
                                                                                                                  000051
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4208 Page 40 of
                                      251
          Case 1:18-cv-or':-PLF Document 1-2 Filed 09/26(\Page 17 of 215



          family members and an intimate partner, as well as her employers and the criminal
          elements operating in Honduras, creates a substantial and realistic possibility that Ms.
          Martinez will prevail at a full merits hearing. Since Ms. Martinez can establish she has
          suffered past persecution, she is "presumed to have a well-founded fear of persecution on
          the basis of the original claim." 76

                  Further, Ms. Martinez fears returning to Honduras because she fears that her
          extortionist will make good on his promise to kill her and her daughter. Moliterno Cert. 'ii
          8; Exhibit Bat 15, 16, 20. Ms. Martinez also fears further sexual abuse and violence from
          her estranged former-boyfriend and her former employers. Moliterno Cert. 'ii 7-8; Exhibit
          B at 16, 20. As with the prior abuse she has suffered, Ms. Martinez will have no one to
          turn either to protect her or to hold the perpetrators accountable. These fears, grounded in
          her past abuse, the credible threats that were directed towards her, and the rampant
          violence in her home country, amount to a well-founded fear of future persecution, were
          she to return to Honduras.

              Indeed, Ms. Martinez would be eligible for a grant of humanitarian asylum based
      on her past persecution and the likelihood that she will face other serious harm if returned
      to Honduras. 77 The Board of Immigration Appeals explained that humanitarian asylum
      can be granted due to "compelling reasons" associated with the past persecution or the
      "reasonable possibility" that an applicant who establishes past persecution will face
      "other serious harm" if returned to his or her country of origin. 78 An analysis of "other
      serious harm" can include both general country conditions regarding gang violence and
      economic deprivation, as well as the particular challenges Ms. Martinez faces as a single
      mother without male protection and as a poor woman with no livelihood and a history of
      abuse and persecution in Honduras. Therefore "adjudicators considering 'other serious
      harm' should be cognizant of conditions in the applicant's country of return and sho.uld
      pay particular attention to major problems that large segments of the population face or
      conditions that might not significantly harm others but that could severely affect the
      applicant." 79

                             2.       Ms. Martinez has a Significant Possibility of Prevailing on a
                                      Claim of Withholding of Removal

             Withholding of removal under INA Section 241 (b)(3) requires showing that it is
      more likely than not that the applicant's life or freedom will be threatened on account of
      one of the five protected grounds in the asylum/refugee definition (above). 80 Given the

      76
         8 C.F.R. § 1208.13(b)(l).
      77
         See 8 C.F.R. § 1208.13(b)(l)(iii).
      78
         Matter of L-S-, 25 !&N Dec. 705 (BIA 2012).
      79
         See id at 714.
          0
      '       Applicants for withholding of removal may argue they only need to establish that a protected
      characteristic was "a reason" and not "one central reason" motivating their persecution. See Barajas-
      Romero v. Lynch, 846 F.3d 351, 360 (9th Cir. 2017) (remanding the case to the BIA in light of the finding
      that because Congress amended the asylum statute to include the REAL ID Act's "one central reason"
      nexus standard, but did not include similar language to the withholding ofremoval statute, Congress did

                                                               16
                                                                                                                Exhibit A
                                                                                                                 000052
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4209 Page 41 of
                                      251
          Case 1:18-cv-o('.-PLF Document 1-2 Filed 09/26('Page 18 of 215



       foreg11ing discu~sfon.tl!:iotit the numeroµs i.g$tanees of past persecution on account of her
       J;nem!:)ership in a group· of Iow·irt.come womtm itt a coitntry overrun by sexual viQle.nce
       and death, itisfair to say that it is "mi:ire likely thall 11ot" that Ms, Miutinei' s Ufe would
       be threatened ifshe.were to return to Ho11duras .. Ms~ Martinez: has a significant likelihood
       <?f also pr1;vailing op a claim of withholding of ren10Vat

       iI.      Co11cluslo11
                In oonc!usio11, Ms. Martinez should be granted her Requ¢st for Reconsideration
       and access to a second Credible Fear. Interview, with the assistance of counsel. ft wmdd ·
       be fundamentally J111fafr, as the (Jovetnn)ent. Itself imp)fo.itly concedes in tlie J?Utative
       settl<i)ments in the forced family se.1J?ir11tlo11 class.. actfon litigation before Judge Sabraw, to
       fllil to accpunt for the. emptfonal trnunia Y!IJ'.Ought .upon a parent separ11ted frnm•her
       da,ugl1Wr.Thisforeed si.'iparation..J?fevcritedJ\i!s. Martinez from effectively .recounting ih<l
       circum11tam:es ~ul'J'!lun.ding th!l past persec.ution she ha$ faced in Honduras, eireumstlinc.es
       wbicli deml:itistrati:i tl1al~he has.a viable asyll.tmclaim.                             ·         ·

                                                              SJncel'ely,


                                                             Kafhlc~u L.•Benner
                                                             Atlm:ney ..
                                                             KING & SPALDING LLP
                                                             l 70Q Pelll1~Ylvania Ave, Sui(<i) 200
                                                             Washington, OC10005
                                                             (10;2) 626·5403
                                                             kbe1111er@kslaw.com




      n~tJntond fo.rJ~r>"on~ c~nltal .reasqn"standard t<t apply Jo wJthholllirig.ofr•moval claims); .Se~.also JNS v:
      .St wit\ 46.7 U.S.407., 429·30 (1984).

                                                           17

                                                                                                                Exhibit A
                                                                                                                  000053
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4210 Page 42 of
                                      251
          Case 1:18-cv-o('.-PLF Document 1-2 Filed 09/26(' Page 19 of 215

                                                  Notice pf Entry qf Appearance                                                                .DHS
                                            as Attorney or Ac<;redlted Repi:esentative                                                     Forrn..G-28
                                                                                                                                       OMBNo. 16!5-0lOS
                                                          Departl!lent ol'Homelllnd. Sec~ rlfy                                          El<pitos 0513112021


                                                                                   :Pirf2; 'Elli· lblll!Y'. l:niu t11atfori:t<lr•
                                                                                   :A:!~~r~~lt~ti~~~;;~~~l1~~if~litW! ''' · •· ·
I.      t1SCJS·Q11lineAc;:ountNunjber (if any.)                                    Selec!Rll ",!WliCa~le•items.
                    .......1--'---'----.-"--.,.....,,.-'-''"---'---'-'....;.l__,   La. ffi"I amJm attornel' eligible topracfice law in, an~ Ji
                                                                                            m.0mberin good st~nding of, die bar ofthe highest
                                                                                            courts ofthefollowi11g states; possessions, territories,
                                                                                            c.ommo11wealths, or tlie District of Columbia . .If you
     Family Nam<'I ;:~· •• · .· _                                                          ·need,ej<l(a space to compl¢te tliis lieclio1l, Use \lie
     (l..ast Name) ~·:;'x:::n:::n:;;!'.:::r========~                                        ~pace provided in Part 6. A.ddltion•I lnf~i·mnt1 0n.
2.b. Given Nallie ·.111 11,,_h ·                                                               LjcenslngAulh(Jtity
     (First Name) .. J\9,.TnAAft
2,c. Middle. Name I_.  ,,,I   l_?.s,..\~ie.._·." - - - - - - - - - - - - '
                                                                                   1.b. Bm'NiHnber (!fiipplkabl~)
~~ifr~~~ ·111~f{1ii·l{~~,«~-11~4~-~'Uli~~~fk~~~~1~~!~~i:l1m
            1
                                                                                                                          ?
3
 ••· ~1~:rb•r 11100 PeV1ns~lvc.ak\ fu!(;t.JWI
                                                                                          l.(sele~t<ml)' onebo.><)IJJ'!i1111101      0 am
                                                                                          ~ubject to any order suspending, enjoining, restraining,
3.b. 0 Apt. [}$fe; 0 Fir. I.1Qel                           I                              \!isl)arri!tg,•or otl1erwls0.rcsttictii)g·me .in the. p\11ctice of
                                                                                          law• (fyou ore subjectto any orders. Use the sPacc
        City or Town   I L.»s.\siasmXl •...                                   I           provided ill Part6. Additional Informatlonto provide
                                                                                          ane~planation.
.3.d. State     [KJ 3,••.zIPCod<>l '.)000[1                                    I   t.d. Name ofbw Firm or Organization (ifapplicable)

3.r. Province
                                                                                   2•••   0 ;; all acercthtc.d representallvl) ofthe. follOV(lhg
3.g, P9stal Code                                                                               qoa!J fjed vonprofit religions, chadtiilile, social
~.fj;   C<:mntry                                                                               .s'etVic.e,.or Siniilat<Q.rgariiZation· established in the
                                                                                               Ilni\ed States and recpgnlzed ,by the J;lepll!tment of
        IOSA                                                                                   Justic~ in.iw00.rdanc.e.with 8·GrRp~rtJZ92.
                                                                                   2.b. Name ofRecognized"Orgauizatlon

~~!~f'l~~~j~ft~q~:                                                                 2,e; Date ofAccreditation (l(lrnlddlyy:yy)
4.. Daytime Tefophono Ni.un ber                                                                                                   i'-'-------
    I C'la~ 1e1ce~s46?                                                             3.     0 lam l\Ssociated with
P•      MobileTefopb~ne
                    Number(if'any)
    Ic20ii;.fl Y-- :i3"ti'f                                                                   the attorney or accredited representafive of recotcl
6.      BhiaiJ. Address (ifony.)                                                              who previously filed Form G·28 in. this case, and my


7.
        I lt~naf1'€1k;~~.Cort'l
        Fa)( Number (If any)
                                                                             ·I               appe:arahc.e as .au ·att6tney· or.accfre~ited--reprCsentative
                                                                                              for aJJmited purpose is. at his or her request",
                                                                                   4.a.   0 111nutl~wstud,ei1\or law graduate, workh1gllnderthe
        I('2.01} ·L/1<e ~&1#;;,1~                                                              direc1·supe(\'i!lo11 oftbe attoniey'<lf aecred.ited
                                                                                               l'epres•nt•liVj> o(!'!lcot(f on this fOt'tn in accordl!l1ce
                                                                                               Wit)l the req~lirements ii) 8 CFR2~2.l(a)(2).
                                                                                   4;b. Name of !..aw S.tm;lentort.aw Graduate




                                                                                                                                                  i'•ge l~t4
                                                                                                                                            Exhibit A
                                                                                                                                              000054
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4211 Page 43 of
                                      251
           case 1:18-cv-or:-PLF Document 1-2 Filed 09/26(\Page 20 of 215



 l'li!tt~.:N.oti¢,~ !)£-i\~l!earai1ce .as.~tfQl'
 Ai~el'.~cui~<l·)i~~l"~~~11t1iliV~:.;,.·.•··~·:.·,\;·.·... ·        lO..         Daytim.e Telephone Number
lfY9.U need e;<tra.•pace td oom.plete this sestion, use the space
provi~ed in ~•rl 6"1\ddiHonal lnf0rmatio11.           ·
                                                                    U • .l\1obileTelephone Number (if rtnyJ
TJ1is appearance relates. toimmigr.ati<)n mat«;rs before.
(select only one,b9~):
1.a• [Brtis, Citizenship and humigrqtion S.ervice.s (tJSCIS)        l2,          EmaiJAddr<rss(ifany)
1.b. List the form nuittb¢r,vor specific matter in which.
     appeartinbe- ·is ·~nte.re.d.


2.il.   0 \J.S. lmmigratiqn and Cystonis Enforceme.nt (!Cl:\)       NOTE;: Provide.the cllent'smallingaddtess.. Do· not provide
2,b, List tbe.spe.,J fie n>att~r in which appeara11ceJs·etilered.   the busi.ness mailing. add,ess ofthe attorney or acc,edited
                                                                                                                                  on
                                                                    representative uitlessc it•s.erves as the safe mailing address t.he
                                                                    application<(rpetition beiugfiled•wi!hthjs Form 0-28,
        Q tJ,S.Custmilsit~dBorqerPtot~c(ion (CBP)
                                                                                 ~~~:!~oer. ltlo. Q ~.·.!!~.·,Ava Nr.l!
3.a.

                                                                    l~.b, CJ Apt; [il>Sk 0 Fir. l1Ei                               =I
3.b. List the specific matter i.n which appearance is enter~d.      1·3···"·\·                      0.
                                                                                                     · ..•...




4.      ReceiptNumber(ifany)                                        13.c. City Qr Town .1 l&k.$\Ai<tliwj                                 J
         .      ... ·1..-'-'-f"""1'"'".-.;..""-\-.~-~~---.--i
                ..
                    .           .   ~   }
                                                                    13,d. State ~ J3;e, ZIP Co~e JQd'.Xp        I                       I
5.      {enter my appeartu~ce Man attorney or a~crediled:
        'epresentativ~:tiithneque!r.oftlie (selectonly onel>oi<J:   13;i'. Prov!hce
        D Appli,al\l O Peiltioner O Requ~stor                       13.g; Po.stal Cod~
        0   l:!enetlciary/flerlYa)jye       0
                                          Respond~~t (ICE;.(::BP)
                                                                    13:b.t•cge


                                                                    l haYe requested the iepresenfation of and ci;lnsentedto bei~g
? ..u. Name ofEntity(ifappllcable)                                  represented by the attorney or accredited representative 1iamed
                                                                    in.Part!. ofthisfQrm .. A<.1cordingtothePrivacx Act: of 1974
                                                                    and IJ,S. Department ofHomeJand Security (DHS).p01icy,.r
7.b. Title.ofAutborized Signatory for Entity (if applic!tble)       alS<\.consent.tii th.eil.iscJosure.to the named a!lorney or
                                                                    accredited representative QfilJ!y .records pettaini11g.to me tlmt
                                                                    appear in any sYsten) oftewrds of:lJSCl.S, !Cit, or C!3P.
8.      Client's. USCIS Online Account Number (if any)
                    ... 1   i           I   ! I       I
9.      Clienrs.Alien Registration Number (AcNumber)(ifany)
                            ""A-f~J\ J55'g 2J \11 l'/J



Eotm G-28 Ol/2311.8                                                                                                         i>oge1 pf~
                                                                                                                      Exhibit A
                                                                                                                       000055
 Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4212 Page 44 of
                                       251                 ~
           case 1:18-cv-o{'.-PLF Document 1-2 Filed 09/2611 ·Page 21 of 215



    Part 4, Client's .Co.11sent to Representation and                                 PartS. Signature of Attorney or Accredited                               .
·•· Signature (cpntinudc)}                                                            Representative
  Options.Regarding Receipt ofllSCIS Notices.and                                      I h.av.e read and un~1er:;tund:thc . regl.!.IULi'1ns and-condhiOns:,.
  Documents                                                                           contu.incd Jn$ CRR. JOJ.2 and. 292 governing appearances an.di
                                                                                      reptcsentotian before QIJS. I declare un<lerpentd;y·ol'perj~r~
  USC.IS will send nnticcs to botl1 a represented party (1hc ¢!font)                 ,under the laws of the· U11itcd·States. that thc'h1fo1111atio~ J ha\•e·
  auilhiS, her, oritS attorney Qra·_cc1·e(liied .r~presenJative either               Pfl'.)\d~e~\)!:) thls·°f6n11-iS lruc·nnd qorrQcl:.
  U1rougb n1ail ur cl~C:tronJc-dctivcry·. tJSCJS- \Vi]l-_scnd a11 _s~Ct.ir¢                 S.igna1u1;e of:,Auorney or.Accterlfled R~presc11U1Livi,:
: id(:nlJty dqci,1_n1t:n!s·a11d TraveL'Qo,e.tur1ellt$-tQ the CHei1t1$. lfr$~
  mailing address.                                                                          L~~~l· B~k'.¥~                                          . =1
Jfyqu_want.tq l1avc-notltes_ iind/bf'segure i,denXity·do_Ctllncnts
scihf to:ynur a.Hom¢)' lH':'riCcredilC'd·rcprese.Oiati.v-e of 1ucc)i·d rath¢r
                                                                                     1.b. Date;oCS.igoanire ln1n1fd<llmy)           1£2li/1:cel~:~J8"              J


1_hari to-you, please select-all a-ppiiCablc hem$ bcl0,w. You may                    2.a. .Sigril\tlite !:if Law Stlide.nt or tu"v· On1duute:
clH\ngc-thC:;c . elect_iOnS 'through \Vrittcn ..i1oticC to US-CIS.         .
 l,.•,   0 I reqltcstthatUSCisse11d .original 1101ices 01n\n
             application or•petition ro the U.S. bLisinessaqdre;;s of"               Z.b, Dok ofSignutur<> {n\mlddlJl.YY.Yl
             my a11onl'ey.01'·.·accrc~il1;d.reprcsci1tatiy~ as .H~ted.'ii\
             this tbrn1.                                             ·
 J.b.    0 l requesl thui USCJS send any secure identity.
             _docun1en1 (Permanent Rcliident Card, Einployment
             .Authdd;pitiotl '_pocurnenl~.·or .Traver Docl,liuent) tliiit 'I
             r~coive lo the l:LS. busine's address of'.1rwatto01oy or
             accreditecJ i·~ptesentatlvp (or tO ll'design~ilcd 1nlli.tary
             or dipl0mark add1i::ss ill a foreign cout111y (if
             permitted))~         ··                          ·
             l'\OTE: Jl'your notice oontai11s fortn fc94;
             i\trival.Doparture Record, .1Jsc!Swi.ll >c11_d the
             notiCJ!'{O th¢ .u·.s,. bµsi11css rtddt-c$s. ofyo~ii; attu.rncy
             ot ac..·t:tc.d.itCd.rcj1res·enta.tj\'.e, lfy(>U. \VOUi'~.,r.alhet
             hu.vc your Furm l-94 se11t.\lirectly lb _yc)u, se)cct
             Item Numb.er 1.c.
J.c,     0 l roquestthat 1;sC1s sc1id my notie~ coniait1ing i\orm
             1c94to111e. at ni)' U.$, mailing.address.

Signatlii•e <1/ Clie11f orA.rithoti;,fd fiig11atory/or (JJL
Entity
2.a. Signature !'cllcnrnr,l\uthorizcd Signatoty tor·a:ll Enii!y

... ~~Li~Lt_.---~.
~.I>. Dute 1ll'Sig11aturc(mmldd!yyyyl fJ.J::l.µ :4 }r)/ g                        J




                                                                                                                                                Exhibit A
                                                                                                                                                 000056
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4213 Page 45 of
                                      251
          case 1:18-cv-o('.-PLF Document 1-2 Filed 09/26(' Page 22 of 215



 !rnrt6. Additional lnfl)rmation                                                           4••• Page Nun1bcr 4.b. P.ni't Number   4.c.     II c:m· Ninti be i'
                                                                                                                   1~~1
 1ryotl, need-G-Xtra space tb pl'ovide any additioo~J hlfornta-dorr                                I       I
 \lfllhi,11 ihi&-fqrn1_,,-U$_¢ _ltie··spUce.b.~IO_w .. _Jf yOu_heed-1noi'c't1fH!<.:c       <l.d.
 th~n Whal is 11r0Vid~d'.--Y~.ni _tnay t'Qi\ke_ c_ppies pJ this pagq tO
 co1npf ete-.and file with this fornft)_r atl~ich. a :sepant,HY shectof
 paper~ Typl!·qr:_pi·jn! ybu~.oa1~1c:-at the rop 9feacl) _sh~~l:·
 in~licalg the Page-Nt1nl~~1;, .PartJ'iumhc_r. und:rte111 Numhe1•
 to which your answer refers;_ an(f sign and-date cacJ1 ·shect.
  I.a     r-~airtilY,   Na,·ne: -~    .-· .""
      (Last Name)               :enn"1                                                 I
                                [Ko.1:\.\1!!~"'
 t.b. Oiven N1:\91¢
      (first Nnn\c)                                                                    r
 1.c. !Vtiddlc N•mw [~l),\Je,.._
                                                                                       l
 2.n. Page Nlnttber 2.b. Part Ntupber                       2.c.    itetn -Nun1'b¢r

          L4:=J                       I. :2....                     L:l'LJ
 2.i:I.
           ll~~\~_f3\)~f~!1.~>li>S k_.                                                     5.a. Page Number $.lJ. Pa1·t Number    5.<!. ltenlNumb<tr
          -~~um\iPr- 91 f;\~f;il                                                                                                                            .,
                                                                                           5.d.
                                                                                                   C1              c~·--i




3,a., Page Number                3.b. Part Nlrmbcr         3~c.    !,tern -Number

          I                 I         I         . ]                I                   I
                                           ·-------"·--·




                                                                                                                    - - - - ·--·-----




fvrm G-28 li512Jfl.8.                                                                                                                        Pag~ 4 nf 4

                                                                                                                                         Exhibit A
                                                                                                                                          000057
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4214 Page 46 of
                                      251
           case 1:18-cv-or.-PLF Document 1-2 Filed 09/26(' Page 23 of 215




                            Exhibit A




                                                                     Exhibit A
                                                                      000058
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4215 Page 47 of
                                       251
           Case 1:18-cv-oZ'.-PLF Document 1-2 Filed 09/26i('Page 24 of 215




                                                                     Exhibiti
                                                                      000059
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4216 Page 48 of
                      I'             251              "
            Case 1:18-cv-Oi,         .-PLF Document 1-2 Filed 09/26/\                'Page 25 of 215



                                              [emblem]
                                 COMMUNAL BOARD FOR IMPROVEMENT
                                    OF THE VILLAGE OF EL CARRIL
                                         OLANCHITO, YORO,
                                          PERIOD 2016-2017

                                                 CERTIFICATE

    We, the Board of the Community of El Carril, hereby STATE THAT: LESBI NOHEMI MARTINEZ
    MARTINEZ, Identity Number 1807-1988-011478, is the guardian of the female child YENCY
    MARIELA MARTINEZ MARTINEZ, Identity No. 1807-2007-00399, who was born on June 7, 2003.
    She remained in charge, since her mother, ONELSA MARGARITA MARTINEZ MARTINEZ,
    identity No. 1802-1972-00050, died on October 17, 2016 and her father, RAMON EVELIO
    MARTINEZ RAUDALES, Identity No. 1807-1964-0068, entrusted the protection, custody and legal
    guardianship to the young LESBI NOHEMI MARTINEZ MARTINEZ, who remained the custodian in
    charge thereof.

    And for the purposes deemed convenient by the interested parties, this certificate is given to her on
    Wednesday, October 19, 2016.

   Bincerely,
                                                              [stamp: 2016-2018 illegible]
                                                    [signature]
                                                    Abel Ochoa
                                                     President

                                        LEGAL DEPARTMENT
                                              No. 042
                               WITH HEADQUARTERS IN TEGUCIGALPA D.C




                                                                                                            Exhibit3
                                                                                                             000060
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4217 Page 49 of
                                       251
          Case 1:18-cv-o{"'.-PLF Document 1-2 Filed 09/26(' Page 26 of 215




   •
TRANSPERFECT


           City of New York, State ofNew York, County of New York




           l, Aurora Landman, hereby certify that the document, "2016 - Legal Guardianship
           Document" is, to the best of my knowledge and belief, a true and accurate translation
           from Spanish into English.




           Aurora Landman



           Sworn to before me this
           September 17, 2018




           S~tary              Public




           Stamp, Notary Public




                      LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
   THREE PARK AVENUE, 39TH FLOOR, NEW YORK, NY 10016 I T 212.689.5555 I F 212.689.1059 I WWW.TRANSPERFECT.COM
                                                    ao
                                          OFfiCES IN CITIES WORLDWIDE
                                                                                                        Exhiblt4
                                                                                                         000061
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4218 Page 50 of
                                     251
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4219 Page 51 of
                          (',             251                ~
           Case 1:18-cv-O~    .-PLF Document 1-2 Filed 09/26/; Page 28 of 215



                                GUARDIANSHIP AND CUSTODY.-



    I, RAMON EVELIO MARTINEZ RAUDALES, of legal age, Honduran, with Identity No.
    1807-1964-00681, residing in the Village of El Carrill in the Jurisdiction of Olanchito,
    Department of Yoro, authorize my daughter LESBI NOHEMI MARTINEZ MARTINEZ,
    with Identity No. 1807-1988-01148, residing in the Village of El Carrill in the Jurisdiction of
    Olanchito, Department of Yoro, to make the necessary arrangements before the competent
    authorities and to hold the guardianship and custody of my underage daughter YENCY
    MARIELA MARTINEZ MARTINEZ, with Identity No. 1807-2007-00399.


    Under oath, I so sign this instrument of GUARDIANSHIP AND CUSTODY, in the city of
    Olanchito, Yoro, ON MAY 3, 2018.




                                   [signature] [thumbprint]
                            RAMON EVELIO MARTINEZ RAUDALES




                                                                                            ExhibiteJ
                                                                                             000063
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4220 Page 52 of
                      /'             251    .         ~
            Case 1:18-cv-Ol,        ·.-PLF Document 1-2 Filed 09/26/;              ·Page 29 of 215



   ii
TRANSPERFECT



                            City of New York, State ofNew York, County of New York




            I, Aurora Landman, hereby certify that the document, "Martinez_ice_form)_246_Fina
           39" is, to the best of my knowledge and belief and wilhin the given parameters, a true and
            accurate translation from Spanish into English.




           Aurora Landman


           Sworn to before me this


           September 13, 2018




          ~Notary              Public




           Stamp, Notary Public


                      LANGUAGE AND TECHNOLOGY SOkUTIONS FOR GLOBAL BUSINESS
   THREE PARK AVENUE, 39TH FLOOR, NEW YORK, NY 10016 I T 212.689.5555 I F 21'2.689.1059 I WWW.TRANSPERFECT.COM
                                          OFFICES IN 80 CITIES WORLOWIOE
                                                                                                        Exhibit fl.
                                                                                                         000064
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4221 Page 53 of
                                       251
           Case 1:18-cv-o{'.-PLF Document 1-2 Filed 09/26(' Page 30 of 215
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4222 Page 54 of
                                       251
           case 1:18-cv-o{'_-PLF Document 1-2 Filed 09/26(" Page 31 of 215



                                        [logo:]
                                   BAR ASSOCIATION
                                     HONDURAS                          [illegible]
    [stamp: illegible]                                               SERIES 'A'
                                Bar Association of Honduras
                                  Authenticity Certificate
                                                                   No. 1981983

    THE UNDERSIGNED NOTARY PUBLIC MARCIO EDGARDO MUNGUIA PUERTO, DOMICILED
    IN THIS CITY, WITH OFFICE LOCATED ONE BLOCK NORTH OF THE DA VIVIENDA BANK, IN
    THE NEIGHBORHOOD EL CENTRO OF THIS CITY OF OLANCHITO, AFFILIATED WITH THE
    BAR ASSOCIATION OF HONDURAS WITHNUMBER02450, WITHEXEQUATUR
    REGISTRATION OF THE SUPREME COURT OF JUSTICE NUMBER 1130, CERTIFIES THAT
    THE DOCUMENT OF GUARDIANSHIP AND CUSTODY GRANTED BY MR. RAMON EVELIO
    MARTINEZ RAUDALES, IDENTITY NO. 1807-1964-00681, TO MS. LESBI NOHEMI
    MARTINEZ MARTINEZ, IDENTITY NO. 1807-1988-01148, IS AUTHENTIC SINCE IT WAS
    ISSUED IN MY PRESENCE WHICH I, THE NOTARY, CERTIFY.

                            OLANCHITO, YORO, MAY 3, 2018

                                           U.L.
                                        [signature]




                                                                              Exhibit!!)
                                                                               000066
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4223 Page 55 of
                                      251
          case 1:18-cv-or'.-PLF Document 1-2 Filed 09/26rPage 32 of 215




TRANSPERFECT


           City of New York, State ofNew York, County of New York




           I, Aurora Landman, hereby certify that the document, "Ccrtilicntc of Authenticity" is, 10
           the best of my knowledge and belief, a true and accurate translation from Spanish into
           English.




           Aurora Landman



           Sworn lo before me this
           September 17, 20 l 8




           ~itary              Public




           Stamp, Notary Public




                      LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
   THREE PARK AVENUE, 39TH FLOOR, NtW YORK, NV 10016 I T 212.689.5555 I F212.689.1059 I WWW.TRANSPERFECT.COM
                                         OFFICES IN SQ CITIES WORLDWIDE
                                                                                                       Exhibil(!)
                                                                                                        000067
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4224 Page 56 of
                                     251
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4225 Page 57 of
                                       251
           Case 1:18-cv-m:'.-PLF Document 1-2 Filed 09/26r Page 34 of 215



                                           [emblem]
                              COMMUNITY IMPROVEMENT TRUST
                                OF THE VILLAGE OF EL CARRIL
                                     OLANCHITO, YORO.
                                     TAX YEAR 2017-2018

                                           CERTIFICATION

    We, the Community Trust of El Carrill, herein STATE FOR THE RECORD THAT LESBI
    NOHEMI MARTINEZ MARTINEZ, with Identity Number 1807-1988-01148, is the guardian
    of the female child YEN CY MARIELA MARTINEZ MARTINEZ, who was born on June 7,
    2003. She remained responsible for this child because her mother passed away and the young
    woman LESBI NOHEMI MARTINEZ MARTINEZ remained as her guardian and person
    responsible for her.

    And for the purposes that the interested parties deem useful, they are issued this certification on
    Wednesday, August 2, 2018.

    Sincerely,
                                                                    [stamp:] Community Improvement Trust
                                                                                of the Village ofEI Carril,
                                                                                          Olanchito, Yoro,
                                                                                     2017-2018, [emblem]
                                                [signature]
                                               Abel Ochoa
                                                 Chairman


                                     [stamp:] LEGAL CAPACITY
                                                 N0.42
                   WITH OFFICES IN TEGUCIGALPA, CAPITAL DISTRICT




                                                                                                   Exhiblf l\
                                                                                                    000069
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4226 Page 58 of
                                      251
          Case 1:18-cv-Olr:-PLF Document 1-2 Filed 09/26/(' Page 35 of 215



   ii
TRANSPERFECT




                           City of New York, State ofNew York, County ofNcw York




            I, Aurora Landman, hereby certify that the document, "Martinez_ice_form_i_246_Fina
           38" is, to the best of my knowledge and belief and within the given parameters, a true and
           accurate translation from Spanish into English.



          1kt)_
           Aurora Landman


           Swam to before me this


           September 13, 2018




          ~olary               Public




           Stamp, Notaey Public


                      LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
   THREE PARK AVENUE, 39TH FLOOR, NEW YORK, NY 10016 I T 212.689.5555 I F 212.689.1059 I WWW.TAANSPERFECf.COM
                                          OFFICES IN 80 CITIES WORLDWIDE
                                                                                                       Exhib1J3
                                                                                                        000070
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4227 Page 59 of
                                      251
          case 1:18-cv-or'.-PLF Document 1-2 Filed 09/26r Page 36 of 215




                            Exhibit B




                                                                     Exhibit A
                                                                      000071
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4228 Page 60 of
         (
               ,,
                  ca~e                        251
                       1:18-cv-oz\PLF · Document 1-2 Filed 09/26("' Page 37 of 21CZ01)
           '
 u,' S. Dc11nrtnm1I or H11moln11d Securltl'                                                     Rec-ord of Negative Credible Fear Finding
 U.S. Cltir.cn;l1ip m1d l111111lgrnl1011 Scrvtc&~                                        (ll~d Request F.or Revi~w by lmmigratiQn Judg_e__
                   .
     Alien File Numb~r:           . 215 582 112·
     I.       To lie ox11lnlned lo lh• alien by the nsylum officer:
     U.S. Citizenship nnd hnmigmtion Scrvic~s (USC JS), lms de\er1nlfled:lhat you do.not l1ttve a credible fear of persect1tion or torlurc
     pursuunt.to 8 Cl'R 208.30 for the following reason(s)l      .            ·
     A. 181     You hnvo not ~stabli.si\~c.1 a credible \cnr of pc1·seclltl61i in your co1intry 01' n'nrio1101i.ty, country o'flilst'hnbitunl«esidcnce, or a
                country to which you hnvc been ordered rem~vcd becnoset                                                      ·
                D You hnvo notindicaied that you were lmm1ed 1!1 the past· and you hnve nol ••pressed fear of future harm.
                181 There Is no sig11Jncan1 posslbilicy.that. you could estublish in a.full hearing that the harm you experienced and/or !he hann
                    you fear is on account or your roce, religion, nntfonullty, political opinion, or membership.in a particular social group.
                D You l)n,ve no,l.i!ldicnlo;l that you were harme.~jn the past, and !here Is no signlficnnl possibility that you could cscablish in
                    a full hearing Ihm the h·~rm·you fen1· is weH founded.
                D Thorn is 110 significant posslbilhy that you could establish In a Jilli hearing that the harm you experienced or fear wasli•
                    sufficic11Uy serious lo amount to persecution.
                181 There Is no slgnilicanl possiblllty thnryou coi1lcl estnbltsli in a full hC!lriug that the entity lhnt hnm1cd you or would harm
                    you was/is an agent ofthe government or on entity tho govcrnmem wa,/is unable·m· unwilling tu comrul.
              ANO
        181     You have not establislied a credible fear of torture' ill a country lo \vhlch you have been ordered removed because you have not
                established thnt lh~re is"· sigoi'flcnnt possibility that;
                D You would· suffer' severe pffyoicnl or mer1tnl pafii.or suffering.
               .D The harm you ,fear would be s[iecifical.ly intended to in·Oi¢tsevete.)lhysJcnl Qr')nental pain 6r suffering.
                181 The harm )'Oll fcnr would be infilctcd by or liMhe·lnstigntlon of; or with the conse11t or acquiescence of. a public ofticlnl
                     or otl1er person uetin,g,in 1:1n official cnpncity.                                                                 ·
                D The hu1in you fear w1111ld be in0ic1cd while you arc in the custody or-physical cortitol ol'thc offender.
               0        The hn11n you fcn1· \YOltlcl not nrisc nol:yfro1n, \\'Otfld not he inhel'ent in, nnd would not be incidenlnl to', la\vrul s:::.nc1iu1u:.
 B. D          Considerins !he toinllty of the circu111stnnces nnd all 1·elevai\I rilctors, you have not established that your testimony is credible.


 Thcrefbre, ydu nre ordered removed fl•om tl!e United &tmcs, You may request lhnr an !inm·igrntion Judge review thi~ decision.
 If you request that nn Immigration Judge review !his decision, you will rcmnlo ln detc111lon until an ln1migratlon Judge reviews your
 cnsc, Tltnl review could occur ns long as 7 days nner you receive this decision.
 If      lo 1101 request char an lmmlgrntion Judge review 1h~ decision, you muy be removed from the United SIRies immediately.
 l          To be con1pletcd by the nlicn:                 ,
         cs, I roqucst l1nmfgrallon ;Jud~e review ol'tho decision that I do n01 huvc·n credible fonr of persecution or torture.
 D      No,J do not request lmnilgratio11 Judge r.cvlei1· of the decision )hat I do nor hnvc·a credible fear of persecution or torture.



,_Q!l_".11'.. .. ________ ,________                             ,.A___________ _
 As)·lun1 Omccr's tasl Nmnc (Print)                              Asylum Officer·~ Jllrst-Nnmc, (Prim\   - l)nlll - - - · -

 Thi: co111i?nts o/'lhiit rornt wuro n.md mtd cxplnincd 10 thqnJ'Vli1,'t111l in the   -k~ ..- - - - - · - - - - - - _ , lnugu!J!l~
 lnt1:rjJNlllr.UliCd:

 lly ielc1111mrn {list lliu:rprc.wr t<i:rvfcu-/U) number used




                                                                                                                                                ExhibllJ!l
                                                                                                                                                 000072
     Case 3:18-cv-00428-DMS-AHG                      Document
                va.::ic .l. . ..Lo-t...V-U£..£..V..L-rLr           282-1
                                                         UUt...Ulllt:lll ..L-£.. Filed
                                                                                  r11cu 10/15/18
                                                                                        U:;:J/£..U/.l.O PageID.4229
                                                                                                        ra!::JC VO UI £....L;,.J Page 61 of


                                             (                      251                             (
                     ,
            "
l), S. D•oartment of Homeland Security                                              Notice of Referral to Immiiration Judge
•
                                                                                       Dale
                                                                                                         JUN 2 7 2018
                                                                                       A·Flle        21$ ssz 112
    Name      LBS!!! NOHEMI MARTINEZ·MARTtNEZ                                          Country ofCilizonsblp       Hondunl!I
    Place and. Manner of                                                               Dale of Arrival
    Atrivul                         Unknown Local!on: Snle!lld Wl!houl 1nspoc!lon                         06/01/2018


To Immigration judge:

     [8l I. The above-named alien bas been found inadmissible lo the United States and ordered removed under section 23S(b)( I) of the
          Immigration and Nationality Act (Act). A copy oflhc removal order ls a11ached. The alien has requested asylum or protection under
          the Convention against Torture. An asylum officer has reviewed the matter and concluded that the allen does not have a credible fear
          of persecution or torture. The alien has requested a review of!bat determination In accordance with section 235(b)(l)(B)(lii)(lll) of
          the Act and 8 CFR § 20&.30(g).
    0 2. The above-named alien arrived in the United States as a stowaway ~nd Im been ordered removed under section 235(a)(2) of the
          Aot. The alien has requested asylum or withholding of removal under the Convention ngnlnst Torture. An asylum officer has
          reviewed the matter and concluded that the alien <Joos not h'ave a credible fear ofpel'llecutlon or torture. Tho alien has requested a
          review of that determination in accordance with section 235(1>)(l)(B)(lli)(!ll) of the Act.
    D 3. The above·named allen arrived in the United States in !be manner described below and has requested asylum or withholding of
       removal under the Convemion against Torture. The matter ls referred for n determination in accordance with 8 CFR § :20&.2(c).
       Arrival ~ategory (check one):
      D Crewrnember/applicant             0 Crewmember/relilsed                  D Crewmemberllanded
      0 Crewmember/violator               D VWP/applicant                        D VWP/violator
      0 235(c) order                      D S-vlsa nonimmigrant                  0 Stowaway: credible filar determination attaehed
    D 4. The above-named alien has been ordered removed by an immigration officer under section 235(b)(l} of the Act. A copy oflhe
         removal order is attached. rn accordance wltl1 section 23S(b)(l)(C) of the Act, the matter ls referred for review of that order, The
         above-named alien claims to be (check one):
    D    a United States citizen                                               D a lawful permanent resident alien
    D    an alien granted refugee status under section 207 of the Act          D an .alien gronted asylum under se<tion 208 of the Act
    0' 5, The abovc·nmned alien has been ordered removed undersectlon 233(b) of the Act, or the Department ofHomeland Security
         (DHS) has reinstated a prior exclusion, deportation, or removal order of the above-named alien under section 24 l(a)(5) of the Act. A
         copy oflhe removal order and, if applicable, the notice of reinstatement, are attached. The alien has expressed fear ofpersecutlon or
         torture. An asylum oftlcer has reviewed the claim and concluded that the alien does not have a reasonable fear of persecution or
         torture. The alien hes reque.~ted a review of that dotcrmination In accordance with 8 CFR §§ 208.31(!) and (g).
    O. 6. The abov•·nmned alien has been ordered removed under section 233(b) of the Act, or the OHS haS reinstated a prior exclusion,
        , deportation, or removal orderofthc above-named alien undersectil;m 241(•)(5) of the Act. A copy of the removal order and, if
          applleable, the notice of reinstatement, are anached. The alien has expressed fear of persecution or torture. An llSylum officer has
          reviewed the claim and concluded that the alien t1as a reasonable fear of persecution or torture. The matter has been referred for a
          determination Jn accordance with 8 Cl'R § 208.3 l{e).                                                          ·

    D 7. The Secretary of Homeland Security has determined that !he release fl'om custody of the above-named alien who is under a final
         order of removal would pGse a special danger to the publlc according lo the standards set in 8 CFR § 24l.l4(f)(l). Tbe OHS has
         therelbre Invoked procedures to continue the alien's detention even mough there is no significant likelihood that the alien will be
         removed from the United States in the reasonably foreseeable future. The matter Is referred to the lmmlgratlonjud~e for a review of
         this determinallon in accordance with 8 CFR ~ 241. M(g). ,                             ·




                                                                     P•ll" 1 of2
                                                                                                                           Fonh J•i63 (Rc\',oar<Jl/07)

                                                                                                                                  Exhibil3
                                                                                                                                    000073
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4230 Page 62 of
                                         251



U~ S. l>oe~J·hncnt or.t-tonH~lnnd Secur.itj"                                                                         Notice of Referral to lmmig1·a.tion Judg!'

                                                                                      NOTICE TO APPLICANT
 You-are ordctod to report ror a hearing before- nu hhrnigta1ion ,iudge llirthe·reasons smted nbove. Your !tearing is scheduled on
 To So Dcnm11ined                                        nt   Tp G.e Determined
                          Cllnt<I                                      Time·

 You are 10 appear ar                             Sn!l Aotonio 801R', 800 D.oloros11 S.tre~t. Suite 3.00, Sni1 Anto11io, TX 78207
                                                                                             '(C4111~1..,1e ornte-,nddrrlfj)


 181 You may be repros~nted In this proceeding, nt no expense to the government, by an attorney or othe1· individual authorized and
                qualitWd 10. represe11t )lersdhs bef-ore-an lmmlgtarion Cau1t. If you wlsll to be so rilp1·ese11t~d; youv attorney or represenl:lltive should
                nppear with you atth!s henrlnu;. In die. eventof)'our.relcase.ll'om costcidy; ynu must immcdintely report any change or your address
                to the lmniii;rutlon,CoM·on FQtm EOJR:3:i, which ~.vrovided:wilh tl1is·no.tice. If you foir10 appear for n scheduled henring·, a
                .lf~clsion may ~e r~ndered in ,your n~senc.e.

 IE! You may consul( with u person or 1>erso11s of you1· own choosil1g ptior to your appe ance ill lmlffig1·n!lOll Court. Such consultation is
                 nl nn expense to the government and nmy not unreasonably delay die process.                                               ~
 f8l Attll¢l1ed is a list Ofreco•nized
                                "
                                       org111!izMions
                                         -
                                                      olJd attorneys lhat))l'OVida rma leg                                                  C ••
                                                                                                                                                                       Christopl11;r V•.1
                                                                                                                                                              SupetV1t:1vry Asyl!:·~, .:i!Aicar
                                                                                                                                     (Sfg11aturc und drlc 11rimnll1,trr1ti()n ofticurl



    '   .   ~
                                                                                  CERTIFICATE OF'SE!l.VICE
                The conlants ofthl• notlce·were read and explained.to the-appllcanrln d10                                                        Spanish                     language.
                The originnl ofthis notice wbs delivere!i to the above-nn»it.'<I applicant.by !he undersigned 011. JUN' 2
                advised orcommunicatfo1>privflcges u11der8 Gl'R §·2~6.l(e). Delivery wos mode: ·1                    / /;
                                                                                                                                                                    i 20flld the alien h11s been
                  ~ in.pe'.son D by ce11f!led·mail, retu111 i~ceipt"                                                                   l          J . e: 6sted           0      by regular mnil

                                                                                                                                     ·"l!....            ~
                                                                                                                               :1iiii'1111c?1r~~" 0.1 oOiter) · - -                             -·---

Attnchme11ts to l!Pi>)' pre.•antcd i'o hnm!grafion judgo:.
                                                                                                                  foon l·SfiO                       Alesia Stevenson
0               Vi:i;n·                                                                                           Fmm t-s1,9                        Immigration Analyst
Cl                                                                                                      0
0               l~t'JT\1nsic docm111::nl· nnuly..'iis                                                   0         J-\Syh1111 ()l1Jcc1·'"$: r~.11snn11btc t\mr diucrn1lmUi<m workshc~l (l~899t

CJ          ·1 1ing,1?rpri11ts rm,~ 11holQ,!J.rnlli1J;                                                  !l1l      A~yhtnt ofJicur's 1.m.;dibtc i\::ut dc~Cnnitmlion workshtet (1 .. $70)

0               EOJR.J)
                      i CPi~ 241~14(0 (:,\~ES ONl..V: \Vritrt.tn ~wtizowm lpvtuiU11.g..s1111umu:yof\l\C bnsis,,i'or d1t.:·Scop.:111ry't> \11.}ti;~lirnrio.n tO t:Ot\~im1c. th\} ~tlcii In
                1'\')tt
CJ              dc(t:Odon. iU'lt.I °Vl!BCfjll,liOn uithc. 1!.V:idcnc\l Tl!lfl!f:i Oii" J11,fiq.ding U,e nUl::tr.spoc1111Jy dpng~ftlt.111 (witlNmpportillQ IJO~lllt\Cnls 11\.ll)Child).
                r<OJ~ 8 Cf'li 24l'.i4(i'} CASF.S ONI,\': \Vrlucu 11mlccad1•Ising ti«: nlic1rofJriitiution Qfptat:A..~dills.11 itOtt irtfor111i11s, ulicu o(protct111rcs st'wcmit1~llw.
0 Rl!~om1ble·Cu1.1s:1.:. Hu~rtng. :1~ R'CfU.~l J, J1l(!1),                  '
!ill 01lwr<•v.ccll)•J: ...;;O"l11"'"'"'-' s'-lN,,;ri,;1e,_s____________________________________




                                                                                                                                                                                     Exhibil4
                                                                                                                                                                                      000074
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4231 Page 63 of
                                       251
           case 1:1s-cv-or1.-PLF Document 1-2 Filed 091261(' Page 40 of 215



                                                        Alien's Fiie Number:                                                          A21SS82 ll2 j ·


     2.19     Docs applicant cluim lo havo a medical condition (physicul or mentalJ,.or has tlle officer observed any indicallon that a
              mcdicnl condition txists'I rrYES, ll.llSWOl' questions 2.20 and 2.21 lllld explain below.         181 Yes D No
                     Dia etcs
             2.20    HHS applieant no tined the lliclllty or medical condition?                    181 Yes 0 No
             2.21    Does applicant claim that the medical condition relates to torture?           D Yes l8'J No
    2.22     Does the applicant have a relative. sponsor, or other community ties. Including       igJ Yes D No
             spouse or child already listed above?
             2.23    lfYES. pr-0vidc infonnation on relative or sponsor (use continuation section, If necessary):
             Sara Noehmi Gomez                                                                   Friend
                                                                                                --'-'-'=---~~~~~~~~~~~~

             Name                                                                                Relationship
             Atlanta, QA                                                                             678-367'9991
             Address ·                                                                               Telephone Numbor
             0 Citizen               0     Legal Pcnnnncnt Resident             l1SI Other -"'"""'"""~~~~~
                                                                                            Unkno1111

   SECTION Ill;                                          CREDIBUl-FEl\B INTERY!EW

The following notes arc- not a verbatim transcript otthis interview. Tl1ese notes are recorded to assist tbt asyiun1 offieet in making a
credlhle·fear determination and the supervisory asylum offiocr In reviewing the determinlltlon. There may be areas om.. individual's
cl•im that were not .-plored or documented for purpose• of this threshold S<rccnlng.
Th• asylum officer must clicll sufficient information related to llllJh credible fear of pcrsccu!lon and erodible fear of101turc to dClcrrnine whether
!he applicant meets U1e threshold screening. Even If th• a.;ylum officer determines in the course oflhe Interview that the applicant has a credible
fear of persecution, the BSylurn officer must still elicit 1111y addltlonal Information rcl•Vlll1t 10 a fear oftorture, Asylum officers are to ask tho
following questions and may use the continuation sheet if additional spaoe is required. !fthc applicant replies YES to DllY question, the asylum
officer must ask follow-up questions to elicit sufficient delalls about the.claim lo mako a credible·feor dolarminatlon.
    3.1      a. Have you or aw member ofyour/an1ily ev~r been misltealed or threatened by awone /II ony counrry 10 wl1ic/1 you may be
             returned?
                 J8J Yes           0      No

             See &A




             b. Do you lraue any reason lo /ear /Jarm/rom anyone in any country lo which you may be r11/urnedl
                181 Yes 0 No
            See &A




            c. JfYES to questions a orb: Was It or Is It because ofow o[rlrefol/ow/11g reasons? (Check each of tho following boxes that
            apply.)
            O Race        0 Religion          0 Nationality 0 Memberahip in a particular social group 0 Politleal Opinion
             See &A




                                                                                                                   Fomi 1-s10 (Rev. 11121/GlJ l'l Pagel


                                                                                                                                          Exhibit fl
                                                                                                                                           000075
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4232 Page 64 of
           case 1:1s-cv-or1-PLF Document
                                      2511-2 Filed 09/26/(" Page 41 of 215



                                                                        Allen's File Number:                                                                                   A21S 582 112 j


   J.2       181 At the conclusion oflhe iniervlew, the asylum officer must read the following 10 applicant:
    If the Dep•rtment 0 rJlomeland Security determines you have n credible fear of porseculion or torture, your cnse wlll be referred lo an
    immigration court. ·whc:re you wlll be aflo\ved to seek asylum or,vithholdin_g ofremoval based on rear of pcrsccutlcn or 'vllhholding of .
   removal under the Convention Agelnst Torture. The Field Office Director in charge ofllds detention facility wlll also consider whether ycu
   may berclcascd li'om dctcnlion whlic you arc preparing for your hearing. iftile asylum qflicer deternrlnesrhat you do not f/ave a credible
   fear ofpersecutlo11 or rorture. yotr may ask an /nunlgralion Jl!dge Jo rl?Vlew die daclslo11. Ifyou are found 110110 have a c:redihle fear of
   persecution or torture antiy.011 do nat reque.ft ~vle.w. you may be removedfrom lhtt United States- as soon as travel arra,,genrents can bt
   .nuxJe. Do you have any qut1stlana·P



   3.3         181       At Ch• conclusion of tho interview, the asylum officer n\usl rend a summary of tho claim, conslsllng of the responses 10
                         Questions 3. I a-e and infonn•tion retarded in the Additional lnfonnalion/Continuacion soclion, co applfcant.
 110 "T>'P«f QueJlfon nnd Al'IJlVQf CQ&A) inter\ri1w 11otu and a5mnmaryaud rnuilysi1 of !ho d'iirn: mus! be •ltachcd to 1hls !Orm for oil necatlv~ credWle-f•ard~islons. Tlim Q&A
 1101es mllSf tellert that tl!t 11pplfea111 was asked to~Xf'l<lfn t1ny in\:Onsislenclcs or laek ofdc111n on mau1i11I &sun and tlult 1llt applfct1111 ~ given eveey opportunf()' ro cstabli5h acr«llble
 tc~r.



 SECTION IV:                                                                 CREDIBLE Fl!:AR FINDINGS

 A. Credible Fear Determination:
  Cr<dihility
   4.1        181'       There ls as~nifi•:=~~~ ~~I
                        '01 llilhliiJiat-.g ef---...--'----" •-"
                                                                            oie§ff!SCcl'\t
                                                                                     011dellyl~~mu~"'.t"r bo f<moo orodiblo i• •Ml !lSYlum
                                                                                           t          I
  4.2         0         Applicantfound not credible because (chc oxcs4.3·4.5, 1vhlch apply):                                                   ·                                      -
              4.3       0 Testimony was lnt•m•lly inconsistent on material issues.
              4.4       O T..timony lacked sufficient detail on material Issues.
              4,,       0 Tcslimony was not consistent with counlry conditions on material is.sues.
  ~
  4.6         0 Race                    4.7      O Religion                   4.8      D Nationality                      4.9      O Membership In a PanicularSoclat Group
  (Define th• social group):

  4.tO        0 Political Opinion                       4.11      0 Coercive Family Pfenning {CFP]                               4.12      181 No Nexus
  Credible Fear findine
  4,fJ        D         Credible fear or perse•utlon establlshed.
              OR
  4.14        0         Credible fear of torture established.
              OR
  4.IS        181       Credlbto ICar ofpersocution NOT established and thore is not asi3niflcanl possibility that lh• applicant could establish
                        eligibility for w!lhholdlng of removal or defeiTBI of removal under 1he <:;onvenrlon against Torture,

 B.          Possible Bars:
  4.16       0 Applicant       could be subject 10abar(s)10 asylum or withholding of removal (check the box(cs) !hat appli" and explain on the
                    continuation sheet):
             4,17       OParticuinrly Serious Crime       4.18      O  Security Risk             4.19          Aggravated Felon                    D
             4.20       OPerseculor                       4.21       O Terrorist                 4.22          Flrrnly Resettled                   D
             4.23       O Surious N~n-Political G!rimc Outside tho lJni1cd Slates
  4.24       181        Applicant does not appcar t? be sub)eot 10 a bar(s) 10 asylum or withholding of removal.




                                                                                                                                                      Forni l..!70 (Rev. 11121/0J) N Pege 4


                                                                                                                                                                                  Exhibit6
                                                                                                                                                                                    000076
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4233 Page 65 of
           Case .1:18-cv-O\~'-PLF Document
                                        2511-2 Filed 09/26/('Page 42 of 215



                                                                                                                                     A2JS ~82 I 12        i
 C.           ldci1titf1
 4.25   f8]      Applicnnt'R idcntil)' \\llS d1.t1cnnit1td'\Vhh u rensonilble degree .of ci.?rrnioty(chcck 1hc hox(cs) tlrnt applies):
        4.26     ~ Applicnnl's own crcdlblu siutuments. (If testimony fs cn:dihlc ovi:1-all, this will ~ullicu to CJ:tablish th!! applicnnt"!i
                      idl!1\tU~' \Vith 11 rcnsonnbtc degree or~r1ni11t.)'.)
        4.27'    D Pa~po1·l,. \vhicl\ Ilppcitr8 l('I he authcnOc.
        4:21·    O Other ovl<lcn<'C prcsc1ilC<i·hy dppiieri11!:?r ln t\ppl!cnnL's file (List):


 SllCTIONV:
 >.1    A Davis iHN 7'70                                  5.2
        A•')'lur~;~/fnMfi~ri'/IJlr"{)[\ ID CODE (prinr)
        Supr;;Visery Asy!u1n·O!licar                      ;.s
        Supi::rviS01y usyJuni ofOc~r nun1c



                                     ADDITTON:A.L JNFORMAT.IONiCONTINUATION



                                                                    SeeQ&A




                                                                                                                 l'unn l·li70(Rov. l lllJlliJJ N P,,g.S


                                                                                                                                         Exhibil1'1
                                                                                                                                          000077
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4234 Page 66 of
                                       251
          case 1:18-cv-or'.-PLF Document 1-2 Filed 09/26r Page 43 of 215

       ALIEN NUMBER: 21SS82l l.2                           DATE: 0612612018
       NAME: MARTINEZ·MARTlNEZ, Lesbi                      ASYLUM OFFICER: Angela Davis, ZHN 770
       COUNTRY: Honduras                                   Transperfcct 1114723
       ASYLUM OFFICER: ZHN                                    START: 8:45       STOP: 10:34
                                                                                  '
                                                     QUESTtoNS & ANSWERS



       QATH ADMINISTERED <Interpreter)
       Q. Interpreter, do you swear and affirm that you wlll truthfully, literally, and fully Interpret the questions
      asked by the asylum officer and the answers given by the applicant; that you will not add to, delete from,
      comment on, or otherwise change the matter to be lnterprooo<I; and that you will immediately notify the
      officer in this case if you become aware of your inability to interpret In a neutral manner on account of a bias
      against the applicant or the applicant's race, religion, nationall!y, membership In a particular social group, or
      political opinion; and do you swear to keep everything said during this interview today confidential?
      A. Yes

      A0-!11terpreler, ca11 you i11troduce yourselfto tlie appOcant and make sure /IC can l••ar and understand you.
       (Interpreter introduces himself; Applicant and the Interpreter understand each other)

      A 0-Good Momfng, 1'111 Officer IJavls and I will he comlucti1ig your Interview today throug/1 an Interpreter. Tile
      Interpreter furs been placed under oat// to complaJely lnterpral everyl/Jlng you say and to keep everytlririg yo11 say
      conjldential. We are flere today because yo11 l1av11 expresse;f aj~ar ojre1ur11ing to Ho11dura! •
      Q. Are you still afraid to return to Honduras?
      A. Yes

      AO-Thu i11/erpruter wlll now tel/ you Ire prirpose qftod(l)I'• intervllIIV. Interpreter pleose reerd /'tll'agraph 1.28 to the
      Appl/cant.
      PARAGRAPH l.28, .FORM 1·8701 READ TO APPLICANT

      Q. Do you have any queslions about what was just read to you?
      A.No
      OATH ADMINISTERED (Applicant)
      Q. Now I'm going to put you under oath, please raise your right hand. Do you swear or affirm that all the statements
      you are about to make today during this interview are the truth, the whole rruth and nothing but the truth?
      A. Yes.
      (thank you, you may lower your right hand) ·

      AO-Now, I'm going to start by askl11g some queslfons about your backg-ound information. Please speak loudly and
      clearly Imo the phOJ!e.
                                              Birck11ro11nd a11d f.8 70 informal/on

      Q. Whal Is your full name?
      A. Lesbi Nohemi Martinez Martinez

      Q. Have you ever been known by any other names or aliases?
      A.No

      Q. Do you have an attorney or consultant?
      A. Yes

      Q, What Is your attorney's name and telephone number?
-~ A. Nancy Cano;
      Q. Would you like me to contact your attorney to be·present?

                                                             Page 1 af13


                                                                                                                             Exhibit8
                                                                                                                              000078'
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4235 Page 67 of
                                      251
          Case 1:18-cv-01~.-PLF Document 1-2 Filed 09/26/(..'Page 44 of 215

      ALIEN NUMBER: 215582112                            DATE: 06/26/2018
      NAME: MARTINEZ-MARTINEZ, Lesbi                     ASYLUM OFFICER: Angela Davis, ZHN 770
      COUNTRY: Honduras                                  Transperfect # 14723
      ASYLUM OFFICER: ZHN                                   START: 8:45       STOP: 10:34

      A. No, by myself.

      Q. To confinn, 'do you want to continue today without an attorney pres·ent?
      A. Yes I will continue

      Q. Po you have any illnesses or medical conditions that may affect your interview today?
      A. Only I found out I had diabetes.

     Q, Is the facility aware?
     A. Yes

     Q. Are you medication?
     A. Yes

     Q. Will the medication prevent you from continuing or affect your interview today?
     A.No

     Q. What is your date of birth?
     A. 05/23/1988

     Q. Have you used any other birth dates?
     A. No

     Q. In what country were you born?
     A. Honduras

     Q. Are you a citizen of Honduras?
     A. Yes

     Q. Are you n citizen of any other country besides Honduras?
     A.No

     Q. Have you lived in any other countries?
     A. No

    Q. What languages do you speak fluently?
    A. Spanish

    Q. What Is your race or ethnicity (for example- Caucasian, Black, Hispanic, Indigenous, etc)?
    A. White

    Q. What is your religion?
    A. Evangelical

    Q. Have you ever served in any military or armed group or have you ever had military or fireanns training of any
    kind?                                                                                             ·
    A.No

    Q. On what date did you leave your country?
    A. 0511312018
                          .                          .                          .
    Q. ls it correct that you crossed the border into the United States on 06/01/2018?
    A. Yes


                                                          Page 2 of13


                                                                                                                 Exhibit9
                                                                                                                  000079
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4236 Page 68 of
                                       251
           case 1:1B-cv-or1.-PLF Document 1-2 Filed 091261(\ Page 45 of 215

     ALIEN NUMBER: 215582H2                               DA TE: 06/26/20 I8
     NAME: MARTINEZ-MARTINEZ, Lesbi                       ASYLUM OFFICER: Angela Davis, ZHN 770
     COUNTRY: Honduras                                    Transperfect # I4723
     ASYLUM OFFICER: ZHN.                                    START: 8:45       STOP: 10:34


     Q. Have you ever entered or tried to enter the United States before?
     A.No

     (M-444 received prior to interview)
     Q. On 06/13/2018 you were given infonnation regarding the credible fear process along with a list of legal service
     providers. Do you remember this?
     A. Yes

     Q. Do you have any questions about that infonnation?
     A. No

     Q. What is your address in Honduras ?
     A. La Ceiba HONDURAS

     Q. Are you married, single, Jiving with a partner?
     A. Single

     Q. Do you have any children?
     A.No
                                                                                                                                /
     Q. D<> you have any family or friends in the U.S. who could serve as a contact person for you, or who you would
     stay with if you were not detained?
     A. Yes
              Name: Sara Noehmi Gomez
              Address: Atlanta, GA
              Relationship: Friend
              Telephone: 678-367-999 I
              Status: Unknown

    Q. What type of work do you do In your country?
    A. I worked for a plantation, I measuring the plants.

     AO-Now f'm going to ask you about your fear ofreturning to Honduras. I will ask you questions. but will also give
    ·you the opporlunity at the end ofthe lntervle)V lo tell me anything else you want me to know.

                                                   Substantive Facts Ouestlons
    Q. Why did you leave Honcjuras ?       .
    A. The first reason is that when I was little someone abused me. The second reason is that when we came to La
    Ceiba "!Y mother was buying things to resell, a young guy charged me money.

    Q. Have you ever been hanned or threatened in Honduras?
    A. Hanned psychologically and verbally hanned.

    Q. Has anyone ever physically hanned you?
    A. No they just hit me.

    Q. Ma'am physical harm means causing your body to be hurt in someway, has someone done that to you?
    A. Yes

    Q. Who has physically harmed you?
    A. Nelson Orlando Rojas Garcia.           .,


                                                           Page 3of13


                                                                                                                   Exhibtl{')
                                                                                                                    000080
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4237 Page 69 of
                                      251
          Case 1:18-cv-o{'_-PLF Document 1-2 Filed 09/26(' Page 46 of 215

        ALIEN NUMBER: 215582112                        DATE: 06/26/2018
        NAME: MARTINEZ-MARTINEZ, Lesbi                 ASYLUM OFFICER: Angela Davis, ZHN 770
        COUNTRY: Honduras                              Transperfect # 14723
        ASYLUM OFFICER: ZHN                               START: 8:45       STOP: 10:34

        Q. Has anyone other than Nelson ever physically hanned you in Honduras?
        A. When I was little someone

        Q. Who when you were little?
        A. The other is my uncle Ramon Martinez.

        Q. Has anyone other than Nelson or Ramon ever physically hanned you in Honduras?
        A. In the two jobs I was harassed

        Q. Ma'am as we discussed my question is about physical hann, has anyone other than Nelson or Ramon ever
        physically banned you in Honduras?
        A.No

        Q. Who has threatened to ca.use you harm in Honduras?
        A. Well the person that asked me for money.

     Q. Do you know this person's name?
     A. No.

    Q. Do you know if this person belonged to any sort oforgani:zation or group?
    A. To tell you the truth I don't know.

    Q. Other than the man who asked you for money, has any other person at any time threatened you in Honduras?
    A.No

    Q. Let's start with Nelson, who is Nelson meaning what is his relation to you?
    A. H~ was my partner.

    Q. When did you begin a relationship with him?
    A. When I was 18 years old.

    Q. How long did your relationship last?
    A. Three years.

    Q. Does that mean your relationship ended when you were 21?
    A. Yes ·

    Q. How many times did Nelson hann you?
    A. Several times.

    Q. What do you mean by several times?
    A. Because of the problem that happened to me, he was looking for me to be with him but I didn'twant to because
    of what happened to me

    Q. Ma'am as I said before we will discuss what happened as a child in a few moments, my queslion is what do you
    mean by several times
    A. Many times.

    Q. Can you estimate what many means?
    A. Many                         ·
    .                            .
    Q. Ma'am please explain what many means
    A. Many you understand that it could be 20 times.


                                                        Page 4of13


                                                                                                                  ExhiblJ 'fl
                                                                                                                   000081
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4238 Page 70 of
                                         2511-2 ·Filed 09/26{~ Page 47 of 215
           Case 1:18-cv-o(-'•.-PLF Document


      ALIEN NUMBER: 215582112                          DATE: 06/26/2018
      NAME: MARTINEZ-MARTINEZ, Lesbi                   ASYLUM OFFICER: Angela Davis, ZHN 770
      COUNTRY: Honduras                                Tmnsperfect # 14723
      ASYLUM OFFICER: ZHN                                 START: 8:45      STOP: 10:34

      Q, Ma 'am are you saying 20 times?
      A. I'm saying it was several.

      Q. Can you explain why you cannot provide me with an estimate?
      A. Are you asking how many times?

      Q. Can you explain why you cannot provide me with more detail about what you mean when you say many or
      several times?
      A. Well I guess it was about 20 times.

      Q. When was the first time he harmed you?
     ·A. February that month .

     Q. What year?
      A. When I was i 8 years old.

     Q. How did he hann you?-
     A. He was looking for me as man

     Q. How did he harm you, meaning what did he do to you?
     A. He hit my face and head. He told me I should be a woman.

     Q, What did he hit you with?
     A. His hand

     Q. How many times did he hit you?
     A. 20 times.

     Q, Did he harm you in any way other than hitting you with his hand the first time?
     A. No he just said he hit me because he wanted me to forget what happened to me.

     Q. Did you have any injuries?
     A.No

     Q. Other than telling you that you should be a woman and forget what happened to you, did he say anything else to
     you the .first time?
     A. He said I had no value as a woman and he was only with me because he was sorry for me.

     Q, Did he say anything else at all?
     A. No that's all.

     Q. Were you able to report this harm to the police or anyone in authority?
     A.No

     Q Why not?
     A. because I've seen cases that they don't resolve anything.

     Q. What do you mean you've seen cases case that they don't resolve anything?
     A. I saw cases

     Q. Ma'am please pr~vide me with detail about y.'hat you mean by cases?  .
     A. I saw and heard cases of woman being mistreated and they didn't do anything

    . Q. What specifically have you seen and heard?

                                                         Page 5 of13



                                                                                                                 Exhibili
                                                                                                                  000082
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4239 Page 71 of
                                      251
          case 1:18-cv-o{'.-PLF Document 1-2 Filed 09/26r Page 48 of 21s

     ALIEN NUMBER: 215582112                              DATE: 06/26/2018
     NAME: MARTINEZ-MARTINEZ, Lesbi                       ASYLUM OFFICER: Angela Davis, ZHN 770
     COUNTRY: Honduras                                    Transperfect # 14 723
     ASYLUM OFFICER: ZHN                                     START: 8:45        STOP: 10:34

     A. I've heard cases

     Q. Can you please provide me with details about what you've heard for example, who are the woman, what
     happened to them?
     A. Silence,

     Q. Ma'am did you hear the question?
     A. Yes

     Q. Can you please answer the question?
     A. One is Maria Jolibet Mejia,

     Q. What happened?
     A. She used tci tell me how her partner, the fllther of her first daughter he hit her.

     Q. Did Maria go to the police or make a report in anyway?
     A.No

     Q. Ma'am my question has been able examples of what you've seen regarding women going to the police that they
     would not help?
     A. I've just heard that maybe people went over there and the police don't listen.

     Q. What did you hear?
     A. I just heard it

     Q. What is it?
     A. That police don't listen

     Q. Can you tell me more?
     A.No

    Q. Who have you heard this from?                                                          .
    A. People Who have gone over there, I don't know who they are, but I know that because we are poor the police
    don't listen.

    Q. When was the worst time Nelson harmed you?
    A. The worst time I remember Is when he grabbed me and threw me on the bed and abused me sexually because he
    said I had to serve as a woman.

     Q. When you say he abused you sexually do you mean he penetrated you against your wishes?
   . A. Yes that is right.

    Q. What did he say to you other than you had to serve as a woman?
    A. That it was for me to forget what happened to me and to take it away.

    Q, Did he say anything else at all?
    A. No that's it.

    Q. When was the last time he harmed you?
    A. Around when I was 20 years old and six months.

    Q. How did he harm you?
    A. Like always maybe because I didn't want to be with him he took me sexually by force.


                                                            Page 6of13



                                                                                                               Exhibf3
                                                                                                                000083
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4240 Page 72 of
                                         251
          Case 1:18-cv-Ol:---.-PLF Document 1-2 Filed 09/261(...\Page 49 of 215

     ALIEN NUMBER: 215582112                          DATE: 06/26/20 I 8
     NAME:. MARTINEZ-MARTINEZ, Lesbi                  ASYLUM OFFICER: Angela Dav{s, ZHN 770
     COUNTRY: Honduras                                Transperfect # 14723
     ASYLUM OFFICER:.ZHN                                 START: 8:45       STOP: 10:34

     Q. How did your relationship end?
     A. I was working for a company and over there my boss gave me advice and told me I had value.

     Q. Did you end your relationship with Nelson?
     a. Yes
     Q. What did Nelson do when he ended it?
     A. When I ended it, he sent me two letters and my father received them.

     Q. Did he harm or threaten you after you ended the relationship?
     A. Well he called me after and told me to leave my family and go with him and I said no.

     Q. My question is, Did he harm or threaten you after you ended the relationship?
     A. Yes

     Q. Did he harm or threaten you?
     A. He followed me.

     Q. How long did he follow you for?
     A. About one month. Because my father told him if he continued following me he would report to the police

     Q. When was the last contact?
     A. About end of March wh~n I was 21 years.

     Q. Were you able to report any of the harm from Nelson to the police or anyone in authority?
     A No

     Q. Why not?
     A. Fear.

    Q. Do you know anyone else that has reported harm from a partner to the police?
    A.No

    Q. When did your uncle Ramon Martinez harm you as a child?
    A. When I was around 7 years old.

    Q. How did he hanm you?
    A. I remember that I arrived to his house. He removed all my clothes [crying]

    Q. I understand ma 'am you don't have to go into details right now, you can only tell me what type of harm?
    A. He touched my private parts.

    Q. Did he penetrate you?
    A. Yes with his fingers

    Q. Did this happen on more than one time?
    A. No only that time.

    Q. Did he live with you?
    A. No

    Q, Where were your parents when this happened?
    A. My mother was at home and my father was at work.


                                                        Page 7 of13


                                                                                                                  Exhibil4
                                                                                                                   000084
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4241 Page 73 of
                                       251
          Case 1:18-cv-o{'.-PLF Document 1-2 Filed 09/26(' Page 50 of 215

      ALIEN NUMBER: 215582112                             DATE: 06/26/2018
      NAME: MARTINEZ-MARTINEZ, Lesbi                      ASYLUM OFFICER: Angela Davis, ZHN 770
      COUNTRY: Honduras                                   Transperfect # 14723
      ASYLUM OFFICER: ZHN                                    START: 8:45       STOP: I0:34

      Q, Who were you lfving with at the time?
      A. With my parents.

      Q. What did he say to you when he did this?
      A. He told me if you tell someone I will kill you

      Q. Did he say anything else at all?
      A, No only that. He didn't do that to me only.

      Q. What do you mean by he didn't do that to me only?
      A. He did this to another person.

      Q. A person in your family or someone else?
      A. From another place, not my family, my mother told me.

      Q, Did you tell your parents what happened?
      A. Yes

      Q. Were you able to report the harm to the police or anyone in authority?
      A. No, my mother went to look for him but didn't find him.

      Q. Did anyone report this to the police or anyone in authority?
      A.No

     Q. Why not?
     A. Because of fear and my grandmother just told him to leave and go away.

     Q, When were you threatened by unknown man who wanted your money?
      A. 0510612018
     Q. What did the man say to you?
     A. He asked for my money and I told him I didn't make enough and he said I don't care.

     Q. Did he say anything else?
     A. That if! didn't continue selling or pay him, he would kill me, because I am responsible for my sister her too to
     get her.

     Q. Did he say anything else?
     A.No

     Q. For what reason would this man have threat to kill you?
     A. Because I told him I wouldn't continueeo give him money.

     Q, Is there any other reason at all?
     A.No

     Q. Were you able to report this man to the police or anyone in authority?
     A. No because I didn't know his name.

      Q, Is there any other reason you didn't report?
    . A. I would say because fear

     Q. Why did you fear reporting this man?
     A. He would harm me.

                                                           Page 8 of13


                                                                                                                     Exhibllf)
                                                                                                                      000085
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4242 Page 74 of
                                     251
          case 1:18-cv-or.-PLF Document 1-2 Filed 09/26(' Page 51 of 215

      ALIEN NUMBER: 215582112                             DATE: 06/26/2018
      NAME: MARTINEZ-MARTINEZ, Lesbi                      ASYLUM OFFICER: Angela Davis, ZHN 770
      COUNTRY: Honduras                                   Transperfect # 14723
      ASYLUM OFFICER: ZHN                                    START: 8:45       STOP: 10:34


     Q. Do you know anyone who has reported extortion threats like this to the police?
     A. Sincerely no.

     WFF                .
     Q. What do you think will happen to you if you are relurned to Honduras?
     A. The man who threatened me because of money will kiil·me.

     Q. For what reason would he kill you?
     A. Because I didn't pay him

     Q. Any other reason?
     A.No

     Q. Other than the man who threatened you because of money is lhere anything else you fear will happen to you?
     A. No but in my workplace they harassed me.

     Q. Other than the.man who threatened you because of money do you fear any other person in Honduras?
     A. No only I fear what is happening in my country.                  ·

     Q. To clarify, you do not fear any other person in your country other than the man who threatened you because of
     money?
     A. Yes.

     Q. Other than being killed do you fear anything else will happen to you?
     A. The fear is lhat if I look for a job I will suffer harassment.

     Q. Who will harass you?
     A. Well any boss

     Q. Why would someone harass you at a job?
     A. Because that happened already.

     Q. What do you mean by harassment?
     A. Harassment is when the boss asked a person to go with him to a hotel room.

     Q. Why specifically did your boss harass you in this way, meaning for what reason did they harass you in this way
     as opposed to anyone else?
     A. That is the question I ask to myself. I don't know the reason.

     Q. For what reason would someone at a job in the future harass you as opposed to anyone else?
     A. In Honduras that is what happens. I don't know the reason.

     Q. Other than being harassed at your job and being killed is there anything else you fear in Honduras?
     A.No

     Q. Do you know If anyone has been looking for you in your country since you left?
     A. I don't know

     Q. Could you live in another part of Honduras?
                                                                                                                             \
     A.No

     Q. Why can't you relocate?
     A. I don't know, in my country I don't have an alternative place.

                                                            Page 9 ofl3


                                                                                                                  Exhlbll6
                                                                                                                   000086
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4243 Page 75 of
                                      251
          Case 1:18-cv-or'.-PLF Document 1-2 Filed 09/26(\Page 52 of 215

      ALIEN NUMBER: 215582112                          DATE: 06/26/2018
      NAME: MARTINEZ-MARTINEZ, Lesbi                   ASYLUM OFFICER: Angela Davis, ZHN 770
      COUNTRY: Honduras                                Transperfect # 14723
      ASYLUM OFFICER: ZHN                                 START: 8:45       STOP: I0:34


      Q, I understand but is there any other reason you cannot relocate t0 another part of Honduras?
      A. I don't know.·

                 '                                            ~
     Q, Has anyone who works for the police or the government of Honduras ever threatened or harmed you?
     A.No


     Q. Have you ever had any problems with the police or government of Honduras?
     A.No

     Q. Do you fear hann from a public official, or anyone affiliated with the government of Honduras?
     A.No

     Q. Is there any connection between any of the persons you testified that you feared or that harmed you and the
     police or government of your country?
     A. I don 'f know.

     Q. Do you think anyone from the government of Honduras could protect you?
     A.No.

     Q. Why do you feel that no one from the government of Honduras can protect you?
     A. I don't know.

    · Q, Do you believe the police would help you if they saw you being hanned?
     A.No

     Q. What makes you believe that?
     A. They don't protect poor people

     Q. Why don't they protect poor people?
     A. They know everything ls money,

    Q, How do you know they don't protect poor people?
    A. Because if! have a problem you have to look for a lawyer and pay them and we don't have money.

    Q. Is there any other way you know the police don't help poor people?
    A. Yes

    Q. Can you give me an example of what makes you believe the police don't help poor people?
    A. In reality I don't know.

    Q. Do the po lice take reports from everyone?
    A. No

    Q. How do you specifically know the police does not take a report from everyone?
    A. I imagine it. And I don't know the rest of it

    Q. Can you give me an example?
    A. I don't know.

    Q. Would the police or government allow someone to harm you in Honduras?
    A. I don't know.

                                                        Page 10of13



                                                                                                                      Exhibil"Ji
                                                                                                                       000087
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4244 Page 76 of
                                     251
          case 1:18-cv-or.-PLF Document 1-2 Filed 09/26r Page 53 of 215

     ALIEN NUMBER: 215582112                          DA TE: 06/26/20 18
     NAME: MARTINEZ-MARTINEZ, Lesbl                   ASYLUM OFFICER: Angela Davis, ZHN 770
     COUNTRY: Honduras                                Transperfect # 14723
     ASYLUM OFFICER: ZHN                                 START: 8:45       STOP: 10:34


     Q. Would the police or government tell someone to harm you in Honduras?
     A. I don't know.

     Additional Nexus

     Q. Other than what we've discussed about your uncle, have you ever been harmed or threatened by a family
     member, such as a partner, parents, grandparent, aunt, or uncle?
     A.No

     Q. Have you ever been harmed or threatened, or do you fear harm in Honduras because of your race?
     A.No
     Q, Have you ever been harmed or threatened, or do you fear harm in Honduras because of your religion?
     A. No

     Q. Have you ever been harmed or threatened, or do you fear harm in Honduras because of your nationality?
     A.No

     Q. Have you ever been harmed or threatened, or do you fear harm in Honduras because of your political opinion?
     A. No
     Q, Have yo.u ever. been harmed or threatened, or do you fear harm in Honduras for any reason we have not
     discussed?
     A.No

     follow up:
     Q. If you don't know anyone who went to the police for assistance because their significant other harmed them,
     what makes you believe the police would not be able or willing 10 help you?
     A. I don't know

     Q, Can you provide me with an example of why you believe the police will not have helped you report the harm by
     Nelson?
     A. Well I'd say that if we go there they don't follow up

     Q. What do you mean by we go there and they don't follow up?
     A. lfwe go report and they take information but not look for person,

     Q. Help me understand you said that you never reported Nelson's harm to the police, but now you said we go there
     and they don't follow up?
     A. Well we didn't go report. I just made up an example
    Q. Ma'am I'm not asking you to make up an example that has not happened, I'm asking you to provide me with an
    example that actually happened that makes you believe the police would not have helped you if you reported
    Nelson?
    A. I don't know anything.

     Q. For what reason did your Uncle harm you when you were a child?
    A. I don't know the reason

    Q, Did your uncle ever iake care of you?
     A.No


                                                        Page llofl3



                                                                                                                  Exhibll8
                                                                                                                      000088
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4245 Page 77 of
                      ,,,--,         251    .         ~
                Case 1:18-cv-Ol,        .-PLF Document 1-2 Filed 09/26A                       Page 54 of 215
           ':
      ALIEN NUMBER: 215582112                          DA TE: 06126/2018
      NAME: MARTINEZ-MARTINEZ, Lesbi                   ASYLUM OFFICER: Angela Davis, ZHN 770
      COUNTRY: Honduras                                Transperfect # 14723
      ASYLUM OFFICER: ZHN                                 START: 8:45       STOP: !0:34

      Q. Did your uncle ever provide you with food, clothing, or shelter?
      A.No                                                .

      Q. Were you only visiting your uncle's house that day?
     A. My mama sent me 10 run an errand there.

     Q. Would the police have helped you if you had reported your Uncle's harm?
     A. I don't know.

                                                  End of/nterv/ew Oues//011s

     Q. Have you ever persecuted or harmed another person for any reason?
     A. No.

     Q. Have you ever been arrested in any country?
     A. No.

     Q. Have you ever committed a crime in the United Slates or in any other country?
     A.No

     Q. Have you ever been accused of committing a crime in any country?
     A.No

     Q. Have you ever been affiliated with, supported or assisted a group or organization that used violenpe to achieve its
     goals?
     A.No

     Q. Have you ever been a member of an armed group or a group that could be considered a terrorist group?
     A.J'.Jo

     Q. Have you ever provided any type of support, like food, housing, money, weapons, or transportation, to a person
     or group who commits armed acts?
     A. I gave money to the man who asked me for money

     Q. Did he commit armed acts?
     A. I don't know lfhe belongs 10 a gang.

    Q. Have you ever provided any type of support, like food, housing, m9ney, weapons, or transportation, to a person
    or group who commits armed acts?
    A.No

    Q. Do you intend 10 do anything illegal in the US or hannful to the US?
     A.N'o

    Q. Did you fully understand the interpreter during this interview?
    A. Yes

    Q. Did you fully understand my questions today?
    A. Yes

    . Q. Is !here anything else t~at you would like to add that you think we have not coyered today?
    A.No



                                                         Page 12 of13



                                                                                                                     Exhibl!S
                                                                                                                      000089
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4246 Page 78 of
                                             251
       t '
            ,,.. Case 1:18-cv-o('.-PLF Document 1-2 Filed 09/26(' Page 55 of 215
•        ALIEN NUMBER: 215582112                           DATE: 06126/2018
         NAME: MARTINEZ-MARTINEZ, Lesbi                    ASYLUM OFFICER: Angela Davis, ZHN 770
         COUNTRY: Honduras                                 Transperfect # 14723
         ASYLUM OFFICER: ZHN                                  START: 8:45       STOP: 10:34


         OA- Please give me a few mome111s 10 put toge/lier a s11mnrary ofwl1at we discussed today. l wifl read ii to you
         w/1e11 fl is co111p/ete.   .                       .                            .                         ,
         You have been harmed by your ex-panner Nelson Orlando Rojas Garcia in Honduras. You were in a relationship
         with Nelson !Tom the age of 18 to 21. Nelson beat and raped you multiple times. He told you that he wanted you to
         be a woman and forget what happened to you as a child. He also told you that you had no value as a woman and he
         was sorry for you. He also told you that you had lo serve as a woman. You were not able to report Nelson's harm to
         the police or anyone in authority because you heard that the police don't listen, You do not know anyone who has
         reported to the police or other authority about violence from• partner.·You don't know what else makes you believe
         thatthc police would not help you. You ended yourrela!lonship with Nelson when you w~re 21. He began following
         you but stopp'ed after you father told him that he wou Id go to the police if Nelson continued. You uncle Ramon
         Maninez are sexually assaulted you when yau were about seven years old. He told you not to tell anyone or he
        would kill you. He said nothing else. You don't know why your uncle harmed you, You.never lived with your uncle
         but went to his house to run an errand for your mother. Your mother told you that your uncle had sexually harmed
        another girl as well, No one reported your uncle's harm to the police or authority. You grandmother asked your
         uncle to leave. You do not.know if the police wovld have helped If you reponed the crime. You have also been
        threatened with death by an unknown man in Honduras. He told you that you had to pay money to him or he would
        kill you and harm your sister who you eared for. The only reason he threatened you was to get your money. You did
        not report this threat to the police out of fear, You have also been sexually harassed by your boss ln Honduras. He
        told you that you should come to a hotel with him. You do not know why he sexually harassed you.but know It
        happens In Honduras. You fear that if you return to Honduras you will be killed by the man wboextoned money
        fi'om you. You believe he will kill you because you didn't pay him monoy. You also fear that you will be sexually
        harassed in other jobs because it happened before, You do not know why you would be sexually harus.sed as
        compared to anyone else. You do not know if anyone has been looking for you since you let Honduras, You do not
        fear anything else in Honduras

        Q, Is that a correct summary of your claim during this interview today?
        A, Yes

        PARAGRAPH 3.2, FORM 1-870, REAl> TO APPLICANT

        AO- Ok. that concludes our lnrervie:w today. Please do nor hang up the phone and go gel the officer to bring 111 rhe
        next app/icaltf, Thank yori


       I INTERV.lEW CONCLugBD: I0:34.              :....                          :".. ·, ,, .




                                                            Page 13of13



                                                                                                                        Exhii1!!e)
                                                                                                                          000090
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4247 Page 79 of
                                            251
              '6i.sh::18-cv-ot'::l'LF Document 1-2 Filed 09/26{\Page 56 of 215
        9'~5··0 - l oy. ·~) ,     __
                              05
                  ) &y         IMMIGRATION COURT
                                 27991 BUENA VISTA BLVD
                                      LOS FRESNOS, TX 78566




        TO:
              MARTINEZ-MARTINEZ, LESBI NOHEMI
              C/O PlDC
              2~991 BUENA VISTA BLVD
              LOS FRESNOS, TX 78566


        FILE: A215-582-112
        RE:   MARTINEZ-MARTINEZ, LESBI NOHEMI


        NOTICE OF REVIEW OF CREDIBLE FEAR DETERMINATION

        PLEASE TAKE NOTE THAT YOUR REQUEST FOR REVIEW OF THE DHS CREDIBLE FEAR
        DETERMINATION HAS BEEN SCHEDULED/RESCHEDULED BEFORE THE IMMIGRATION COURT
        ON Jul 17, 2016-A'r 1:00 P.M. AT THE FOLLOWING ADDRESS:
                             -----
                                 27991 BUENA VISTA BLVD
                                 LOS FRESNOS, TX 78S66
        YOU MAY CONSULT WITH A .PERSON OR PERSONS OF YOUR CHOOSING PRIOR TO THE REVIEW.
        SUCH CONSULTA'r!ON IS AT NO EXPENSE TO THE GOVERNMENT AND MAY.NOT
        UNREASONABLY DBLAY 'rHE PROCESS.            ,                '

        IN THE EVENT THAT YOU ARE RELEASED FROM CUS'rODY, YOO MOST IMMEDIATELY REPORT
        ANY CHANGE: lN YOUR ADDRESS AND TELEPHONE ,NUMBER XO THE IMMIGRJ\TION COURT ON
        THE ATTACHED FORM EOIR-33. IF YOU FAIL TO PROVIDE AN ADDRESS, YOUR SCHEDULED
        REVIEW MAY BE UBLD IN YOUR ABSENCE.
                                                 \
                                                  '
        FOR INFORMATION REGARDING THE STATUS OF ''YOUR CASE, CALL TOLL FREE
        1-800-698-7180 OR 240-314-1500.



                                   CERTIFICATION OF SERVICE
       TH!S DOCUMENT WA SERVED BY: MAIL CM)        PERSONAL
       TO: [ J ALIEN       ALIEN c/o Custodial Officer (              [-(?OHS
       DA'rB:                    BY; COURT S'rAFF
              Attachment : [ l EOIR-33 [ l BOIR-2S8-f[ll~~~~~~~s List [ J other


                                                                                           04




"
                                                                                 Exhil:JI! if.
                                                                                  000091
                                          :'
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4248 Page 80 of
                                        251
           Case 1:18-cv-oi:-'.~LF Document 1-2 Filed 09/26('\Page 57 of 215
                                \   .                                  I




                                             IMMIGRATION COORT
                                        27991 BUENA VISTA BLVD
                                             LOS FRESNOS, TX 78566

      In the Matter of:                                Case No:   A215-582-ll2
      MARTINEZ-MARTINEZ, tESSI NOHEMI
                                                       IN: CREDIBLE rEAR REVIEW PROCEEDI~GS
               Respondent

                                    ORDER OF THE IMMIGRATION JUDGE

      On Jul 17, 2018 at l:OO P.M. a review of the DH~edible rear Determination
      was held in the matter 'noted above. Testimony ( ) was [ J was not
      taken regarding the background of the Applicant ad the Applicant's fear
      of returning to her country of origin or last habitual residence.
     After consixration of the evidence, the Court finds that the Applicant
     [ l has ( J has not established a significant possibility that she
     would be pe  cuted on the basis of his/her race, religion, nationality,
     membership in a particular social group, or because of her political
     opi.ni.on.

     Tll.e Court further finds th.at the Applicant ( ) bas (   has not YJ
     established a significant possibility that she would ~;}.'intentionally
     subjected to serious physical or mental harm inflicted by, or at the
     inst;J.9ation 0£,   QL"   wJ.Lb the consent. or acquiiaso.rance o.f, a govei;·.nment o!.C.Lcial
     or other person acting in an official capacity.

     ORDER:·   It is hereby ordered that the. decision of the immigration officer is:

           2>(i Affirmed,
                alien.
                          and the case is returned to the OHS for removal of the

                  Vacated.
           This is a final order.           There is no appeal available.

     DONE and ORDERED this 17th day of July, 2018,




                                                                                           Exhit2~
                                                                                            000092
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4249 Page 81 of
                                      251
          case 1:18-cv-or'.-PLF Document 1-2 Filed 09/26(' Page 58 of 215




           Certification of Clarissa
                  Moliterno




                                                                     Exhibit A
                                                                      000093
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4250 Page 82 of
                                      251
          case 1:18-cv-o{'.-PLF Document 1-2 Filed 09/26r· Page 59 of 215




                                 CERTIFICATION IN SUPPORT OF
                               LESBI NOHEMI MARTINE.Z-MARTINEZ
                                         A 215-582-112

               My name is Clarissa Estela Silva Moliterno. I am over 18 years of age, of sound mind,
   and capable of making this certification. The following facts. are within my personal knowledge
   ahd, !.ll'.e true and, correct.

      I. I am an associate, not yet ad,mitted to practice law ih New York, in the New York office
         of King & Spalding. I am admitted to practice as an attorney in. Brazil since 2014. I have
          a conversational level fluency in Spanish.

      2. On September 12, 2018, around 5:30pm, I took part in a phone cal) conversation with
         Ms. Lesbi Nohemi Martinez-Martinez ("Lesbi"), conducted by Ms .. Laura Pei\a at the
         Port Isabel Detention Center (PIDC).

      3. During the interview, Lesbi answered questions about her past, her relationship with
         Yency Mariela ("Mariela") and her health condition. I also reviewed a letter that Lesbi
         wrote to her lawyers describing her experiences in. Honduras. In our September l2 1h
         conversation and in her letter, Lesbi said the following:

      4. Lesbi is from a small town in Honduras called El Carril in Olanchito, Yoro. Lesbi
         explained that she has been living together with Mariela since 2003, the year that Mariela
         was born. Lesbi explained, that she sought guardianship of Mariela in 2016, after their
         mother passed away. Lesbi and Mariela's father is still alive, but according to Lesbi,
         Mariela and Lesbi were very attached emotionally and,. since their father remarried, he
         agreed that it made sense for Lesbi to assume guardianship of Mariela. Lesbi refers to
         Mariela as her da11ghter. When discussing th!'l separation from Mariela, Lesbi had a
         strong emotional reaction and began to cry~ She said that she feels guilty for having
         caused her and Lesbi's separation. She said that she feels. numb emotionally and she is
         suffering from depression as a result of being separated from her daughter. She said she
         felt sad when her mother died, but the feeling she is e1<periencing 1row is much worse. For
         a number of days following the separati<;m, Lesbi could not visit Maiiela, did not know
         where she was, or how she was being treated. Lesbi told us that in the prior two weeks,
         she had .consulted with a psychologist on three separate occasions.

      5. Lesbi expressed concern about returning to Honduras. She stated that prior to coming to
         the United States, she was selling clothes when an unknown mah approached her and
         demanded money. The first three times he approached her, Lesbi gave him the money.
         The last time he approached her, however, she told him she had no money to give him.
         He responded by telling her that he knew about her daughter and threatened to kill the
         both of them.

      6. Lesbi said that her .uncle was killed .in his home in 2010,. but no investigation ever
         occurred becaus!'l her family was unable to "pay" the authorities for an investigation.




                                                                                              Exhibit A
                                                                                               000094
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4251 Page 83 of
                                       251
          Case 1:18-cv-o(~'.-PLF Document 1-2 Filed 09/26/(..'Page 60 of 215




            Lc.shi. does not know the cause· of her uncle's dca.th .but she said thqt these types <l'f
            mmdcrs o!lcn occttitcd in her city.                 ·        ·               .    · .

       7.    Leshi ulso said th;rt she had been verbally and physically nbus'\1d by her eX:-boyJ'riehd.
            For approximati:ily 3 yea($, he tepe<>ledly .abused. her sexually> She never reported. the
            abuses to the. u.uthoritie.s becaus!" she tliinks 'the police ·in Honduras .do hot listen to tbl)Se
            who are uimb!e, to pay them to investigate'l.:rimt.Js; Lesbi said that tht.J police do not help
            poor peoph.i, Lcsbi f~ars that should .she return to li!ollduras, her ex:bdyfrie11d will. lh1d'
            )le.rand.continue try and abuse ht!!'.                                      ·

       8. Lesbi also said she suffered sex.ual harassment from a number .of her former en1ployers,
          but she 1~evet rep(lrtcd these .instances of harassment.to the .police. because' she believed
          ihat her supervisors wete well-coimected to the authorities in her community at1d that
          not)1ing woulcl have kept the bosses from having Lesbi !<illiid for reportin1:1 the
          harassment. Lesbi i$ afraid to return to Honduras ,because she be!l1;Jves that these fonner
          e111pk1yers will attenlrt to attack .her again:

       9.. Lcsbi said thµ.t she was afi·aid to seek further eJiJµloyment because she was atl'uid of
           suffering additional ;Jelrnal hurussml:l1t <if\l,'ork; $0 ih, or about2014,.Leshi sta.rted to sell
           pastries a.nd tamales with .her rrtother unfit 2016,. WheJt her inot.her died,

       lO. Lesbi was also.sexually abused by her' llri~le when she was seven .Years .old. Sl!eW.lls
           tl'!IUl)latized bY !his. c11perience and itt t.he age of 14, Lesbt was seei11g ·a psyd)lolqgist to
           try and wpe wit.h her feelh1gs.                                                     ·

   This ceJ:tifica\iop is mllde [:lutsµant to ZS USC § 1746, 1 eeiiify under. :p<.:n.alty of peijury that.the
   foregoing is h'.\je to the best ofmyknowledgti;                  · ··              ·· ·

   Exec1.1tcd 111 New York, New York, tltis 18thd4y of S¢ptet11bei;. 20 i 8.




                                                                                                        Exhibit A
                                                                                                         000095
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4252 Page 84 of
                                        251
           Case 1:18-cv-or-'.-PLF Document 1-2 Filed 09/26(' Page 61 of 215




       Certification of Laura Pefia




                                                                     Exhibit A
                                                                      000096
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4253 Page 85 of
                         (\             251                 ~.
          Case 1:18-cv-02,  .-PLF Document 1-2 Filed 09/261(   Page 62 of 215




                                  CERTIFICATION IN SUPPORT OF
                                LESBI NOHEMI MARTINEZ-MARTINEZ
                                          A 215-582-112

             My name is Laura Pena. I am over 18 years of age, of soun~ mind, and capable of
    making this ce1tification. The following facts are within my personal knowledge and are true and
    correct.

       I. I am a licensed Attorney with the Texas Civil Rights Project, a non-profit civil rights
          organization based in Texas. I have been practicing immigration law for five years, and
          am a former ICE trial attorney who practiced in Los Angeles and San Diego. Since early
          May, the Texas Civil Rights project has been committed to assisting families who have
          been separated by DRS due to the "zero tolerance" enforcement of immigration laws.

       2. In that effo1t, on or about June 4, 2018, the Texas Civil Rights Project interviewed Lesbi
          Mrutinez prior to her criminal prosecution hearing. At that time, she was distraught
          because she had been separated from her daughter of whom she is the legal guardian.

       3. On or about August 1, 2018, I interviewed Lesbi at the Pmt Isabel Detention Center
          (PIDC). She indicated her desire to be reunited with her daughter immediately. She was
          exhibiting severe emotional trauma, shown by non-stop crying.

       4. During the interview, Lesbi stated that on or around July 17, an officer infonned her that
          she would be reunified with her daughter and released from government custody. She
          had been provided documentation for release "bajo palabra" (order of supervisory parole)
          aod provided a Notice to Appear. She provided me a portion of those docU111ents, which
          are enclosed with this ce1tification. See Notice to Alien dated July 6, 2018.

       5. On or around July 27, an officer infmmed Lesbi that the deadline for reunifications had
          passed. The officer did not tell her why she would not be reunified with her daughter. The
          officer took away her documents and re-admitted her into PIDC.

      6. I visited Lesbi again on or around August 29, 2018. During this last meeting, Lesbi
         indicated that she could no longer eat the food because it was making it her ill. Lesbi is a
         diabetic, and the type of food at PIDC is high in starches and carbohydrates, which she
         says is difficult to process. Lesbi further indicated that she is severely depressed about
         not being reunified with her daughter. She doesn't sleep at night.

      7. Lesbi further indicated her desire to fight her case at all costs to be reunified with her
         daughter. In that capacity, the Texas Civil Rights Project has identified King & Spalding
         as a strong pruiner who has agreed to take on her immigration case in a pro-bono
         capacity.

      8. I am deeply concerned about the physical health and mental well-being of Lesbi. Not
         only was she sepru·ated from her daughter, for whom she has legal custody, but she was
         placed under false pretenses by the government that she would be reunified and released.



                                                                                              Exhibit A
                                                                                               000097
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4254 Page 86 of
                                      251
          case 1:18-cv-o{'.-PLF Document 1-2 Filed 09/26("" Page 63 of 215



          TI1e trauma that she has undergone is severe, and requires medical attention as soon as
          possible.


   This certification is made pursuant to 28 USC § 1746. I certify under penalty of perjury that the
   foregoing is true to the best of my knowledge.

   Executed in Alamo, Texas, this 31st day of August, 2018.



   b!J,.                 =




                                                                                             Exhibit A
                                                                                              000098
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4255 Page 87 of
                                      251
          Case 1:18-cv-o{\.-PLF Document 1-2 Filed 09/26A" Page 64 of 215




           Conditions in Honduras




                                                                     Exhibit A
                                                                      000099
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4256 Page 88 of
                                       251
          Case 1:18-cv-o(-".-PLF Document 1-2 Filed 09/26(' Page 65 of 215




                                 Conditions in Honduras
                                 Cited in Request for Reconsideration

                                           Table of Contents

    Article                                                                        Page

    International homicides (per 100,000 people)                                   3

    Map: Here are countries with the world's highest murder rates                  4-8

    InSight Crime Report: 80% of Homicides in Honduras Result of Gun Violence      9-12

   InSight Crime: Honduras Profile                                                 13-25

   ABC News Report: 'Men can do anything they want to women in Honduras': Inside   26-34
   one of the most dangerous places on Earth to be a woman

   The Architecture ofFeminicide: The State, Inequalities, and Everyday Gender     35-54
   Violence in Honduras

   WJP Rule of Law Index: Honduras                                                 55-58

   Honduras Corruption Report                                                      59-64

   Human Right Watch-World Report 2018: Honduras                                   65-71

   A Honduras Political Clan and Its Criminal Fiefdom                              72-91

   Honduras 2018 Crime & Safety Report                                             92-104

   El Pals: Encuentran sin vida a dos j6venes en Olanchito                         105-106

   El Heraldo: Identifican a pareja asesinada cerca de                             107-108

   Ola de violencia en Olanchito ganadero y comerciante asesinados                 109-111

   Doctors Without Borders Report: Forced to Flee Central America's Northern       112-117
   Triangle

   Intentional homicide, counts and rates per 100,000 population                   118

   Intentional homicide victims killed by gangs or organized criminal groups as    119
   percentage of total homicide victims by country/territory (2005-2012)




                                                                                         Exhibit A
                                                                                          000102
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4257 Page 89 of
                                       251
           Case 1:18-cv-o{\.-PLF Document 1-2 Filed 09/26(' Page 66 of 215




    •I nti!tJf ion~I ron)itides (per.1DQ,OOO peopl~) i
     Dr~ ~~~.i:~~~?l~·:,:knd~·!~;~~~dii~~.~;. H·h:r:~i~.~";;~;rt;~.~:~~~n±i~:·::;
     Ll<_t.~&:•.qt:?~·J..1 9        .                  . ".                    .




                                                                       !D




                          https://data.worldbank.org/indicator/Vc.ihr .PSrc.P5?year high desc=true




                                                                                                     Exhibit A
                                                                                                      000103
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4258 Page 90 of
9/19/2018                                 251


    = "®" PRI®

         Conflict


        Map: Here are countries with the
                               1
        world s highest murder rates

        June 27, 2016 · 2:45 PM EDT
         By Kuang Keng Kuek Ser




        Teresa Munoz mourns over the coffin of her daughter Maria Jose Alvarado during a wake for Maria
        Jose and her sister Sofia outside their home in Santa Barbara, November 20, 2014. The Honduran
        beauty queen has been found shot dead in a suspected crime of passion just days before she was
        due to compete in the Miss World pageant in London, police said.


     We use cookies to understand how you use our site and to improve your experience. To learn more,
     review our                By continuing to use our site, you accept our use of cookies and Pri'va~:v



                                                                                            CLOSE

                                                                                                    Exhibit A
https:/fwww.pri.org/stories/2016-06-27/map-here-are-countries-worlds-highest-murder-rates            00010~     1/9
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4259 Page 91 of
               Case 1:18-cv-oi.-P~ te1YC!'ll'rl'll!!1'1~".l!~htpj~d~g~s;(''l"'a~~ 68 of 215
                                              251
 B1rn12orn

         countries. But the US is not even in the top 100 for annual
         homicide rates when compared to the rest of the world.




          Murder rates by country, 2014 or latest data
          Mouseover or click each dot for more details.
          Source: United Nations Office on Drugs and Crime



        From the interactive map above, most of the top countries with the highest
        homicide rates are in Africa and Latin America. The homicide rates, defined as
        the number of deaths by homicide per 100,000 people, of the top 20 countries
        are showed in the chart below. The US was ranked 107 out of 218 countries,
        according to data from the United Nations Office on Drugs and Crime.
                                                                                            Exhibit A
https:flwww.pri.org/stories/2016-06-27/map-here-are-countries-worlds-highest-murder-rates    000101     219
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4260 Page 92 of
9/19/2018      case 1:18-cv-or':.p~= lf!l~~f'1~".l!>'i!iht!Jllill'!l!Jdi99ill!!Si'(--\fD'1~~
                                                  251                                        69 of 215

                                                The most homicidal countries, 2014 or .latest year

                         Hondura~

                       El Salvad.or
                        Venezuela
                           L-Gsotho
                          Jan1aita

                             Behze
             Saint Kitts and Nevis
                      South Africa

                       GuatPrna!'a



                         Colo1nbia

              Trinid<td &- ·.robauo
                  Saint Vincent &. '""'"
                  the. Gie:r1r1dines
                             Br.;tz1·1


                           Guyana




                      Puerto Rico

             Dnrnittkan R~publfc

                                                      10                                                              ti[)



            Move your mouse or finger over eacn l:lar for more dl;!lai!s. Data e><clude deaths in war or armecl
            conflict and suicides.
            Source: United Nations Office.on Drugs and Crime

                                                                                                Kuang Keng !(uek Ser I PR!




        The issue of gun control took center stage once again after the Orlando massacre
        with advocates of more gun control arguing that stricter gun control would help
        to reduce the number of homicides in the us,

                                                                      AOVERTISING




                                                                                                                Exhibit A
https:llwww.pn.org/stortes/2Q 16-06-27/m~p-here-are-countries-worlds-higlJesl-murder-rates                        00010g     3/9
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4261 Page 93 of
 9/19/2018                                251




         The Global Study of Homicide 2013 report by theUrdted Nations Office onDn.,1gs
         and Crime found that firearms arethe most widely used weapons in homicides
         committed globally in 2012. However, "not all high homicide (;lreas are
         associated with ahigh prevalence ofJirearm homicide."


                                                   Weapons used in homicide, 2012 or latest year




                                                                 •. Others             Sharp objects   lit Flreanns

            'Others' include physical force and blunt objects,
            Source: Glgbal tfpmiCide Book 2013

                                                                                                               Kuang Keng Kuek Ser I PRI_




                                                                                                                               Exhibit A
hltps:/lwww.pri.orgls!ories/2016-06-27/map-11ere..are,countries-wo.rlds:highest-murder-rales                                    00010~
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4262 Page 94 of
 91191201a
                                                      251 tpjlttffid@!J~fl(--\1ora~e 71 of 215
                Case 1:18-cv-01:'.-Pl~l" 10f9~ffil'11'l1'!~"1>!1h
         Data in the report shows that although murders committed with guns make up a
         huge portion of the total homicides in the Americas, including the US, some
         other regions with higher homicide rates, such as Eastern Europe and Southern
         Africa, have a relatively low share of homicides by guns.


         Similarly, some regions have lower homicide rates but a higher portion of
         homicides committed by guns like Southern Europe and Northern Africa.


         "This seems to confirm that a complex mixture of factors influences homicide
         levels, the homicide mechanism being only one of many elements that combine
        to determine homicide levels and trends," the report concluded.

        Several countries in Central America like Honduras, El Salvador and Guatemala
        top the list of homicides in the world. The heightening violence there has forced
        people to flee their homes and many end up as undocumented migrants in the
        us.

        To stop their children from being recruited by_gang~. some parents uproot the
        whole family and pay smugglers to move to the US. Some choose to send their
        children to the US, unaccompanied. In a town in El Salvador, the violence has
        even created a booming coffin-making business.


        To put the numbers in perspective, there were 17.4 road traffic deaths for
        every 100,000 people in Honduras, while the number of murder victims was 74.6
        in 2014, more than four times higher. According to a local news site, a total of
        6,640 murders happened in El Salvador in 2015, while mass killings in Paris,
        Brussels and Orlando, combined took 211 lives.


        Youth have been the biggest casualty in such violence. The 15-29 and 30-44 age
        groups account for the vast majority of homicides, but in South America and
        Central America, the homicide rate for male victims aged 15-29 is more than four
        times the global average, probably due to higher levels of gang-related homicide,
        according to the report.
                                                                                            Exhibit A
https://www.pri.org/stories/2016-06-27/map-here-are-countries-worlds-highest-murder-rates    00010§     5/9
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4263 Page 95 of
9/17/2018
                                          251




              MON, SEP 17, 2018




                                       80% of Homicides in
                                      Honduras Result of
                                      GunViolence: Report
                                       Written by Davie! Gagne - JULY 27, 2016




                                      SHARE




                                                Hondurt,in authorities Witf1 seized ffrilartns

                                                Firearms are reportedly used in more
                                                than 80 percent of allhomicides in
                                                Honduras, almost double the global
                                                average, an epidemic fueled in large
                                                part by the ease with which criminals
                                                can obtain weapons 1:1n<l; ammunition.

                                                Of the 48,094 murders registered in
                                                Honduras between 2008 llrl,c]J2015,
                                                39,111 were committed using a firearn1,
                                                according to data from the Violence
                                                Observatory at the National                         Exhibit A
https://www.lnsightclime.orglnewslbrtef/60-0f-h?mlcides-ln-honduras-~ult-Of-{lun-vlolence-report/    000109     1/4
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4264 Page 96 of
911712016                                251




                                                  almost twice the worldwide average ot
                                                  approximately 41 percent (pdt),
                                                  according to the Igarape Institute .
                                                 Honduras was at one time the most
                                                 violent peacetime nation in the world
                                                  an.d remains among the most
                                                 homicidal. Murder rates peaked at over
                                                 90 per 100,000 residents in the early
                                                 2010s before falling to their current
                                                 levels of around 57 per lOo,ooo.
                                                 The northern depaitment of Corl($ -
                                                 home to San Pedro Sula - saw the
                                                 .most violence during the recent eight-
                                                 ycar stretch, according to the
                                                 Observatory, registering :~1 percent of
                                                 the murders nationwide. Tegucigalpa's
                                                 Francisco Moraziin and La Ceiba's
                                                 Atliintida were the second andlthird
                                                 most violent departments, accounting
                                                 for 17 and}8 percent of the total
                                                 homicides, respectively.

                                                  lnSight Crime Analysis
                                                 The high rate of gun deaths is closely
                                                 linked to the large black market for
                                                 weapons that is supplying Honduras'
                                                 powerful criminal groups. In 2014, a
                                                 Honduran congressional cmnmission
                                                 estimated that over 1 million weapons
                                                 were in circulation, llll.~!that more
                                                 than 700,000 of those were unlicensed.

                                                                                                     Exhibit A
hltps:J/www.insightcrime.org/news/brief/80-0f-homicides-in-honduras-result-of-gun-violence-report/    0001q 8    214
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4265 Page 97 of
9/17/2018                                 251



                      ON


                                                 sourced n·om Honduras· own security
                                                 forces, which do not register their
                                                 weapons with the state, according to an
                                                 anonyinous source consulted by La
                                                 Tribuna. This lack of regulation
                                                 facilitates the movement of weapons
                                                 from police ll.llt:lJmilitary stockpiles
                                                 into the hands of criminal groups.
                                                        SEE AI.SO: Honduras News and!
                                                        Profiles

                                                 A111munition also appears to be
                                                 inexpensive .ll.ll!lJin abundant supply.
                                                 The head of the Violence Observatory,
                                                 Migdonia Ayestas, noted with alarm
                                                 that up to 400 bullet casings have been
                                                 found at some crime scenes, ll.llcII that
                                                 bodies are found riddled with as many
                                                 as 10 bullet wounds. This shows "that
                                                 the bullets or projectiles would appear
                                                 to be so cheap that they don't care
                                                 about using as many as it takes to
                                                 demonstrate their lethal
                                                 power," Ayestas told La Tribuna.
                                                 To be sure, gun violence is a serious
                                                 problem across the region. In Central
                                                 America, firearms are used in 73
                                                 percent of all homicides, according
                                                 to Igarape, while in South A1nerica that
                                                 number is 53 percent.



                                                                                                     Exhibit A
https://www.insightcrime.org/news/brief/8Q-0f-homicideswin-llonduraswresuHMof-gun-violence~report/    0001q~     3/4
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4266 Page 98 of
                                          251
911712018




                                                 We encourage readers to copy and
                                                 distribute our work for non-commercial
                                                 purposes, provided that it is attributed to
                                                 Insight Crime in the byline, with a link to
                                                 the original at both the top       bottom of and
                                                 the article. Check the Creative Commons
                                                 website for more details of how to share
                                                 our work, and'iplease send us an email if
                                                 you use an article.

                                                 SHARE




                                                                                                      Exhibit A
https:/lwww.insightcrime.org/news/brief/80-0f-homicides-in-honduras-result-0f..gun-violence-reportJ    00011~     414
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4267 Page 99 of
                                          251
9117/2018            Case 1:18-cv-o('_-PLF Document l:f.OJ21utlfl!ifffi!l1!()9/26r-' Page 76 of 215




             MON, SEP 17, 2018




                                     Honduras Profile
                                     LAST UPDATE AUGUST 27, 201 B




                                     .SHARE




                                              Honduras, long one of the poorest
                                              countries in Latin America, is now also
                                              among the most violent a11('.fJ:crime~
                                              ridden. The violence is carried out by
                                              local d111g trafficking groups, gangs,
                                              con11pt security forces ~!!clJ
                                              transnational criminal organizations
                                              mainly from Mexico ·anfi:~Colombia.

                                              In recent years, Honduras has become
                                              a strategic transit nation for drugs
                                              moving north to the United States.
                                              Political turmoil following the 2009
                                              coup that ousted then-President
                                              Manuel Zelaya has ex;werbated
                                              instability.
                                                                                                      Exhibit A
https://www.insightcrime.org/hondu(as.organized~crimewneWslhonduras/                                   000113     1113,
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4268 Page 100 of
911712018
                                         251
                     Case 1:18-cv-or'.-PLF Document 11<l!J!l"''l"i'l'el!J1!Q9/26(' Page 77 of 215



                    ON


                                              system ts att11cte<1 by pollt1cal
                                              interference anc! corruption, as well as
                                              a lack of capacity ilrt<f:transparency.
                                              The police in Honduras is one of the
                                              most corrupt il!l<f.imistrusted police
                                              forces in Latin America, andithe
                                              country's military has also been
                                              accused of engaging in criminal
                                              activities. Nonetheless, the ruling
                                              National Party, which has maintained
                                              control of the presidency since 2009,
                                              has increasingly deployed the military
                                              for policing functions, particularly in
                                              the fight against gangs like the MS13
                                               and:
                                               ''"
                                                    Barrio 18.
                                                 ""'"'"""''



                                              • Geography
                                              • History
                                              • Criminal Groups
                                              • Security Forces
                                              • ,Judicial System
                                              • Prisons

                                              Geography
                                              Honduras, the second-largest country
                                              in Central America, is bordered by
                                              Guatemala to the west, El Salvador to
                                              the southwest and!Nicaragua to the
                                              southeast. The country has a long
                                              Caribbean coastline and' access to the
                                              Pacific Ocean via a southern gulf.

                                                                                                    Exhibit A
hltps://wwwJnsightcrime.org/honduras-organized~crime~news/honduras/                                  0001 1a    2113
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4269 Page 101 of
911712018                                 251
              case 1:18-cv-or'.-PLF Document 11aJl!""l"ilfl'!lf.ll!()9/26(' Page 78 of 215




    "'~"""'-




                                                ancHooat sn1pments coming trom
                                               Colombia, South America's main
                                               cocaine producer. Large swathes of the
                                               country's forests have been cleared by
                                               drug traffickers to build air strips and
                                               create money laundering opportunities.
                                               Honduras' largely unmanned border
                                               with Guatemala is an important
                                               crossing point for contraband products
                                               and drugs.
                                               Gangs are concentrated in the
                                               country's largest urban areas, including
                                               the capital Tegucigalpa, the economic
                                               hub of San Pedro Sula and 1the
                                               Caribbean coastal city of La Ceiba.

                                               History
                                              Honduras became an independent
                                              connt1y in 1838. Its first half-century of
                                              existence was characterized by tensions
                                              between political factions. Beginning in
                                              the early 1900s, the United States
                                              became heavily involved in Honduras,
                                              including by deploying US soldiers, as
                                              US companies invested heavily in the
                                              banana industry, transforming
                                              Honduras into a so-called "banana
                                              republic."
                                              Political turmoil and severe economic
                                              struggles based in large pa1t on the
                                              count1y's reliance on exports fueled a
                                              military revolt in 1957, which paved the
                                                                                           Exhibit A
https://www.insightcrime.org/honduras-organizedMcrime-news/honduras/                        0001rn     3113
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4270 Page 102 of
9/'17/2018                                  251
               case 1:18-cv-O\r\.-PLF Document '1"'2i""l"ifel!l'<09/26(' Page 79 of 215



                     ON


                                              1970s to the 1990s, ttond.uras was an
                                              island of relative stability in the region
                                              as its Central American neighbors -
                                              Guatemala, Nicaragua and El Salvador
                                              - were rocked by civil wars. But as one
                                              of the poorest Latin American
                                              countries surrounded by war,
                                              Honduras became vulnerable to
                                              corruption and organized crime.

                                              Throughout the 1980s, Honduras was
                                              used as a trampoline for the movement
                                              of all types of illicit goods, from drugs
                                              to weapons andjcontraband - even
                                              after the wars ended, these trafficking
                                              routes would remain.
                                              The US government, focused on
                                              fighting what it considered a
                                              burgeoning communist threat in the
                                              region, used Honduras as a hub for
                                              supporting anti-communist fighters in
                                              El Salvador lil1'!}Nicaragua, even
                                              establishing training and attack bases
                                              along the country's borders. Honduras
                                              became increasingly militarized during
                                              this time, setting the stage for
                                              traditional economic powers to be
                                              eclipsed by a new elite class.

                                              During this time, Honduras' first major
                                              international drug trafficker, Juan
                                              Ramon Matta Ballesteros, set up an
                                              underworld "Honduran bridge"
                                              between Mexico's emerging
                                                                                           Exhibit A
https:f/wwwJnsightcrime.orgJhonduras-organized~crime-news/honduras/                         00011g     4/13
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4271 Page 103 of
9/17/2018                                   251
               Case 1:18-cv-o{-'.-PLF Document l:f.a@urip;jfl!llll<Qg/26(' Page 80 of 215




                                               on ues to tne n1gnest levels 01 power in
                                               Honduras, particularly within the
                                               military, and±owned legitimate
                                               businesses in the country. The US
                                               government even contracted Matta
                                               Ballesteros' airline company to shuttle
                                               aid aI1~ weapons to Nicaragua's
                                               secretly US-funded "Contras," who
                                               were fighting against the left-wing
                                               Sandinista government.
                                               In 1985, Matta Ballesteros became one
                                               of the most-wanted men in the region
                                               when he .l.lJ1~l.Jthe Guadalajara Ca1tel
                                               allegedly tortured ~g~!kilJed US Drug
                                               Enforcement Administration (DEA)
                                               agent Enrique Camarena. ln 1988,
                                               Matta Ballesteros was arrested by US
                                               Marshals in Honduras· and iextradited
                                                                         ···~''""''"""_,.

                                               to the United States where he was
                                               convicted oflddnapping and remains
                                               incarcerated.
                                              The 1990s were marred by rising crime
                                              alJ.diviolence, corruption, economic
                                              crisis andienvironmental devastation
                                              caused by Hurricane Mitch, one of the
                                              worst storms in history to strike the
                                              Western hemisphere.
                                              In the early 2000s, Honduras
                                              experienced a new surge in drug
                                              trafficking l.lI1~.Jother illicit activity. As
                                              Mexican drug trafficldng organizations
                                              gained more control over the
                                                                                               Exhibit A
https://www.insightcrime.org/honduraS-Organized-crime-newslhonduras/                            00011~     5113
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4272 Page 104 of
                      case 1:18-cv-o{'.-PLF Document '10Ji!f""Fifelll''09/26/1~ Page 81 of 215
911712018                                251




                                               cacniros 1n tne nortneastern carmDean
                                               coastal department of Col6n, andi;the
                                               Valles in the western Copan province
                                               bordering Guatemala. These
                                               organizations worked with other
                                               Honduran crime bosses such as
                                               business magnate ~!1:2:: trafficker Jose
                                               Natividad "Chepe" Luna   and:   drug
                                               trafficker .Jose Miguel "Chepe" Handal,
                                               as well as international groups like the
                                               Sinaloa Cartel.

                                              President Manuel Zelaya took office in
                                              2006 with promises to tackle crime
                                               and i implement social programs. But
                                              in 2009, Zelaya was ousted in a
                                              inilitary coup after calling for a
                                              constitutional referendum to pave the
                                              way for his reelection. Criminal groups
                                              have taken advantage of the resulting
                                              political turmoil, as well as corruption
                                              within the country's security forces
                                              .!ll!cllelite class, to expand their
                                              activities.
                                              In the 2010s, Honduras' homicide rate
                                              skyrocketed, peaking in 2011 !ll!~:
                                              slowly declining since. The primary
                                              drivers of this violence are gangs like
                                              the Barrio 18:and]MS13, which
                                              concentrate their criminal activities in
                                              urban areas flI1~ recruit young people,
                                              many of whom are suffering from
                                              widespread economic inequality and :a
                                                                                                 Exhibit A
https://www.insightcrime.org/honduras-0rganized-crime-news/honduras/                              00011§     6113
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4273 Page 105 of
911712016                                251




                                                order, demanrung extortion payments
                                                from businesses and residents, and
                                                running local drug sales and
                                                kidnapping rings.
                                                Since 2003, Honduras has pursued an
                                                "iron fist" security strategy against
                                                gangs. These policies, which did not
                                                address the root r,auses of gang
                                                membership or provide rehabilitation
                                                for gang members, have led to an
                                                increase in the prison population and I
                                                                                  '','1'1'''',',"'''



                                                burdened Honduras' already st11mbling
                                                penal system.
                                               The National Party has maintained
                                               control of the presidency since the
                                               2009 coup, first with President Porfirio
                                               Lobo Sosa :andlthen with President
                                               Juan Orlando Hernandez's election in
                                               2013 and controversial re-election in
                                               2017, which was marred by fraud
                                               allegations.
                                               In 2010, the United States designated
                                               Honduras as a major drug transit
                                               country for the first time. Since then,
                                               drug trafficking activities have
                                               intensified in the region, driven in part
                                               by a boom in Andean cocaine
                                               production. Honduras has cooperated
                                               closely with the United States on
                                               combating drug trafficking in recent
                                               years. In May 2014, Carlos "El Negro"
                                               Lobo became the first Honduran drug
                                                                                                       Exhibit A
https://www.insightcrime.org/honduras--organized-clime~news/honduras/                                   000119     7113
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4274 Page 106 of
                                         251
9117/2018             Case 1:18-cv-o('.-PLF Document 11"'2furqsjfe1!11'()9/26(_..., Page 83 of 215



                                             H


                                               prov1d.ec11ntormation to UIS aumoritres
                                               as pmt of plea agreements.
                                              This cooperation has at times sparked
                                              controversy. In 2012, several anti-drug
                                              raids conducted with assistance from
                                              US law enforcement allegedly involved
                                              unjustified uses of deadly force,
                                              including one incident in which a
                                              number of civilians were killed.
                                              Widespread anti-corruption protests in
                                              2016 prompted the establishment of
                                              the Support Mission Against
                                              C'. orruption .a11~l.l Impunity in Honduras
                                              (Misi6n de Apoyo contra la Corrupci6n
                                              y la Impunidad en Honduras -
                                              MACCIH), which is backed hy the
                                              Organization of Atnerican States
                                              (OAS). Honduras' Attorney General's
                                              Office has worked with MACCIH to
                                              investigate corruption schemes
                                              implicating political ~l1<:1J economic
                                              elites, including President Hernandez.

                                              Criminal Groups
                                              Honduras' most impo1tant criminal
                                              organizations have largely been
                                              dismantled in recent years with the
                                              arrests of their top leaders a11<:l;their
                                              extraditions to the United States. The
                                              former leader of the Cachiros drug
                                              trafficking group,Devis Leonel Rivera
                                              Maradiaga, has provided explosive
                                                                                                     Exhibit A
https://www.insightcrime.org/honduras-organized-crtme-newslhonduras/                                  0001   1s   8/13
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4275 Page 107 of
9/17/2018             Case 1:18-cv-011
                                         251,,..,.-PLF Document t:f.rqJurqsjfel!J1!()9/26/   ~

                                                                                                 Page 84 of 215
                                                                                         1



                                              H



                                               organization, which allegedly shipped
                                               tons of cocaine each month to the
                                               United States, has also been nearly
                                               entirely dismantled, with many of its
                                               members sent to face trial in US courts.
                                               The Atlantic Cartel, whose leader,
                                               Wilter Neptali Blanco Ruiz, was
                                               arrested in Costa Rica in November
                                               2016 and}later reached a plea
                                               agreement with US prosecutors in July
                                               2017, is presumed to have operated
                                               with protection from military, police
                                               andjjudicial officials.
                                               Honduras' two biggest gangs are the
                                               MS1:3 andJUarrio 18, which operate
                                               mainly in urban areas and.f subsist
                                               largely through extortion i~~<;l)ocal
                                               drug dealing.

                                               Various groups andJindividuals in
                                               Honduras also engage in trafficking
                                               firearms both into and!within the
                                               country.

                                               Security Forces
                                               Honduras has a national police force
                                               overseen by the Security Minist1y,
                                               which had less than 14,000 officers in
                                               2016 with lofty plans to double the
                                               force by 2022. The national police is in
                                               charge of preventing and)nvestigating
                                               crimes in Honduras, and.1iis composed
                                                                                                                  Exhibit A.
https:/lwww.insightcrime_org/honduras..organized-crime-news/honduras/                                              000129      9/13
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4276 Page 108 of
                           r\            251              ~
9/17/2018            Case 1:18-cv-m,             .-PLF Document t:f.cqJurqsjfel!ll'09/26A   Page 85 of 215



                    ON


                                              ll:ll<l;communitypo11c1ng. The pollce
                                             also coordinate with an anti-crime task
                                             force lmown as FUSINA, which
                                             includes prosecutors .ll:I1<:lJsoldiers.
                                             Honduras' police force is one of the
                                             n1ost corrupt in the region. Honduran
                                             police officers have been accused of a
                                             wide range of criminal activities,
                                             including co1Tuption, sharing
                                             information with criminal groups,
                                             allowing drug shipments to pass
                                             unchecked, ari~l}rcportedly
                                             participating in, and even directing,
                                             violent criminal operations. In early
                                             2016, Honduras created a police purge
                                             commission following revelations that
                                             high-ranking members of the police
                                             had participated in the 2009 murder of
                                             Honduras' anti-drug czar. Unlike
                                             previous purge attempts, the
                                             commission made early progress
                                             reviewing hundreds of high-ranking
                                             officials, al!<:lithousands of officers
                                             have been removed from the force. Its
                                             1nandate was renewed in early 2017to
                                             last for at least one more year. But a
                                             recent scandal has thrown the
                                             commission's legitimacy into question.

                                             Honduras has increasingly militarized
                                             the fight against organized crime in
                                             reeen t years, granting soldiers policing
                                             powers in 2011 ari<:l-.1 creating an elite
                                                                                                             Exhibit A
https:/lwwwJnsightcrime.org/honduras-organized~crime-newslhonduras/                                           0001~      10/13
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4277 Page 109 of
                                         251
9/17/2018             Case 1:18-cv-o('-PLF Document tl.0Jl!l""l"i~''09/26(---' Page 86 of 215


                     ON


                                               reporreruy rue1ea numan rignts
                                               violations, including kidnapping.

                                               As of 2015, Honduras' military,
                                               overseen by the National Defense
                                               Ministry, had around 24,000 active
                                               personnel in its army, air force, navy
                                               !1I1<:l)military police. Under Honduras'
                                               constitution, the Security Ministry can
                                               call on the military to cooperate in
                                               operations against terrorism !l!!<:l' drug
                                               llri~l)arms trafficking. Military officials
                                               have been accused of colluding with
                                               criminal groups to traffic drugs.

                                               Judicial System
                                              Honduras' highest judicial body is the
                                              Supreme Court of.Justice, which
                                              includes chamlJers for constitutional,
                                              criminal andjcivil cases. Below this are
                                              an appeals court, first instance trial
                                              courts for criminal a11gJ civil cases,
                                               andlmunicipal a11d district-level
                                              justices of the peace. Honduras has an
                                              Attorney General's Office (Fiscalia
                                              General) that functions as part of the
                                              independent Public Ministry
                                              (Ministerio Publico) .ari.dJhandles
                                              criminal investigations.
                                              Honduras' judiciaiy is widely
                                              considered to be weak, ineffective i;i.nd,
                                              highly corrupt. The selection processes
                                              for Supreme Court magistrates .11.n<:l.
                                                                                                Exhibit A
https://www.insightcrime.org/honduras-organized-crime-news/honduras/                             00012!     11/13
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4278 Page 110 of
                                          251
9117/2018      Case 1:18-cv-or.-PLF Document '10Jl!l"''Fifffilll!Q9/26/('Page 87 of 215




                                              World Jusuce YroJecrs 2017-2011:1 Kule
                                              of Law Index ranked Honduras as one
                                              of the countries with the most corrupt
                                              and ;least effective criminal justice
                                              systems in Latin America andJthe
                                                                        ,,,,,,,,;c,•/'



                                              Caribbean. Given the weakness of
                                              Honduras' judiciary, many high-profile
                                              drug trafficking suspects have been
                                              extradited to the United States.

                                              The internationally-backed .MACCIH
                                              has supported the Attorney General's
                                              Office's investigations into corruption
                                              since 2016. But backlash from
                                              implicated elites, Congress' so-called
                                              "impunity pact" ~!1:9)1egal attacks
                                              aimed at undermining the commission
                                              have made it difficult for these probes
                                              to progress.

                                              Prisons
                                              Honduras' overburdened prison syste1n
                                              is administered by the National
                                              Directorate of Special Preventive
                                              Services (Direcci6n Nacional de
                                              Servicios Especiales Preventivos -
                                              DNSEP) llI1<itrun by the National
                                              Police. As of 2017, Honduras' prisons
                                              were operating at almost 180 percent
                                              their capacity, in spite of 2014 reforms
                                              aimed at reducing overcrowding.
                                              Pretrial detainees account for more
                                              than half of the prison population and
                                                                                         Exhibit A
https://www.insightcrime.org/honduras-organized-crime-news/hondums/                       00011~     12/13
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4279 Page 111 of
                                         251
9/17/2018             Case 1:18-cv-02:-'.-PLF Document '10Jl!i"''Fifelll1!()9/26/\~ Page 88 of 215




                                              cteplorable condltmns, 8:1:1.<1.JChron1c
                                              dysfunction has allowed prisoners to
                                              escape. Prisons have become centers of
                                              criminal activity for gangs due to
                                              authorities' lack of control in many
                                              facilities.

                                              What are your thoughts? Click
                                              here to send lnSight Crime
                                              your comments.
                                              We encourage readers to copy and ·
                                              distribute our work for non-commercial
                                              purposes, provided that it is attributed to
                                              lnSight Crime in the byline, with a link to
                                              the original at both the top and! bottom of
                                              the article. Check the Creative Commons
                                              website for more details of how to share
                                              our work, andjplease send us an email if
                                              you use an article.

                                              SHARE




                                                                                                     Exhibit A
https:/fwww.insightcrime.org/honduras-organized-crime-news/honduras/                                  0001~~     13/13
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4280 Page 112 of
911112018     'M®!l:~'l.~!l.~!l!lttll9r.lql>e'filln !:D~~i1~stJs2lneJDfretl"19S~~~r\1)1"2'!!!!
                                                           251                                 woman -ABC News
                  Video
 ANEWS             Lfve                                   Menu                                                 Q.    LOG IN
 W                Shows
                  Good Morning America Good Morning America
World News Tonight World News Tonight
Nlghtllne Nlghtllne
2012020120
This Week This Week
The View The View

 ......
What Would You Do? What Would You Do?

 U.S.
Politics
lntemetlonel
Entertainment
Lifestyle
Hee Ith
Virtual Reality
Technology
Sports
Weather
FlveThirtyEight
Privacy PollcyPrlvacy Policy
Your CA Privacy RightsYour CA Privacy Rights
Children's Online Privacy PollcyChlldren's Online Privacy Polley
Interest-Based Adslnterest-Based Ads
Terms of UseTerms of Use
Contact UsContact Us
Yahool-ABC News Network I © 2018 ABC News Internet Ventures. All rights reserved.
  Search Headlines, News and Video...




   Ir f 14, a 19-year-old small town girl named Maria Jose Alvarado catapulted onto the world stage when her
   bnmant smile .and sweet personality won her the Miss Honduras crown, With a freshly minted passport, she
   v    et to compete for the prestlglous Miss World title In London, a trip which would be the first plane ride of
   hi:orlife.
          m
   But her dreams of glamour ar1d iglory were never to be. Just a few days before she was set to leave for the
   competition, Alvarado andJher sister, 23-year-old Sofia Trinidad, were brutally murdered. Their bodies were
   hidden in shallow graves In a riverbank in Santa Barbara, Honduras, discovered after a week-lon~xfil,ll,,hunt
https:llabcnews.go_comllnlemationallmen-women-honduras-inside-dangerous-places-earth-woman/story?id=47135328    0001~~        1116
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4281 Page 113 of
9117/201 B    'M@a:~ ~!l.'8"Cl!li~\.iipl21fllln !l>~~t1~s!Je2>nejll[Fe'tJIT(99~1f'll&ger9@~1~S
                                                        251                                    woman - ABC News
   that made International headlines. Their joint funeral was broadcast around the world and \attended by
   thousands.




   Marla ;Jose AM!rado Is crowned the new. Miss Honduras in San Pedro. Sula, Honduras. on Aprll 26._2014.



   But even their gri1:1vlng mother Teresa Munoz knows the bitter truth: the only thing unusual 11bout th1:1ir
   daughter's murders was that police and'lhe media paid attention.


   "Here in Honduras, women aren't worth anything," said Munoz, wiping away tears. She believes that the only
   reason her daughters' bodies were found is because. of Maria Jose's fame. Otherwise, she says, she would
   probably stlll be looking for answers.

   In El $alvador, the Murder CGpital of the World, Gang Violence Becomes a Way of Life

   Reporter's notebook: I-low a look Inside Venezuela's c:rumbl!ng he!lllth C!llre system got me kicked out of
   the country

   The night Maria Jose Alvarado was killed, she tagged along to her sister's boyfriend's birthday party. That
   boyfriend, then 32-year-old Plutarco Ruiz, was known as a powerful man In Santa Barbara. The night of his
                                                                                                             Exhibit A
https:/iabcnews"go,com/lntemationaVmen-women-honduras-inside-dangeroUS-pla~s-earth-womanfstory?id=47135328    0001~\i    2116
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4282 Page 114 of
911712018
                                                    251
             'M®a:sie<J'I. ~l~Cll/~r.~ipin f!>l:Yrn<l~l1~~nej!lfretJ"l991!!'61(~@'91'\!l1~!!! woman -ABC News
   birthday party, authorities say they believe Ruiz shot his girlfriend Sofia after a jealous argument. They say he
   then turned his gun on Maria Jose as she tried to flee the scene.


    "He shot her 12 times in the back," her mother sald. "Because of his machismo that this happened."


   Much of this gender-based violence, according to Honduran actlvlsts like Neesa Medina, is due to a sexist
   "machismo" culture of gangs, guns, ti.n.d, glrls, where a man's power ls often measured In bullets. Combine
   this with a government unable to cope with a relentless tide of drug-related crime, Medina says, you get a
   culture where women are dlsposabie.


   "Men can do anything they want to women In Honduras,• said Medina, an analyst with Honduras' Center for
   Women's Rights. "Because we think that it's common and ilt's something that you can be expected of, living
   here."


   Violence Is part of everyday life In Honduras, one of a triangle of Central American countries wracked by
   rampant gang warfare, with some of the highest murder rates outside of a war zone. But there is another
   brutal war raging there, one hidden just below the surface: Honduras has been called the most dangerous
   place on earth to be a woman. This ranking, due in large part to an epidemic of "femicide." or the murder of a
   woman because she Is a woman. According to Honduras' Center for Women's Rlghts, one woman Is
   murdered every sixteen hours In this nation, which Is barely the size of Ohio. According to the U.N., Honduras
   has the highest femlclde rate In the world.


   It Is not just murder, It's also the shocking numbers of rape, assault, andidomestlc violence cases, happening
   with near-total impunity. In 2014, the United Nations reported that 95 percent of cases of sexual violence and,
   femlclde In Honduras were never even Investigated.




                                                                                                                Exhibit A
https:l/abcnews.go.corn/lntemationallmen-womenHhonduras-inside~dangerous-places-earth-woman/story?id=47135328    0001~§     3116
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4283 Page 115 of
911712016                                251




   '"Thti!rS'sa 90 percent Impunity r111te when l:t comes to fc!rilldd~ c1u:tm, ·an~ ,~a 96 pen:ent.Jmpuntty; rate.with_ SeXua .vtor... mom+



   Alvarado a11d.iher sister Sofia ll'lnldad's bodies were discovered after.a week-long manhunt that made
   International headlines. Their oldest sister,. Cori Alvarado, was there. when their bodies were found.


   •1 kept asking God that it wasn't them." she said, through tears, ".But! hl!d to face the fact that it was them•.


   Police charged Ruiz with the murders, but more th;;in two years later, he still has not been tried and[ maintains
   his innocence.


   While the name Marla Jose Alvarado has become a national symbol for a culture of rampant femicide, her
   mother and isurvivlng sister say they are living in fear, terrified of retaliation from the killer. They are hopeful
   to one day receive asylum to come to the United states.


   The unholy violence of Honduras has propelled a river of women ~f1d·children towards America's southern
   border, part of what the UN has called an "invisible refugee crisis." Since 2008, the numbe.r of asylum seekers
   from Honduras and .neighboring El Salvador a11C1JGuatemala has !ncre!!sed by 500 percent, according to the
   U.N. For m!!ny of the women, It is not about escaping poverty, it may be life and· death. U.S. government

                                                                                                                                               Exhibit A
https://abcnews.go.com/lntemationallmen,.,women-honduras-inside-dangeroUS-plaCes-earth-woman/story?id=47135328                                  0001~~     4116
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4284 Page 116 of
9/17/2016                                251
   statistics found that, in 2015, 82 percent of female asylum seekers from these three nations had 'credible fear
   of persecution or violence', the most basic criteria for advancing an asylum claim.




   Too c:>ften, the vic:>lence comes from within a woman's own home. Heydl Hernandez, a 30-year-old mother of
   five, lives with the horrific: memories and brutal scars from the night her husband attacked her with a machete
   after a heated argument. She says her oldest daughter witnessed as he severed both of her feet.


   "My legs were badly.injured. I remember a part was Just attached by a piece of skin." Hernandez said;


   She thinks it was her husband's attempt to assert his power by stealing her Independence. "[If] he had
   wanted to kill me, he would have• she added.


   It's been over a year since the attack, and.Hernandez spirit is indomitable. She walks with donated
   prosthetics. She has a good job that supports her children and even plays in an all-male wheelchair
   basketball league.


                                                                                                               Exhibit A
hl!ps:iiobcnews.go.comllntemational/men•women-honduras-inside-dangerous-places.<>arth-womanistmy?id=47135328    0001§§     5/16
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4285 Page 117 of
9/171201B
                                                            251
              'M(!l!a;Sf!edq ~!l.~ll!l!tl@r.~ipin ~tm\<Jl'fl'!!l1~5il!QlnejDf~"19€t/l!l61r-'l~e'~'b1iQJ!!! woman -ABC News.

   "Thank goodness I had the blessing to be alive. because .there are others that don't," Hernandez said. "It's
   time that we move on and ... we stop the mistreatment from men.•




   'When I got to the tlospltal, a doctor told me.· "you won't ever walk ag«ln,"" said H,wdL 30,:S~n Pedro Su ~ Honduras._~••• nt0nt+



   Thanks to the rising Ude of the$e kinds.of crlmes, the H1mduran government formed a women's unit of Its
   Public Ministry In the capitol of Tegucigalpa. Yet when the "Nlghtllne• team went to visit, there were only a
   handful of women there asking for help. According to the Women's District Attorney Marla Mercedes Bustelo,
   "What these women feel ts Impotence. The authority has to reach these women. But In Honduras, that's not
   possible at the moment." She says that !Hing a complalntcan take weeks, police lack basic resources, and
   that there 11re many neighborhoods so dangerous, even the cops cannot enter without mil!tary backup.


   "Many of the women Involved In domestic vlolence with gang members, they can't l;!Ven report It. They can't
   seek help from police because that would be a death sentence• Bl.lstelo continued.


   Neesa Medina says reporting crimes and :obtaining restraining orders often do little to prevent women from
   being attacl<ecl. "How powerful Is a bullet? Is a bullet more powerful than a piece of paper?" she said. "We're
   talking about women who have three, four, or five kids. So if you cannot assure her and~her family to be sa'fe,

                                                                                                                                        Exhibit A
https:/Iabcnews.go:corn/lntemationa!lmen-women-honduras-inside-dangarous...places-earth-womanlstocy?id=47135328                          00013~     6116
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4286 Page 118 of
911712018
                                                        251
             'M~<J.~!l.'&"C!!liil&rtlfl'[l_1pm IJ)~~li~5lf!Qlnejllfi'e'tJl1@9M!'6f('~~rggCVf<Ql!!!I woman-ABC News
    and the best you can do ... is to show her a piece of paper, that's almost like signing her death sentence right
    there.•


   Fear is an ever-present reality of life for so many women here, yet the Honduran government falls to provide
   shelters or safe houses. So famllles In the gravest danger are at the mercy of private charities.


   Another woman "Nlghtllne" spoke to said she was brutally raped by a powerful man In their small town.


   "They left a note saying that if I spoke up they were going to kidnap my daughter, rape her, kill my son and
   go leave my son's head at the door of my home on a platter," the woman said. "Horrendous things so I was
   very scared and !stayed quiet.•


   Terrified, she said she stayed quiet and!didn't tell her children what had happened, even after she realized
   she had gotten pregnant with her rapist's child.


   "When the baby come to the house I knew it but I feel too scared, sad about my mom," said her young
   daughter In halting English. "But I know that God is going to help us an~l love my brother."


   The mother tells us no one would ever suggest she testify against the man who raped her, instead they
   suggest she leave the country. She says that she believes he had already murdered another woman, but was
   never arrested for the crime.


   The family is currently living in hiding Jn a shelter run by the Irish charity Trocaire.• which ls helping her family
   relocate to another, safer country. But it wfll be a far cry from her young, Engllsh"'1lpeaking daughter's dreams
   of America.


   "We want to go there because we know that we're going to have more opportunities: the daughter said.


   But the Trump administration's pollcles will make it more difficult for families like this to ever come to
   America's shores. His latest executive order cuts the number of refugees the U.S. will accept in half, which
   includes Honduran woman applyfng for asylum.




                                                                                                                Exhibit A
https:J/abcnews,go,com/lntemational/men-women-honduras-inside-da.ngerous-places-earth-woman/story?id=47135328    0001~~     7116
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4287 Page 119 of
9/17/2018                               251




   The Dolls aan ls a feminist gmftttl.grotip ktd by Myk!e Graff, whose femlnlSt raps·have ma:de her ii!ln Internet sen5aUon ... r'l'ICN+



   While so many women are fleeing, Neesa Medina said some young feminists are holding their ground. Tired
   of being silent. thousands have united underthe battl.e cry, "Ni Una Menos; which translates to "Not One
   Less Woman.• This battle cry hes spread across Latin America, from Argentina to Mexico, with widespread
   protests calling for an end to femlclde and other gender-based violence.


   Other activists have turned to less traditional protest means. The so-called. "Dolls Clan," led by rapper Maykl
   Graff, uses rap lyrics and Ig raffltl as feminist propaganda.


   "Through graffiti many men a11d.Jwomen feel Identified and feel empowered to say, 'If they can do It we can
   too,'" Graff said. "It's necessary that If the system Imprison us, we can be liberated through rap."


   It's all an effort to fight the violence of a 'maschismo• culture and Ieven change their country's destiny, so that
   many women, like Marla Jose Alvarado, will not have to die In vain.


   Neesa Medina said she still has hope that change will come to Honduras. "I have to," she said. "If I don't see
   hope, why would I continue working in this place.•

                                                                                                                                            Exhibit A
https:/labcnews.go.com/lnternationa!/men-women-honduras-inslde-dangerous-places-earth-woman/story?id=47135328                                0001§1     8/16
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4288 Page 120 of
911712016                                251

   Sponsored Stories                                                                                                         Rf{cdiTirhentled by




   Unlveraity of Southern                 Forget Yoga PllntliiTh-            60•Jarrin11 ~ Ph.otos                     [PicsJ Repai!'llliln .cane<t Thll
   Callfom!a Logo Color                   ParrtaAre The New !loJl:I          Hlllbu)l llolly                           Podce When He$11W Tiiis
   ll'lfualon Cha.rm Bangl•               Item For Wom•n.                                                              Burled Atlee Q1'1118m Shop's
   Al...... Ani                           Aln•flm!n Glllmon W!lo!!lb•-t                                                Ba•ment
                                                                                                                       -...!lior\<




           ADD IN.TEltliSTS
           Customllo your news feed by choosing the topics that lnt.erest you.


         Hurricane Floren""                                                                                                             +Add Interest


         Sepri         'Some araH hllven't seen the                                            DeVOll: Amerjcana should stop
                       wmt noodlng VIit' NC                                                    ~tildlnll behind screens ·and !
                       govemor ll!Alrns                                                        twJUer handles'          ·· · · · ··



         Sop17                                                                                 nump CflllS Kavanaugh 'one
                                                                                               orthe finest people' he's.ever
                                                                                               "'1own


         Sep\7         North Carolina .mldents                                                 4 books that rockl!d thl!
                       despenM for supplies                                                    i:rump White House




         Sepl7         Fltirance causes •hiatorfJ: •fl_d                                       1bm Arnold, iApprerdlca' produc&r $CUiiie
                       unpracodented ftoodlng' ·· ·




   Reporter's notebook: How a look inside Venezuela's
   t:rumbling health care system got me kicked out of
   the country
                                                                                                                                            Exhibit A
https://abcn0ws.go.cpm/lnleiJiationaVmen-wornen-honduras-i11side-dangerous-places.earlh,,_womanlstol}'?id~4713532S                            0001.~4      9116
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4289 Page 121 of
             Case 1:18-cv-~'1-PLF Document
                                        2511-2 Filed 09/26/l("age 98 of 215
                                                           1V,enjfvar, C and Walsh, S D, The Architecture of Feminicide: The State,
                                                           Inequalities, and Everyday Gender Violerce in Honduras. Latin American Research
                                                           Review: 2017; 52(2), pp. 221-240. DOI: https;//doi.org/10.25222/larr.73




         SOCIOLOGY

         The Architecture of Ferninicide: The State,
         Inequalities, and Everyday Gender Violence in
         Honduras
         Cecilia Menjivar' and Shannon Drysdale Walsht
         *University of Kansas, US
         t University of Minm,sota, Duluth, US
         Corresponding author; Cecilia Menjfvar (rnenjivar@ku.edu)


         Increasing exclusion and inequality in Honduras have posed escalating security risks for women in
         their homes and on the streets, In this article, we examine gender-based violence against women,
         including gender-motivated murders (feminicides), the everyday acts that can result in their
         deaths, and impunity for these crimes, Rather than analyzing these murders as interpersonal
         acts or linking them to economic deprivation, we examine the actions and inactions of the
         state that have amplified violence in the lives of Honduran women. We distinguish between the
         state's acts of omission and acts of commission in order to identify the political responsibility
         and failures that create a fertile ground for these killings. A context of multisided violence that
         facilitates extreme violence in the lives of women is present in Honduras, especially considering
         the diminishing power of civil society groups and increased political repression after the 2009
         coup. We identify root causes of the wide (and widening) gap between laws on the books-which
         have been passed mostly to satisfy international and domestic organizations pushing for
         change-and laws in action, that is, implementation on the ground. Although we focus on
         Honduras, we note similar experiences of extreme violence in Guatemala, El Salvador, and in
         other countries in the Latin American region.


         Introduction

               We cannot go back to Honduras .... They will kill us. With gangs it is very difficult. ... The gang
               n1embers wear the sa111e vests and use the sa111e guns that the police do. How do they get hold of
               these guns and vests? From the police.
                                                                 -A woman who has fled Honduras (UNHCR 2015, 24)

         For years, Honduras stayed under the radar of international attention, particularly of the US public. This
         is despite the fact that Honduras has served US interests in Central America in various forms and degrees,
         playing a key role during the 1980s when it was the staging ground for military operations and training that
         sustained the wars in that region. However, in recent years, a series of events have thrust Honduras into the
         limelight, starting with the 2009 coup that ousted the democratically elected president Manuel Zelaya. This
         event accelerated and exacerbated a security crisis in Honduras and the northern countries of Central America
         that has resulted in the destabilization of families, worsening of the economy, and increasing violence.' The
         won1an quoted above is one among thousands of wo1nen fleeing such conditions and seeking refuge in the
         United States. Thus, while the Latin American region as a whole seems to have entered a new era of openness,
          1
              The Comisi6n lnteramericana de Derechos Humanos (CIDH) has observed that in post.coup Honduras grave violations of human
              rights take place, such as killings, arbitrary calls for state of exception, repression of protest through excessive use of force,
              criminalization of social protest, increased arbitrary detentions, degrading and inhumane treatment of detainees, militarization of
              the national territory, increase in racial discrimination, violations of women's rights, serious restrictions on free speech, and grave
              infringement of political rights. The CIDH also noted the inefficacy of the judicial system in protecting human rights (CIDH 2009,
              paragraph 551).




                                                                                                                                            Exhibit A
                                                                                                                                             0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4290 Page 122 of
                                         251
             Case 1:18-cv-o''l-PLF Document 1-2 Filed 09/26/lr"age 99 of 215
        222                            \                                                                  \       11-chitecture of Feminicide




        and many countries have agendas to address inequalities and effect fundamental change, not all countries are
        aligning with this trend. Some, like Honduras, seem to have stepped back into the 1980s with coups, repression,
        and political violence that now is almost indistinguishable from 'tommon" crime. Honduras recently had the
        highest homicide rate in the world. Today that distinction belongs to El Salvador, but these two countries have
        alternated between the first and second places in the past several years. In Honduras, this rate has steadily
        gone up with the increased militarization of the state since the 2009 coup d'ftat. 2 In1portantly, in spite of
        intraregional differences in den1ocratic processes, Latin A1nerica as a whole has seen a marked increase in
        levels of interpersonal violence (PNUD 2013). High levels of violence once again are threatening democracy in
        the region (Arias and Goldstein 2010).
           Increasing exclusion and inequality in Honduras have posed escalating security risks for wo1nen in the
        home and on the streets. Although poverty and marginality affect everyone in the country, these conditions
        impact wo1nen and men differently. Both won1en and rnen are robbed, extorted, and killed. However, women
       suffer qualitatively different. and more extreme forms of brutality in the form of feminicide and various other
        forms of gender violence. In this article, we examine gender-based violence against women, the everyday
        acts that can result in their deaths, but not as solely interpersonal acts or by linking them primarily to
        economic deprivation. Rather, we examine the actions and inactions of the state that have served to amplify
       violence in the lives of Honduran women. While we expose women's poverty-related vulnerabilities, our
        approach moves beyond income disparities to highlight inequalities in citizenship rights where the state is a
        key player in perpetuating and reinforcing unequal access to justice and rights. We point to the confluence
       of factors that facilitate violent conditions for women that can ultimately culminate in their killings, and
        in doing so we reveal processes by which structural inequality translates into unequal access to safety and
       justice for Honduran wo1nen. 3
          Before we e1nbark on our discussion, a note about tenninology is necessary. Killings of wo1nen are
       often referred to as "femicide," that is, the killings of women because they are women (Radford and
       Russell 1992). We prefer the term "ferninicide'' because embedded in this term is the role the state
       plays in these killings. In contexts of impunity·sucl1 as Honduras, the brutal killings of women denote
       the complicity of the state through its unwillingness or inability to provide prevention and response
       mechanisms (see Lagarde 2010). The state also plays a more direct role in violence used to silence
       wornen in the political arena. State agents have committed sexualized violence and participated directly
       in injuring or killing women. This situation compounds inequality, as women become more afraid
       to engage in public life, which deeply curtails their citizenship rights. Honduras is characterized by
       Guillermo O'Donnell's conceptualization of "brown areas," that is, areas where the legal state is absent,
       resulting in a compromised rule of Jaw. In these areas, ''whatever formally sanctioned Jaw exists is
       applied intermittently, if at all" by subnational systems of power (e.g., patrimonial or even gangster-like),
       with informal legal systems that coexist with national regimes that have formal legal systems and are
       nominally democratic (O'Donnell 2004, 38-39).
          We distinguish between the state's acts of omission and acts of commission in order to identify the
       political responsibility and failures of the state that create a fertile ground for these killings (see also Sanford,
       Stefanos, and Salvi 2016). Omission (or inaction) includes indirect mechanisms such as failure to provide
       prevention, protection, and prosecution. It can also include failure to in1ple111ent laws to protect women, as
       when a negligent st.ate ·~verts its gaze" (Scheper-Hughes 1992) and simply looks the other way. Commission
       (or action) includes direct actions, such as sexual violence, threats, and the targeting of women leaders for
       persecution and police harassinent.4 Both types of acts have roots in the sa1ne social context that nonnalizes
       and sustains violence as well as in profound gender inequalities. This context also shapes the lens through
       which state actors assess information, justify acts, and implement Jaws. Decoupling the role of the state into
       commission and omission allows us to analyze the responsibility of the government in the surge of killings
       before and after the coup.


         2
           The 2012 homicide rate for Honduras was 90.4 homicides per 100,000 in the population. 111e most recent comparable rates
           available for North and Central America are from 2012, in descending order: El Salvador (41.2), Guatemala (39.9}, Mexico (21.5),
           Panama (17.2), Nicaragua (11.3), Costa Rica (8.5), the United States (4.7) and canada (l.6) (UNODC 2012). See Figure 2. For the
           northernmost countries of Central America, the most recent comparable rates are from 2014, as follows: Honduras: 75; El Salvador:
           64; Guatemala: 31 (World Bank 2014}.
         3
           We would like to thank an anonymous reviewer for bringing this point to our attention.
         4
           State actors also engage in crimes by directly collaborating with criminal groups, taking bribes, etc. Here, however, we focus only
           on the formal, licit actions and inactions of the state in relation to violence.



                                                                                                                                        Exhibit A
                                                                                                                                         0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4291 Page 123 of
                                         251
            Case 1:18-cv-0('1.-PLF Document 1-2 Filed 09/2611\~'age 100 of 215
         Menjivar and Walsh                                                                                            223




             To be sure, the Honduran government before the coup engaged in actions that disregarded gender-based
          violence against women and did not take effective steps in addressing it, thus committing acts of omission.
          These failures have worsened with the post-coup govern1nent, which has taken 1nore direct measures
          that have escalated acts of omission as well as commission in systematically persecuting women leaders
          and physically and sexually assaulting women. This is perhaps best exemplified by the assassination of
          environmental activists, such as the killing of indigenous leader Berta Caceres, who was murdered in March
          2016 after receiving multiple threats following her opposition to the construction of a hydroelectric dam.
          Yet the police alleged her murder had taken place in connection with a robbery. Even if the government
          is not killing wornen directly, acts of commission and ornission create conditions that pro1note impunity
         and increase risks of victimization by normalizing the targeting of women for violence, at home and in the
         streets. Though acts of on1ission may not directly involve the state in the killings, inaction can also lead to
         such killings. Thus, through direct and indirect mechanisms, the post-coup government has exacerbated the
         context within which women are killed, and impunity is widespread.
             Honduras has ratified regional and international conventions and has laws on the books criminalizing
         intrafan1ilial violence, rape, and ki!lings of women. However, the police and courts have undermined the
         aims of these laws by failing to implement them effectively or even by directly assaulting women. We argue
         that these governrnent actions and inactions are linked to intersect.ions arr1ong political, social, and econornic
         exclusion that are a consequence and a cause of gendered inequality, creating a particularly violent context
         forwo1nen. In our conceptualization, the san1e context that creates conditions for extre1ne fonns of violence
         also i1npedes justice as it perpetuates unequal access to the justice system on the basis of gender and, in this
         way, subverts women's citizenship rights.
            The recent spiral of violence in the lives of wo1nen and lack of protection can best be understood by
         examining the political responsibility of the state within a context of multisided violence. This context
         includes structural, political, symbolic, and everyday violence that reinforces and undergirds the
         normalization of persistent impunity and violence in the lives of women. This sociopolitical architecture
         sustains and perpetuates gendered violence and impunity. We argue that the n1ore extren1e the context
         of multisided violence, the higher the probability that states will fail in their responses to violence against
         women through normalizing and institutionalizing profound gender inequalities and undermining
         citizenship rights for women. This context is par.ticularly present in Honduras, especially considering the
         diminishing power of civil society groups and increased political repression after the coup. Past research
         has linked levels of feminicide to discrimination, poverty, and negative attitudes toward women {Prieto-
         Carr6n, Thomson, and MacDonald 2007). We move past these associations to reveal more systematically
         how structural and institutional violence creates a context of violence that cannot be reduced to violent
         individuals; it is embedded in the broader social order, gender inequality, the perpetuation of violence,
         impunity, and women's diminished rights.
            We focus on how broader structures of inequality conjoin with political forces to maintain these structures
         and intensify their impact. This approach allows us to identify root causes of the wide {and widening)
         gap between laws on the books-which have been passed mostly to satisfy international and domestic
         organizations pushing for change-and laws in action, that is, implementation on the ground. This gap
         diminishes women's citizenship rights and enables the rise of feminicides. A law on the books may not be
         enough to address an issue if contextual factors do not align with the aims of the law {Eisenberg 2011 ). And
         although we focus on Honduras, we note similar experiences of extreme violence in Guatemala, El Salvador,
         and other countries in the Latin A1nerican region (Grupo Guate111alteco de Mujeres 2012; Hume 2009;
         Menjivar 2011; UN 2011; Walsh 2008).

         Theoretical Framework
         To understand how the state responds (or fails to respond) to violence against women in Honduras, we use
         an analytic perspective that permits us to factor in the social and structural conditions that shape gender
         violence and within which laws are written and interpreted. A lens of multisided violence includes aspects
         of structural, symbolic, and political violence that intersect with gender violence {Walsh and Menjivar 2016;
         Menjivar 2011; Menjivar and Walsh 2016). The layered and interconnected nature of these forms of violence
         contributes to their normalization and the internalization of frames through which individuals understand
         and make sense of the social world {Menjivar 2m 1). A multilayered, normalized context of violence shapes
         the views, frameworks, and cognitive frames through which individuals {including justice system personnel)
         view violence, and in this way forms a sociopolitical architecture that orders life and shapes frames of
         reference. Thus, those who perpetrate violent acts and those in charge of implementing the law to address



                                                                                                                   Exhibit A
                                                                                                                    0001;i~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4292 Page 124 of
            Case 1:18-cv-O~'l-PLF Document
                                        2511-2 Filed 09/26/11',.,....._'age 101 of 215
         224                      \                                                        \     ~rchitecture of Feminicide



        such acts draw their frarneworks, viewpoints, and attitudes about gender roles, wornen, and violence fro1n
        the same social 1'order of things" (see Klein1nan 2000). The intersection of various fonns of violence results
        in the kind of increased gender violence and impunity that has become a crisis in Honduras.

         Structural Violence
        Structural violence is exerted both systematically and indirectly, often exposing itself in social structures as
         inequality. It results in oppressive conditions of poverty and lack of opportunity for marginalized sectors
         of society such as poor women (Menjivar 2011). The state plays a fundamental direct and indirect role in
         creating structurally violent conditions for large segrnents of the population. Who ends up poor is not an
        accident; it is the outcome of deliberate policy decisions that cause and perpetuate social and economic
         exclusion. Neoliberal reforms that lead to the displacement of workers, increases in unemployment,
         underemployment, and insecurity lie at the root of expanded forms of structural violence in the lives of the
         poor today.
           Significantly, structural violence is gendered. Women are disproportionately impoverished on a global
        scale, and Honduras is no exception. While poverty may not impact initial risks of exposure to physical
        violence, it puts poor women at extreme risk for repeated victimization and at a disadvantage in exercising
        their citizenship rights. Structural violence is also built into the structure of the state through policy
        decisions that have shrunk social spending budgets. Some of the effects on women are manifested in social
        expectations for won1en to attend to the needs of their families, secure food for their children, and protect
        them in the face of danger (Menjivar 2011). The lack of specialized services for women in the police and
        courts, despite pressure by women's organizations to provide t.hen1, exemplifies the structural violence of
        the state's actions, which maintain women's marginalization and perpetuate it through systemic failures
        to provide them with prevention, protection, or prosecution of violence. A5 Renderos (2011, 2) notes, "In a
        context of unequal distribution of wealth, scarce resources and weak institutions, impunity prevails within
        the justice system." Thus, women are kept disproportionately poor through policy design and become even
        more vulnerable to violence as policies contribute to n1aintaining in1punity.

         Political Violence and State Terror
        Although Honduras did not experience an internal armed conflict as did neighboring Central American
        countries, political violence and state terror prevailed, with gendered expressions. Political violence of the
        past has been characterized as targeting opposition groups. In contrast, today's state violence concentrates
        on "coinmon" crin1inals, often gangs. The violence used in both cases is re1narkably sin1ilar; repressive tactics
        used against the opposition in the past are now used to combat gangs and criminal groups. These tactics
        contribute to the n1ilitarization of society, as in the past, when society beca1ne accustomed to seeing violent
        government actions as ordinary and military power structures as natural and accepted. Thus, Enloe (2000)
        observes, lives become militarized not only through direct means and exposure but also when militarized
        views and attitudes are taken as natural and unproblematic, with a reciprocal relationship bet.ween violence
        from the state and violence in private spheres (Hay 1992). Structural and political violence interact: the
        structural violence of neoliberal reforms implemented in deeply unequal societies increases poverty and
        constrains choices for poor Hondurans, who turn to gang membership in order to survive (Walseth 2011 ). In
        turn, the govern1nent responds with aggressive policies to corn bat gang violence, creating new territories of
        violence (Gutierrez Rivera 2013). In a continuum of state violence, there are haunting similarities between
        signs of gendered violence and sexualized torture found on victiins of feminicide today and 1nethods of
        torture used against women during the civil war years in the region (Sanford 2008). Political violence is
        maintained and exacerbated through state actions of omission as well as commission-through failing to
        address issues of impunity for political violence and through committing it directly.

        Symbolic Violence
        According to Bourdieu (2004), symbolic violence refers to the internalized humiliations and legitimations
        of inequality and hierarchy that range from sexism and racism to intimate expressions of class power. A key
        point in Bourclieu's conceptualization is that the everyday, normalized familiarity with violence renders it
        unexceptional; power structures are normalized and accepted-always there-and the n1echanisn1s through
        which violence is exerted recede from conscious knowing.
          Perhaps the most powerful form of symbolic violence, in Bourdieu and Wacquant's (2004, 272)
        conceptualization, comes from "the social order of things." It normalizes mistreatment against vulnerable
        1ne1nbers of society, and this nonnalization becomes part of the cognitive fra1nes through which individuals
        make sense of the world. This social order reinforces and normalizes expectations of gendered behavior,

                                                                                                                     Exhibit A
                                                                                                                      0001~§
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4293 Page 125 of
                                         251
            Case 1:18-cv-0('1.-PLF Document 1-2 Filed 09/26/l(~age 102 of 215
         Menjivar and Walsh                                                                                                              225




         and thus perpetrators come to expect not to be held accountable for their acts. Impunity then becomes
         e1nbedded in relations with authorities and the judicial syste1n. The in1print of sy1nbolic violence can be
         seen in the routinized daily acts of control, humiliations, and stigmatization of women and their bodies,
         and the naturalized acceptance of women's manifold forms of social exclusion in education, health, and
         ernployment. It is also expressed in a general devaluation of poor wornen's lives, as well as in women's
         self-recri1nination for their own victin1ization when they fail to 1neet the norn1s ilnposed on then1. These
         expressions do not cause Honduran wo1nen's 1nurders but cumulatively set the conditions for the1n, as
         syn1bolic violence legitimizes the devaluation of women's lives. Because syrnbolic violence is constitutive of
         the social order, it seeps through to penneate state institutions, where it is expressed in the state's acts of
         omission and commission. For example, the state may fail to promote policies and campaigns that would
         value the lives of marginalized citizens in general. Further, they may perpetuate this devaluation when
         judges and police blame victims for the abuses against. them by accusing them of failing to "behave well."
         When women encounter these justifications and dismissals of violence against them, the just.ice systern
         reinforces abuse as a 1nechanisrn of subordination.

         Gender Violence and Gendered Violence
         Gender and gendered violence is a transversal aspect of structural, political, and symbolic violence; all of
         these types of violence have gendered expressions. Hammar (1999) observes that differences in a gender-
         imbalanced political economy that disadvantage women represent gender violence, whereas acts of violence,
         including physical, psychological and linguistic, constitute gendered violence (1999, 91). And it is precisely
         the expression of gender violence and gendered violence in evefYday life (in the home and the streets) that
         contributes to their normalization-they are always there, part of the way things are. EvefYday practices
         sustain the norn1alization of gender violence but also justify punish1nents for deviations from nonnative
         gender role expectations. Gendered and gender violence interact with structural, political, and symbolic
         violence to produce a multilayered system that increasingly hurts women and affects poor and vulnerable
         women in particular (Menjivar 2011 ). And gendered and gender violence are maintained and exacerbated
         through the syn1bolic violence of state actions of omission and co1n1nission. This confluence also sets
         the conditions for feminicide to occur. In our conceptualization, political exclusion, entrenched gender
         ideologies, and persistent inequality contribute to escalating security risks for women in Honduras and in
         other countries that share a siinilar confluence of factors.

         Data and Methods
         In a previous study, we inductively identified mechanisms that create conditions for extreme violence in
         the lives of women in Guatemala and El Salvador (Menjivar 2011; Walsh and Menjivar 2016) and we adapt
         this lens to examine the Honduran case. We use the 'extreme-case'' method, which focuses on case studies
         with extreme outcomes, like notable successes or failures (Gerring 2007, 101). This method helps to reveal
         how normalization operates as a causal mechanism in the relationship between the context of multisided
         violence (the cause) and extreme violence against wo1nen and i1npunity (the outco1ne).
           There are various approaches to data collection that could be used to examine the questions we address,
         but we opted for assembling different sources of unobtrusive data to address this sensitive topic. One
         egregious act of omission on the part of the Honduran state post-coup is that. it has increasingly failed to
         maintain databases on crimes against women and, consequently, there has been a dearth of data on violence
         against women in the post-coup years. Thus, we have resorted to piecing together the data we could find.
         Rather than using n1ore direct and extensive interviews and surveys, we use other fonns of prin1ary and
         secondafY data.
           Our primafY data are the laws on the books in Honduras that address violence against women, including
         intrafamilial violence and feminicide, as the state manifests itself in people's lives through law. We also
         reference a recent United Nations High Commissioner for Refugees report (UNHCR 2015) based on interviews
         with 160 Central American and Mexican women fleeing the violence; Menjivar assisted in the design of
         the data collection instrument and in writing the report. Further, we rely on two countrY expert affidavits
         presented in court proceedings of Honduran wo1nen seeking asylun1 in the United States, which cover the
         i1nplementation of laws on violence against women in Honduras.5 We also use an interview with a Honduran
         human rights lawyer who is an expert on gender-based violence in her countfY. SecondafY data come from
          5   One of these affidavits was shared with permission to cite it by the University of California Hastings College of Law Center on
              Gender and Refugee Studies. The other was shared with permission by the author. The affidavits are sworn statements by experts
              on Monduras providing testimony to country conditions with reference to state responsiveness or lack of response to vlolenr.e
              against. women.


                                                                                                                                    Exhibit A
                                                                                                                                      0001~il
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4294 Page 126 of
                                         251
             Case 1:18-cv-0(1.-PLF Document 1-2 Filed 09/2611\~'age 103 of 215
        226                                                                                                        -1rchrtecture of Feminicide




         reports by civil society organizations, the Honduran government, the press, and international organizations
         reporting on the levels and types of violence that women sustain and the advances and limitations of the
        laws. 'lb complement these sources we make use of country-level statistical data. Culling information from
        these various sources allows us to triangulate our data and focus on areas of overlapping evidence regarding
        how won1en are treated or n1istreated in the justice syste1n rather than rando1nly selecting cases or focusing
        on outliers.
           We exan1ine the laws on the books to identify advances addressing violence against won1en. We also
        highlight the laws' limitations given the context in which they are interpreted and implemented. Drawing
        from testimonies and reports, we analyze how Jaws operate on the ground where there are multiple obstacles
        to in1plen1entation in the police and courts. This lens allows us to reveal how the structure and application
        of laws nonnalizes and reinstantiates violence against won1en, rather than co1nbating or eradicating it.

        Background and Country Conditions: Foundations for Feminicide
        According to the UN Office on Drugs and Crime, Honduras has one of the highest feminicide rates in the
        world (see Figure 1 forthe trend in 2002-2013). The number of women murdered in Honduras has been
        rising steadily but spiked after 2010. Within Latin America, Honduras recently ranked third in feminicide
        rates behind El Salvador (the highest in the world today) and Guatemala (the second highest in Latin
        America), and had higher rates than Colombia and Bolivia (Alvazzi del Frate 2011 ).6 (See Figure 2 for a
        comparison of homicide rates in Central and North America, showing a rising rate in Honduras from 2006,
        which began to exceed murder rates in all other neighboring countries in 2009.)
           While the murder rate for women is lower than that for men, the rate for women has been consistently
        increasing since 2005, when there have been some periods of decline in the murders of men (Memoria
        Foro Femicidios 2014, 8). As Jnchaustegui Romero et al. (2012) observed for feminicide cases in Mexico, the
        murders of men show more elasticity than those of women, as the murders of men tend to respond to events
        or conditions with which they are associated, such as increases or decreases in organized crin1e, while the
        murders of women occur independently of specific contextual events. And whereas the killings of Honduran
        women before the coup showed an upward trend, the trend accelerated following the coup, demonstrating




       Figure 1: Number of feminicides in Honduras, 2002-2013. Adapted from Memoria Foro Femicidios 2014, 8.

         6
             Half of the countries in the world with vety high feminicide rates are located in Latin America and the Caribbean region (Hastings
             2014, 1).




                                                                                                                                         Exhibit A
                                                                                                                                          0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4295 Page 127 of
             Case 1:18-cv-or--'~_-PLF Document
                                            2511-2 Filed 09/26/lr~age 104 of 215
         Menjivar and Walsh           \                                                                                          227




         Figure 2: Overall homicide rates in Central and North America. Adapted from Memoria Fora Femicidios
           2014, 8.


         Table 1: Honduran laws addressing forms of violence against women.
          Year       Law
          1982       National Constitution. Establishes equal rights between men and w01nen and prohibits discrimination on
                     the basis of sex....._
          1997       Law against Do1nestic Violence (U.S. Depart1nent of State 2015).**
          2000       Law of Equal Opportunities for Women (Avila 2014, 2) ... ""
          2004       CEDAW: The Convention on the Elirnination of All Forrns of Discrirnination against Won1en, ratified in
                     October (U.S. Departrnent of State 2015).*
          2005       Inter-American Convention on the Prevention, Punishment, and Eradication of Violence against Woinen
                    "Convention of Belem do Para," ratified in March (U.S. Depart1nent of State 2015)."'
          2013      Femicide Law. Legislative Decree 23, 2013. Establishedfe111icide (killings of women) as a crime punishable
                     witf1 30-40 years iniprisonment.**
         *International or regional convention.
         0
           Domestic legislation.


         that propitious structural conditions for women's killings already existed pre-coup but were exacerbated
         post-coup. We argue that the state's actions played a key role.
            Under pressure from don1estic groups and international organizations, pre-coup Honduran governments
         passed a series of laws that offered measures protecting women from violence and discrimination, including
         a law against domestic violence (1997) and a law of equal opportunities for women {2000). The post-coup
         de facto government also passed a femicide law with stronger penalties for the killings of women (2013) (see
         Table 1). Thus, even though Honduras had laws to address violence against women before the coup, they


                                                                                                                          Exhibit A
                                                                                                                           0001i9
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4296 Page 128 of
                                        251
            Case l:l8-cv-or1.-PLF Document 1-2 Filed 09/26/l~~age 105 of 215
        228                      \                                                       \     ,rchitecture of Ferninicide




        were not effectively implemented. However, implementation has declined further in the post-coup era, even
        as rates of violence against won1en have continued to rise. Norn1alized views and structures that devalue
        won1en's lives and sustain violence against them existed before the coup, but state actions after the coup
        have amplified these conditions and deepened inequalities.
          Thus, despite international recognition of the growing incidence of violence against women in Honduras,
        over 96 percent of feminicides go unpunished (Inter-American Commission on Human Rights 2011 ). This
        i111punity, an expression of syn1bolic and gender violence, sends a powerful 1nessage that won1en's lives are
        expendable and unimportant, as unresponsive justice system institutions fall short in implementing the law
        on the books. Forty percent of the women interviewed for the UNHCR study (2015) who fled the country due
       to violence did not report abuses to the police because they thought it would be useless.
           In the '1980s, the United States used Honduras as a staging ground for the Contra War in Nicaragua
       and a base for US training of Salvadoran troops to fight against the Farabundo Marti National Liberation
        Front (FMLN) in El Salvador. During this time, US funding for the Honduran military increased dramatically.
       While do1nestic political tensions rose, disappearances and rnurders becan1e con11nonplace (Booth, Wade,
       and Walker 2010). Honduras became what scholars call a democradura: "a nominally democratic government
       that is really under military rule'' (Mateo 2011, 90). The country started experiencing a crime wave in the
        1990s, after the i1nposition of neoliberal structural adjustment programs increased inequality and repression
       (Booth, Wade, and Walker 2010). Wages stagnated through the 1980s and 1990s, and the destruction in 1998
       by Hurricane Mitch amplified existing poverty and unemployment trends (Booth, Wade, and Walker 2010).
       Neoliberal economic reforms exacerbated environmental degradation and prompted migration to urban
       areas, attracted by the increasing presence of maquila industry employment (Booth, Wade, and Walker 2010;
       Boyer and Pell 1999), as well as migration to the United States. Today, more than half of Hondurans live
       below the poverty line (Mateo WI 1).
          The crime wave that began in the 1990s became a major theme of the 2001 elections (Booth, Wade, and
       Walker 2010), as the rhetoric of being tough on crime has been used for political gain in Honduras (as well as
       in other countries in the region) (Holland 2013; Krause 2014). While the Honduran government has blamed
       gangs for high murder rates, it is difficult to disaggregate gang activity from other sources of crime, as
       both are entwined with insecurity, weak and corrupt public institutions, persistent impunity, growing drug
       trade activity throughout the region, increasing militarization that undermines community ties, widening
       inequality, and oppressive conditions of poverty (see Mateo 2011, 92, 96). It is also hard to distinguish
       between co1n1non crime, social crin1e, and political cri1ne in a context of lack of rule of law, corruption,
       and targeted violence against those identified as resistance members (Hermannsdorfer 2012, 16). All these
       varied forms of violence coalesce and are expressed in state actions to produce a context that normalizes
       violence and reproduces inequalities that undennine women's rights.
          In 2009, President Manuel Zelaya was overthrown by a right-wing military coup led by Porfirio Lobo,
       following Zelaya's referendum to propose a constitutional reform. Under the Zelaya government, there
       were modest advances for women's rights and potential for gains, but these were stunted with the coup.
       The proposed constitutional changes promoted by women's organizations included equal rights and
       opportunities, sexual and reproductive health and rights, the right to a life free of violence, sex education in
       schools, and political participation with the reinforcement of quotas for equitable and just represent2tion
       in legislative units (Ronderos 2011, 5-6). Ronderos notes, "With the chance to reform the Constitution,
       won1en's civil society organizations self-organized in order to agree on a comn1on agenda that would also
       ensure their participation in national policy debates and consultations" (2011, 4).
          Before the coup, there was a core group of progressive women within the National Congress who had
       the potential to call on the state to be accountable for rights violations, but most. of these representatives
       resigned after the coup (Gell 2012, 1). Many other women's advocates have been removed from their
       posts in state institutions. Also before the coup, women successfully lobbied the National Congress in
       2008 to create specialized policing units to investigate cases of killings of women. Under the post-coup
       de facto govern1nent, these police units were relocated within a year of their creation to attend to general
       street crime, leading to "a much less favourable context for women" (Renderos 2011, 6). Thus, the coup
       deepened divisions between an increasingly militarized state and much of civil society that had been
       mobilizing to resist it. The reallocation of specialized services represents the state's acts of omission and
       corrunission that sustain won1en's n1arginalization through institutional failures to respond to violence
       against won1en.
          Post-coup Honduras also has been characterized by a heightened context of structural violence for
       women, who are disproport.ionately poor and face even more constrained opportunities in the job
       market and increased levels of poverty, conditions that harm especially indigenous and Afro-descendant

                                                                                                                    Exhibit A
                                                                                                                     0001a~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4297 Page 129 of
                                        251
            Case 1:18-cv-0(1.-PLF Document 1-2 Filed 09/2611\'age 106 of 215
         Menjivar and Walsh                                                                                                              229




         populations (UNDP 2010). Honduras's 2013 Gender Inequality Index ranking of 129 (out of 187 countries
         worldwide) places the Joss in potential human development due to gender inequality at 48.2 percent in
         2013. Structural conditions commingle with political conditions (in the form of the state's actions and
         inactions). Concomitantly, gender and gendered violence in post-coup Honduras permeate institutions
         charged with providing security. While the post-coup era has been characterized by political setbacks and
         obstacles for won1en's rights, it has also launched a new wave of violence and state-led repression.

         Feminicides and Violence against Women
          Feminicides in Honduras have spiked since 2006, rising 300 percent from 202 murders in 2006 to 606 in
          2012. As a basis of comparison, Honduras has a smaller population than New York City (approximately 8. 1
         vs 8.5 million); Honduras's murder rate would undoubtedly be considered a crisis in New York. In 2012,
          feminicide was considered the second-highest cause of death for women of reproductive age in Honduras
          (IACHR 2013, 388). As several dalll collection activities on gender violence have come to a halt after the
          coup, there are lin1ited data on the nature of crin1es and violence against women in Honduras. But existing
          reports, such as those from the Autonomous University's Violence Observatory, suggest that prevalence
          is high, reporting rates are low, state responses are weak, and impunity is rampant.' Reported rates of
         domestic violence averaged 14,000 per year between January 2003 and September 2008 (Freedom House
          2010, reporting data from the Honduran Center for Women's Studies. CEM·H). But it was also reported
         that "few cases of domestic violence are investigated or reach the courts" (Freedo1n House 20"10, para.
         31). In 2011. police reported receiving "216 rape cases and other sexually related crimes against women"
         (Bureau of Democracy 2011. 16). And even though more men than women are killed in the spiral of violence
         in Honduras, there is an important gender angle to these murders, as they follow qualitatively different
         patterns by gender.
            As in other countries in the region, 1nurders of won1en are disproportionately committed by intin1ate
         partners and have become increasingly brutal and sexualized (IACHR 2013, 288). This is not the case for
         men. While men may be murdered with a bullet to the head, it is common for women (and rare among
         men) to also have postmortem signs of sexualized abuse and torture (IACHR 2013, 288). This phenomenon
         is prevalent in other countries in the region, as has been more widely publicized for Ciudad Juarez, Mexico
         (Fregoso and Bejarano 2010; Gaspar de Alba and Guzman 2010; Monarrez Fragoso 2002; Morales Trujillo
         2010; Staudt 2008). These distinct gendered patterns and extreme brutality in the killings of women demand
         an analytical lens that connects the various forn1s of violence that women face.
            Rape was "reportedly a serious and pervasive societal problem and continued to be underreported due
         to fear of stigma, retribution, and further violence" (Bureau of Democracy 2011, 16). In the Tegucigalpa
         neighborhoods of Villanueva and Nueva Suyapa, for instance, it was reported that 78 percent of women
         have experienced some form of violence in public spaces, including sexual and physical assault (UN Women
         2013, 1). The stigma associated with sexual violence is pervasive, and often the victims are blamed, a practice
         that contributes to its nonnalization and impunity.
            Like the women interviewed for the UNHCR report (2015), a representative from the Center for Women's
         Rights in Honduras noted that "victims do not generally report cases of sexual violence; consequently, it is
         very difficult to record the statistics that would demonstrate the severity of the problem. And when women
         do report, they usually withdraw their complaint because they lack financial resources, fear reprisals, feel
         ashamed or are afraid of what their family, friends and the general public will say" (Quoted in Research
         Directorate 2006, para. 7). Compounding fears of reporting, it would seem useless to do so given the lack
         of guarantees for protection, high levels of impunity (e.g.. Freedom House 20rn; OAS 2011 ), and the close
         collaborations between state authorities and members of criminal groups. Thus, even though there have
         been advances in the Jaws, there are key limitations in how they are conceptualized, and implemenllltion is
         limited (or even blocked).

         Laws Addressing Domestic Violence in Honduras and Latin America
         The Jaws that have been passed in Honduras to address violence against women are similar to those created
         throughout Latin America and suffer from similar problems in their formulation. The 1994 Inter-American
         Convention on the Prevention, Punishment, and Eradication of Violence against Women (Convention Belem
         do Para) established that violence against women constitutes a hun1an rights violation.

          7
              Portillo (2016) notes that among other strategies that have obstructed data collection, the post-coup government has radically
              altered the manner in which violent acts are reported. Instead of trained scholars analyz.ing raw data provided by each police
              precinct, the data are now aggregated by a central police agency, thus preventing a more accurate analysis of crime statistics.


                                                                                                                                    Exhibit A
                                                                                                                                     0001~3
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4298 Page 130 of
                                     251



            Subsequent laws throughout the region were ostensibly created to harmonize local laws with international
         nonns. However, proposals for laws focusing on violence against women were often n1et with resistance at
         the national level. With rare exceptions, governments only passed these laws after redefining the focus
         frorn the international norn1 of protecting woinen from violence t.o addressing "intrafarnily" violence.11 This
         legal move undermined the goal of challenging gender hierarchies (Friedman 2009, 349-351) and did so
         by "implying that family members are 'equally likely to be perpetrators and victims'" (Craske 2003, 37). In
        addition, 1nost Latin American countries prosecute offenders in civil or fa1nily courts rather than crin1inal
        courts and insist on reconciliation or mediation as a first step in legal proceedings (Macaulay 2006, 104).'
        In reconciliation or tnediation proceedings, wornen are often pressured to tolerate or cope with violent
        situations rather than obtain help to escape them (Jubb and Pasinato lzumino 2002; Jubb et al. 2010).
        Significantly, these measures are not recommended by the international organizations (IACHR 2007, 16, as
        noted in Friedman 2009) or by regional and local advocates. Allowing mediation is one way that these legal
        frameworks and procedures undermine advocates' intent of protecting women. It should also be noted that
        while the Honduran laws and sonte practices today resernble broader regional patterns, levels of violence
        and lack of ilnple1nentation are rnuch 1nore severe in Honduras given the extren1e fonns of normalized,
        structural, symbolic, and gender violence, in conjunction with the failure of appropriate state actions.
           Consequently, Honduran laws regarding dornestic violence, rape, and ferninicide have serious li1nitations.
        The 1997 Law against Domestic Violence passed by Congress established a mechanism for abused women to
        obtain a protective order against an abuser (Hermannsdmfer 2012, 20). This law has the status of a ''.special
        law," part of neitherthe civil nor criminal code. However, the way it is written reinforces the normalization of
        violence in wornen's lives and the devaluation of their lives and rights, which undennines irnplernentation.
        For a first offense of domestic abuse, the only legal sanctions are community service and twenty-four-hour
        preventive detention if the violator is caught in the act (Bureau of Democracy 2012, 15). The maximum
        sentence for disobeying a restraining order connected with the crime of intrafamilial violence is three years'
        imprisonment (Bureau of Democracy 2012, 15). Reflecting social expectations of gendered behavior, the law
        criminalizes rape as a public crime but does not grant the same status to spousal rape (see Menjivar 2016),
       which is evaluated on a case-by-case basis. In cases of nonspousal rape, a perpetrator can be prosecuted
        even if the victim does not press charges (Bureau of Democracy 2011). On February 21, 2013, Congress
        reformed the Criminal Code and added Article 118 A, establishing femicide as a crime for "men who kill
       wonten for reasons of gender, with hatred and disdain toward then1 as wo1nen." However, the law seems to
        be set up to fail, as it is technically challenging to provide legal evidence of hatred and disdain in the minds
       of perpetrators as a motive even when these feelings exist. Furthermore, the law establishes that one of
       the following four circumstances 1nust also be met: "sentirnental relationship, history of acts of violence,
       persecution of any kind, or commission with malice'' (IACHR 2013, 388), which carries such a heavy burden
       of evidence that it is almost impossible to apply.
           Institutional 1nechanisms and bureaucratic units have been created to i1nple1nent laws, but these
       institutions are generally underfunded and understaffed, reflecting the symbolic and gender violence in
       the law as it ignores women's lives and suffering. After the Domestic Violence Law was passed, a Special
       Women's Public Prosecutors Office was created within the Public Ministry in order to enforce it. However,
       the office had "little power when it came to prosecuting perpetrators of domestic violence" (UNFPA 2009,
       39). In 1999, the National Women's Institute was established as the "government agency responsible for the
       protection and advancement of Honduran women" (Research Directorate 2010, 3). Additional institutions
       include the Office of the National Human Rights Commissioner and the lnteragencyCommission on the Law
       against Domestic Violence (Research Directorate 2010, 3). However, since the coup, many of these agencies
       have been weakened or dismantled altogether, exacerbating existing trends. And regarding international
       agree1nents, Honduras often fails to sub1nit required reports to monitoring bodies, such as the Convention
       on the Elimination of All Forms of Discrimination against Women (CEDAW) and the Follow-up Mechanism
       to the Belem do Para Convention (MESECVJ) (Hermannsdorfer 2012: 20). While it is arguably better to have
       weak and underfunded institutions than none at all, implementation and responsiveness to violence against
       wornen have been lagging, nonexistent, or even unenforced by state institutions. The views of women
       seeking asylum in the United States show that this can have an insidious effect, as they may conclude that
        8 As of 2009, only five of these laws in the following four countries in Latin America specifically mentioned women: Ecuador,
          Guatemala, Honduras, Venezuela (Friedman 2009, 249-351). See table 2 for a list.
        ~ The practice of reconciliation privileges the family unit over the rights of abused women, renaturalizing "domestic violence by
          implying that a couple can, or should, be reconciled even when one systematic.ally abuses the other" (Macaulay 2006, 110; IACHR
          2007, 90).




                                                                                                                                   Exhibit A
                                                                                                                                    0001aa
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4299 Page 131 of
                                         251
            Case 1:18-cv-or'i_-PLF Document 1-2 Filed 09/26/l(''age 108 of 215
          ~~~~~                   \                                                                                          2~



         Table 2: Honduras: Political responsibility for exacerbating violence against women and impunity.
                          Pre-coup                                           Post-coup
          Acts of         Weak atten1pts to prevent, protect, and            Failure to prevent, protect, prosecute and to
          omission        prosecute and to i1nple1nent !aws addressing       ilnplement laws addressing violence against
                          violence against won1en in the police and courts   wornen in the police and courts
          Acts of        Isolated cases of violence and harassn1ent by       Increasing and systematic violence against
          commission     state agents targeting won1en                       women by the state: targeting women leaders
                                                                             for violence; harassn1ent and inti1nidation by the
                                                                             1nilitary; weakening and closing institutions that
                                                                             address violence against women
          Context of     High leve!s of structural violence, symbolic        Increased levels of structural violence, symbolic
          multisided     violence, and history of political violence that    violence, and new forms of political violence that
          violence       impact and marginalize women                        further 1narginalize women


         their lives do not matter when laws exist but are ignored (UNHCR 2015). As these asylum seekers explain,
         women do not turn to authorities charged with implementing laws and protecting them, since state officials
         will ignore the1n. With institutional doors closed, women have nowhere to turn and those who can leave
         the country in search of security. Having laws on the books is necessary but not sufficient for protection.
         Obstacles to implementation, which we attribute to a context of multisided and normalized violence in
         which the police and judiciary operate, is the focus of the upcoming section.

         Pre- and Post-Coup Political Responsibility for Feminicide: State's Acts
         of Omission
         Political responsibility for ferninicide operated primarily through omission in the pre-coup era, with some
         exceptions where the goverrunent took direct action to target wo1nen. In this section we illustrate the
         inaction of the police and courts in the pre-coup era, which laid the foundation for a surge in gender-based
         violence against women, includingfeminicides, and a post-coup escalation of failures in policing. We then
         focus on direct acts of post-coup violence initiated or facilitated by the police and courts that have embroiled
         Honduras in a feminicide crisis today. (See Table 2 for differences between pre-coup and post-coup acts of
         omission and commission.) We separate the time periods for analytical purposes, but in reality both stem
         from the same context that normalizes gender inequalities and shapes the cognitive frames of state actors
         in charge of writing, passing, and intple1nenting laws.

          Police Inaction and Multisided Violence: Pre-coup and Post-coup
          Inaction by the police was prevalent during the pre-coup era but worsened in the post-coup period. The
         symbolic violence of the state is embedded in these practices, in the police's treatment of domestic abuse
         as part of "the order of things." Often, officers attribute culpability for abuse to victims instead of abusers,
         blaming women for failing to avoid maltreatment through altering their behavior and becoming obedient
         and submissive. This police response further entrenches gender inequality, which is first enforced through
         abuse and then reinforced (and normalized) by demonstrating that women have no choice but to submit to
         it. Country expert Claudia Hermannsdorfer (2012) reveals how symbolic and gender violence seep through
         from the social context to the justice system and shape the cognitive frames through which violence against
         women is viewed as a normal aspect of relationships. Reporting on police behavior, she notes: "Women who
         seek help from the police are often told that the issue is a matter for her husband to decide, and that she
         should go home, be intimate with him, and he will forgive her. Other times, police simply tell the women to
         stop disobeying their husbands .... Honduran police ignore threats made against women, treating them as
         nothing more than the product of over-excited emotions" (Hermannsdorfer 2012: 11).
            Contributing to norn1alizing violence and the devaluation of wornen's lives, police divert resources
         toward the investigation of "more serious" crimes such as drug trafficking. At the structural level, this
         sidelining of wo1nen's interests within the justice syste1n reinforces inequality and sends a message to
         women (and society) that their lives are unimportant (Hermannsdorfer 2012, 11). Symbolic and gender
         violence are normalized through the persistent lack of funding for appropriate investigation. Again,
         Hermannsdorfer observes: "Even if the authorities did want to conduct a sensitive forensic examination
         in cases of fernicide, they lack resources, such as rape kits which are co1n1nonly used in other countries,
         to perfonn the exan1 .... Thus, in 1nany cases, it is i1npossible to 1nake an accurate determination of the



                                                                                                                        Exhibit A
                                                                                                                         0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4300 Page 132 of
                                        251
            Case 1:18-cv-qr'l-PLF Document 1-2 Filed 09/26/~~age 109 of 215.
        232                       \                                                             _.\rch1tecture of Fem1nic1de




        extent of sexual violence that is so often associated with the violent deaths of women" (Hermannsdorfer
         2012, 27).
           Resource diversion existed before the coup but worsened after it. Resource diversion is an anticipated
        outcome if police lack specialized units that focus on violence against women, because such units help
        to 1nake serving wo1nen an institutional airn rather than a discretionary act resting on an officer's choice
        to ignore or dismiss claims (Walsh 2008). Attempts were made to create a Gender Unit within the police
        that would help institutionalize responsiveness to violence against women before the coup, but this was
        dismantled aft.er the coup. Among other things, the Gender Unit was relegated to a warehouse far away from
        the rest of the police force (Hermannsdorfer 2012). Instead of being a reliable state institution for women
        to turn to for protection, police have reinforced the generalized and entrenched views of gender inequality
        that make women vulnerable to abuse and undermine their rights.
           Victim blaming is a form of omission that elucidates the persistent commingling of symbolic and gender
        violence that undergirds impunity. It is a practice with a long history that was present in the pre-coup
        era and persisted after the coup. A poignant example is the police reaction to the assassination of Blanca
        Guevara's niece shortly after the coup. Guevara is a labor rights and women's rights activist with the Network
        of Women against Violence in Choluteca, Honduras. Her twenty-three-year old niece was murdered in 2010
        while working on issues of violence against women. Guevara recounts the police's treatn1ent of the case,
        which exemplifies the sy1nbolic violence e1nbedded in state actors' approach to treating these cases: "When
        my niece's father filed the report, the director of the National Bureau of Criminal Investigation (DNIC)
        started blaming the [niece who was the] victim of the assassination .... There is an interview with the
        director of the DNIC who said that 'women walk in places where they should not go"' (Blanca Guevara in
        Memoria Faro Femicidios 2014, 16-17).
           Police reactions and dis1nissals of the seriousness of violence against wo1nen put won1en at risk for further
        abuse and even murder. A recent report by the UN High Commissioner for Refugees (UNHCR) quoted
        women fleeing from violence in Honduras and noted the futility of going to the police, even as police
        attempted to be helpful:

              In the rare cases where police arrested the perpetrators of abuse, the perpetrators were generally
              released within a few days. "I reported my husband to the police once," explained a woman from
              Honduras. "They detained him, but only for 24 hours, and then he was released and was even more
              angry." Another Honduran woman, whose mother had been abused by the woman's father and later
              her stepfather, sometimes made official complaints on her mother's behalf. But it was useless, she
              says. "They put them in jail for 24 hours and then they are out." (UNHCR 2015, 27)

        In these circu1nstances, wo111en are afraid to report their cases to the police for fear of retaliation fro1n
        perpetrators. In addition, they now fear police violence against then1 with the increased 1nilitarization of the
        st.ate since the coup.

        Court Inaction and Multisided Violence: Pre-coup and Post-coup
       The Honduran court system, pre- and post-coup, has reinforced and perpetuated inequality for women
       through a persistent lack of institutionalization and specialization of services for women. For example,
       the Law against Do1nestic Violence was a1nended in 2006 to require the creation of specialized dornestic
       violence courts. However, as of 2012, Honduras had not set up this court system, exemplifying the symbolic
       and gender violence entrenched in the institutional structure of the state.
          Feminicide is the most extrerne expression of violence against wornen but has only recently been
       recognized in the law as an exceptional type of murder through the 2013 Femicide Law, which was passed
       under international pressure. Before this, Honduran law considered a 1nurder ''aggravatedor if the victin1
       was a family member or intimate partner, or if the murder was premeditated. This would result in an
       increased prison term if the law were applied. However, this law was instead applied in favor of men, further
       exacerbating gender inequalities and the perception that women's lives are expendable. Victim blaming is
       not restricted to the police but persists in the courts through the dismissal of women's murders as "crimes of
       passion." These acts of omission exemplify the symbolic violence embedded in cognitive frames throughout
       justice system personnel who justify the murders of women as a consequence of romance: "Judges tend
       to consider murders arising from domestic violence as crimes of passion which should not be met with
       additional penalties, resulting in cases being charged as simple homicide-which carries a lighter sentence-
       or outright dismissed. Additionally, judges often blame female victims, assuming that the woman may have



                                                                                                                     Exhibit A
                                                                                                                       0001~g
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4301 Page 133 of
                                         251
            Case 1:18-cv-0~'1.-PLF Document 1-2 Filed 09/26/lr~age 110 of 215
         Menjivar and Walsh     \                                                        \                            233




         instigated the nu!fder, and use this as an additional reason not to consider the 1nurder or to dis1niss the case"
         (Hermannsdorfer 2012, 25, emphasis added).
           These profound gender inequalities are constitutive of the normalizing cognitive frames that judges and
         prosecutors deploy in carrying out their work; these frames, which express the symbolic violence of the
         social milieu, even become an obstacle to initial murder investigations. For example: "When investigators
         encounter a woman who has obviously been killed by domestic violence, they often reason, 'well, the
         prosecutor will not fully prosecute this case because this is a crin1e of passion, so there is no need to conduct
         an in-depth forensic examination"' (Hermannsdorfer 2012, 14).
           Across both the police and the courts. women have encountered manifold obstacles to accessing justice,
         which increases their risk of violent victin1ization. Jn responding to a survey by the lnter-A1nerican Court of
         Human Rights. the Honduran state noted problems throughout its justice system pathway, reporting various
         practices that discourage victims from following through on a complaint before the justice system, including:

            (a)the fact that the woman is revictimized in being compelled to recount the crime she has
               experienced on several occasions to different people involved in the investigation;
           (b) the victim is threatened on an ongoing basis by the suspect, relatives or legal representatives
               to withdraw the complaint and stop the proceedings, and there is no mechanism in place to
               guarantee the. personal safety of the victim or her next of kin;
           (c) the criminal proceeding takes a long time until it reaches the oral public trial stage;
           (d) having to travel, in some instances, on her own to different places to receive service ... and
           (e) a lack of confidence in the justice system. (IACHR 2011, para. 369)

         Acts of omission on the part of the police and in the courts began before the coup, with the state failing
         to adequately implen1ent laws. It takes time to set up institutions and train police and judges, but such
         persistent failures to progress cannot be accounted for by a "learning curve." In fact, omission appears to
         have worsened since the coup, and disturbing new patterns of commission have emerged, with state actors
         targeting women for violence.

         Post-Coup Political Responsibility for Feminicide: Increased Acts of
         Omission and Commission
         In the post-coup era, political responsibility for fe1ninicide through on1ission has intensified, and the
         governn1ent began to n1ore systematically target won1en and more openly and directly co1nmit acts of
         violence against them. In addition, increased governn1ent inaction to respond to violence against won1en
         deteriorated an already acute situation. Together, action and inaction in the context of heightened levels
         of various forms of violence (e.g., structural, political, everyday, gender) have created a "perfect storm" of
         structural conditions that sustains governn1ent responsibility for creating an environ1nent that not only
         tolerates routine violence in the lives of women but condones it through its own example. These factors,
         taken together, help explain the upward spiral in violence against women in the post-coup era.
           Violence against women intensified in post-coup Honduras in the context of deteriorating rule of law,
         escalating repression', and amplified gender-based, state-led violence that has targeted women (Kelly 2011;
         Morales 2011; Nobel Women's Initiative 2012). At the same time, generalized violence has increased and
         there is evidence of linkages between the state and armed drug cartels (IACHR 2013, 29). According to the
         Wo1nen's Tribune against Fen1inicides, state responsiveness to violence against women has weakened, in
         part because "not only did the administrators of justice fail to respond to human rights violations reported
         by women, the police themselves actually became the agents of repression and violators of women's rights"
         (Morales 2011). Ten percent of the women interviewed forthe UNHCR study (2015) reported that the police
         or other authorities were directly implicated in harming them. And in the month following the coup, Oxfam
         Honduras reported that there was·~ 60% rise in the number offeminicides. with the bodies of more than
         50 women found in the two largest cities, Tegucigalpa and San Pedro Sula. The Oxfan1 report accuses the
         Lobo government, voted in three months alter the coup, of inaction and complicity in the growing wave of
         murders" (quoted in Kelly 2011). It was also post-coup when the UN reported that Honduras had the highest
         per capita homicide rate in the world as of 2012 (Nobel Women's Initiative 2012, 10).
           In addition to feminicides. "numerous cases of sexual violence have been documented during forced
         evictions, which are rarely reported for fear of retaliation and due to the rampant impunity in situations
         of violence against women throughout the country" (Jones 2012, 1). This statement is congruent with the
         women's own voices in the UNHCR (2015) report. Rochelle Jones. of the Association for Women's Rights


                                                                                                                  Exhibit A
                                                                                                                   0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4302 Page 134 of
                                          251
             Case 1:18-cv-Ol-"1-PLF Document 1-2 Filed 09/26/l('age 111 of 215
         234                           \                                                                        .-\rchit:ecture o-f Feminicide




          in Developrnent (AWJD), also notes that the violence is more serious post-coup against wo1nen hun1an
          rights defenders, who also face public accusations that they are going against traditional roles assigned
         to women, and they are "threatened with death and sexual violence and are criminalized" (Jones 2012, 1).
         Alicia Reyes, a journalist with Radio Progreso in Honduras, emphasizes how the post-coup military posed
         a direct threat to wotnen who were considering collective action against the new regirne: "Frorn the first
         day the police and army sent the women a clear warning: 'You'll see what happens to you if you go to the
         streets'" (Reyes 2009, 2).
             One forrn of state omission has been gender-inimical budgeting, which is rooted in the syrnbolic violence
         in women's lives, and has been amplified in the post-coup era. The post-coup government has spent a much
         higher proportion of the national budget on the military and has failed to allocate funding to the justice
         sector and women's institutions. This symbolic violence serves to normalize a militarized "order of things"
         and sends a message to wornen that there are other more in1portant. issues to address. Honduras is not only
         failing to invest in public security for women but has weakened and even reversed the institutionalization of
         security for women.'° In 2012, 11.9 percent of the budget was allocated to Defense and Public Security, while
         only 0. 1 percent went to the National Institute of Women and 1.1 percent to the Public Prosecutor's Office
         (Men1oria Faro Femicidios 2014, 57). Greater n1ilitarization and armaments signal an absence of a gender
         perspective regarding the problem of public security and swells the number of armed men on the streets.
         Increasing anna1nents is a direct threat to women, as fireanns have been the principal instrument for their
         killings, constituting 334 rnurders in 2013 (75 percent of the total). 11
            Another form of post-coup omission has been the government's systematic concealment of statistical
         information. The Observatory of Violence at the National Autonomous University of Honduras has
         denounced the government for concealing statistics and infonnation about the ho1nicide rate. 12 Between
        January and June 2013, the Observatory counted 3,547 cases of homicide, but the Secretary of Security only
         reported 2,629, a difference of 918."
            During the Cold War, Honduras implemented a National Security Doctrine marked by political intolerance,
        which left at least 179 people disappeared from 1980 to 1993.14 Forced disappearances were linked to illegal
        detentions and torture on the part of the police and military. In the post-coup era, these actions appear
        to be more systematic. From 2008 until 2015, there has been a 281 percent increase in reports of women
        disappearing, and 697 reports of disappearances were rnade to the public prosecutor's office bet.ween
        January and September 2014." Political violence in Honduras normalizes its gendered forms and fosters
        impunity, as state agents commit and fail to mitigate the violence.
            Since the coup, the military has been increasingly incorporated into the police, and they have used sexual
        violence as a form of repression (Menjivar 2017). Thus, the government does not merely turn the other
        way in the face of gender violence through inaction but beco1nes an active participant in harn1ing won1en.
        Women's rights advocates have criticized the post-coup government's hostility toward women, which
        includes using rape as a weapon. The popular feminist slogan in Honduras following the 2009 coup was "Ni
        golpes de estado, ni golpes a las mujeres" (No coups, and no abuse of women), highlighting the close Jinks
        between political violence and violence against women (Pine 2013, 5-6). But the post-coup militarization
        behind the escalation of police violence in general also involves collaboration of state actors with members
        of criminal groups in violent acts against women in particular (see UNHCR 2015). This is how symbolic,
        political, and enduring state terror as well as gender and gendered violence commingle in the lives of
        Honduran won1en today.
            In response to the repression against wo1nen in the post-coup era, won1en have created legal statutes
        for the new opposition party, the National Resistance Front, and have been playing a stronger role in the
        post-coup resistance n1overnent (Gell 2012, 1). Indeed, it is the investigations by wo111en in the resistance

         ° Foro de Mujeres por la Vida, Observatorio Violencia y Seguridad de las Mujeres, lnforme contra !as Mujeres un problema de
         1

            Seguridad Humana, 2013, 13.
         11
            CDM, Foro de Mujeres por la Vida, Red Nacional de Defensoras, CEM.J-1, JASS CLAD EM, "Honduras: Las mujeres y los mecanismos
            internacionales de observanda de Jos derechos humanos," 2015, 12.
         ii "Colombia crear.3 30 observatorios," El Hera/do, July 7, 2014, http:/ /www.elheraldo.hn/pais/726622-214/colombia-crear%C3%A 1-
            30-observatorios.
         n "Seguridad quiere excluir casi mil homicidios," El Heraldo, July 4, 2014, http://www.elheraldo.hn/alfrente/566383-209/seguridad-
            quiere-excluir-casi-m i1-hom icid ios.
         14
            Foro de Mujeres por la Vida, Protocolo Norma, "No olvidarlas es e! camino para encontrarlas," Campafia contra desaparid6n forzada
            de mujeres en Honduras," 2015, 20.
         15
            Faro de Mujeres por la Vida, Protocolo Norma, "No olvidarlases el camino para encontrarlas," Campafia contra desaparid6n forzada
            de mujeres en Honduras," 2015, 20.




                                                                                                                                       Exhibit A
                                                                                                                                        0001~§
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4303 Page 135 of
                                        251
            Case 1:18-cv-0(1.-PLF Document 1-2 Filed 09/26/lr~age 112 of 215
         Menjivar and W.::ilsh                     .                                         \                             235




          movement that have brought to light grotesque uses of force against women by an increasingly militarized
          state: "Their investigations documented hundreds of wo1nen's testimonies relating to nu1nerous fonns of
          post-coup related sexual assaults that included groping and beatings of breasts and vaginas, threats of sexual
          violence, inti1nidation tactics with explicit sexist insults, as well as gang rapes by soldiers and police during
          post-protest detentions, curfew sweeps and night raids" (Gervais and Estevez 2011, 10).
            Militarized acts of violence against the resistance have involved sexualized and chauvinistic forn1s of
         violence against women. During demonstrations, security forces have verbally abused wo1nen participants,
          insulting them as 'whores" and saying, "What they want is for us to rape them," and "Go take care of your
         children."" Some security agents have been reported to have raped women with their police batons and
          raped women after they were detained for participating in protests.17
            Meanwhile, the murders of most women have remained unpunished. Some are reported to have been
         committed by government actors. For example, Margarit.a Murillo was a member of the National Popular
         Resistance Front and one of the founders of the National Center of Farmworkers (CNTC). The National
         Forum of Women for Life reports that she was kidnapped, tortured, and murdered by a death squad. 18 She
         was shot in the back on August 27, 2014, and her case re1nains in in1punity. 1!l And murder investigations
         seldom produce results. In March 2016, the indigenous activist leader Bert.a Caceres was murdered in what
         the police alleged was a robbery. In October 2016 her case files were stolen from a Supreme Court justice,
         almost ensuring that the investigation will be dropped. And in July 2016, the body of Lesbia Janeth Urqufa,
         a member of Caceres's organization, was found brutally assaulted in a garbage dump west of Tegucigalpa.
         According to police, the motive forthe murder was a robbeiy-of her bicycle. Such declarations (disseminated
         in the press) trivialize the lives, work, and deaths of these activist women, sending a powerful message to all
         women that normalizes their socially expected roles and diminishes their contributions to public life and
         to social justice.
            The coup in Honduras exacerbated a context of multisided violence in pa1t by increasing political violence
         and state terror in ways that amplified gendered and gender violence. Through acts of commission and
         omission, the state has been responsible for intensifying a multi layered context of violence resulting in
         increased violence and abuses, and where killings remain suspended in impunity. The coup took what was
         already a dangerous place for women and escalated the danger further, creating a context where women
         credibly fear violence not only in their harries and in the streets but also from the very institutions and state
         agents charged with protecting them.

         Conclusion
         Multisided violence encoinpasses structural, syrnbolic, political, gender, and gendered fonns. We have
         argued that a context of multisided violence creates conditions for states to fail in their responses to
         violence against women through normalizing and institutionalizing profound gender inequalities. The
         sy1nbolic violence of the st.ate serves as a catalyst for acts of omission and con11nission by shaping the views
         and actions of state actors in charge of implementing laws.
           While acts of on1ission were prevalent in the pre-coup era, the cornrnission of violent acts has beco1ne
         widespread in the n1ore extre1ne context of n1ultisided violence after the coup. State actions in post-coup
         Honduras help explain the upward spiral of violence that citizens in general are suffering, which are
         manifested in gendered ways. We have called attention to inequalities that are connected to but move
         beyond income and poverty, as these are manifested in the unequal citizenship rights of women. In doing
         so, we underscore the central place of the state in perpetuating gender violence.
           Along with other countries in northern Central An1erica, Honduras is falling behind its regional neighbors
         in Latin America in terms of human development, with high levels of extreme poverty, income inequality,
         and poor access to services (Ronderos 2011; UNDP 2010), as well as increased "common crime," corruption,
         and insecurity. Structural violence places women, especially poor and vulnerable women, at higher risk of
         institutional mistreatment (in the form of symbolic violence) and of everyday and routinized abuse (in the
         form of gender violence and gendered violence). As has been the case in post-coup Honduras, this situation
         deteriorates further with state repression and increased militarization, which undermine the rule of law.

          16
             CIDH, Honduras: Derechos Humanos y Golpe de Estado, 2009, Parrafo 525.
          17 CIDH, Honduras: Derechos Humanos y Golpe de Estado, 2009, P<irrafo 521.
          18
             Foro de Mujeres por !a Vida, Historias de defensoras de Derechos Humanos, 2014, 7-10.
          19
             "Jmpunidad a un afio de !a muerte de Margarit Murillo: DDHH," La Prensa, August 27, 2015, http://www.laprensa.hn/
             sucesos/873443"410 /i mpu nidad-a-u n-a%C3%B 1o-de-[a-muerte-de-margarita-muril!o-ddhh.




                                                                                                                      Exhibit A
                                                                                                                        0001~9
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4304 Page 136 of
                                         251
            Case 1:18-cv-0(~1.-PLF Document 1-2 Filed 09/26/l('age 113 of 215
        236                                                                                      'rchitecture of Feminicide




            While other countries, such as El Salvador and Guatemala, exhibit extreme levels of multisided violence, they
         have made relatively more progress than Honduras toward creating specialized services (e.g., Ciudad Mujer in
         El Salvador, and specialized femicide courts in Guatemala). In Honduras, the coup stunted the development
         of institutions that: airn to address violence against women. Furthermore, post-coup militarization has
         increased impunity through decreased transparency (as evident in the failure to report statistics on violence
         against women) and accountability (by failing to hold military personnel and even civilians accountable
         for violence against women). By contrast, Nicaragua and Costa Rica have relatively lower overall levels of
         multisided violence and lower levels of feminicide and impunity. Thus, comparatively, the more extreme
         context of multisided violence in Honduras has resulted in high levels of feminicide and impunity.
           Honduran wo1nen, as well as those in si1nilar contexts in the region, live in a social n1i!ieu where physical
        and psychological mistreatment become part of the way things are; where women's "private terrors"
        (Menjivar 2011) are part of life in the home, in the street, and in the workplace. Institutions reinforce and
         reflect this violent context through neglect and a lack of implementation of the laws. We argue that these
        are all deeply connected, because those who abuse women, as well as those who write or irnplement laws,
        draw on the cognitive frames and lenses through which they view the place of women in society and justify
        unequal treatment of women from the same social order of things.
           Our focus on pre- and post-coup fen1inicide levels reveals intersections among political, social, and economic
        exclusion as well as gendered inequality, exacerbating conditions of violence and impunity and culminating in
        a feminicide crisis in Honduras today. It is the deep-seated symbolic violence in this system that sends a message
        to women who seek justice in unequal institutions that their lives are not valued and that their co1nplaint:s
        are not taken seriously, a message that serves to normalize abuse and gender inequalities but also to silence
        women. A 2012 study found that less than one·third (29.3 percent) of women told family or friends that they
        had experienced intin1ate pa1tnerviolence in the past year, a low nun1ber even con1pared to El Salvador, where
        almost two-thirds (66.5 percent) indicated they would share this with family or friends (Bott et al. 2012, 58).
           We have demonstrated that passing laws to protect women will not accomplish their goals when this is
        done without the broader societal changes that could improve conditions for everyone. The content of the
        laws themselves, the failure to implement them, and the messages that an institutionalized inattention send
        to women are rooted in a deeply unequal society that devalues women's lives and those of vulnerable people
        in general. This is made worse when state actions, far fron1 irnproving conditions, exacerbate existing trends
        of gender inequalities that disadvantage women seeking justice. We have moved beyond assessing the impact
        of econon1ic indicators on won1en's inequality to exa1nining inequalities in the form of citizenship rights
        as won1en seek justice for the violence they routinely endure. Examining structural inequality is crucial for
        understanding broader patterns of inequality in Latin America, as it not only impacts poverty levels and
        access to material resources but also shapes unequal access to safety and justice.

       Acknowledgements
       We thank Karen Mejia and Daniel Alvord for their research assistance and the editors and reviewers for
       excellent comments. All errors remain ours. Both authors contributed equally to this article.

       Author Information
       CECILIA MENJIVAR is Foundation Distinguished Professor in Sociology at the University of Kansas. Her research
       falls in two areas: on inunigration frorn Central An1erica to the United States and on violence in Latin
       America. lier publications include Fragmented Ties: Salvadoran Immigrant Networks in America (University
       of California Press, 2000), Enduring Violence: Ladina Women's Everyday Lives in Guatemala (University
       of California Press, 2011), and Immigrant Families, co-authored with Leisy Abrego and Leah Smalzbauer
       (Polity, 2016). ln addition, she has published several edited collections. lier work also has appeared in Social
       Problems, Gender & Society, American Journal of Sociology, Social Justice, International Migration Review,
       Journal of Ethnic and Migration Studies, Ethnic and Racial Studies, and Sociology of Religion, among other
       journals. She is a recipient of a John Simon Guggenheim Fellowship and an Andrew Carnegie Fellowship and
       recently finished her terrn as vice president of the American Sociological Association.

       SHANNON DnYSDALE WALSH is an associate professor at the University of Minnesota Duluth. She was a visiting
       scholar at the University of North Carolina at Chapel Hill Department of Political Science during the summer
       and fall of 2015. She was awarded a McKnight Land-Grant Professorship for 2014-2016, an endowed
       professorship for promising junior faculty in the University of Minnesota system. Her research explains
       variation in state response to violence against won1en focusing on Central Alnerican countries. In addition,



                                                                                                                     Exhibit A
                                                                                                                      0001g~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4305 Page 137 of
                                         251
            Case 1:18-cv-Or''l-PLF Document 1-2 Filed 09/26/lr'age 114 of 215
         Menjivar and Walsh     \                                                        \                           ?.37




         she produces scholarship on women's policy making, sex trafficking in the United States, and crime in Latin
         An1erica. She has engaged in advocacy work in rural Guate1nala and served as a consultant and expert witness
         for asylum cases in the United States. She has recently published her work in journals such as the International
         Feminist}ournal ofPolitics; Politics, Groups, and Identities; Human Rights Review; Current Sociology. and Latin
         American Politics and Society. Her research has been awarded competitive external funding from several
         sources, including the American Association of University Women, National Endowment for the Humanities,
         and American Council of Learned Societies. She was awarded the 2015 Helen Safa Paper Prize by the Latin
         An1erican Studies Association Gender and Fen1inist Studies Section.

         References
         Alvazzi de! Frate, Anna. 2011. "When the Victim Is a Woman." In Global Burden of Armed Violence 2011:
              Lethal Encounters, 113-144. Cambridge: Cambridge University Press.
         Arias, Desmond, and Daniel Goldstein, eds. 2010. Violent Democracies in Latin America. Durham, NC: Duke
              University Press. DOI: https://doi.org/10.1215/9780822392033
         Avila, Jennifer. 2014. "Impunity Encourages Femicides." Latinamerica Press I Noticias Aliadas, March 7.
              http: I I lati nameri cap ress.o rg/articles.asp7art=6 98 2.
         Booth, John A., Christine J. Wade, and Thomas W. Walker. 2010. Understanding Central America: Global
              Forces, Rebellion, and Change. 5th ed. Boulder, CO: Westview Press.
         Bott, Sarah, Alessandra Guedes, Mary Goodwin, and Jennifer Adams Mendoza. 2012. "Violence against
              Women in Latin America and the Caribbean: a Comparative Analysis of Population Based Data from
              12 countries." Pan American Health Organization. Last updated February 28, 2014. http://www.paho.
              org/hq/index.ph p?option=com_content&view=article&id=817 5%3Aviolence-against-women-in-latin-
             america-and-the-caribbean&catid= 1505%3Asde-about-us&ltemid= 1519&lang=en.
         Bourdieu, Pierre. 2004. "Gender and Symbolic Violence." In Violence in War and Peace, edited by Nancy
             Scheper-Hughes and Philippe Bourgois, 339-342. Malden, MA: Blackwell.
         Bourdieu, Pierre, and Lo'ic Wacquant. 2004. "Symbolic Violence." In Violence in War and Peace, edited by
             Nancy Scheper-Hughes and Philippe Bourgois, 272-274. Malden, MA: Blackwell.
         Boyer, Jeff, and Aaron Pell. 1999. "Mitch in Honduras: A Disaster Waiting to Happen." NACL.A Report on the
             Americas 33(2): 36-43. DOI: htt.ps://doi.org/10.1080/10714839.2000.11725633
         Bureau of Democracy, Human Rights, and Labor, U.S. Department of State. 2011. "2011 Human Rights
             Report: Honduras." http://www.state.gov/documents/organization/186734.pdf.
         Bureau of Democracy, Human Rights, and Labor, U.S. Department of State. 2012. "2012 Human Rights
             Report: Honduras." http://www.state.gov/ documents/organization/2046 70.pdf.
         CIDH (Comisi6n lnteramericana de Derechos Humanos). 2009. "Honduras: Derechos Humanos y Golpe de
             Estado." December 30, 2009. Organizaci6n de las Estados American as. http://www.cidh.org/countryrep/
             Honduras09sp/lndice.htm.
         Craske, Nikki. 2003. "Gender, Politics and Legislation." In Gender in Latin America, edited by S. Chant
             with N. Craske, 19-45. New Brunswick, NJ: Rutgers University Press. DOI: https://doi.org/10.3362/
             9781909013209.002
         Eisenberg, Ann Marie. 2011. "Law on the Books vs. Law in Action: Under-Enforcement of Morocco's Reformed
             2004 Family Law, the Moudawana." Cornell International Law Journal, no. 44: 693-728.
         Enloe, Cynthia. 2000. Maneuvers: The International Politics of Militarizing Women's Lives. Berkeley:
             University of California Press.
         Freedom House. 2010. "Countries at the Crossroads Report., Honduras." Freedom House. http://www.
             freedom house. org/ re port/ cou n tries-cross roads-201 0I Honduras.
         Fregoso, Rosa-Linda, and Cynthia Bejarano, eds. 2010. Terrorizing Women: Feminicide in the Americas.
             Durham, NC: Duke University Press.
         Friedman, Elisabeth Jay. 2009. "Re(gion)alizing Women's Human Rights in Latin America." Politics and
             Gender 5: 349-375. DOI: https://doi.org/10.1017 /S1743923X09990171
         Gaspar de Alba, Alicia, with Georgina Guzman, eds. 2010. Making a Killing: Femicide, Free Trade, and La
             Frontera. Austin: University of Texas Press.
         Gell, Fiona. 2012. "Strengthening Governance Programming through Tackling Violence against Women
             and Girls: RHV in Honduras." OXFAM GB, July 16. http://api.ning.com/files/FsjEpqqsrh03EY4BLPBC-
             b54waFx2JVDom Kha 1RKSHliHvCU6mSwFwO'Zj02ZREe06 HDQ8CCCe4iW.31gPFiOBpQHtxrM 1w85L/
             RHVandVAWGHondurasCaseStudy.pdf.
         Gerring, John. 2007. Case Study Research: Principles and Practices. New York: Cambridge University Press.



                                                                                                                 Exhibit A
                                                                                                                  0001g9
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4306 Page 138 of
                                     251



         Gervais, Christine, and Betsy Estevez. 2011. "Security through Solidarity: Honduran Women's Post-Coup
              Strategies of Support and Survival." journal of International Women's Studies 12(4):1-21.
         Grupo Guatemalteco de Mujeres. 2012. "Muertes violentas de mujeres segun fuente de informaci6n: INACIF,
              PNC y MP." Guatemala City, Guatemala.
         Gutierrez Rivera, Lirio. 2013. Territories of Violence: State, Marginal Youth, and Public Security in Honduras.
              New York: Palgrave Macmillan.
         Hammar, Lawrence. 1999. "Caught between Structure and Agency: The Gender of Violence and Prostitution
             in Papua New Guinea." 1i'ansforming Anthropology 8(1-2): 77-96. DOI: https://doi.org/10.1525/
             tran.1999.8.1-2. 77
         Hastings, Deborah. 2014. "In Central America Women Killed with Impunity just Because They're Women."
             New York Daily News, January 10. http://www.nydailynews.com/news/world/femicide-rise-central-
             america-article-1.1552233.
         Hay, Douglas. 1992. "Time, Inequality, and Law's Violence." In Law's Violence, edited by Austin Sarai and
             Thomas B. Kearns, 141-173. Ann Arbor: University of Michigan Press.
         J-lermannsdorfer, Claudia. 2012. Declaration of Claudia Hermannsdorfer, Expert on Women's Rights in
             Honduras, November. University of California Hastings College of the Law.
        Holland, Alisha C. 2013. "Right on Crime? Conservative Party Politics and Mano Dura Policies in.El Salvador."
             Latin American Research Review 48(1 ): 44-67. DOI: https://doi.org/10.1353/lar.2013.0009
        Hume, Mo. 2009. The Politics of Violence: Gender, Conflict and Community in El Salvador. Malden, MA:
             Wiley-Blackwell.
        IACHR (lnter-Ameriam Commission on Human Rights). 2007. Access to Justice for Women Victims of Violence
             in the Americas. Washington, DC: Organization of American States.
        IACHR (Inter-American Commission on Human Rights). 2011. Annual Report of the Inter-American
             Commission on Human Rights 2010. Washington, DC: Inter-American Commission on Human Rights.
             http://www.oas.org/en/iachrI docs/annual/2011 /TOC.asp.
        IACHR (Inter-American Commission on Human Rights). 2013. Annual Report of the Inter-American
             Commission on Human Rights 2012. Washington, DC: Inter-American Commission on Human Rights.
        lnchclustegui Romero, Teresa, et al. 20'12. Violenciafeminicida en Mexico: Caracterlsticas, tendencias y nuevas
             expresiones en las entidadesfederativas, 1985-2010. Mexico City: ONU Mujeres, Entidad de las Naciones
             Unidas para la lgualdad de Genera y el Empoderamiento de las Mujeres; Institute Nacional de las Mujeres,
            Mexico.
        Jones, Rochelle. 2012. "Human Rights Abuses in Honduras Pose an Ongoing Threat to Women's
            Human Rights Defenders (WHRDs)." Association for Women's Rights in Development (AWID),
            December 20. https://www.awid.org/news-and-analysis/human-rights-abuses-honduras-pose-ongoing-
            threat-womens-human-rights-defenders.
        Jubb, Nadine, Gloria Camacho, Almachiara D'Angelo, Kattya Hernandez, Ivonne Macassi, Liz Melendez,
            Yamileth Molina, Wania Pasinato, Ver6nica Redroban, Claudia Rosas, and Gina Yanez. 2010. Women's
            Police Stations in Latin America: An Entry Point for Stopping Violence and Gaining Access to justice. Quito,
            Ecuador: CEPLAES: Centre for Planning and Social Studies.
        Jubb, Nadine, and Wania Pasinato lzumino. 2002. "Women and Policing in Latin America: A Revised
            Background Paper." CERLAC Occasional Paper, February 2002. http://cerlac.info.yorku.ca/files/2016/09/
            Jubb.and_.Pasinato_Background-Paper.pdf.
        Kelly, Annie. 2011. "Honduran Police Turn a Blind Eye to Soaring Number of 'Femicides."' The Guardian, May
            28. http://www.guardian.co.uk/world/2011/may/29/honduras-blind-eye-femicides/print.
        Kleinman, Arthur. 2000. "The Violences of Everyday Life: The Multiple Forms and Dynamics of Social
            Violence." In Violence and Subjectivity, edited by Veena Das, Arthur Kleinman, Mamphela Ramphele, and
            Pamela Reynolds, 226-241. Berkeley: University of California Press.
        Krause, Krystin. 2014. "Supporting the Iron Fist: Crime News and Authoritarian Crime Control in
            Guatemala." Latin American Politics and Society 56(1): 98-119. DOI: https://doi.org/10.1111/j.1548-
            2456.2014.00224.x
        Lagarde, Marcela. 2010. "Preface: Feminist Keys for Understanding Feminicide: Theoretical, Political, and
            Legal Construction." In Terrorizing Women, Feminicide in the Americas, edited by Rosa-Linda Fregoso and
            Cynthia Bejarano, xi-xx. Durham, NC: Duke University Press.
        Macaulay, Fiona. 2006. "Judicialising and (de)Criminalizing Domestic Violence in Latin America." Social
            Policy and Society 5 (1): 103-114. DOI: https://doi.org/10.1017 /S1474746405002782




                                                                                                                   Exhibit A
                                                                                                                    0001§2
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4307 Page 139 of
                                           251
             case 1:18-cv-or-'1_.pLF Document 1-2 Filed 09/26/lrage 116 of 215
          Menjrvar and Walsh    \                                                                                  239




         Mateo, Joanna. 2011. "Street Gangs of Honduras." Jn Maras: Gang Violence and Security in Central America,
             edited by Thomas Bruneau, Lu cfa Dammert, and Elizabeth Skinner, 87-103. Austin: University ofTexas
              Press.
         Memoria Faro Femicidios. 2014. "Memoria del Faro Femicidios: Analisis desde el Movimiento Ferninista de
             Honduras," March 6, 2014. Tegucigalpa: Centro de Derechos de Mujeres.
         Menjivar, Cecilia. 2011. Enduring Violence: ladina Women's lives in Guatemala. Berkeley: University of
             California Press. DOI: https://doi.org/10.1525/california/9780520267664.003.0008
         Menjivar, Cecilia. 2016. "Normalizing Suffering, Robadas, and Marital Unions among Ladinas in Eastern
             Guatemala." Jn Marital Rape: Consent, Marriage, and Social Change in Global Context, edited by Kersti
             Yll6 and M. Gabriela Torres, 75-85. New York: Oxford University Press. DOI: https://doi.org/10.1093/acp
             rof:oso/9780190238360.003.0006
         Menjivar, Cecilia. 2017. Preface to Violence and Crime in Latin America: Representations and Politics. Ed. by
             Gema Santamaria and David Carey Jr. Norman: University of Oklahoma Press.
         Menjivar, Cecilia, and Shannon Drysdale Walsh. 2016. "Subverting Justice: Socio-Legal Determinants of
             Impunity for Violence against Women in Guatemala." Laws 5(3): 1-20. DOI: https://doi.org/10.3390/
             laws5030031
         Monarrez Fragoso, Julia. 2002. "Serial Sexual Femicide in Ciudad Juarez: 1993-2001." Debate Feminista
             13(25): 1 (April).
         Morales, Tacuazina. 2011. "Honduras: Escalada de feminicidios (Honduras: Escalation of Femicides)." SEMLAC
             (News Service on Women in Latin America and the Caribbean).
         Morales Trujillo, Hilda. 2010. ''Femicide and Sexual Violence in Guatemala." In Terrorizing Women: Fen1inicide
             in the Americas, 127-137. Durham, NC: Duke University Press.
         Nobel Women's Initiative. 2012. "From Survivors to Defenders: Women Confronting Violence in Mexico,
             Honduras, &Guatemala." ISSUU, June 1l https://issuu.com/nobelwomen/docs/survivors-to-defenders.
         OAS (Organization of American States), Inter-American Commission on Human Rights. 2011. '1\ccess to
            justice for Women Victims of Sexual Violence in Mesoamerica." OEA/Ser.L/V/ll, Doc. 63, December 9.
             http://www.oas.org/en/iachr/women/docs/pdf/WOMEN%20MESOAMERICA%20eng.pdf.
         O'Donnell, Guillermo. 2004. "Why the Rule of Law Matters." Journal of Democracy 15 (4): 32-46. DOI:
             https://doi.org/10.1353/jod.2004.0076
         Pine, Adrienne. 2013. "Affidavit of Adrienne Pine." Country Expert on Honduras. Redacted court document
            shared by author.
         PNUD (Programa de las Naciones Unidas para el Desarrollo). 2013. "Seguridad Ciudadana con Rostro
            Humana: Diagn6stico y Propuestas para America Latina." Informe Regional de Desarrollo Humano
            2013-2014. New York: PNUD.
         Portillo, Suyapa. 2016. "New "Success" in Post-Coup Honduras: Soccer with Assassins?" Latino Rebels,
            August 31. http://www.latinorebels.com/2016/08/31/new-success-in-post-coup-honduras-soccer-with-
            assassins/.
         Prieto-Carron, Marina, Marilyn Tl10mson, and Mandy MacDonald. 2007. "No More Killings!
             Women Respond to Femicides in Central America." Gender and Development 15 (1): 26-42.
             DOI: https://doi.org/10.1080/13552070601178849
         Radford, Jill, and Diana E. H. Russell, eds. 1992. Femicide: The Politics of Woman Killing. New York: Twayne.
         Research Directorate, Immigration and Refugee Board of Canada. 2006. "Honduras: Sexual Violence against
             Women; Legislation; Attitude of the Authorities and the General Public toward Victims; Organizations
             that Provide Assistance to Victims," November 3. http://www.refworld.org/docid/45f147412f.html.
         Research Direct.orate, Immigration and Refugee Board of Canada. 20l0. "Honduras: Domestic Violence;
             Legislation and Protection Available to Victim," January 13. http://www.irb-cisr.gc.ca:8080/RIR_RDI/
             RIR_RDI.aspx7id=452742& 1=e.
         Reyes, Alicia. 2009. "Resistance with the Scent of a Woman." Envio, no. 338, September. http://www.envio.
             org.ni/articulo/ 4065.
         Renderos, Katherine. 2011. "Poverty Reduction, Political Violence and Women's Rights in Honduras."
             Community Development}ournal 46 (3): 315-326. DOI: https://doi.org/10.1093/cdj/bsr038
         Sanford, Victoria. 2008. Guatemala: Del genocidio alfeminicidio. Guatemala City: F&G Editores.
         Sanford, Victoria, Katarina Stefanos, and Cecilia Salvi. 2016. Introduction to Gender Violence in Peace and
             War: States of Complicity, edited by Victoria Sanford, Katerina Stefanos, and Cecilia Salvi, 1-16. New
             Brunswick, NJ: Rutgers University Press.




                                                                                                               Exhibit A
                                                                                                                0001§3
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4308 Page 140 of
                                        251
            Case 1:18-cv~o;'t-PLF Document 1-2 Filed 09/26/lf~lage 117 of 215
        240                                                                                                  \    ·1rchltecture of Feminidde




        Scheper-Hughes, Nancy. 1992. Death wilfwut Weeping: Tile Violence of Everyday Life in Brazil. Berkeley:
            University of Californi<1 Press.
        Sraudt, Kathleen. 2008. Violence and Activism at the Border: Gender, Fear, and Everyday 1.ife in CiudadJwirez.
            Austin: University of Texas Press,
        UN (United Nations). 2011. "Report of the Special Rapporteur on Violence against Women, its causes and
            Consequences, Rashida Manjoo." Addendum: Follow-Up Mission to El Salvador. Human Rights Council.
            seventeenth Session. February I. Report number NHRC/17 /26/Add.2
        UNDP (United Nat.ions Development Program). 2010. "Acting on the future: Breaking the Intergenerational
            Transrnission oflnequality." Regional Hurnan Develop1nent Report for Latin Arnerlca and the Caribbean
            20 IO, November 15. www:idhalc-actuarsobreelfuturo.org/site/ engl/index.php.
        UNFPA (United Nations Population Fund). 2009. Programming t.o Address Violence against Women: 8 Case
            Studies Volume 2. New York: UNFPA.
        UNHCR (United Nations High Commissioner for Refugees). 2015. 'Women on the Run: First-Hand Accounts
            of Refugees Fleeing El Salvadorf Guaternala, Honduras, and Mexico." October. New York: United Nations
            Higl1 Commissioner for Refugees.
        UNODC (United Nations Office on Drugs and Crime). 2012. "Global Study on Homicide: Homicide Counts
            and Rates, Time Series 2000-2012." http://www.unodc.org/gsh/en/data.html.
        UN Women (United Nations Women). 2013. "Joining Forces with Zonta International to End Violence
            against Women." United Nations Entity for Equality and the Empowerment. of Women, December 19.
            http:/ /www.unwomen.org/en/news/stories/2013/ 12/joining-forces-with-r.onta-international-to-end-
            violence-against-wornen,
        U.S. Departn1ent of State. 2015. "20-14 Country Reports on Hu1nan Rights Practices: Honduras." June 25,
            2015. http://www.refworld.org/docid/559bd56429.html.
        Walsh, Shannon Drysdale. 2008. "Engendering Justice: Constructing Institutions to Address Violence against
           Women." Studies in Socia/justice 2 (I): 48--66.
        Walsh, Shannon Drysdale, and Cecilia Menjivar. 2016. "Impunity and Multisided Violence in the lives of
            Latin American Women: El Salvador in Comparative Perspective." CurrentSociology64 (4): 586-602. DOI:
            https:/ /doi.org/ I0.1177 /0011392.116640474
        Wolseth, Jon. 2011. Jesus and the Gang: Youth Violence and Christianity in Urban Honduras. Tucson:
            University of Al'izona Press
        World Bank. 2014. "Intentional Homicides: Overview per Country." http://data.worldbank.org/indirntor/
           VC.IHR.PSRC.P5 (accessed December 26, 2016).




         HoW to cite :this ;irtic_fQ: Menjfl/af, C ard Wcilsh,' S D. .Tlw An::hiWcturq Qf Femlnk:lde:· Tu? .St;;tt(), 1oequaiitles, and
         Everyday.~ Vlo1eoce In 1-iltlduras. L?tin American fle!i!JlJfl;h Rqv/ew. 2017: ~2{2), pp. 221'240. DOI: https://dol.
         0!'1Jl10,25222/_larr,73

         Submitted: 01 March 2016               Accepted: 08 November 2016                  Published: 16 Mgu>t 2017

        <;9pyrisl1t: <l:r 2017 ·The Author(;;). This is an open-access article distributed under Ille farms of the (reati\ie
        Commons Attribution 4.0Jnter:nationat License (CC~BY 4.0), which f)ermits_unrostritted Use, -disti"ibUtioh,:and
         repf'Oduct!oo: in any- mCdiuin, pr6vided _t~ orlg\na!-authOr a·nd ·~rce::~re_ Cred_!teQ, ·:see= h~tP:l/cr€Q,tivecomm0ns.org/
         license;/by/4.!;J/.

                                L.at)h Amer/Gin Rest..'itrch Review ls a peerMt~ev:!eY.teQ opei:1 _ac:cess
                               journal publishei;;I by_ tile Latin. American Studle<.; Association.
                                                                                                                 OPEN ACCESS        G


                                                                                                                                          Exhibit A
                                                                                                                                           0001§~
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4309 Page 141 of
911712018
                                         251




Honduras
          Overall Score                              Regional Rarik                    Income Rank                       Global Rank

                 0.4                                    28/30                              25/30                          103/113
          Score. Change                              Rank Change

              -0.02 ..                                    -1 •
                                                                       Factor1rend     Factor Score   Regiona Ranli   Income Rank     Goba Rank

         Constraints on
  ~      Government Powers
                                                                                            0.39         27130          25/30             103/113


 Q       Abs.ence of Corruption                                                             O,:l4        27/30          22/30             .98/113


  fil .Open Government                                                                      0.43         26/30          22/30             91/113


  tt Fundamental Rights                                                                     0.43         29/30          27,/30            97/11.l!


 a       Order and Security                                                A                0.61.        22130          19/30             9iJU3'


  ~      Regulaoorv Enforcement                                                             0::)7        28/30          26130             1041113


 Ef& Civi!Justlce                                                                           0.41         25130          21130             99111;1

         Criminal Justice··                                                                '0.24         28130          29'/30            111/113




                ..t..   Trending up          'II"'    Trending down.                 low              Medium




                                                                                                                              Exhibit A
http:/ldalt1.wo1ld1usticepmject.org/lllgroupslHND                                                                                0001§~              115
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4310 Page 142 of
911712018
                                         251




              Effective in>'es1Ug<Ui(H1S,




                                                                                          2:.'l

                      16                                                                     2.4

                    ,7,5                                                                          3,1

                    7A                                                                            ,,,
                     7.3

                      1.2                                                                    .£1.4
                                                                                                  '"
                           7,1
                                                                                          "'


                                              s.a   s.2   :.s.1   -t,a   4 ·7




                                                                                2017·2018SCore            2016Score




                                 Honduras                    Latin America& C_aribb~n                   LowerMidde




Constraints 011 Government Powers                                                                                                 i
11 Limit by I gi I tur                                                                                                            0.46

1.2 Limits by judiciary                                                                                                           0,35

13 Ind p nd nt uditing                                                                                                            0,34

1.4 Sanction$ for official misconduct                                                                                             028

15 Non gov rnm nt I h k                                                                                                           o.49

1.6 Lawful transition of power                                                                                                    041




                                                                                                                      Exhibit A
http'.lldala,wo11dtusticeprojoctorgl#lgroupsiHND                                                                       0001§d         215
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4311 Page 143 of
9/17/.2018
                                         251



Absen.ce of Corruption

2.1 In the executive branch                                                                                                                                                                                          0.37

2.2 In the judiciary                                                                                                                                                                                                 0.38

2.3 In the police/military                                                                                                                                                                                           0.47

24 In the legislature                                                                                                                                                                                                0.14



Open Govermnent

3.1 Publieized laws & gov't data                                                                                                                                                                                     0.28

3.2 Right to information                                                                                                                                                                                             0.43

3.3 Civk participation                                                                                                                                                                                               0.47

34 Compl intm                   h ni m                                                                                                                                                                               0.54



~~''.r.~.~l=~.~1.~t. ~.1.R...i.--:.g..h:.ts...:·.... .... •.•• ...... •. • .. . . . • •...... ................. ... . .......... ........... ............................................................................ n
4.1 No discrimination                                                                                                                                                                                                039

4 2 Rightto.lif &                   urity                                                                                                                                                                            0.37

4.3 Due process of law                                                                                                                                                                                               031

4 4 Fr dom of xpr                       ion                                                                                                                                                                          0.49

4.5 Freedom of religion                                                                                                                                                                                              060

4 6 Right to priv              y                                                                                                                                                                                     0.25

4.7 Freedomofassociation                                                                                                                                                                                             053

4 8 L bor right                                                                                                                                                                                                      0.48



Order and Security
                                 ·•·······.···

5.1 Absence of crime                                                                                                                                                                                                 049

5.2 Ab n              of ivil onfli t                                                                                                                                                                                100

5.3 Absence of violent redress


Regulatory Enfo1·ceme11t
                                       ............. ,............................... .                                                                                                           ..................... f!fl
6 1 .Eff tiv r gul tory nfor m. nt                                                                                                                                                                                   Q.33

6.2 No improper in{luence                                                                                                                                                                                            044



                                                                                                                                                                                           Exhibit A
http://data.wo~djusticeproject.org/#/groups/HND                                                                                                                                              00019~                      3/5.
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4312 Page 144 of
9/17/2016
                                         251



Regulatory Enforcement

6.3 No unreasonable delay                                                                                    0.39

6.4 Respect for due process                                                                                  0.21

6.5 No expropriation w/out adequate compensation                                                             0.50



Civil Justice

7.1 Accessibility & affordability                                                                            0.41


7.2 No discrimination                                                                                        0.37


7.3 No corruption                                                                                            0.39


7.4 No improper gov'! influence                                                                              0.30

7.5 No unreasonable delay                                                                                    0.27


7.6 Effective enforcement                                                                                    0.41


7.7 Impartial & effective AD Rs                                                                              0.66



Criminal Justice

8.1 Effective investigations                                                                                 0.14


8.2 Timely & effective adjudication                                                                          0.27

8.3 Effective correctional system                                                                            0.08

8.4 No discrimination                                                                                        0.30

8.5 No corruption                                                                                            0.39


8.6 No improper gov'! influence                                                                              0.23


8.7 Due process of law                                                                                       0.31




                                                   Privacy Policy (https://worldjusticeproject.org/privacy-policy)


                                                                                                Exhibit A
http:l/data.worldjusticeproject.org/#/groups/HND                                                 0001 58       415
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4313 Page 145 of
             .                ('              251                       /'
911712018      Case 1:18-cv-02\  .PLF DocumeTITdi~ C'Jlitt~~l!19ill!0/.1,  "age 122 of 215



               J\
                                 ABOUT GAN             RESOURCES       +l (800) 576-45.23   Cl .SEARCH




                    Honduras Corruption Report
     (Want to receive more corruption report updotes?Subscribe here/}


     Snapshot
     Corruption is a major obstacle for businesses
     investing in Honduras. AIJ sectors of the
     economy suffer from .rampant corruption.
     Networks of                           and. clientelism
     dominate the economy, further deteriorating
     market competitiveness. and_'irnpeding foreign investors. The government has a legal anti-
     corruption framework in place through the Penal code and~the Penal Procedures Code.
     However, fi!nforcement is lacking, and.~several cases have revealed widespreadimptmity. Gifts
     are illegal,yetthe practice is widespread,. and 'the use of bribery is an established part of
     doing business.

     Last updated: August 2016




                                                                                              Exhibit A
https!/lwww.business-anlk:orr\Jption.comlcountry,profifes/hondura.sl                           000199     !!ff
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4314 Page 146 of
              case 1:18-cv-02('.pLF Docume\1~d!"'2 cqr:rH~~l!6/('::iage 123 of 215
 911712018                                   251

      Judicial System
      Corruption is rife in the judiciary. The institution suffers from underfunding, poorly trained
      staff, ineffectiveness, high levels of corruption, political influence, and intimidation and
      pressure from patronage networks (HRR                              5). These factors have also resulted in lengthy
     judicial proceedings and Ia trial backlog (HRR 2015). Bribes and iirregular payments are often
     exchanged to obtain favorable court decisions (GCR 201                              16). The courts are inefficient in
     settling disputes and challenging government regulations; for example, enforcing a contract
     in Honduras is time-consuming in comparison to regional averages, taking 920 days (GCR
     2015-2016; DB 2016).

     Honduras is a member state of the International Centre for Settlement of Investment
                    (ICSID) a.n.dJhas acceded to the New York Convention 1958 on the Recognition and·
     Enforcement of Foreign Arbitral Awards.                                                                                        '


     Police
     Corruption and impunity among police officers is a serious impediment to business in
     Honduras (HRR 2015). Officers often engage in extortion and}other abuses of power [FitW
     2015). The police cannot be counted on to protect companies from crime or to enforce law
      and.iorder, ·andJcrime and jviolence create costs for businesses (GCR 2015-2016). In some
     areas, the high crime rates and !violence lead some to abandon their businesses (FitW 2015}.

     In April 2016, a special commission was created after the president had declared corruption
     within the police force to be a national security emergency (Agence France Presse, May 2016).
     After just one month, the commission had suspended 30 deputy commissioners from the
     police for alleged collusion and Ifor links to organized crime (Agence France Presse, May 2016).



     Public Services
     The public services sector carries a high risk of corruption. Irregular payments and :bribes are
     at times exchanged when applying for utilities (GCR 2015-2016). Corruption is found in almost
     all municipalities in Honduras .:in"~;· is particularly manifested in the opaque use of funds for
     community infrastructure {BTI 2016). Bureaucratic hurdles also impede investments, and
     companies complain of procedural red tape to obtain approval for investment activities (ICS
     2016).

                                                                                                                 Exhibit A
https:/lwww.business-anti..corruption.cornfcountry..profiles/honduras/                                            0001!jij    2fl
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4315 Page 147 of
 g11712orn
                                               251
               case 1:18-cv-o:('.pLF DocumetlTdJ.~C'l"H@!i(jni!)i9'Jl!6/(''Jage 124 of 215
     Almost 75% of the labor force works in the informal economy, significantly reducing market
      competitiveness (BTI 2016). Starting a business requires 12 procedures and takes 14 days,
     while applying for construction permits requires businesses to go through 15 procedures
      and takes 82 days (DB 2016}.



      Land Administration
     Property rights and, regulations are well defined by law, but rights are poorly protected {BTI
     2016; GCR 2015-2016). A weak a,n~;ineffective judiciary has led to many property rights
     violations, an issue that is a major problem in Honduras (BTI 2016). Registering property is
     much less time-consuming in Honduras than in neighboring countries, taking 22 days and
     requiring 6 procedures (DB 2016).



     Tax Administration
     The tax administration carries a high risk of corruption; irregular payments an.d bribes are
     widespread when meeting tax officials (GCR 2015-2016). Tax rates are ranked as the second
     most important obstacle to business in Honduras (GCR 2015-2016).



     Customs Administration
     The customs administration suffers from rampant corruption. Transparency at the border is
     very poor, and bribes and irregular payments are widespread when trading across borders
     (GETR 2014; GCR 2015-2016). Companies are more likely to encounter corruption when
     importing than when exporting from Honduras (GETR 2014).



     Public Procurement
     Public procurement is a very high-risk sector. Bribes and irregular payments plague the
     process of obtaining contracts andtlicenses, a11dlfavoritism towards well-connected
     companies taint procurement officials' decisions (GCR 2015-2016). The diversion of public
    funds due to corruption is also widespread (GCR 2015-2016).

     In one case in September 2014, authorities arrested the head of the Honduran Institute of
    Social Security (IHSSJ, Mario Zelaya, and)several other officials on charges

                                                                                          Exhibit A
https:l/www.business~anti..corruption_com/country-profileslhonduras/                       0001~9     3ff
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4316 Page 148 of
                                                251
911712016     Case 1:18-cv-o2('.pLF Documem~~"l!!c<Jl!lj~~l!S/('?age 125 of 215
    of embezzlement of public funds (FitW 2015). Reportedly, USD 350 million was
    misappropriated from the IHSS through, among other schemes, the purchase of overpriced
    medicine (which was stolen and !then resold to the IHSS). overpaying USD 400,000 for
    ten ambulances, and i money laundering through sham companies (The Guardian, June 2015).
     Leaked documents connected to the case also revealed that the ruling party had received
     large sums of money from at least ten sham companies with IHSS contracts (The Guardian,
     June 2015). Zelaya is facing charges that could result in a lifelong prison sentence (BTI 2016).

     Companies are strongly recommended to use a specialized due diligence tool on public
     procun::ment to mitigate corruption risks associated with public procurement in Honduras.



     Natural Resources
     There is little information available on the extent corruption in the extractive
     industries. Nonetheless, the high levels of corruption in other sectors are likely to have
     ramifications on the natural resources sector, too. Illegal logging, for instance, is an
     increasingly important issue in Honduras and can be traced back in part to corruption and
     poor governance (EIA Honduras, 2016). Companies complain of long waiting periods to obtain
     environmental permits, a factor that can encourage the occurrence of corruption (ICS 2016).

     Honduras has been a candidate country to the Extractive Industries Transparency
     Initiative since 2013.



     Legislation
     Honduras has set up a legal anti-corruption framework, but the laws are poorly implemented
    (Transparency International, Feb. 2013; HRR 2015). The Penal Code and the Penal Procedures
     Code criminalize passive and,]active bribery. Conflicts of interest, post-public employment,
     ~~dJgifts and,) hospitality are regulated under the Code of Civil Servants Ethics (Transparency
     International, Feb. 2013). Public officials are subject to financial disclosure laws, yet
     compliance is lacking (HRR 2015). The Law on Witness Protection provides for the protection
    of whistleblowers.

    The Organization of American States set up the Mission against Corruption and Impunity in
    Honduras (MACCIH) as a response to the mass protests which have erupted in the country
    subsequent to the publishing of the IHSS corruption case (mentioned above). The MACCIH is
    made up of a team of international judges and prosecutors tasked with supervising, advising
     and           !supporting Honduran authorities in curbing corruption. Notwithstanding, the MACCIH
      , .,_.,,_,,,,,                                                                            Exh1b1t A
hltps:/lwww.business-anti.corruplion.com/countiy-profileslhonduras/                              0001§~     4ff
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4317 Page 149 of
                                                    251
911112018        Case 1:18-cv-02(.pLF DocumetlT'll~ C<J011~©'lll}~/('°'age 126 of 215
     has been met with some criticism in Honduras as the mission is not actively participating in
     investigations and prosecution; it is only providing support to Honduran judges and
    prosecutors already susceptible to much political pressure (New York Times, Feb. 2016).
    Honduras has ratified the UN Anti-Corruption Convention and is a member of the Inter-
     American Convention against Corruption.



     Civil Society
     Freedoms of speech an.~.·press are provided for by the law; however, some restrictions limit
    journalists from reporting on government corruption .and other abuses and.!allow
    authorities to punish those who do so (FotP 2015).Journalists are often victims of threats and
     violence, and   least two journalists were killed in 2014 due to their reporting (FotP 2015). A
     few powerful business interests monopolize media ownership (FitW 2015). Access to
     government information is provided for by law but is limited in practice (FotP 2015).
     Government interference an~}ntimidation has encouraged self-censorship among
    journalists (FotP 2015). In addition, corruption among journalists is common; several adjust
    their reporting to serve the interests of the state (FotP 2015). Access to the internet is
     generally unrestricted (FitW 2015). The media environment in Honduras is considered "not
     free" (FotP 2015).

     Freedom of assembly is guaranteed under the law but is not consistently respected {HRR
     2015; FitW 2015). Activists often face harassment and intimidation (FitW 2015). During the
     first three months of 2014, the Unit for Registering and Monitoring Civil Associations revoked
     the licenses of over 10,000 NG Os for failure to submit reports of their finances ~~~:programs
     to the government, but widespread pressure from civil society representatives led authorities
    to rescind the resolution (FitW 2015).



     Sources
         • World Bank & IFC: Doing                                 - Laos 2016.
         • Bertelsmann Foundation: Bertelsmann Transformation Index - Honduras 2016.
         • World Economic Forum: Global Competitiveness Report                    6.
         • US Department of State: Investment Climate Statement - Honduras 2016.
         • Agence France Presse: 'Honduras fires police officers in corruption purge', 18 May 2016.
         • The New York Times: 'An Anti-Corruption Charade in Honduras', 15 February 2016.
         • Environmental Investigation Agency: Honduras 2016.
         • US Department of State: Human Rights Practice Report- Honduras 201
                                                                                         Exhibit A
https:l/www.business-anti-eorruption.cornlcountry-profiteslhondurasl                         0001§3    5f7
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4318 Page 150 of
                                              251
g11112orn       Case 1:18-cv-02\'PLF Docume'l1~cli~C'Flf@YSl1©'91'~/1:' 0 age 127 of 215
         • Freedom House:         in     World Honduras
         " Freedom House: Freedom of the                   20·1
          • The Guardian: 'How hitrnen ilr:!c:'i high living lifted Ud on looting of Honduran healthcare
              system', 10 June 2015.
          • World Economic Forum: The Global &'nabling                                Report 2.014.
          " Transparency International: Overview of Corruption and Anti-Corruption in Honduras,
              28 February 2013.




          Share This Story, Choose Your Platform! f                                 'ti   in   @      t      G•      <fJ    '"         521




     RESOURCES                                            ABOUT GAN                            COMPLIANCE NEWSLETTER

                                                          GAN provides all4n-one               Subscribe to our compliance
                                                         .compliance software to help          newsletter to get a weekly
                   Profiles                                                                    digestof top compliance news
                                                          companies of all sizes manage
                                                                                               .and :insights delivered to your
     Compllance ,,uiu"'"                                  regulatoty.ijnd01 1egal
                                                                                               inbox!
                                                          compliance.
     Due ""'·""'                                                                               Email w

                                                                                               [   Email A(:fdress

             pl lance

     Corruption Dictionary                               aam
                                                                                                                           Exhibit A
https:/twww.busineSs-anti-cprrtlption.com(couritry-profi_leSihonduras/                                                      0001~            6fl
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4319 Page 151 of
 9/17/201 B
                                          251


                                       WORLD REPORT 2018                  ESSAYS              COUNTRIES




              Supporters of Salvador Nasralla, presidential candidate for the Opposition Alliance Against the Dictatorship, argue
                with military police during a protest to demand the official presidential election results. outside the warehouse of
                                                       the Supreme Electoral Tribunal in Tegucigalpa, Honduras November 30, 2017.
                                                                                                      © io17 Reuters/Jorge Cabrera




             Violent crime is rampant in Honduras. Despite a downward trend in recent
             years, the murder rate remains among the highest in the world. Journalists,
             environmental activists, and lesbian, gay, bisexual, and transgender
             (LGBT) individuals are among those most vulnerable to violence. Efforts to
             reform the institutions responsible for providing public security have made
             little progress. Marred by corruption and abuse, the judiciary and police
             remain largely ineffective. Impunity for crime and human rights abuses is
             the norm.



                                                                                                                           Exhibit A
https:lfwww.hrw.org/world-report/2018/country-chapters/honduras                                                              0001§~    1/10
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4320 Page 152 of
91171201s                                      251
             Case 1:18-cv-oz("\pLF \f9t!ltftimefl,1!c~n'1'Jll•etfl0'91126~J(''ltage 129 of 215
             The Mission to Support the Fight against Corruption and Impunity in
             Honduras (MACCIH), established in 2016 through an agreement between the
             government and the Organization of American States (OAS), has
             successfully promoted the passage of legislation aimed at curbing illegal
             funding for political campaigns.


             Police Abuse and Corruption
             In January 2017, President Juan Orlando Hernandez announced that the
             Special Commission for Police Reform Restructuring will extend its mandate
             until 2018. As of May, nearly 4,000 of the more than 9,000 police officers
             evaluated by the commission had been removed, including many for alleged
             involvement in corruption or criminal acts. However, none of the police
             officers expelled upon orders of the commission has been convicted to date
             for alleged involvement in criminal activities including human rights abuses.




            Judicial Independence
            Judges face interference from the executive branch and others, including
            private actors with connections in government. On June 30, the former vice-
            president of the defunct Judiciary Council, Teodoro Bonilla, was found guilty
            of influence peddling. Using his authority as a senior official of the judicial
            oversight body, Bonilla pressured two judges into favoring relatives of his
            who were charged with illegal weapons possession and money laundering.




                                                                                     Exhibit A
https://www.hrw.org/world-reporu201B/country-chapters/honduras                        0001Bg     2/10
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4321 Page 153 of
91111201a
                                              251
              case 1:18-cv-02{\.PLF vrll~e!i9~11c~n<1C'J•e1:t10Mll!l~('ttage 130 of 215

             Attacks on Journalists and Restrictionc; nn
             Freedom of Expression, Association, and
             Assembly
             Twenty-five journalists were murdered between 2014 and 2016 according
             to the human rights ombudsman, CONADEH, which also revealed in its 2016
             report that 91 percent of killings of journalists since 2001 remain
             unpunished. Most recently, journalist Carlos William Flores was shot and
             killed by unidentified gunmen on a motorcycle in Cortes, near the
             Guatemalan border. Flores directed a television program, "Sin Pelos en la
             Lengua," which was critical of major agribusiness enterprises linked to
             deforestation in the area.

            In February 2017, Congress approved a new penal code making it a criminal
            offense-punishable by a four to eight-year prison sentence-for individuals
            or media outlets to engage in the "apology, glorification, [or] justification" of
            terrorism. The new legislation also defines as terrorist offenses any form of
            "illegal association" and acts "causing fear, putting in grave risk, or
            systematically and indiscriminately affecting the fundamental rights of the
            population or a part of it, the internal security of the State or the economic
            stability of the country." These vague and unreasonably broad provisions
            could conceivably be used to bar peaceful protests and association meetings
            as terrorism.

            The Inter-American Commission for Human Rights (IACHR) and the Office
            of the UN High Commissioner for Human Rights (OHCHR) both expressed
            concern about the ambiguous formulation of the law and its potential to
            arbitrarily restrict freedom of expression and of the press.




                                                                                       Exhibit A
https:/lwww.hrw.org/world-reporU2018/country-chapters/honduras                          0001~~     3/10
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4322 Page 154 of
                                                  251
             Case 1:18-cv-02( \PLF V!'9t'Jt:!Umef91!1J.c~nC1'Jll•et:f"i09'1'1Z'5~~
                             ~                                                    ~
91111201a                                                                           11:age 131 of 215

             Attacks on J ~wvers, Human Rights
             Defenders, and Environmental Activists
            Lawyers and human rights defenders suffer threats, attacks, and killings.
            In 2016, CONADEH registered 16 violent attacks against lawyers, including
            13 killings. The IACHR described Honduras in August 2016 as one of the
            "most hostile and dangerous countries for human rights defenders" in the
            Americas.

            To date, eight men have been charged with the murder in March 2016 of
            environmental and indigenous rights activist Berta Caceres, including an
            army major and the former environment manager of Desarrollo Energetico
            S.A. (DESA), the company behind the Agua Zarca dam project that Caceres
            was campaigning against at the time of her death.

            The Mechanism for the Protection of Journalists, Human Rights Defenders
            and Operators of Justice, created in 2015, suffered from a lack of adequate
            resources and staffing, according to local activists.




            Sexual Orientation and Gender Identity
            Homophobic violence is a major problem in Honduras. Several UN agencies
            working in Honduras have noted that sexual violence against LGBT
            individuals forces them into "internal displacement" or to flee the country in
            search of international protection.

            In July 2017, David Valle, project coordinator of the Center for LGBTI
            Cooperation and Development, was stabbed by a stranger in his home in
            Tegucigalpa. Valle had received repeated threats in the past. He survived the
                                                                                        Exhibit A
https:/lwww.hrw.org/world-reporU2018/country-chapters/honduras                           0001@8     4/10
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4323 Page 155 of
                                                 251
91171201a     case 1:18-cv-02('.PLF "l!9tlltfumei1t~11c~n<1"Jtl'!l:tl091'26~('11:a.ge 132 of 215
             attack.




             Women's Sexual and Reproductive Rights
             Under the criminal code, abortion is illegal without any exceptions in
             Honduras, and women and girls who terminate pregnancies can face
             prison sentences of up to six years. On May 5, 2017, the National Congress
             of Honduras voted against modifying the existing criminal code to allow
             abortion in cases of rape, grave fetal malformations and grave risks to the
             health of the woman. The law that remains in force also sanctions abortion
             providers and those who assist with procedures.




             Rights of the Child
            In July 2017, the Honduran Congress unanimously passed a bill making all
            child marriage illegal. The new bill replaces legislation that previously
            allowed for girls to marry at 16 with permission from family. According to
            UNICEF, a third of Honduran girls are married before 18.

            In May 2017, President Juan Orlando Hernandez launched an initiative to
            revise the criminal code to allow children as young 12 to be prosecuted as
            adults, rather than through the existing juvenile justice system, in violation
                                                                                      Exhibit A
https:/lwww.hrw.org/world-report/2018/country-chapters/honduras                        0001§9     5/10
9/17/2018      Case 1:18-cv-oz,
                                            _,,..,
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4324 Page 156 of
                                                    251             ~


                                ·PLF "1!9tllt!f.lmefi\~1J.c12<>n<1"Jfet:tl09n'9Jll; ;ttage 133 of 215
             of international standards.




             Prison Conditions
             Inhumane conditions, including overcrowding, inadequate nutrition, and
             poor sanitation, are endemic to Honduran prisons. Designed to hold up to
             8,000 inmates, the country's penal institutions held more than 17 ,500 in
             2016, the last year for which reliable figures were available. Prison guards at
             many facilities have effectively relinquished control over the prison grounds
             to the inmates.




             Key International Actors
             At the behest of the Mission to Support the Fight against Corruption and
             Impunity in Honduras (MACCIH), Congress passed the Law on Clean Politics,
             which came into force in March 2017. The law created a framework to
             prevent organized crime from contributing to political campaigns and to
             hold parties and candidates accountable for financing their campaigns
             illegally. In July 2017, the MACCIH announced that it would investigate the
             funding and government concession granted to DESA for the Agua Zarca
             Dam project for possible corruption and money laundering.

                                                                                        Exhibit A
https://www.hrw.org/world-report/2018/country-chapters/honduras                          0001~8     6/10
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4325 Page 157 of
91111201a
                                              251
              case 1:18-cv-02("'.pLF '19~f1~1!c~n<1'I'!tel:ti~~m('n:age 134 of 215
             For fiscal year 2017, the US Congress allotted US$95.3 million in bilateral
             aid to Honduras. Members of Congress reintroduced the "Berta Caceres
             Human Rights in Honduras Act" (H.R. 1299) on March 2, 2017. The bill
             would suspend US funding for the country's police and military operations
             until the Honduras government prosecutes and convicts those who ordered
              and carried out the murder of Caceres, in addition to other killings and
             attacks against other activists; investigate and prosecute members of
             n1ilitary and police forces who have allegedly violated human rights;
             withdraw the military fro111 domestic policing; establish effective protections
             for human rights defenders; and strengthen rule of law.

            In May 2016, after prosecutors filed murder charges against an employee of
            DESA, the Dutch development bank, FMO, and the Finnish Fund for
            Industrial Cooperation, Finnfund, announced they would suspend payments
            of their loans to the Agua Zarca Dam. In June 2017, both funders told the
            Guardian that they would withdraw completely from the Agua Zarca project.
            The third and largest investor in the project, the Central American Bank of
            Econmnic Integration (CABEI), also announced that it would no longer fund
            the project.




            latest News on Honduras»

            Keynote



                                                                                       Exhibit A
htlps://www.hrw.org/wo~d-report/2018/coontJy-ehapters/honduras                          0001~9     7110
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4326 Page 158 of
9/1912018                                251




               WED, SEP 19, 2018




            Honduras 1?011·ti~al Clan and Its
                Cr1m1na Fiefdom
                         Written by Steven Dudley and Felipe Puerta* - OCTOBER 19, 2017




                                                                                          Exhibit A
https://www.insighlcrime.org/investigafionsfhonduras-politicaf-dan-criminal-fiefdoml       0001:y~    1/20
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4327 Page 159 of
 9/19/2018                                251




       SHARE It was around midnight that police in a rural area of the northern department of
         fl      Olancho first heard the distinctive buzz of a low-flying aircraft. Night duty
                 officers in three municipalities called their division chief and told him the plane
         ,f·     was flying "without lights." At 1:15 a.m., the polke chief of one of the rural
                 municipalities called the chief again, this time with the news that the plane had            5




          '"'    crashed. It was .June i:3, 2012.

                 A scramble to find the aircraft ensued. Police dispatched several patrols, but
                                                                                                              '


                 residents also called the police and said four pickup trucks packed with heavily
                 armed men we111ing ski masks were driving around the area, asking locals if
                 they had seen or heard where the plane might have fallen.

                 In the end, police said they found the plane at 5 a.m. It had smashed against two
                 trees, was burning and contained the dead bodies of lwo Colombian nationals
                 who authorities would later say piloted the plane. Shortly thereafter, the police
                 stopped three vehicles that fit the descriptions they had heard from residents,
                 and they detained six men. Inside the cars, they found munitions and firearms.

                       This is the second ofa three part series on mayors and
                       organized crime in the Northern Triangle. The investigation was
                       done with assistance from the Swedish government.
                Among these men was Miguel Angel Urbina Soto. The Urbina Soto family was
                already known to law enforcement. Miguel Angel's oldest brother, Carlos
                Fernando Urbina Soto, had been arrested and convicted for murder before
                escaping from jail and eventually settling his case out of court. His youngest
                brother, Malio Urbina Soto, was allegedly involved in local drug dealing in their
                home municipality ofYoro, in the department that earlies the same name. Their
                mother, Lilian Soto, had also been charged for murder but was later released.

                                                                                           Exhibit A
https:/lwww.lnsightcrime.org/investigations/honduras-politicaf-Oan-criminal-fiefdomf        000113     2120
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4328 Page 160 of
                                            251
 911912018     Case 1:18-cv-oz'·PLF !'l>tml<l~fWi!l.~Cl!fIM!'ft!~~mage 137 of 215
                 There was little chance that Mario's transgressions would catch up to him
                 though. His father had been mayor ofYoro in the early 1990s, and his other
                 brother, Arnaldo,· had been elected mayor ofYoro in 2009, some three years
                 before this incident. His sister, Diana, was an aspiring congresswoman, and
                 Arnaldo was positioning himself to head the National Party in the department
                 ofYoro. Their political tentacles reached to the highest levels, and they held a
                 tight rein on local police and judicial matters in the area.

                        SEE ALSO: Honduras Elites and Organized Crime

                 Carlos Fernando and Arnaldo had also been connected to drug trafficking in
                 Yoro, according to an Attorney General's Office report issued in the days
                 following the crash. In fact, the family was said to be receiving, storing and
                 transporting drugs arriving via airplanes in both Yoro and the neighboring
                 department of Olancho. But no charges had been filed.

                 Meanwhile, Arnaldo had used his time as the mayor to consolidate the family's
                 hold on political and underworld power in the region. This power, in part, came
                 from Arnaldo's political post, from which he could control the land titling
                 agency and the office that reg11Iated the wood industry. He could coordinate the
                 public works contracts and would later become the manager of the National
                 Party candidate for president, Juan Orlando Hernandez.

                 In the 2012 case in Olancho, police questioned the six suspects who told them
                 that they were buying "roosters for cockfighting," the Attorney General's Office
                 report says. And even though the Attorney General's Office found that "what
                 they said was unbelievable," they released them.

                 The aircraft yielded 41 kilograms of cocaine, a surprisingly small load for which
                 to perform such a high-risk landing without lights. In the official reports by both
                 the poliee and the Attorney General's Office, no one questioned this minuscule
                 amount, and the Attorney General's Office noted that police reported a military
                 helicopter was in the area near where the aircraft had crashed, but "left without
                 knowing if the [helicopter occupants] had taken evidence from the site of the
                 wreckage." In other words, maybe someone took some illegal drugs with them
                 when they ran.

                 The Attorney General Office's report on the matter ended with a
                 recommendation: "Because of all this, we should continue investigating because
                 the [Urbina Soto family] will probably keep committing crimes."

                 A Family Business
                                                                                          Exhibit A
https:/twww.insightcrime.orglinvestigatlons/honduras-political-clan~criminal-fiefdomf      000114      3120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4329 Page 161 of
                                               251
9/19/2018     Case l:lB-cv-02('.PLF ll>tYt!\<l~fl'lli!l~C1'fI~e!tlt{)'9;ip;w{'Diage 138 of 215
           Yoro is one of the largest municipalities in Honduras. It is a mostly hilly terrain,
                 with a fearsome set of mountains on its northern edge popularly known as
                 "Locomapa" - roughly translated, "crazy map." It has long lived from its fertile
                 soil and timber, but the land-locked area is known more for a natural
                 phenomenon every spring in which it literally "rains fish." (The various
                 explanations for the phenomenon go from the supernatural to the natural - the
                 fish simply wash up from local water sources.)




                              (Mountain range known as "Locomapa." Credit: Steven Dudley)
                 The lonely paved road leading in and out of the state from the country's
                 northern industrial city of San Pedro Sula is populated mostly by trucks
                 carrying sugar cane and pine wood. There was a time when stretches of this
                 road were also nsed to land aircraft carrying cocaine, government investigators
                 and local residents say. The drugs were offloaded and guarded by police who
                 accompanied them to their next stop in the multi-partner cocaine distribution
                 chain moving north to Guatemala and eventually the United States. Yoro is in
                 the dead center of the country, connected to Honduras' two largest urban hubs
                 - San Pedro Sula and Tegucigalpa - as well as a host of secondary roads and
                 cities along the border with Guatemala.

                Authorities eventually forced these traffickers to move from the highway into
                Locomapa and its surroundings, which gives way to the northern coast,
                specifically a road that stretches between La Ceiba, the country's third largest
                city in Atlantida state, and Tocoa, the capital of the neighboring state of Colon.
                La Ceiba also connects to San Pedro Sula, the country's industrial and c1iminal
                epicenter.

                Locomapa is but one of the areas where Carlos Fernando Urbina Soto, alias
                "Nando," is thought to hide from authorities. Carlos Fernando is frequently
                referred to in government documents as "the leader" of the Urbina Soto clan.
                                                                                          Exhibit A
https:/iwww.insightcrime.orgnnvestigations/honduras-poli!ical-clan-criminal-fiafdoml       0001y~     4120
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4330 Page 162 of
                                              251
9119/2018     Case 1:18-cv-of'·PLF eJtl'!flgmefl~H!l.~c1,.,nl'!tlt00ill!i~lllage 139 of 215
                 One investigator who tracked the family for years and spoke to InSight Crime on
                 condition of anonymity said they received testimony that Carlos Fernando once
                 shot a rival, then tied him to his car and dragged him around the city to prove
                 his point.

                 But there is more than a little crazy to go around the family. The youngest,
                 Mario, alias "soldado," or soldier, is said to be the main distributor of drugs in
                 Yoro. Residents and investigators alike said he arbitrarily dispenses discipline in
                 the streets to anyone who crosses him, and will steal whatever he wants,
                 reportedly including girlfriends of other men.

                 As with many stories regarding the Urbina Soto clan, it is difficult to separate
                 fact from fiction. The family has long been part legend, part reality in the region.
                 The father of the boys, Dario Urbina Fernandez, married Lilian Soto and
                 eventually became mayor ofYoro. Her family resided in Olanchito, the
                 mountainous municipality leading to Colon, where they reportedly had a blood
                 feud with anuther clan. We could not find the origins of the fight, but Urbina
                 Fernandez married into it, and it may have followed him into Yoro's City Hall.
                 In 1992, while he was mayor, he was assassinated, allegedly by a member of the
                 family with which his wife's family was feuding.

                 Violence continued to swirl around the Urbina Soto family thereaftt1r. Carlos
                 Fernando was reportedly arrested and jailed in Olanchito for an assassination.
                 He escaped, then later allegedly got the charges dismissed. The family
                 matriarch, Lilian Soto, was arrested for murder as well hut was released. Yoro
                 now has a neighborhood named after her. Other family members faced
                 accusations but no formal charges.

                Despite it all, or perhaps because of it, Arnaldo Urbina Soto ran for mayor. His
                nickname is "moreno" or "negro," which literally translates as "Blacky," for his
                slightly darker skin. When he talks, he smiles, and so some in the town have
                taken to ealling him "Smiley," or, as they say in Yoro, "Eh-smigh-lee." He is a
                lawyer, the only one in the family, and bandies his title around when it suits
                him. He is approachable and repmtedly made himself available to the public,
                literally opening his door to the people. There is little public record of the 2009
                mayoral campaign, but in his first time running, Urbina Soto won with 11,948
                votes, beating his closest competitor by over 6,ooo votes.

                According to three government investigators consul!ed for this report, the
                prospect of having a mayor involved in drug trafficking operations led to a deal
                between the Urbina Soto family and the largest criminal group in the area, the
                                                                                           Exhibit A
https;//www.insightcrime.org/investigations/honduras-political-dan-criminal-fiefdomf        0001:yg     5/20
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4331 Page 163 of
                                               251
 g1rn12om      Case 1:18-cv-oz;'.pLF l\Jty(ffi~fl~li!l."'2c1qo:nl'!tJ~W('JD'age 140 of 215
                 Cachiros. Like the Urbina Soto family, the Cachiros were a family criminal
                 operation that started with small-time activities - in their case, cattle rustling.
                 Beginning around 2005, the Cachiros also started to receive and move large
                 quantities of cocaine through this northern coastal area.

                  As with many stories regarding the Urbina Soto clan, it is
                           difficult to separate fact from fiction.
                 It was in this context that the Cachiros connected with the Urbina Soto family,
                 government investigators told InSight Crime. The two families had something
                 in common: the Urbina Soto family had also gotten their start in theft and resale
                 of cattle, and both had moved into drug trafficking. They made an alliance: the
                 Cachiros would pay the Urbina Soto clan to receive planes loaded with cocaine
                 in their area of influence, store the drugs, and transport them to their next drop
                 point. This included maintenance of the airstrips, lighting and generators, fuel
                 for the aircraft, security teams to meet and guard the merchandise, as well as
                 other services like destroying evidence, if nec,essary.

                The Cachfros were used to dealing with politicians and business elites. From the
                beginning, they had sold their stolen cattle to the Rosenthals, whose family
                patriarch, ,Jaime Rosenthal Oliva, was Honduras vice president in the late
                1980s; Rosenthal's son, Yani, served in the cabinet of President Manuel Zelaya
                and later ran for president himself as a candidate for the Liberal Party. (He Jost
                in the primaries.) The Caehiros also made contact with powerful politicians and
                families from the country's other major political party, the National Party,
                including with then Prt~'lident Porfirio Lobo, whom they met while he was
                running for high office in 2009; Lobo's son, with whom they worked after Lobo
                had become president; a former governor and two legislators, whom the
                Cachiros regularly used as intermediaries to secure favors from other national
                politicians and security forces.

                On the local level, the Cachiros had for years allegedly paid for the election of
                their own mayor in Tocoa, so they understood the benefits of having the local
                power broker on their side who could steer or even control the police, as well as
                marshal the resources of the government to support their endeavor or deviate
                security forces towards a rival. Mayor Urbina Soto in Yoro reportedly did just
                that - providing the 20-strong police unit with gasoline for their patrol cars and
                paying for the maintenance of the vehicles, among other things so they would
                keep watch over their illicit operations. The Urbina Soto family also made the
                Cachiros feel welcome in Yoro. They hosted parties for them, which included
                cockfights, one of the Attorney General's Office investigators told InSiglJ,!h;f;;(-'jme.
https:/lwww.insighlclime.orglinvestiga!ions/honduras-polilical-dan.climinal-fiefdoml           0001yji      6120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4332 Page 164 of
                                               251
9/1912018      Case l:l8-cv-02('·PLF flltl'ln<J~fl~li!J.~C1'1"~l'!t:lt00~w{'mage 141of215
                 The Cachiros were generous allies, providing money for drug trafficking services
                 as well as for political ends, government investigators said.
                 There were a few hiccups. On one occasion, a witness told authorities the
                 Urbina Soto family stole a load of cocaine after an airplane crashed. One of the
                 Cachiros flew a helicopter to Arnaldo's home where he issued a warning: return
                 the cocaine, or the whole family dies. The Urbina Soto family complied, the
                 investigators said.
                Through their business and political relationships, the Urbina Soto clan met
                another powerful trafficking clan with the last names Valle Valle, which
                complicated their lives. The Valle Valle clan which had its headquarters in the
                state of Copan along the Guatemalan border - was part of the cocaine
                distribution chain. They received shipments via the Cachiros, according to
                investigators and the testimony of Cachiros leader, but they wanted to control
                Yoro, where they could field their own aircraft and control more of that
                distribution chain, which would give them a greater share of the profits.
                Tensions built, one investigator said. He said these tensions were also political.
                Unlike the Cachiros, who interacted regularly with the National Party leaders,
                the Valle Valle's strongest political patrons were from the rival Liberal Party.
                The Urbina Soto clan, the investigator said, was literally "in between the two
                groups," in a geographic, a business and a political sense - the type of political-
                criminal squabble that may have set the stage for .Mayor Arnaldo Urbina Soto's
                eventual undoing.

                Stealing Land
                This criminal activity had a toll on the region. According to statistics from the
                National University's Violence Observatory, the homicide rate in the
                department ofYoro rose from 27 murders per 100,000 citizens in 2005, to 86
                per 100,000 in 2014. In the municipality ofYoro, the rate was 104 per 100,000,
                second only to the city of San Pedro Sula, which was then dubbed "the most
                violent city in the world."

                Despite rising criminal activity and violence in the region, the political stock of
                Yoro Mayor Urbina Soto and his family continued to rise during his first stint in
                office. And in 2013, he ran for reelection. His sister, Diana, decided to run for
                congress. The mayor was also tapped to run the presidential campaign in the
                depa1tment for the National Party.

                                                                                          Exhibit A
https:/Jwww.insightcrime.org/investigations/honduras-polilical-dan-criminal-fiefdom/       0001y§     7120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4333 Page 165 of
9/19/2018
                                         251




                    (Diana Urbina Soto, Juan Orlando IJernandez, andAr'11aldo Urbina Soto at
                                     campaign event. Credit: Cholusal Sur)
                Then-presidential c~1ndidate ,Juan Orlando Hernandez visited the municipality
                during the campaign. Violence was at its peak in the country, and Hernandez
                was running on a Iaw and order platform. The backdrop made the rally in Yoro,
                in which the p1·esidential candidate and Urbina Soto paraded down the street
                together and gave speeches, more than a little ironic.
                The visit was not free. According the opposition media Cholusatsur (Canal 36),
                Diana later said her family provided the presidential campaign with generous
                financial contributions, and authorities would later find a checkbook in one of
                the Urbina Soto cars with a receipt for a deposit of $4 million lempiras
                ($171,000) to the National Party. In the meantime, Arnaldo Urbina Soto kept
                campaigning, and on November 24, he won reelection, this time with 15,813
                votes. His closest competitor got just over 4,000 votes.
                President Hernandez can claim ignorance, but the family's violent tendencies
                were well known throughout the region. Numerous testimonies given to the
                Attorney General's Office during this time period paint a thuggish picture. One
                particularly brutal case concerns their actions in a town called Rio Abaja, in the
                area of Locomapa. Witnesses said the Urbina Soto clan and their group of some
                50 armed men terrorized the town between 2011 to 2013, stealing Iand from
                several families in the area and forcing much of the town to flee.
                                                                                         Exhibit A
https://www.insightcrime.org/investigations/honduras-politicai-dan-criminal-fiefdom/      0001yg     8/20
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4334 Page 166 of
911912018
                                             251
              case 1:1s-cv-02('.PLF fl>tym<JmeflTli!l.CIJlClf11IMl'}tltOOill!i5i(':oiage 143 of 215
                 One witness said that Carlos Fernando Urbina Soto, the so-called "leader" of the
                 clan, killed Nicolas Puente Garcia in 2011. He later shot at Puente's cousin, and
                 began targeting the rest of the Puente clan "since the family was economically
                 the strongest in the community, and he wanted to scare them so they fled and
                 left their lands behind," the witness said.

                 In 2013, the witness said Carlos Fernando and a group of armed men dressed as
                 policemen entered one of the Puente's homes. They then forced the inhabitants
                 to lay face down on the floor and tortured them. The witness said Carlos
                 Fernando, Mario and a local policeman also burned two houses as a way to
                 scare the rest of the community to leave the area.
                 Later that same year, the witness stated, Carlos Fernando visited another
                 member of the Puente family and told him he needed to leave because the land
                 was now his. In all, another witness told authorities, they stole over 500
                 hectares of the Puente's lands. Residents reported that Carlos Fernando then
                 began to bring in "heavy machinery" to sow corn and other crops. That
                 machinery was reportedly municipal property, furnished by the mayor's office.
                But the land appropriation 1>rocess had only just begun. In micl-201a, a different
                witness said that Carlos Fernando and his men stole dozens of hectares ofland
                from at least three more people. They also took the neighbors' cattle and simply
 v              placed it on their stolen property. And they allegedly took an electricity
                generator that a foreign government had reportedly given to the community.
                Having the help of the mayor made this process easier, since any appropriation
                could be legalized by the local land title registry.

                The Urbina Soto clan also reportedly occupied the land of another neighbor
                where several witnesses said they cleared an area for a clandestine runway that
                they used to receive drug shipments. In September, when a local teacher
                threatened to go to the authorities, they killed him, the witness said. In October
                2013, they allegedly dragged another resident ofYoro from his home for
                unknown reasons; he appeared dead on the side of the road. Another potential
                cooperating witness was also killed, as were at least four others in an ambush.




                                                                                         Exhibit A
https://www.insightcrime.org/investigations/honduras~political-danNcriminal~fiefdom/      0001ijij   9120
      Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4335 Page 167 of
 9/'1912018                                251




                                     (Timber being loaded on a truck. Credit: Steuen Dudley)
                 The Urbina Soto family also used the stolen land to harvest timber, in some
                 cases illegally, according to investigators. Timber has long been a mainstay of
                 Yoro, but the trade is taking its toll. The mountain's once-thick cover of pine
                 trees has been noticeably reduced to the point where there are large spaces
                 between them. A report by the National Human Rights Commission
                 (Comisionado Nacional de los Derechos Humanos - CONADEH) on
                 deforestation in Honduras said that Yoro had the highest number of cases of
                 illegal logging in the country.

                 This illegal activity is due, in part, to the impoverished and corrupted regulatory
                 agencies in Honduras. While the legal framework is in place to combat the
                 trade, the government's operative side faces challenges of cmTuption and
                 criminal penetration. Indeed, criminal groups are also playing an increasingly
                                                                                               Exhibit A
hltps :l/WWW.insightcrime.orglinvestigations/honduras-polilical-dan-climinal-fiefdoml           DOD 1il~   10/20
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4336 Page 168 of
                                               251
g11912om      Case 1:18-cv-oz:-'·PLF !3ltml\lmefltli!J.<:l!C'!f!~~!Q'9ill!i~:mage 145 of 215
                 important role in this deforestation process. A recent report in Environmental
                 Research Letters said that between 15 and 30 percent of deforestation over the
                 last decade in Guatemala, Nicaragua and Honduras was caused by drug
                 trafficking interests.

                 The Urbina Soto family's timber business seems to fit into this pattern.
                 Investigators told InSight Crime that Mayor Arnaldo Urbina Soto personally
                 chose the head of the National Forest Conservation and Development Institute
                 (Instituto Nacional de Conservacion y Desarrollo Forestal - ICF) in the area.
                 That way the clan could control where he gave licenses to harvest and determine
                 how big those harvests could be. The family also strong-armed purchasers to
                 buy from them and determined the prices, the investigators said. When we
                 confronted the current ICF director in the area about these charges, he
                 demurred.

                 "I don't know," he said. "I don't know anything about the mafia."

                 The land gave the family more than just areas from which to do business. As
                 Kendra McSweeney and her c<:illeagues point out in an article in the ,Journal of
                 Latin American Geography, having land would also give families like the Urbina
                 Soto clan protection from rivals and the ability to launder proceeds. It would
                 also give them. political and social capital, and it would provide them a way "to
                 neutralize" conservationists, indigenous and squatters who wish to stake claim
                 to the land.

                But it all started with the intimidation and murder. As the bodies piled up, the
                residents took to the mountains, leaving their homes behind and creating what
                many told us was a "ghost town." Eventually these displaced people which
                one local told us numbered 100 families - made their way to San Pedro Sula
                where an investigator found them on the street begging for food. He brought
                them to the office to tell their story, and a formal investigation began.

                 Guns, Cockfights and a Missing Brother
                At 6 a.m. on July 27, 2014,just six months afterYoro Mayor Arnaldo Urbina
                Soto assumed his post for another four years, 30 members of the government's
                Counter-narcotics Division (Direcci6n de Lucha Contra el Narcotrafico -
                DLCN), 170 members of the Military Police (Policfa Militar de Orden Publico
                PMOP), and numerous prosecutors working under the aegis of the
                government's anti-crime fusion center, the Fuerza Nacional de Seguridad
                Interinstitucional (FUSINA), raided the municipality.
                                                                                         Exhibit A
https:/lwww.insighlcrime.orgfinvestiga!ions/honduras-polilica~dan-criminal-fiefdom/       0001§~     11/20
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4337 Page 169 of
                                              251
911912018      case 1:18-cv-of"·PLF fi>~mefWi!L~C1!fIMt'!tltOOJ!l!itY/l('iD'age 146 of 215
                 Authorities headed straight to the mayor's house, placed a detonator on his
                 door, and blew it open. There they found Urbina Soto and his wife, as well as
                 three others, including a German national, who were startled by the dramatic
                 entrance. Amidst the melee, the mayor claimed the people in the house worked
                 for him.




                       (Arnaldo Urbina Soto's house in Yoro. G'redit: llonduras authorities via
                                                      Twitter)
                 Investigators later described the mayor's house as having "stone walls, coffee-
                 colored doors," and "to the side, a space reserved for cockfights." In addition,
                 the home had an elegant pool and there were numerous cars parked on the
                 property, which authorities photographed to share with the press.

                There was also a veritable arsenal. In one part of the house, they found a
                Heckler & Koch H1<45 rifle, a Glock pistol, a Ruger rifle, a Star .22 pistol, a CZ
                pistol, a Remington rifle, a 9 mm Girsan, and a Colt M16 with its serial number
                filed off. In other parts, they recovered 20,500 lempiras ($876) in cash, as well
                as dozens of bullets for various other weapons including AK-47 and M16 assault
                rifles. Curiously, they also found an official case file related to an investigation
                of a murder near Tegucigalpa.
                When they arrived at the house belonging to Arnaldo's brother Miguel Angel,
                they found him sleeping. On his bed stand were a Glock pistol and a Colt
                handgun. In his garage, Miguel Angel had four cars and an all-terrain vehicle.

                                                                                          Exhibit A
hlfps:llwww.insightcrime.orglinvestigations/honduras-political-dan-cr1minal-fiefdoml       0001§1      12120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4338 Page 170 of
                                                251
911912018      Case 1:18-cv-OZ'."·PLF f!l~l'lmfl~li!l.~Cl<fIMPR:fl~51'("J1>1age 147 of 215
                 And in a room, they found a receipt for payment for wood from a local company
                 for 120,000 lempiras ($5,130).

                 Authorities captured Mario in his home with a Glock as well, and arrested six
                 others, including the Urbina Soto brothers' uncle and a Mexican national who
                 was allegedly responsible for organizing the cockfights the family regularly
                 hosted. At Carlos Fernando's house, authorities found an AK-47, a military-
                 issued flak jacket and over 100 cattle. But the so-called "leader" of the Urbina
                 Soto gang was gone.

                 The next day, the nine accused were in court, where their lawyers argued that
                 authorities had no proof and had violated their clients' rights. They noted that
                 Mario and Miguel Angel Urbina Soto each had permits for their weapons, and
                 they said that the mayor was a "servant of society," and should not be taken
                 away from his job.

                 Fittingly, Mayor Urbina Soto was the only defendant who decided to exercise his
                 right speak at the hearing.

                 "I am offended by the way my dignity and my family's dignity was trampled," he
                 told the court, referring to the way tht) authorities had burst into his house. "I've
                 earned all of my possessions because of my hard work in legal businesses, as
                 well as through inheritanccs...It's not right that you have treated me like a
                 criminal...! am innocent."

                Outside the courthouse, hundreds of people who had been transported in some
                20 buses protested the mayor's arrest. "Blacky! Blacky!" ("Moreno! Moreno!")
                they reportedly chanted on what was a brutally hot day. After one of them
                erroneously reported that the mayor had been freed, they all scrambled for the
                buses and returned to Yoro.

                In the days that followed, however, authorities continued to raid houses and
                collect damning evidence. Inside several homes in Yoro, they found 16 assault
                weapons, munitions for these and other weapons including .50 caliber rounds,
                camouflage outfits, flak jackets, satellite telephones, generators and lights with
                extension cords, presumably to use when the aircraft landed in the inountains.

                Prosecutors eventually claimed the "Urbina Soto Gang," as they called them,
                had as many as 37 members, and was trafficking drugs, stealing land, selling
                illegal wood and laundering the proceeds. Citing something Urbina Soto
                supposedly said, they implicated the group in 137 murders and 45
                disappearances, most of these related to land theft and cattle rustling.
                                                                                            Exhibit A
https://www.insightcrime.org/investigations/honduras-politicalwdanMcriminal-fiefdomf         0001§~      13120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4339 Page 171 of
                                            251
911912018     Case 1:18-cv-02l·PLF 8>~m>eAtli!!.<:i2Cl!fIMl!!tl~w('DJage 148 of 215
                 Authorities also connected the family to ownership of 53 properties worth as
                 much as 30 million lempiras ($1.28 million), many of which were in a
                 neighborhood that went by the name of their mother.
                 "They have total control of the Yoro Department," one investigator wrote. "It's
                 well known and rumored that they control all of the government entities, and
                 that they have a lot of political influence, which allows them to operate in
                 impunity."

                           "They have total control of the Voro Department."
                 The arrests came amidst a wave oflaw enforcement actions against mayors.
                 According to the local watchdog group, the Association for a More Just Society
                 (Asociaci6n para una Sociedad mas Justa - ASJ), there are 16 former mayors in
                 Honduras charged with crimes ranging from murder to arms trafficking to
                 corruption to extortion. They are from small and large municipalities and from
                 all political parties. Authorities claim they used their political power to establish
                 criminal enterprises. In one case, the mayor was connected to arms trafficking.
                 In another case, a mayor was allegedly working with the MS1a gang that had
                 bought him a backhoe for a public works contract.
                 As they have in El Salvador and Guatemala, mayors in Honduras have
                 increasingly taken on a larger role in criminal activities. This is in part due to
                 the decentralization of political power in the country. The physical isolation of
                 m.ayors and the general corruption that pervades from the national to the local
                 level also fuel this dynamic. Mayors do not control the purse strings of the
                 police, hut they provide them with import.ant resources such as gasoline and
                 food, as was reportedly the case in Yoro under Urbina Soto. They can also play a
                 role in the maintenance of police living quarters.
                 In addition, mayors control important government resources for the
                 conshuction and maintenance of infrastiucture, such as roads, hospitals and
                 schools. Mayors in larger municipalities, such as Yoro, control a
                 disproportionate amount of these resources, since that is often where the bulk
                 of the population resides and because it is so large a geographic space.
                The resources create opportunity. Mayors use their influence over the allocation
                of these resources to create power bases; whoever receives government
                contracts is beholden to them. They also steal the money. There are few who are
                keeping watch, and those that do often fall down on the job.

                 'It Was Not Done'                                                          Exhibit A
https:llwww.insightcrime.orglinvestigations/honduras-political-dan-criminal-fieldoml         0001§~      14120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4340 Page 172 of
911912018                                          251
              Case 1:18-cv-02(,..\·PLF f))tJom<lmefl~li!l.~C1!f!Hl'!tlt'{19jlpiw('DJage 149 of 215
                 Mayor Arnaldo Urbina Soto was eventually sent to the jail in San Pedro Sula to
                 await trial. He was held there until October 10, 2017, when he was transferred to
                 the prison in El Progreso, Yoro, along with former San Pedro Sula Governor
                 Oscar Kilgore and hundreds of other prisons, as part of a series of efforts by the
                 Honduran government to tackle the crisis in its penitentia1y system.

                 Lying in the heart of the city, the prison is more of a marketplace. Every day
                 seems like visitors' day, as dozens of people go in and out of the jail to see their
                 relatives, friends and patrons. Many of them have staked claim to spaces inside
                 the prison where they can hawk small items such as soap and toothpaste, or
                 have established restaurants or other service businesses.




                      (Arnaldo Urbina Soto, aka "Smiley," outside ofcourt. Credit: El Heraldo)
                Urbina Soto got what is called a "private" room. Ifhe was like any of the other
                prisoners in that part of the jail, he paid a few thousand dollars to the prison
                administrator and the prisoner who was the nominal boss of the whole
                penitentiaiy to have some prisoners remodel an area in a section adjacent to a
                corridor that housed many of these small businesses. lnSight Crime visited the
                private section while the mayor was imprisoned there, and one of the prisoners
                showed us his private quarters, which was complete with a bathroom, a double
                bed, a plasma television and other amenities not available to the general prison
                population.
                                                                                            Exhibit A
htips://www.insightcrime.org/investigations/honduras-political-dan-criminal-fiefdoml         0001§g     15/20
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4341 Page 173 of
                                              251
9/19/2016     Case 1:18-cv-02;'-PLF !lltm1<J~~u!l.~c1~nl'!tll@j!£i511('JI>lage 150 of 215
                 Urbina Soto refused our overtures to meet and did not speak to us when we
                 were there, but he did, according to prosecutors, meet regularly with his
                 longtime political operators. To be sure, the mayor kept his finger on the pulse
                 of municipal activities for months after he was jailed, maintaining at least one of
                 his illicit schemes. In August 2016, prosecutors executed a surprise raid on his
                 room where they found several copies of checks from the Yoro municipal
                 government to Lenay Urbina Urbina. They also found some Rolex watches,
                 which they say the mayor was hawking as a side business.
                 The prosecntors said that both before and after he was
                 arrested, Urbina Soto and his cadre were aITanging
                 for the municipality to rent heavy machinery from a
                 woman named Lenay Urbina Urbina for public works
                 projects. Urbina Urbina would then cash the checks
                 and hand the money to the mayor or his accomplices.
                 Authorities said the former mayor collected as much
                 as five million Iempiras ($214,000) from the scheme
                 even after he was jailed.
                 In December, judicial authorities raided the mayor's office in Yoro and arrested
                 five others for pa1ticipating in the fraud, ineluding the then-treasurer, the head
                 of the municipal budget and the former head of the municipal budget. They
                 t~harged them. with abuse of authority and misuse of public funds. Prosecutors
                 also slapped 192 additional charges on Urbina Soto ranging from abuse of his
                 authority to unauthorized use of public funds.
                The evidence seemed to be piling up, but prosecuting the Urbina Soto family
                was difficult. The third-party owner of the heavy machinery, Lenay Urbina
                Urbina, died before the trial, and the anonymous witness who tipped off the
                prosecution to the public works fraud was murdered after giving testimony.
                In the courtroom, the other charges against the family also unraveled. In one
                telling exchange, a defense lawyer grilled a government investigator about their
                proof of illegal activities, their anonymous sources and their method of
                determining whether something was an illegal runway for drug traffickers to
                land their airplanes.
                       Defense Attorney: Did they [the witnesses] see any airplanes land?

                       Investigator: They mentioned that they had information that planes were
                       landing.
                                                                                            Exhibit A
https:f/wwwJnsightcrime.org/investigations/honduras-pofiticat-cfan-criminal-fiefdomi         0001§?     16/20
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4342 Page 174 of
                                             251
9/19/2018     Case 1:18-cv-oz<'·PLF ei~~A~H!J.~Cl!f!"l'!tl!OOi'J!iW(':mage 151of215
                        Defense Attorney: Tell me when the planes landed, what dates

                        Investigator: Between May and June.
                       Defense Attorney: Tell me. You said in your testimony that these people [the
                       Urbina Soto family] were involved in homicides. Tell ine, did any of the
                       witnesses see them committing murders?
                       Investigator: They said they had that information.
                       Defense Attorney: Did they see anything?
                       Investigator: One of them said they been a target of the family.
                       Defense Attorney: Did they see anything?
                       Investigator: Them, no. They said they have information.
                       In the exchange, the prosecution also had a hard time sustaining its
                       allegations with any actual proof.
                       Defense Attorney: What evidence of drugs clid you find'?
                       Investigator: Where I investigated, I didn't find any drugs.
                 By the end of the cross examination, it was clear that mueh of the government's
                 case was based on hearsay, rumors and innuendo.
                       Defense Attorney: You said that these people took you to a place called Rio
                       Abajo and that they showed you properties that the Urbina Soto family had
                       stolen from them.
                       Investigator: They testified to this.
                       Defense Attorney: They testified that they saw members of the Urbina Soto
                       family taking these properties.
                       Investigator: They mentioned it.
                       Defense Attorney: Did you investigate if these properties are registered
                       under the Urbina Soto name?
                       Investigator: That investigation was not done because of security
                       [concerns].

                The follies of the investigation did not end there. During one foray into
                Locomapa, a police vehicle ruptured a tire. By the time they fixed it, they had to
                                                                                           Exhibit A
https:/Jwww.insighlcrime.org/investigations/honduras-political-Oan-criminal~fiefdom/        0001§§     17120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4343 Page 175 of
                                               251
 9119/2018     Case 1:18-cv-02(\.PLF !'9\:Ym9mefl~li!l.~C1'fin(l}tl~51{'11'age 152 of 215
                 return because of safety concerns. By all appearances, they never went back.
                 When the defense attorney asked the investigator ifhe had even checked the
                 property records to confirm who owns the land in question, the investigator
                 simply said, "nose hizo," or "it was not done."

                 With its case unraveling, the prosecution appeared desperate when it added the
                 charge of extortion to the now-fo1·mer mayor, which ultimately did not stick.

                 Meanwhile, the Urbina Soto family went on the offensive. Arnaldo Urbina Soto
                 declared on several occasions that the trial was "a media show." The subtext was
                 that the Urbina Soto case was more political than criminal. The former mayor's
                 sister, Congresswoman Diana Patricia, also appeared unapologetic and defiant.
                 "If we were trying to get revenge, then it's a crime to defend yourself," she told a
                 popular television program. "We are ready. Even if they treat us like
                 bloodthirsty criminals, we will protect ourselves."

                 Two months after the trial had begun, the government had to switch the
                 brothers to house arrest. And several weeks later, the courts came back with a
                 verdict: Arnaldo was found guilty of money laundering and sentenced to :36
                 years in prison..Mario and Miguel Angel were found not guilty and released..

                 New Boss, Same as the Old
                In March, shortly after the verdict, we traveled to Yoro. On the way, we passed.
                numerous trucks carrying large amounts of pine wood exiting the area. The
                terrain looks depleted in some spots, even along Locomapa, the formidable
                mountain range to the north that connects Yoro with neighboring Olancho and
                is the presumed epi-center of criminal activity in the area.

                We headed to the mayor's office, a concrete, one-story building just off the main
                plaza with concrete walls that had recently been painted. yellow. The wounds left
                by the former mayor were still raw, and part of his case was ongoing, giving
                people pause when we queried them. In addition to the verdict against Urbina
                Soto, the town was still dealing with the authorities' raid of the mayor's office
                and the arrest of the former mayor's alleged accomplices in the public works
                fraud. scheme.

                What's more, Carlos Fernando, the supposed. "leader" of the Urbina Soto Gang,
                was still at large. Many people supposed. he was hiding somewhere in
                Locomapa. Everyone not from Yoro was viewed with suspicion, and some of the
                locals seemed to be closing ranks around their own.
                                                                                           Exhibit A
https://www.insightcrime.org/investigationslhonduras-pofitical-dan-criminal-fiefdom/        0001fii)    18/20
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4344 Page 176 of
                                         251
911912018             Case 1:18-cv-02('.PLF                   f!ltl'l!\<J~flq>H!l.~c11f'Ml'!i:!l'OOjll!i51{'ma.ge 153 of 215
                 "We were all surprised," Jose Rigoberto Urbina, the current municipal manager
                 who said he is not related to the ex-mayor's family, told us when we asked about
                 the persistent rumors of the family's criminal activities.

                 Jose and others said the former mayor seemed to be paying for the mistakes of
                 his brothers, in particular those of Carlos Fernando. They said the mayor had
                 done infrastructure projects and was considered a politician "of the people." A
                 health center, inaugurated in 2016, two years after his arrest, even carries his
                 name.

                "He is still popular," Urbina said. "Ifhe cam.e back, he would get elected in a
                minute."

                Diana Urbina Soto was taking advantage of her brother's popularity. She is on
                the ballot for mayor in the November 2017 elections, and when we visited, she
                had placed banners just below one advertizing Honduran Prt>..sident Juan
                Orlando Hernandez, who is running for reelect.ion. Just days before we arrived,
                she won the National Party's nomination with 8,ooo votes, almost double the
                vote of the losing party candidate in the previous elections.




                                                                                                                           Exhibit A
https://www.insighlaime.org/invesUgatfonsJhonduras-political-dan~climinalMfiefdom/                                          0001§§     19120
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4345 Page 177 of
                                              251
9/1912018      Case 1:18-cv-oz('·PLF 8l~~fl~li!l.~c1"'~!'!titmJM!iW('DJa.ge 154 of 215
                                   (Campaign posters outside of Yoro. Credit: Steven Dudley)
                 The prospect of another Urbina Soto in the mayor's office has some people
                 scared. One opposition politician told us that some of his colleagues were
                 stopped by armed rnen in Locomapa as they headed to a meeting. He said they
                 were told to turn around, return to town and not bother campaigning in that
                 area. This politician, who did not want to give his name for fear of
                 repercussions, said he was heeding their warning, and added that the leader of
                 his party had left the area because of threats.

                 "We don't have anyone" that wants to run for office, he said.

                 *This investigation was done with the assistance ofSweden. This is part of a
                 three part series an mayors in the Northern Triangle.

                   Elites and Organized Crime              Honduras




                 What are your thoughts? Click here to send lnSight Crime
                 your comments.
                 We encourage readers to copy and distribute our work for non-commercial
                 purposes, provided that it is attributed to lnSight Crime in the byline, with a link to
                 the original at both the top and bottom of the article. Check the Creative Commons
                 website for more details of how to share our work, and please send us an email if
                 you use an article.

                 SHARE




                                                                                               Exhibit A
https://www.insightcrime.org/investigationsihonduras-.political-dan.criminal·fiefdomf           0001§~     20/20
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4346 Page 178 of
                                     251
              Case 1:18-cv-o{'.PLF Document 1-2 Filed 09/26/('?age 155 of 215


  UNITED STATES OEPl!l!\ENT DF lTATE




  PUR!AU Of O!PlolilAm IHURl!I
 Honduras 2018 Crime & Safety Report


 Travel Health and Safety; Transportation Security; Crime; Cyber; Financial Security; Other;
 Maritime; Political Violence; NGO; Faith-based Organization; Natural Disasters; Oil & Energy;
 Economic Espionage

 Western Hemisphere > Honduras

 4/3/2018




 According to the current U.S. Department of State Travel Advisory at the date of this report's
 publication, Honduras has been assessed as Level 3: reconsider travel.

 Overall Crime and Safety Situation
 U.S. Embassy Tegucigalpa does not assume responsibility for the professional ability or
 integrity of the persons or firms appearing in this report. The ACS Unit cannot recommend a
 particular individual or location and assumes no responsibility for the quality of service
 provided.
 The U.S. Department of State has assessed Tegucigalpa as being a CRITICAL-threat
 location for crime directed at or affecting official U.S. government interests.
 Please review OSAC's Honduras-specific webpage for proprietary analytic reports, Consular
 Messages, and contact information.
 Tens of thousands of U.S. citizens visit Honduras each year for study, tourism, business, and
 volunteer work without incident, but the government lacks the resources to address crime and
 violence fully.
 Crime Threats
 The U.S. Department of State has issued a Travel Advisory for Honduras since 2012 to
 caution American travelers about high crime rates. Most resort areas and tourist destinations

   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                        Exhibit A
                                                                                                         0001§2
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4347 Page 179 of
                                     251
              case 1:18-cv-02('.PLF Document 1-2 Filed 09/26/{"'=>age 156 of 215


  UNITED >mm OlPARI !\ENT 0 F STATE




  auREAU CF DIPLO/,\All( HCU~llY



 have lower levels of crime and violence than other areas of the country, though still high by
 international standards. While citizen security is the government's highest priority, it continues
 to face difficult challenges. The majority of serious crimes, including those against U.S.
 citizens, are never solved. There are no areas in major urban cities that are deemed free of
 violent crime. Notably dangerous locations in Tegucigalpa include: the area surrounding
 Suyapa Cathedral and Comayaguela on the outskirts of Tegucigalpa.
 Crime and violence are serious problems. The location and timing of criminal activity is
 unpredictable. There is no information to suggest that criminals specifically target U.S. citizens
 and other Westerners. Tourists traveling with tour/missionary groups report fewer criminal
 incidents. However, the San Pedro Sula area has seen armed robberies against tourist vans,
 minibuses, and cars traveling from the airport to area hotels. Further, NGOs have reported
 some threats and violence when visiting some rural communities.
 Since 2010, Honduras has had one of the highest murder rates in the world. The National
 Violence Observatory (NVO), an academic research institution based out of Honduras'
 National Public University, reported the following murder rates over the past six years:




          86.5 per 100,000 people


          2011




          85.5 per 100,000 people


          2012



   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or.the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                         Exhibit A
                                                                                                          0001§!
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4348 Page 180 of
                                     251
           case 1:18-cv-or-PLF Document 1-2 Filed 09/26/~?age 157 of 215


  UNITED SlhTEI DEPARTMENT OF ITAU




  PUR.EAU Of D!rlOMAllC IECURll!




          79.0 per 100,000 people


          2013




          66.4 per 100,000 people


          2014




          60.0per100,000 people


          2015




          59.0 per 100,000 people


          2016




   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Deparlment of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporling. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
  distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSA C supporl.


                                                                                                         Exhibit A
                                                                                                          000184
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4349 Page 181 of
                                     251
              Case 1:18-cv-of'·PLF Document 1-2 Filed 09/26/('?age 158 of 215


  UNITED srnm DEPARTMENT OF STATE




                   !!
  Wi&M ii
  BUREAU OF DlflOMAHC SE(URIH




            Not available at printing time


            2017




 Since 2010, the U.S. Embassy has recorded 52 murders of U.S. citizens; several U.S. citizens
 have been murdered in San Pedro Sula and La Ceiba shortly after arriving in the country.
 These murders may have been based on tips from sources at airport arrival areas. In 2017
 and through January 2018, there were six murder cases of U.S. citizens.
 Most of Honduras' major cities (Tegucigalpa, San Pedro Sula, La Ceiba), as well as several
 Honduran departments (a geographic designation similar to U.S. states) have homicide rates
 higher than the national average, including:
 DEPARTMENT, CAPITAL
 Atlantida, La Ceiba
 Colon, Trujillo
 Cortes, San Pedro Sula
 Francisco Morazan, Tegucigalpa
 Yoro, Yoro
 Honduran law enforcement frequently report highway assaults and carjacking by criminals
 posing as Honduran law enforcement, including in remote areas of Choluteca, Olancho,
 Colon, and Copan departments. Criminals set up road blocks or checkpoints and wear partial
 police uniforms and equipment that are often mismatched and inconsistent with genuine
 uniforms.
 Several U.S. citizens have reported being robbed while walking on isolated beaches. The
 effect and threat of violent crime, including in neighborhoods where many Americans
 live/work, leads to the curtailment of some normal outdoor activities.



   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Deparlment of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporling. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
  distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC supporl.


                                                                                                         Exhibit A
                                                                                                          0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4350 Page 182 of
                       ,.,.----,     251              /"
             Case 1:18-cv-02,         ·PLF Document 1-2 Filed 09/26/J,               Page 159 of 215


  UNITED STATES omm.1rnr OF ITATE




 Armed robberies, home invasions, and extortion also occur, and closely-guarded officials,
 business persons, and diplomats are not immune from these attacks. Even in neighborhoods
 with heightened security, there is street crime.


    In January 2017, an U.S. citizen NGO employee was the object of an attempted
 robbery/kidnapping by four armed individuals in Tegucigalpa while leaving her office.


   In April 2017, an Embassy driver was robbed of his personal and official cell phones at
 gunpoint by a motorcyclist while driving a U.S. government vehicle in traffic, during office
 hours.
                                                                                                                      '

   In September 2017, a U.S. government employee waiting at a stoplight in his personal
 vehicle was robbed of his cell phone and cash at gunpoint by a motorcyclist.


    In November 2017, an Embassy employee was robbed of his cell phone at gunpoint while
 driving his personal vehicle.


 Many people report receiving threatening phone calls or extortion attempts, especially during
 Christmas and Easter holidays. Typically, these are random calls that originate from
 imprisoned gang members using cell phones.
 In a country of approximately eight million people, there are estimated 7,000-10,000 street
 gang members. The 18th Street and MS-13 ("Mara Salvatrucha") gangs are the most active
 and powerful. Gangs are not reluctant to use violence and specialize in murder-for-hire,
 carjacking, extortion, and other violent street crime. They are also known to control some of
 the taxi services. Violent transnational criminal organizations also conduct narcotics trafficking
 and other illicit commerce.
 Roatan and the Bay Islands are geographically separated from and experience lower crime
 rates than on the mainland and other Caribbean islands; however, thefts, break-ins, assaults,
 rapes, and murders do occur.

   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
  distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                         Exhibit A
                                                                                                          0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4351 Page 183 of
                                     251
              Case 1:18-cv-o:a:'·PLF Document 1-2 Filed 09/261\"?age 160 of 215


  UNITED srnm DEPARTllENT OF STAT£




                 WU     Rtlli   "
  ~UR[~U   OF D!PlOJ.IATI( SE(URll!



  Credit card skimming is common. Individuals, including Embassy employees, have been
 victimized at well-known restaurants, hotels, and retailers. There is often a spike in skimming
  in December. For more information, please review OSAC's Report, "The Overseas Traveler's
 Guide to ATM Skimmers & Fraud."
 Cybersecurity Issues
 Extortion threats are made through social engineering. Personal information is sometimes
 obtained through social media, the internet, or a victim's family member. Some U.S. and other
 international NGOs reported anonymous attacks via social media in 2017 alleging the civil
 society actors are engaged in, or supportive of, criminal activity in Honduras.
 Other Areas of Concern
 The U.S. Embassy has restricted U.S. government personnel travel to Gracias a Dios, due to
 credible threat information against U.S citizens. U.S. citizens intending to travel to Gracias a
 Dios should consider postponing travel. There are no reliable crime statistics for the
 department of Gracias a Dios; however, it is a remote location where narcotics trafficking is
 frequent and where infrastructure is weak, government services are limited, and police/military
 presence is scarce.

 Transportation-Safety Situation
 For more information, please review OSAC's Report, "Security in Transit: Airplanes, Public
 Transport, and Overnights."
 Road Safety and Road Conditions
 Honduran road conditions differ significantly from those in the U.S., and driving can be very
 dangerous. Roads are poorly illuminated and marked. Because of a lack of enforcement of
 traffic laws, drivers must make an extraordinary effort to drive defensively. If traffic signals are
 working, they are often ignored, and passing on blind corners and curves is common.
 Vehicles are often driven at night without adequate illumination, and animals/people wander
 onto the roads at all hours. Traffic signs, even on major highways, are often inadequate, and
 streets in the major cities are often unmarked. Major cities are connected by an inconsistently
 maintained, two-lane system of paved roads, and many secondary roads are unpaved. A
 significant percentage of vehicles are in disrepair, under-powered, beyond their lifecycle, and
 do not meet U.S. road safety standards. However, the government is in the process of
 modernizing some of the main transportation road networks to four-lane highways, which can
 lead to increased travel times due to ongoing construction.


   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                         Exhibit A
                                                                                                          0001~~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4352 Page 184 of
                                     251
             Case 1:18-cv-02('.PLF Document 1-2 Filed 09/26/{'.,age 161 of 215


  UNITED >TATES DEP~RTMENT OF STATE




      JWL&d                    LL




 For these reasons, and because of the high incidence of crime, the U.S. Embassy strongly
 discourages car and bus inter-city travel after dark. Motorists should avoid traveling long
 distances at night. For more information on self-driving, please review OSAC's Report "Driving
 Overseas: Best Practices."
 Public Transportation Conditions
 Travelers are warned to avoid all public transportation. The public transportation sector is a
 critical target of extortion and experiences higher levels of homicides than many other sectors.
 There are multiple incidents of city buses and taxis being destroyed by gang members;
 passengers are often robbed, assaulted, raped, or kidnapped.
 Passengers on public buses are sometimes robbed en route, at roadblocks, and at bus stops,
 even during daylight hours. Some would-be muggers and gang members are known to keep
 to a daily schedule, riding city buses from one stop to the next, committing criminal acts with
 impunity.
 Travelers should not use collective taxis, which are taxis that pick up multiple riders.


    In 2017, Embassy employees have been robbed, assaulted, and kidnapped while using city
 taxis and collective taxis (small buses).
    Other Travel Conditions
    Cruise ship passengers should take safety precautions, avoid unfamiliar areas, and book
 only with reputable tour companies during their stopover. Cruise lines and port agencies have
 approved tour companies offering packages. Port agencies have worked to improve taxi
 service to/from ports. The vast majority of cruise line passengers experience no problems, but
 incidents of armed robbery and carjacking have been reported.

    Terrorism Threat

    The U.S. Department of State has assessed Tegucigalpa as being a LOW-threat location
 for terrorist activity directed at or affecting official U.S. government interests.
    Local, Regional, and International Terrorism Threats/Concerns
    The CA-4 agreement among El Salvador, Guatemala, Honduras, and Nicaragua allows for
 the inspection-free movement of citizens among these countries and reduces overall
 inspection at land crossings. The limited nature of inspections could facilitate movements of


   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                         Exhibit A
                                                                                                          0001§§
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4353 Page 185 of
                       f'·
               Case 1:18-cv-OZ,
                                     251              r
                                       ·PLF Document 1-2 Filed 09/26/J,             '?age 162 of 215


  UNITED !TATES DEPAiT!\EHT Of STATE




  liiM=           ;:;;;
  8UREhU Of DIPLOl/.Am SHURITY



 terrorists.

    Political, Economic, Religious, and Ethnic Violence

    The U.S. Department of State has assessed Tegucigalpa as being a HIGH-threat location
 for political violence directed at or affecting official U.S. government interests.
    Civil Unrest
    Public demonstrations, protests, and strikes are common. Most demonstrations are
 concentrated in/around city centers, public buildings, and other public areas. Most protests
 have been peaceful; however, there have been violent confrontations between the police and
 demonstrators. Additionally, there have been demonstrations and road blockades along key
 routes, including the road leading to the international airports in Tegucigalpa and San Pedro
 Sula.
    Land titling faces significant challenges and can be a source of conflict. The Bajo Aguan
 Valley region in Atlantida department has seen serious conflict among agricultural workers
 and businesses over land rights.


   A 13-year old boy was reportedly shot to death in November 2017 while driving a horse
 carriage, allegedly as retaliation for transporting stolen palm oil fruit to his family.


    The Bajo Aguan conflict has reportedly resulted in the death of over 150 people since 2010.
    Religious/Ethnic Violence
    Indigenous and ethnic communities are frequently located in rural areas with lower levels of
 criminal activity. However, there can be communal tension over natural resource allocation
 and exploitation. These tensions have resulted in intense protests and other violence.


    Several members of ethnic group organizations such as MILPAH, in the lntibuca/La Paz
 departments in mid-West Honduras, were killed in 2017 allegedly over their protests against
 the construction of a hydro electrical dam.



   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                        Exhibit A
                                                                                                          0001~9
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4354 Page 186 of
                       (',           251              /'\
             Case 1:18-cv-02,         ·PLF Document 1-2 Filed 09/26/J,                Page 163 of 215


  UNITED !mm DEPARTMENT OF STATE




 Due to the remote nature of these areas, there is often limited government ability to respond
 to violence or other problems and limited access to medical facilities.

  Post-specific Concerns
  Environmental Hazards
  Honduras can be hit by tropical storms and hurricanes. The rainy season usually runs
  May-November. There have been approximately nine significant tropical storms/hurricanes
 that have affected Honduras since 1995. While hurricanes are a concern, much of the
 damage to infrastructure is a result of flooding and rock/mud slides.
 Critical Infrastructure
 The limited capacity of the government to enforce international standards related to natural
 resource exploitation has resulted in higher levels of conflict in the extractive and electrical
 generation industries. In addition to complying with local laws, companies involved in natural
 resource extraction or energy generation should ensure that communities are fully consulted
 in accordance with international standards. Honduras is a signatory to the International Labor
 Organization's 169 Convention, requiring free, prior, and informed consent from indigenous
 communities prior to any development projects, but the government has not yet approved a
 law regulating th is process.
 Economic Concerns
 Patents and trademarks must be registered with the General Directorate of Intellectual
 Property (DIGEPIH) division of the Honduran Institute of Property. "Notorious" or well-known
 trademarks are protected under the Pan American Convention (1917), to which Honduras is a
 party. Illegal registration of a well-known trademark, however, must be contested in court. This
 regulation favors first registration over first use, and numerous cases have arisen of
 "squatting" on established trademarks, which the legitimate holder must either purchase or
 contest in court. Data protection is provided for five years, and Honduras also offers process
 patent protection.
 Cable signal theft and falsified products are the most prevalent violations of intellectual
 property in Honduras. Falsified products are predominately found in the pharmaceutical and
 apparel industries but are not limited to these two areas. Falsified medicines are mainly found
 in the pulperfas (private home-operated convenience stores) but have also been reported in
 Farmacias de/ Ahorro.
 Counterfeit Honduran lempiras are common, especially in the 100 and 500 denominations.


    The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
  Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
  statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
      that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
  distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                   of OSAC support.


                                                                                                          Exhibit A
                                                                                                           00018~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4355 Page 187 of
                       ~\            251              /'
              Case 1:18-cv-02,         -PLF Document 1-2 Filed 09/26/i,              Page 164 of 215


  UNITED >TATEi DEP!RT!\EHT OF STAT£




 Counterfeit U.S. currency is also not uncommon.
 Personal Identity Concerns
 Discrimination against ethnic minorities and the LGBTI community has been reported.
 Members of the LGBTI community have reported violent assaults due to gender identity and
 sexual orientation.
 Some commentators have strongly criticized the Roman Catholic church and Evangelical
 churches for alleged involvement in politics. Jehovah's Witnesses have reported being
 refused medical treatment at some government hospitals after requesting treatment in
 accordance with their religious beliefs.
 There are limited facilities for individuals with disabilities.
 Drug-related Crimes
 Drug trafficking and gang activity, which includes local micro-trafficking of narcotics and
 extortion, are the main causes of violent crime in Honduras. Penalties for possession, use, or
 trafficking illegal drugs are strict, and convicted offenders can expect lengthy jail sentences
 and fines.
 Kidnapping Threat
 Kidnappings and disappearances affect both the local and expatriate communities, with
 victims sometimes paying large ransoms for the prospect of release. Reports of kidnappings
 of U.S. citizens are not common. Since January 1, 2012, five cases of kidnapped U.S. citizens
 were reported to the U.S. Embassy; all kidnapping victims were released. Since families of
 kidnapping victims often pay ransoms without reporting these crimes to police out of fear of
 retribution, kidnapping figures may be underreported. For more information, please review
 OSAC's Report, "Kidnapping: The Basics."

 Police Response
 The government lacks resources to investigate and prosecute cases, and police often lack
 vehicles/fuel to respond to calls for assistance. This means police may take hours to arrive at
 the scene of a violent crime or may not respond at all. As a result, criminals operate with a
 high degree of impunity.
 The government has specially trained police forces in areas frequented by tourists, such as
 the Copan Mayan ruins and Roatan. The government is implementing similar programs for
 other locations such as La Ceiba and Trujillo, and major hotels and other tourist installations
 have increased private and police security. The government has also begun implementing a


   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                         Exhibit A
                                                                                                          00018~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4356 Page 188 of
                                     251
              Case 1:18-cv-o:('.PLF Document 1-2 Filed 09/26/('"'age 165 of 215


  UNITED STATEl DEPARTMENT OF STATE




 series of police reforms, such as the creation of an Inter-Agency Security Task Force to
 combat crime, that it hopes can tackle the crime situation.
 The government does have a police investigative unit dedicated to investigating violent crimes
 against the LGBTI and other vulnerable communities; however, it is has limited resources and
 functions primarily in the major urban areas.
 U.S. citizens are subject to the laws of the country in which they are traveling.
 The Honduran National Police, along with the Ministry of Defense Military Police (PMOP),
 routinely establish checkpoints and review documentation (driver's licenses, vehicle
 registration). The Honduran National Police wear blue uniforms while the PMOP normally
 wear green camouflage uniforms. Their uniforms and vehicles are all clearly marked.
 How to Handle Incidents of Police Detention or Harassment
 U.S. citizens detained by the police should insist on speaking to U.S. Embassy
 representatives as soon as possible. Detained foreigners are generally treated well by the
 police. Except in some very rural locations, police are aware of a U.S. citizen detainee's right
 to contact the Embassy.
 Local law allows the police to detain someone for up to 24 hours for administrative
 processing. This is a common practice for most automobile accidents where personal injury
 occurs and for cases in which someone is accused of a criminal act. The assistance the
 Embassy can provide is limited to making sure U.S. citizens are not being mistreated and
 providing them with a list of local attorneys. Travelers are reminded to seek legal
 representation before admitting or signing any legal form that acknowledges culpability.
 Crime Victim Assistance
 If you or someone you know becomes the victim of a crime, you should contact the local
 police and U.S. Embassy Tegucigalpa. If you are in Tegucigalpa or San Pedro Sula, you can
 reach the local police by dialing 911; other smaller cities/rural areas have their own local
 police assistance numbers.
 For fire and public safety emergencies, dial 911.
 Fire Department Headquarters: (504) 2231-1667 (operations department)
 U.S. Embassy, Tegucigalpa, American Citizens Services Unit is open to walk-in services
 Monday-Friday, 0730-11 :00 and can be reached directly at:
 Tel: (504) 2236-9320 ext. 4400
 After Hours: (504) 2236-9320 ext.4100 or Duty Officer (504) 9990-1372
 Email: usahonduras@state.gov


   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                        Exhibit A
                                                                                                          000:102
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4357 Page 189 of
                                     251
            Case 1:18-cv-OZ·PLF Document 1-2 Filed 09/26/r:>age 166 of 215




 Medical Emergencies
 Medical care is limited. Emergency services, even in Tegucigalpa, generally are basic. There
 are few, if any, U.S.-educated physicians in Tegucigalpa.
 Red Cross ambulance: 911, (504) 2227-7474 or (504) 2227-7575. The ambulance does not
 have paramedics or emergency medical equipment; they function as transport to hospitals.
 Bomberos: Fire Department Ambulance is fully equipped with emergency medical supplies
 and medical staff. Dial 911 for emergency or call (504) 2232-4092.
 Contact Information for Available Hospitals/Clinics
 For medical assistance, please refer to the Embassy's Medical Assistance page.
 Available Air Ambulance Services
 Air Ambulance Service: (305) 535-7380
 (International SOS, Mount Sinai Hospital, Miami Beach, Florida)
 Insurance Guidance
 State Department resource for international insurance
 Country-specific Vaccination and Health Guidance
 The CDC offers additional information on vaccines and health guidance for Honduras.

 OSAC Country Council Information
 The Honduras Country Council meets monthly on a rotating basis in Tegucigalpa and San
 Pedro Sula. Interested private-sector security managers should contact OSAC's Western
 Hemisphere team with any questions.

 U.S. Embassy Location and Contact Information
 Embassy Address and Hours of Operation
 U.S. Embassy Tegucigalpa
 Avenida La Paz
 Tegucigalpa
 Hours of Operation: Mon-Thur, 0730-1630; Fri, 0800-1500
 Embassy Contact Numbers
 Tel: (504) 2236-9320
 After Hours: (504) 2236-8497
 Website: https://hn.usembassy.gov
 Nearby Posts

   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                         Exhibit A
                                                                                                          000~8~
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4358 Page 190 of
                                     251
              Case 1:18-cv-o2('.pLF Document 1-2 Filed 09/26/~Page 167 of 215


  UNITED >TATES DEP!Ul.IENT OF STATE




 Consular Agency San Pedro Sula:
 https://hn.usembassy.gov/u-s-citizen-services/spsca/overview/
 Embassy Guidance
 U.S. citizens who live in or who are visiting Honduras are strongly encouraged to register with
 the Smart Traveler Enrollment Program (STEP).
 Additional Resources
 Honduras Country Information Sheet
 Department of Commerce's Country Commercial Guide




   The contents of this (U) presentation in no way represent the policies, views, or attitudes of the United States
 Department of State, or the United States Government, except as otherwise noted (e.g., travel advisories, public
 statements). The presentation was compiled from various open sources and (U) embassy reporting. Please note
     that all OSAC products are for internal U.S. private sector security purposes only. Publishing or otherwise
 distributing OSAC-derived information in a manner inconsistent with this policy may result in the discontinuation
                                                  of OSAC support.


                                                                                                        Exhibit A
                                                                                                          ooo:isa
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4359 Page 191 of
 9/17/2018
                                         251




    Encuentran sin vida a dos
    j6venes en Olanchito
    17 octubre, 2017 j 12:04 pm I Sucesos (http://www.elpals.hn/sucesos/)


                                                                      Facebook   Twitter   Pinterest    WhatsApp




    Olanchito, Yoro.

    Este martes fueron encontrados sin vida dos j6venes en la colonia Ramon Amaya Amador de
    Olanchito, Yara zona litoral de Honduras.




                                                                                                       Exhibit A
http://www.elpais.hn/2017/1 0/17Iencu entran-si n-vida-dos-jovenes-olanch ital                          000'.f 8~   1/8
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4360 Page 192 of
                                                     251
011112018       Case 1:18-cv-oz(".pLFEne~;el'i~"1.a~•JP'lloo ~!!!~C"arrJe 169 of 215
    Las vfctimas fueron identificadas como; Roberto Carlos Lozano Chirinos de 19 afios de edad
   y residente en la colonia El Bfblico. Y, Ledis Alexander Lozano Ramos, de 20 afios de edad y
    residente en la colonia Los Maestros.

    Hasta el momento se desconocen los motivos del crimen. Segun familiares de los fallecidos, ambos
    salieron a comprar baleadas la noche del lunes a las 8:00 pm, pero no regresaron a sus hogares.




    TE MAS




                     #Asesinatos en Olanchito (http://www.elpais.hn/tag/asesinatos-en-olanchito/)




                     #Honduras (http://www.elpais.hn/tag/honduras/)




                     #portada (http://www.elpais.hn/tag/portada/)




              (     #Yoro (http:/ /www.elpais.hn/tag/yoro/) )




   MAS DE SUCESOS




                                                        (http://www.elpais.hn/2018/09/17/capturan-a-mujer-con-




    droga-y-dinero-en-choloma/)


                                                                                                       Exhibit A
http ://www.elpals.hn/2017/1 Of17lencuentran-sin-vida-dos-jovenes-otanch ito/                           00Dt8a     218
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4361 Page 193 of
9118/2018
                                         251




           Sucesos

           Identifican a pareja asesinada cerca del rio
           Agalteca, en Olanchito, Yoro




                                                                                                        ; PAIS
                                                                                                          > Nan:utraficantcs fun den
                                                                                                          oru pitta:asogur.ir:su
                                                                                                        · millonaria fortuna

                                                                                                          MIS
                                                                                                          > Las irutitudoncs
                                                                                                          financlerrut deben 1:onoc11r
                                                                                                          sus.tlientcs

                                                                                                          PAL<
            Santos Rut!!lo Hemhndez. (38) y Marra Roxany R.eycS.sonJus pcrs.onas aseslnadas de varros     > La UNAU rm::ibc estu
            disparoscerca d.e:I rfo Agalteca, en Ofanc~ito 1 ·voro,                                       mart(!S a mDsdo 80mil
                                                                                                          alu:mnos:
          Redac:cl6n
                                                                                                          DEPOlrril
          1'.t01201B                                                                                      > Ramos a Gric:tm.lip.ti: "La
                                                                                                         ignornncia es atrevida''
          Yorn, Honduras
          Como $antos R.utilio Hernandez {38) y Marfa Rqx1my }{,eyes (17) fuo                             ENTitETENIMlENTO
                                                                                                                                          Exhibit A
https:/lwwN.elheraldo.hn/sucesos/1145795-466/ldentiflcan-a-pare)a-aseslnada-ceroa-dei'r%C3%AOo,agalleca-en-olanchlto-yoro                  ooo:rnf    1/3
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4362 Page 194 of
 9118/2018
                                         251
            iduntifiep.dtt la·pri.r~ja ascsinuda la. noche drJ lunes.~ri la co1nunidQ_d. de. Mcdina..<1 1
            a las ccrc:mitt~ del r!o Agaltcca, en ol nmnicipfo de Olanchilo.

           Las vlcti.Jnas S{l traslad&ban cuuna mOtoci~lcta por !!}-sector cu,a:nQ.o.fuero1i.
           intcrccptadoi! par desconocldi;ls quc le:; quital'On la vida.

           Al lugar de! hccbo se hiciomnpresrurtesvru•ios familiares de los ahora occisos, sin
           cri1bargo, ,dijeron descono.ccr ~l rnotivo del a:;csinato _de stlS parim1tcs.

           !Jn equipo d~ la.Dlrcccion PoUclal de lnv<istlgadorms (DP!) sc tl'aslad6 al
           scctoi· para Uu:l~gar sobr~.cl m6vil dei doble c:d1nen; ·En la csccna se e:uoontntron
           varios casquil!o,• de bala de grueso ca1ibr13.

           Los cucr(:!Os fuCTPn.traSlndados ltasta meclieina .it_!gii{, doutlc fuerott ~claturulos Ja
           maftana 'de _es tu :mart es. fior $U$ f111tiJliates, segUit .tas-irito.r:rnacio11csJ1i·eliminares.
                                                                                                                                           i      1,.}-Ttlbar~
                                                                                                                                                     f->.Aili.J.e.dcvo:tvicro.n at urtqp111yu
           Lea tambUm:;Captt1mn a tres mujeres cnpos~si6n de indlllllentaria 1>0licinl                                                     I·2·il
                                                                                                                                           l
                                                                                                                                           I.
                                                                                                                                                       f       1
                                                                                                                                                                :,Monso Jn bici.cleta, ·
                                                                                                                                                       t Ami!.riea ~ Diar.io .Ellleral,tkJ.
                                                                                                                                                                                 '

                                                                                                                                                           >:- 'Lns-pnlillo.nmt mm. be Das d._a los
                                                                                                                                           :·        _ ;,dnsfilct1 patrios2f!i~~ Dinrio El
           Relaclonad~!S~                                                                                                                  ·1          f ltCraldu
           > Hnnduteiios• quit• la 1'lda por deuda con su tarjelll deeredlt<>                                                              -r.3·. f_ > .'LOSIDtl.jot'es: folt$ .'fo (;.Ctitgi.n.il·
                                                                                                                                           'j'-        i llodrigui-:rzun.JlaJfa, dcindo.Jn
           > Capturart a tres mUjel'es- con armas e indumentar.ia.·poiiciat en e010nia                                                     i           .\ Ucgnda de <:rJsttp.nn:.llon'aldo a ~~
           ]erusalfjn de La-tJ.µu1 1 Cp:rt:es                                                      ·-                ·
                                                                                                                                           i      4 !>por'JiAJtT.i:~ i:: PalOlcµul.Sen fogCnptO.dU:s.
                                                                                                                                           I!
                                                                                                                                                       l       l:L llERAJ.JJO               desfih.fii
           > Decomiso.n dos paquete~.cq~ 100 11\il dtilares ocultOs en wia rastta ert 'Puerto·.
           Cott6$                                                                                                            .                             d\'.! Hondurns·~ot~ • Diario .ll-
                                                                                                                                                     ~-::. Ragttf.lton~rn      Natii Nata&lu(,
           > Condenan· hoinl)r:e qUe aSe..-dil.6 amen or al dl$paratle por u.nrive.rttana en
           lntlllUM.                             ·                                         ·                             .
                                                                                                                                           1.     S '[r•mdn-
                                                                                                                                                       i
                                                                                                                                                                    ndntir-ndOn
                                                                                                                                                                   tJit                 110~ _Ozuna
                                                                                                                                            '._,,

           Tags:
           $\Jt:!!t;u$~:h f:!Vht:ltffil"'   Matan p,;t'l.'j~en·dlaht:hku   Ase$ln&lCl'i Olaru:tilh1 P<ili>jil-arit!slfllida O!tintti_lru


           Te puecht lntere!u:irr:-




            SUCE$OS.                                        SUCES:OS'                                    St!'C!?SOS ·        .
            capturan aptesUllto                             ·_e_apturan en ~J·harriO                     -A m·acltetazos Ina.tan
            .asesino demujer.que.                            Gu.a millto :a µresunto                     ~dos lmmbros "" ··
            fue decapitada en                                autor del crfinen      ·                    !ddeadeLa Mas!Cil.,
            cbtilu.teca .                                    c9ntr,..dlrigente de!                       Jl,tlantida




            Te p_uede g:ustQr

            Estos nuevos $1,JV ci·o;issovev te W;.iaran sht iilienfu
            'SUV ct'tlH<JViJt j-V:allOJlSMtcli




            Cli.rdlologist: wr~isls W.!111.Hl;ippens WheuY011.E11t A.!ij:®li;''
            fh.1t11hYMD




            U.S; Cardiologist: U's Like a l'ressnreWash to~ 'l!ourinsldes
            J~qbJtb HemJlfutt,

                                                                                                                                                                                             Exhibit A
htlps:l/WWN.elheraldo.hrJsucesos/1.145795'466/ldenllffcan·a-pam)a·asesln•da-cari>a-<le~r%C3%AOo-agallaca-en.olanchilo·Yotn·                                                                    000100.   213.
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4363 Page 195 of
                                                    251
9/1712018      case 1:18-cv-or.fl:IL!f'I• >G~meflitntlli@: s~!iJl!P@~f}¢('1'1a.iJei<'172 of 215
                    Ola de violer                   (j)         Eshorade1ntorm•rt•detodo1ou111mo1                     ~omerciante
                    ases in ados i              .
                                                                Puedes modifkarC:stasnotlflcationes en las opClones
                                                                de tu exptorador,

                    Pabladores de bianchito, !      WPowered by Pushcmw
                                                    1
                                                                                    N?.~.rah~rs                       /en lo zona,
                    Por R.edacdonWeb, did~mbtl! ;·7;201f




                   OLANCHITO, YORO. Ola de vlolencia en Olanchito cobra la vida de dos personas en un fin de
                   semana; ganadero y comerciante asesinados en dos hechos aislados y sangrlentos en la zona oriental
                   de Hand uras.

                                                                    ADVERTISING




                                                                                                                                     Exhibit A
h\tps:tnlempo.hnlola-de-vloloncla-en-olanch.lto-<los-aseslnados/                                                                      000109     1/3
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4364 Page 196 of
911712018
                                         251
                    Los crimenes han trans.                                                                                      la de este sabado,
                                                                          Es hora d& informi.rte de todo lo ul.tlmor
                   dejando como sald.o do;


                   Ganadero. semi de
                                                          ©               Pued.es modificarestasnot!ficaciones<inJi!s opclOnes
                                                                          de tu exp!orador.



                   .semi decapitado encontraron el cuerpo de Fernando Mejia de SS ailos de edad, origlnario de
                   Olartc:hita, .Yoro;. El--a'hora occ:iso que residia en la.corhunidad del Ju.ncal~ era rec;onDcldo· par dedlcarse
                   al ofjclo de la ganaderla.


                   Segun SUS famil!ares Mejia Se Conduda la mafiana del sabado hacla SU Centro de trabajo cuando lo
                   atacamn (ndlviduos con arma.blanca (pufial). Ademas aseguraron que la muerte de su parlente se
                   Qrlglno a ralz de enemlstad personal.


                   POr SU parteJas autoridades:ya se enclierttran tras.1~·pista de'los posibles.hechores del·san,grie_nto
                   crfmen. El cuerpo sin vl.da qued6 tendido en .medio de un solltarlo camino en donde fue.descublerto
                   par vec:inos de! lugar.


                   En pulp.erfa asesinan a comerciante
                   Como M11ri11 Elen11 Romero de 55 aiios, se ldentlfic6.aJa comerclante que fue atacada a.balaz.os por
                   varies lndlvlduos en Ja tolonia S de febrero.




                   /_il co.rrmtdante MiJd4i Elena Jtorrmrn, lim ases/Uada jJr.ir su)etns.desro.i1ortr.ios en su n&g{JCfOx



                   El ataque se habrfa reallzado la noche def pasado \llernes •. Segun investlgaclon policlal mlentri!ls
                   Romero atendia su ne9ocio, llegaron varios_-sujetos -a comprar-;efre~tOs.

                   La oscurldad de la noche y la soledad de la victima, favorec16 J>ilra que las dellncuentes dispararan
                   contra su human.idad. Acta segulda las facinerosos l)uyeron en dl,rettr6n desconoclda transportadi:>s
                   en motoclcletas.


                                     . Custodio f"S a.c:usado de ovast6n .por fug.a do reos en Atl~ntfda
                   Quizas te interesa:
                               .

                   Ainbos crlmenes estan slendo lnvestigados par las autarldades pollciales. Sin embargo, hasta i)oy no
                   hay pistas sobre el paradero de los responsables.

                                                                                                                                                      Exhibit A
ht1ps:tnlempo.hnlola-de-v1Qlencla-en--0lanchlto-dos-asesinad0s/                                                                                        ooo;iq§    213
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4365 Page 197 of
911712018
                                         251

                                                                  Es ~ol'.a cle l11ftJr_martfi de _tOdo lo ultimo!
                                                                  'Puedl!s modiflCarestas ootlfkac!one.s _~n-!11s Qp~iones
                                                                  dia tu explorador.

                                                                                     No-por:ahorB
                                                                                     _,, - -----------




                                  G                                                                                          Exhibit A
ht1ps:1Alampo.hnl.ola-<le.·Vlo.!ancl~-en,oliln.ohlto-dos-a~eslnados/                                                          ooo:iq9
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4366 Page 198 of
911712016                                251




       Report: Forced to Flee Central America's
       Northern Triangle
     A neglected humanitarian crisis

     MAY 11, 2017


     SHARE THIS




     Executive Summary

    An estimated 500,000 people cross into Mexico every year[1]. The majority making up this
    massive forced migration fl.ow originate from El Salvador, Honduras, and 'Guatemala, known as
    the Northern Triangle of Central America (NTCA), one of the most violent regions in the world
    today.


    Since 2012, the international medical humanitarian organization Doctors Without
    Borders/Medecins Sans Frontieres (MSF) has been providing medical and mental health care to
    tens of thousands of migrants and refugees fleeing the NTCA'.s extreme violence and traveling
    along the world's largest migration corridor in Mexico. Through violence assessment surveys
    and medical and psychosocial consultations, MSF teams have witnessed and documented a
    pattern of violent displacement, persecution, sexual violence, and forced repatriation akin to the
    conditions found in the deadliest armed conflicts in the world today[2]


    For millions of people from the NTCA region, trauma, fear, "!~~.!horrific violence are dominant
    facets of daily life Yet it is a reality that does not end with their forced flight to Mexico Along
    the migration route from the NTCA, migrants and refugees are preyed upon by criminal
    organizations, sometimes with the tacit approval or complicity of national authorities, and
    subjected to violence and other abuses-abduction, theft, extortion, torture, and rape-that
    can Leave them injured and itraumatized
                                                                                                                                Exhibit A
https:/!www.doctorswilhoutborders.org!whatMwe-Oo/news-stories/research/reportMforcedMflee...central~americas-northemMtriangle    000:11~    1/6
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4367 Page 199 of
                                                        251
91111201a       case 1: 1s-cv~IS(':fllt!Jl Fl®§t':!l!rn'l~!l.a:2Noitttt!!tfr©!l>Jl~W('1lll~ ll"P&'@Jf tm
     Despite existing legal protections under Mexican law, they are systematically detained and
    deported. Nearly 98 percent of NTCA citizens were captured by immigration authorities in 2015,
    with devastating consequences on their physical and,mental health.


     The findings of this report, based on surveys and medical programmatic data from the past two
     years, come against the backdrop of heightened immigration enforcement by Mexico and the
     United States, including the use of detention and deportation. Such practices threaten to drive
     more refugees and migrants into the brutal hands of smugglers or criminal organizations.


     Read the Report: Forced to Flee Central Amerka's Northern Triangle:
                      A Neglected Humanitarian Crisis

     From January 2013 to December 2016, MSF teams have provided 33,593 consultations to
     migrants and ·refugees from the NTCA through direct medical care in several mobile health
     clinics, migrant centers, and hostels-known locally as albergues-across Mexico.


     Through these activities, MSF has documented the extensive levels of violence against patients
     treated in these clinics, as well as the mental health impact of trauma experienced prior to
     fleeing countries of origin .arid:while on the move.


     Since the program's inception, MSF teams have expressed concern about the lack of institutional
      and government support to the people it is treating and supporting along the migration route.
     In 2015 and' 2016, MSF began surveying patients ari~T~~llecting medical data and
     testimonies. This was part of an effort by MSF to better understand the factors driving migration
     from the NTCA, and to assess the medical needs and vulnerabilities specific to the migrant and
     refugee population MSF is treating in Mexico.


     The surveys and medical data were Limited to MSF patients and people receiving treatment in
     MSF supported clinics. Nevertheless, this is some of the most comprehensive medical data
     available on migrants and !refugees from Central America. This report provides stark evidence
     of the extreme Levels of violence experienced by people fleeing from El Salvador, Honduras,
     and Guatemala, and underscores the need for adequate health care, support, and protection
     along the migration route through Mexico.


                                 Video: Fleeing Central America to Survive

                                                                                                                                Exhibit A
https://www.doctorswithoutborders.org/what-we-do/news.stories/research./report-forced-flee-eentral-emericas..northem-triangle    OOO:jJ!    216
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4368 Page 200 of
911712018
                                         251

     In 2015, MSF carried out a survey of 467 randomly sampled migrants and refugees in facilities
     the organization supports in Mexico. We gathered additional data from MSF clinics from 2015
     through December 2016. Key findings of the survey include:


     Reasons for leaving:


              • Of those interviewed, 39.2 percent mentioned direct attacks or threats to
                themselves or their families, extortion, or gang-forced recruitment as the main
                reason for fleeing their countries.

              • Of all NTCA refugees and migrants surveyed, 43.5 percent had a relative who
                died due to violence in the last two years. More than half of Salvadorans
                surveyed (56.2 percent) had a relative who died due to violence in this same
                time span.

             • Additionally, 54.8 percent of Salvadorans had been the victim of blackmail or
               extortion, significantly higher than respondents from Honduras or Guatemala.



    Violence on the Journey:


             • Sixty eight point three percent of the migrant and refugee populations
               entering Mexico reported being victims of violence during their transit toward
               the United States.

             • Nearly one-third of the women surveyed had been sexually abused during their
               journey.

             • MSF patients reported that the perpetrators of violence included members of
               gangs and other criminal organizations, as well as members of the Mexican
               security forces responsible for their protection.



    According to medical data from MSF clinics from 2015 through December 2016:


             • One-fourth of MSF medical consultations in the migrants/refugee program
               were related to physical injuries and i intentional trauma that occurred en route
               to the United States.
                                                                                                                                Exhibit A
https://www.doctorswilhoutborders.org/what-we-do/news..stories/researchlreport-forced-flee-central..americas.northem-triangle    000~14     316
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4369 Page 201 of
                                                  251
911112010      case 1: 18-cv~<':p!!_fl Fl®el"!l!rn'l~ia:2No!lltt!!tfr©~l1.l('w~ 'l"f'S>'@lf ll!lf5
          • Sixty percent of the 166 people treated for s.exual violence were raped, and 40
            percent were exposed to sexual assault and fother types of humiliation,
            including forced nudity.

              • Of the 1,817 refugees and! migrants treated by MSF for mental health issues in
                2015 and 2016, close tOhalf (47.3 percent) were victims of direct physical
                violence en route, while 47.2 percent of this group reported being forced to flee
                their homes.


     The MSF survey and project data from 2015-2016 show a clear pattern of victimization-both
     as the impetus for many people to flee the NTCA and las part of their experience along the
     migration route. The pattern of violence documented by MSF plays out in a context where there
     is an inadequate response from governments, and jwhere immigration and asylum policies
     disregard the humanitarian needs of migrants• and! refugees.


     Despite the existence of a humanitarian crisis affecting people fleeing violence in the NTCA, the
     number of related asylum grants in the United States and :Mexico remains low. Given the
     tremendous levels of violence against migrants and refugees in their countries of origin and
     along the migration route in Mexico, the existing legal framework should provide effective
     protection mechanisms to victimized populations. Yet people forced to flee the NTCA are mostly
     treated as economic migrants by countries of refuge such as Mexico or the United States.


    Less than 4,000 people fleeing El Salvador, Honduras, a,ndJGuatemala were granted asylum
    status in 2016[3]. In addition, the government of Mexico deported 141,990 people from the
    NTCA. Regarding the situation in the United States, by the end of 2015, 98,923 individuals from
    the NTCA had submitted requests for refugee or asylum status according to UNHCR[4].
    Nevertheless, the number of asylums granted to individuals from the NTCA has been
    comparatively low, with just 9,401 granted since 2011[5].


    As a medical humanitarian organization that works in more than 60 countries, MSF delivers
    emergency aid to people affected by armed conflict, epidemics, disasters, and exclusion from
    health care. The violence suffered by people in the NTCA is comparable to the experience in war
    zones where MSF has been present for decades. Murder, kidnappings, threats, recruitment by
    non-state armed actors, extortion, sexual violence, and .. forced disappearance are brutal
    realities in many of the conflict areas where MSF provides support.


    The evidence gathered by MSF points to the need to understand that the story of migration from
    the NTCA is not only about economic migration, but about a broader humanitarian crisis.
                                                                                                                               Exhibit A
https:/lwww.doctorswithoutborders.org/what-we-do/neWS-stories/researchlreport-forced-flee-eentral-americas-northern-triangle    OOO~B      416
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4370 Page 202 of
                                                       251
 911112orn      case 1: 1s-cvll9e('<fl'1!.i" Fl®el'!l!rn'l~!la:2N°~!!'Cfr©~lW/r)!>'~ i:l."7'91~t11!l.ffi
     While there are certainly people leaving the NTCA for better economic opportunities in the
     United States, the data presented in this report also paints a dire picture of a story of migration
     from the NTCA as one of people running for their lives. It is a picture of repeated violence,
     beginning in NTCA countries and .causing people to flee, and· extending through Mexico, with a
      breakdown in people's access to medical care and .ability to seek protection in Mexico and the
      United States.


     It is a humanitarian crisis that demands that the governments of Mexico and United States, with
     the support of countries in the region and international organizations, rapidly scale up the
     application of legal protection measures-asylum, humanitarian visas, and temporary protected
     status-for people fleeing violence in the NTCA region; immediately cease the systematic
     deportation of NTCA citizens; and expand access to medical, mental health, and sexual violence
     care services for migrants and refugees.




                                EDITOR'S NOTE

                                This report was updated on June 14, 2017, to include the
                                following corrections and 1clarifications: On pp. 5 and· 21, we
                                noted the number of people detained and deported based
                                on data from 2016, not 2015 as reported earlier. On p. 6, we
                                corrected the list of places where MSF has worked along the
                                migration route to properly identify the respective states.
                                 And on p. 27, we changed the final sentence to clarify that
                                the humanitarian crisis is a regional issue involving countries
                                of origin, transit, ci.n.d.i destination.


     [1] Source: UNHCR MEXICO FACTSHEET. February 2017. Last visited 18 April 2017. Data
     compiled by UNHCR based on SEGOB and [INM official sources.


     [2] The Geneva Declaration on Armed Violence and Development. Global Burden of Armed
     Violence 2015: Every Body Counts, October 2015, Chapter Two,
     http://www.genevadeclaration.org/fileadmin/docs/GBAV3/GBAV3_Ch2_pp49-86.pdf


     [3] Source: UNHCR MEXICO FACTSHEET. February 2017.


                                                                                                                                  Exhibit A
https://www.doctorswithoutborders.org/what-we-do/new.s-stories/research/report-forced-flee...central-americas-northern-triangle    ooo~rn     5/6
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4371 Page 203 of
                                                 251
01171201a     case 1:18-cvf@r=?l!.l'l F1®el'1Umm1!!.a:2Nof1l1<letrr0~2e;i('~et l!.<&@r~flt!l.ffi
     (4] Regional Response to the Northern Triangle of Central America Situation UNHCR Accessed
     on 01/02/2017 at http://reporting                       .unhcr.org/sites/default/files/UNHCR%20-
     %20NTCA%20Situation%20Supplementary%20Appeal%20-%20June%202016.pdf


     [SJ Source: MSF calculations based on information from United States Homeland Security.
     Yearbook of Immigration Statistics 2015.




            We rely on our network of supporters to tell the stories of the
                                                       people we help.
                                                   Help us spread the word.




                                                                                                                               Exhibit A
https:/lwww.doctorswithoutborders.orglwhat-we-do/news-stories/research/report-forced-flee-central-americas-northern-triangle    00011~     6/6
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4372 Page 204 of
                                     251
                                                             lf
                                                             '
                                         Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4373 Page 205 of
                                                          Case 1:18-cv-02231-PLF Document
                                                                                       2511-2 Filed 09126118 Page 182 of 215



  Intentional homicide victims killed by gangs or organised criminal groups as percentage of total homicide victims
                                            by country/territory (2005-2012)

'Ain<noas .·•,;: •;;,;,nt::;.e;nt:.:Hio':na/ homicide is defined as unlawful death inflicted   upon~a;i;p~er~so~n~wit~·h~th~eITTint~e~nt~to~c~au~se~d~e~ath!~o~r!~·lli~~~=r~:::i~~;i~~~~i,~j'ifi:~;t~~:~~~:!!
* no homicide was recorded in the respective year




                                                                                                                                                                                                                            )




                                                                                                                                                                                                                            )




Sep 20, 2018, 6:03 AM
                                                                                                                                                                                                                Exhibit A
                                                                                                                                                                                                                 ooom


                                                                                                                                           • 1m1,,,11Yiiilitilii.,l,,,",11.l1.iiUl .•• 1,:.••t11.11 ''''"
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4374 Page 206 of
                                      251
           case 1:18-cv-or -PLF Document 1-2 Filed 09/26/('Page 183 of 215




          Mental Health Resources




                                                                      Exhibit A
                                                                       000218
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4375 Page 207 of
                                       251
           Case 1:18-cv-02('.pLF Document 1-2 Filed 09/26/{'~age 184 of 215



                                  Mental Health Materials
                                   Cited in Request for Reconsideration

                                             Table of Contents

    Article                                                                              Page

    PTSD: National Center for PTSD                                                       3-5

    International Statistical Classification of Diseases                                 6-11

    BMC Psychiatry: Autobiographical Memory and Hierarchical Search Strategies in        12-20
    Depressed and Non-Depressed Participants

    Specialized Psychiatric Counseling: Signs and Symptoms of Separation Anxiety         21-26

    Mother Jones: Forcibility Separating Children from Their Mothers Doesn't Just Hurt   27-28
    the Kids

    Psychology Today: Thwart Stress Effects of Memory                                    29-30

    The New York Times: Honduran Man Kills Himself After Being Separated From            31-33
    Family at U.S. Border




                                                                                         Exhibit A
                                                                                          000219
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4376 Page 208 of
                                      251
           Case l:l8-cv-02('PLF Document 1-2 Filed 09/26/1:-'"age 185 of 215


 VA » Health Care » PTSD: National Center for PTSD » Professional » PTSD In Refugees


 PTSD: National Center for PTSD
 PTSD in Refugees
 Elisa E. Bolton, PhD

 In 2002, the U.S. Committee for Refugees estimated that there were 14.9 million refugees and 22 million internally
 displaced persons in the world. This escalating international crisis nas developed over the past 60 years as
 organized political violence has increasingly targeted civilian populations(1 ). These refugees are men, women, and
 children, from virtually every Income level and living arrangement. As refugees they have often left behind their
 livelihood, their communities, and most of all of their possessions. Although a large number of the individuals adjust
 well, many suffer significant psychological distress as a result of their exposure to traumatic events and the
 hardships associated with life as a refugee.


 Traumatic events encountered by refugees
  Prior to flight, individuals who become refugees may face a wide variety of traumatic events. They may witness
 fighting and destruction, observe violent acts perpetrated against loved ones, or be s.ubjected to or witness sexual
 violence. In a survey of individuals presenting to a Dutch clinic specializing in the treatment of traumatized
 refugees, Kleijn, Havens, and Rodenburg (2) found that the most commonly reported traumatic event was forced
 isolation (e.g., imprisonment, separation from others). Alth<iugh the types of events reported varied with the origin
 ofthe refugee group, 37% reported incidents of torture, 37% reported being close to death, and 35% stated that a
 friend or family member had been killed.

 Burnett and Peel (3) reported that the proportion of refugees who had been subjected to torture varied from 5% to
 30%, depending on the countries of origin and the definition of torture. In a study of Kosovar Albanian refugees,
 Cardozo, Vergara, Agan!, & Gotway (4) found that approximately 67% of these refugees reported being deprived of
 water and food, 67% reported being in a combat situation, and 62% reported being close to death. In addition, 40%
 of the study participants reported experiencing eight or more traumatic events. Cardozo and colleagues also
 observed that almost all of the people who had been Internally displaced had suffered continuous trauma;
 individuals who became refugees faced similar traumatic events but usually of shorter duration because they were
 able to escape.

 In addition to the often life-threatening stresses experienced immediately prior to flight, refugees frequently
 experience recurring losses, challenges, and changes during the exile/acculturation and resettlement/repatriation
 periods(1). Having left their homes, refugees are often forced to confront Isolation, hostility, violence, and racism in
 their new locations. Individuals who are resettled in refugee camps often face living situations that are, at times,
 over-crowded, rife with the threat of infectious diseases, and primitive in design. Additional chronic stressors that
 refugees must deal with include socioeconomic disadvantages, poor physical health, and the collapse of social
 support.


 JYleasurementissues
 Historically, there have been numerous problems with the overall assessment of refugees' psychological distress.
 For instance, the varied methodologies (random sample within a refugee camp or individuals presenting at a clinic)
 and the range of measures employed have made It difficult to draw conclusions across studies. Researchers' ability
 to draw conclusions from the literature Is also limited because many evaluation measures have not been
 adequately translated into the refugees' native languages and are not sensitive to the refugees' cultural norms.

 The information that has been collected is controversial. Some individuals seek to qualify and quantify the
 psychological distress reported by refugees according to standard diagnostic codes. Other individuals feel that this
 improperly pathologizes the experience of refugees. Thus, relief workers and doctors disagree at times as to who
 needs mental health services and what type of mental health care is needed.



                                                                                                             Exhibit A
                                                                                                              000220
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4377 Page 209 of
                                       251
           Case 1:18-cv-02(\.PLF Document 1-2 Filed 09/26/('=>age 186 of 215

   Fortunately, straightforward, reliable, and culturally validated screening instruments of trauma exposure and
  psychiatric distress have been created and validated in a variety of refugee communities. Examples of trauma
  screens include the Harvard Trauma Questionnaire, the. Resettlement Stressor Scale, and the War Trauma Scale.
  Examples of measures of psychological distress that have been adopted for use in the refugee population and that
  are well described In the literature are the Hopkins Symptom Checklist-25, the Beck Depression Inventory, the
  Impact of Event Scale, and the Posttraumatic Symptom Scale-30. In addition, some of these instruments, such as
  the Harvard Trauma Questionnaire, have been validated across a wide variety of cultures and in many different
  languages (5).


  Prevalence of PTSD
 Depending on the sample, the rates of PTSD vary widely within any given refugee population, with prevalence
 rates ranging from 4% to 86% for PTSD and 5% to 31% for depression (6). Few studies have assessed distress
 over time, but some have documented that distress is often chronic. For example, Mollica et al. (7) assessed
 psychological distress In a sample of Bosnian refugees to determine If the distress associated with being a refugee
 is chronic; They found in their follow-up study that 45% of the study participants who originally met criteria for
 depression, PTSD, or both continued to meet criteria 3 years later, and an additional 16% met criteria by the time of
 the follow-up study.

 Porter and Haslam (1). in their meta-analysis, demonstrated that across 14 different studies, the general stress of
 war had a significant impact on everyone. However, displaced persons were significantly more disturbed than
 nondlsplaced controls even when the controls had experienced considerable war stress. The authors noted that
 these results are in accordance with refugee research groups that indicate that living in institutional refugee camps
 is more disruptive than living temporarily with family, friends, or in private accommodations. Consistent with other
 research in the field oftraumatic stress, Cardozo,. Vergara, Agani, & Gotway (4) found that older adults, those With
 a prior history of psychiatric distress or chronic health problems, and those who were Internally displaced were
 more likely than others to endorse significant levels of psychiatric distress.


 Treatment
 There exists little published treatment-outcome research to Inform interventions for refugees. Yule (8) suggested
 that it would be appropriate to offer group treatment to refugees who have experienced broadly similar events. De
 Jong, Scholle, Keeter, and Hart (9) recommended that psychosocial interventions focus on strengthening the
 community and providing support to large groups through population-wide psychoeducation campaigns or the
 management of therapeutic activity centers.

 Alternatively, Mollica, Cul, Mcinnes, & Massagli (5) reported that treatment is enhanced by targeting psychosocial
 risk factors. For instance, in their assessment of a sample of Cambodian refugees, they found a significant
 relationship between work status and depression. This suggesied that providing employment in refugee camps
 would likely reduce rates of depression. Further, Mollica and colleagues (5) found that refugees involved in religious
 activities were one-third less likely to meet criteria for PTSD than respondents who participated in few or no
 religious activities. Additional protective factors include the presence of extended family, educational opportunities,
 the presence of human rights organizations, the availability of self-help groups, small camps, and the opportunity to
 engage in traditional cultural practices (1 ). Taken together, these results suggest that in addition to an emphasis on
 treating the most severely affected individuals, communities hosting refugees can enhance refugees' well-being by
 addressing psychosocial variables.


 Distinct challenges
 There are several challenges that often affect th11 assessment and treatment of refugees. Individuals may express
 psychological distress in different ways. And, the stressors that are considered traumatic may be different for
 different people. For example, being forbidden to live according to one's religion might be highly stressful for some
 peoples, but not for others (10).

 Some refugees are particularly suspicious of people In positions of authority as a result of the conditions under
 which they fled their home country. In addition, language barriers may exist. Further, even when language is not a
 barrier because an interpreter is available or because the provider and refugee speak a common language, the
 exchange is still likely to be influenced by complex religious and ethnic interconnections. As a result, as Weine (11)
 noted, "talking about trauma through interpreters does not necessarily make for culturally relevant care."


                                                                                                           Exhibit A
                                                                                                            000221
                          ---·-~--------
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4378 Page 210 of
                                     251
               Case 1:18-cv-02('.PLF Document 1-2 Filed 09/26/~?age 187 of 215


  Conclusions

 The number of people living as refugees has grown significantly over the past several decades. Concurrent with
 this development, recognition of the mental health problems associated with being a refugee has grown. Although
 some progress has been made in terms of the development of culturally sensitive assessment measures, our ability
 to assess the mental health needs of individuals living as refugees is still limited, as is our knowledge of effective
 psychological interventions for refugees.


 References
      1. Porter, M., & Haslam, N. (2001 ). Forced displacement in Yugoslavia: A meta-analysis of psychological
         consequences and their moderators, Journal of Traumatic Stress, 14(4), 817-834.

      2. Kleijn, W.C., Hovens, J.E., & Rodenburg, J.J. (2001). Posttraumatic stress symptoms in refugees:
         Assessments with the Harvard Trauma Questionnaire and the Hopkins Symptom Checklist-25 in different
         languages. Psychological Reports, 88, 527-532.

      3. Burnett, A., & Peel, M. (2001 ). Asylum seekers and refugees in Britain: The health of survivors of torture and
         organized violence. British Medical Journal, 322, 606-609.

      4. Cardozo, B.L., Vergara, A., Agani, F., & Gotway, C.A. (2000). Mental health, social functioning, and attitudes
         of Kosovar Albanians following the war In Kosovo. Journal of the American Medical Association, 284(5),
         569-577.

      5. Mollica, R.F., Cui, X., Mcinnes, K., & Massagli, M.P. (2002) Science-based policy for psychosocial
         interventions in refugee camps: A Cambodian example. Journal of Nervous and Mental Disease, 190(3),
         158-166.

      6. Hollifield, M., Warner, T.D., Lian, N., Krakow, B., Jenkins, J.H., Kesler, J., Stevenson, J., & Westermeyer, J.
         (2002). Measuring trauma and health status in refugees: A critical review. Journal of the American Medical
         Association, 288(5), 611-621.

      7. Mollica, R.F., Sarajlic, N., Chernoff, M., Lavelle, J, Vukovic, l.S., & Massagll, M.P. (2001). Longitudinal study
         of psychiatric symptoms, disability, mortality, and emigration among Bosnian refugees, Journal of the
         American Medical Association, 286(5), 546-554.

     8. Yule, W. (2000). From pogroms to "ethnic cleansing": Meeting the needs of war affected children. Journal of
        Child Psychology & Psychiatry & Allied Disciplines, 41(6), 695-702.

     9. De Jong, J.P., Scholle, W.F., Keeter, M.W.J., & Hart, A.A. (2000). The prevalence of mental health problems
        In Rwandan and Burundese refugee camps. Acta Psychiatrica Scandinavica, 102, 171-177.

    10. Terheggen, M.A., Stroebe, M.S. & Kleber, R.J. (2001 ). Western conceptualizations and eastern experience:
        A cross-cultural study of traumatic stress reactions among libetan refugees In India. Journal of Traumatic
        Stress, 14(2), 391-403.

    11. Weine, S. (2001 ). From war zone to contact zone: Culture and refugee mental health services. Journal of the
        American Medical Association, 285(9), 1214.



 Date this content was /ast updated is at the bottom of the page.


  The National Center-for PTSD does not provide direct cllnlcal care, lndlvldual referrals or benefits information.



                                                                                                                      Exhibit A
                                                                                                                       000222
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4379 Page 211 of
                                     251




   ChapterV
   Mental and behavioural disorders
   (FOO-F99)


  Mood [affective] disorders
  (F30-F39)
  This block contains disorders In which the fundamental disturbance is a change in affect or mood to depression (w
  or easily understood in the context of, the change in mood and activity. Most of these disorders tend to be recurre


            Manic epis11de
            All the subdivisions of this category should be used only for a single episode. Hypomanic or manic epis<

            Incl.:   bipolar disorder, single manic episode

  F30.0     Hypomanla
            A disorder characterized by a persistent mild elevation of mood, increased energy and activity, and usl
            are often present but not to the extent that they lead to severe disruption of work or result In social rej
            hallucinations or delusions.

  F30.1     Mania without psychotic symptoms
            Mood is elevated out of keeping with the patient's circumstances and may vary from carefree joviality t
            sustained, and there Is often marked dlstractibillty. Self-esteem Is often inflated with grandiose ideas a

  F30.2     Mania with psychotic symptoms
            In addition to the clinical picture described in F30.1, delusions (usually grandiose) or hallucinations (us
            inaccessible to ordinary communication.

            Mania with:
               • mood-congruent psychotic symptoms
               • mood-incongruent psychotic symptoms
            Manic stupor

  F30.8     Other manic episodes
  F30.9     Manic episode, unspecified
            Mania NOS


            Bipolar affective disorder
            A !'.lisorder characterized by two or more episodes in which the patient's mood and activity levels are sl1
            and decreased energy and activity (depression). Repeated episodes of hypomanla or mania only are cl<

            Incl.:   manic depression
                     manic-depressive:
                        • illness
                        • psychosis
                        • reaction

                                                                                                     Exhibit A
                                                                                                      000223
     Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4380 Page 212 of
                                            251
                Case 1:18-cv-oZ:'·PLF Document 1-2 Filed 09/26/('Page 189 of 215



il
r··-~~~~1~~®r$roOn:201;------------- . ,
      Search   c-··-----·----------------·-··1
                  .
~-~.]~···~-~: ~-·-·~"~~~-"=--=-~===-=-===--=~-,,~~-~-------···~- ------ ------
                                                                                  (Advanced Search l
                                                                                                             ICD-1111   l
     Ill 11''31       Bipolar affective disorder                                    ·
                      A disorder characterized by two or more episodes in which the patient's mood a
                      and decreased energy and activity (depression). Repeated episodes of hypoman                      lonly are cl<
      '
                      Incl.:   manic depression
                               manic-depressive:
                                  • Illness
                                  • psychosis
                                  • reaction

                      Exel.:   bipolar disorder, single manic episode (.ElQ..:)
                               cyclothymia (F34.0)

          F31.0       Bipolar affective disorder, current episode hypomanic
                      The patient is currently hypomanic, and has had at least one other affective episode (hypomanic, mani

          F31.1       Bipolar affective disorder, current episode manic without psychotic symptoms
                      The patient Is currently manic, without psychotic symptoms (as in F30.1), and has had at least one oth

          F31.2       Bipolar affective disorder, current episode manic with psychotic symptoms
                      The patient Is currently manic, with psychotic symptoms (as In F30.2), and has had at least one other'

          F31.3       Bipolar affective disorder, current episode mild or moderate depression
                      The patient is currently depressed, as in a depressive episode of either mild or moderate severity (F32.

          F31.4       Bipolar affective disorder, current episode severe depression without psychotic symptoms
                      The patient Is currently depressed, as in severe depressive epls.ode without psychotic symptoms (F32.:<

     I    F31.5       Bipolar affective disorder, current episode severe depression with psychotic symptoms
                      The patient is currently depressed, as In severe depressive episode with psychotic symptoms (F32.3), <

          F31.6       Bipolar affective disorder, current episode mixed
                      The patient has had at least one authenticated hypomanic, manic, depressive, or mixed affective episo•

                      Exel.:   single mixed affective episode (F38.0)

          F31.7       Bipolar affective disorder, currently in remission
                      The patient has had at least one authenticated hypomanic, manic, or mixed affective episode In the pa:
                      for several months. Periods of remission during prophylactic treatment should be coded here.

          F31.8   Other bipolar affective disorders
                  Bipolar II disorder
                  Recurrent manic episodes NOS

          F31.9   Bipolar affective disorder, unspecified
                  Manic depression NOS


                  Depressive episode
                      In typical mild, moc;lerate, or severe depressive episodes, the patient suffers from lowering of mood, re
                      disturbed and appetite diminished. Self-esteem and self-confidence are almost always reduced and, ev
                      so-called "somatic" symptoms, such as loss of interest and pleasurable feelings, waking in the morning
                      numhAr and SAVAritv nf thP. F:vmntnmF:. a danrAsi::lvA AnisodP. mav bA snP.r:iflAd as mild. mndAratP. or SA\
                                                                                                                 Exhibit ,I;
                                                                                                                 000224
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4381 Page 213 of
                                         251
~---· Case 1:~~-cv-o2('·PLF Document ~:~-~iled 09/26/('?age 190 of 215


I
~;,.-~=
                                                                          J (Advanced Search   J          ICl>-11!1
                                                                                                          ----------
                                                                                                                      l
          ll':ll::E   Depressive episode                                                                   Versicns -
                      In typical mild, moderate, or severe depressive episodes, the patient suffers fro     Lan!!lJ11101ges
                      disturbed and appetite diminished. Self-esteem and self-confidence are almost
                      so-called "somatic" symptoms, such as loss of interest and pleasurable feelings,
                                                                                                           info
                                                                                                                      ~~-~~~~i~~
                      number and severity of the . symptoms, a depressive episode may be specified a                  ~rate or se1
                      Incl.:   single episodes of:
                                   • depressive reaction
                                   • psychogenic depression
                                   • reactive depression
                      Exel.:   adjustment disorder (F43.2)
                               recurrent depressive disorder (ill,,:)
                               when associated with conduct disorders in F91.- (.El12..l!J
I         F32,0       Mild depressive episode
                      Two or three of the above symptoms are usually present. The patient is usually distressed by these bul

          F32.1       Moderate depressive episode
                      Four or more of the above symptoms are usually present and the patient is likely to have great difficult

          F32.2       Sev.ere depressive episode without psychotic symptoms
                      An episode of depression in which several .of the above symptoms are marked and distressing, typicall)

                      Agitated depression
                      Major depression    single episo<;le without psychotic symptoms
                      Vital depression

          F32.3       Severe depressive episode with psychotic symptoms
                      An episode of depression as described In F32.2, but with the presence of hallucinations, delusions, psyc
                      delusions may or may not be mood-congruent.

                      Single episodes of:
                          • major depression with psychotic symptoms
                          • psychogenic depressive psychosis
                          • psychotic depression
                          • reactive depressive psychosis

          F32.8       Other depressive episodes
                      Atypical depression
                      Single episodes of "masked" depression NOS

          F32.9       Depressive episode, unspecified
                      Depression NOS
                      Depressive disorder NOS


          W:SS        Recurrent depressive disorder
                      A disorder characterized by repeated episodes of depression as described for depressive episode (F32.-
                      (hypomanla) immediately after a depressive episode, sometimes precipitated by antidepressant treatm
                      depression and endogenous depression. The first episode may occur at any age from childhood to old c
                      of mania never disappears completely, however many depressive episodes have been experienced. Ifs

                      Incl.:   recurrent episodes of:
                                                                                                             Exhibit#.
                                                                                                               000225
 Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4382 Page 214 of

  -------·
                                         251
           Case 1:18-cv-02\~. ·PLF Document 1-2 Filed 09/26/J. ?age 191 of 215  "
                                                                                                                       l
             l-=--~-==--=-----===--=-=----=-=-=-=-]                                                              I
  Search
                                                              .
r-'~ r-r~~.v-·~:~~=~:~:::::~pG<r'"~"-~-~ ~-~~-----~·--~~~-~:::::~~-----
                                                                        [Advanced Search J           XCll>-lil



  1
      11':$:ID   Recurrent depressive disorder                                                        Info       ~
                 A disorder characterized by repeated episodes of depression as described for de ress1ve ep1bode (F32.-
                 (hypomania) immediately after a depressive episode, sometimes precipitated by antidepressant treatm
                 depression and endogenous depression. The first episode may occur at any age from childhood to old c
                 of mania never disappears completely, however many d.epresslve episodes have been experienced. Ifs

                 Incl.:   recurrent episodes of:
                              • depressive reaction
                              • .psychogenic depression
                              • reactive depression
                          seasonal depressive disorder
                 Exel.:   recurrent brief depressive episodes (F38.1)

      F33.0      Recurrent depressive disorder, current episode mild
                 A disorder characterized by repeated episodes of depression, the current episode being mild, as in F32.

      F33.1      Recurrent depressive disorder, current episode moderate
                 A disorder characterized by repeated episodes of depression, the current episode being of moderate se

      F33.2      Recurrent depressive disorder, current episode severe without psychotic symptoms
                 A disorder characterized by repeated episodes of depression, the current episode being severe without

                 Endogenous depression without psychotic symptoms
                 Major depression, recurrent without psychotic symptoms
                 Manic-depressive psychosis, depressed type without psychotic symptoms
                 Vital depression, recurrent without psychotic symptoms

      F33.3      Recurrent depressive disorder, current episode severe with psychotic symptoms
                 A disorder characterized by repeated episodes of depression, the current episode being severe with ps\

                 Endogenous depression with psychotic symptoms
                 Manic-depressive psychosis, depressed type with psychotic symptoms
                 Recurrent severe episodes of:
                    • major depression with psychotic symptoms

                     • psychogenic depressive psychosis
                     • psychotic depression
                     • reactive depressive psychosis

      F33.4      Recurrent depressive. disorder, currently in remission
                 The patient has had two or more depressive episodes as described In F33.0-F33.3, in the past, but has

      F33.8      Other recurrent depressive disorders
      F33.9      Recurrent depressive disorder, unspecified
                 Monopolar depression NOS


                 Persistent mood [affective] disorders
                 Persistent and usually fluctuating disorders of mood In which the majority of the individual episodes an
                                                            . .. . ....                                  Exhibit A .    -
                                                                                                         000226
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4383 Page 215 of
                                         251
               case 1:18-cv-or-PLF Document 1-2 Filed 09/26/r'?age 192 of 215

j-i~D~l0-Ver!llrnon:201;--

~s:'.:S- ==;;;;:;;5,-~-;~~~ ~=-==r===~l.,~~dv:n~~~:~---l-~~~::-:-l-:-
1      Il'::!'i>   Persistent mood [affective] disorders                                                   Langinmlges
                    Persistent and usually fluctuating disorders of mood in which the majority of th       I11f«»          plsodes an
1
•                   life, they Involve considerable distress and disability. In some instances, recurre                    manic or d1
I     F34.0        Cyclothymla                                                                               .    ·J   •




I                  A persistent instability of mood Involving numerous periods of depression and mild elation, none of whl
I                  patients with bipolar affective disorder. Some patients with cyclothymia eventually develop bipolar affe

I
I
                   Affective personality disorder
                   Cycloid personality
                   Cyclothymic personality

      F34.1        Dysthymia
                   A chronic depression of mood, la sting at least several years, which is not sufficiently severe, or In whlcl

                   Depressive:
                       • neurosis
                       • personality disorder
                   Neurotic depression
                   Persistent anxiety depression
                   Exel.:   anxiety depression (mild or not persistent) (~)

      F34.8        Other persistent mood [affective] disorders
      F34.9        Persistent mood [affective] disorder, unspecified


                   Other mood [affective] disorders
                   Any other mood disorders that do not justify classification to F30-F34, because they are not of sufficien

      F38.0        Other single moQd [affective] disorders
                   Mixed affective episode

      F38.1        Other recurrent mood [affective] disorders
                   Recurrent brief depressive episodes

      F38.8        Other specified mood [affective] disorders


                   Unspecified mood [affective] disorder
                   Incl.: Affective psychosis NOS




                                                                                                            ExhlbiM
                                                                                                                 000227
    Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4384 Page 216 of
                              ~·.            251                 /'
               Case 1:18-cv-02\   ·PLF Document 1-2 Filed 09/26/ ~  =>age 193 of 215

I l!CD<lO Ver~~orn~2dll6                                                                             ·---1
I- s..~~-;;.~~_rc:~--
1             This category differs from others in that it includes disorders Identifiable on the Langlliill!lleS
1             leading to continued unpleasant circumstances that result in an adjustment dlso             ~·· ·--- --·
              importance Is not always clear and in each case will be found to depend on Ind!        f       ldiosyncrat
                                                                                                  1
                                                                                                        °
I
,
              arise always as a direct consequence of acute severe stress or continued traum       n         ful events 1
              thus be regarded as maladaptive responses to severe or continued stress, in that they inte re with s1.

I     F43.0   Acute stress reaction
              A transient disorder that develops In an Individual without any other apparent mental disorder In respo
              acute stress reactions. The symptoms show a typically mixed and changing picture and include an initi<
              further withdrawal from the surrounding situation (to the extent of a dissociative stupor - F44.2), or by
              minutes of the impact of the stressful stimulus or event, and disappear within two to three days (often

              Acute:
                   • crisis reaction
                   • reaction to stress
              Combat fatigue
              Crisis state
              Psychic shock

      F43.1   Post-traumatic stress disorder
              Arises as a delayed or protracted response to a stressful event or situation (of either brief or long dural
              asthenic) or previous history of neurotic illness, may lower the threshold for the development of the sy
              memories ("flashbacks"), dreams or nightmares, occurring against the persisting background of a sens
              trauma. There Is usually a state of autonomic hyperarousal with hypervigllance, an enhanced startle re
              latency period that may range from a few weeks to months. The course Is fluctuating but recovery can
              (F62.0).

              Traumatic neurosis

      F43.2   Adjustment disorders
              States of subjective distress and emotional disturbance, usually interfering with social functioning and 1
              (bereavement, separation experiences) or the wider system of social supports and values (migration, r
              predisposition or vulnerability plays an Important role in the risk of occurrence and the shaping of the r
              anxiety or worry (or mixture of these), a feeling of lnab.ility to cope, plan ahead, or continue in the prei
              feature may be a brief or prolonged depressive reaction, or a disturbance of other emotions and conduo

              Culture shock
              Grief reaction
              Hospitalism in children
              Exel.:   separation anxiety disorder of childhood (BQ..Q)

      F43.8   Other reactions to severe stress
      F43.9   Reaction to severe stress, unspecified


              Dissociative [conversion] disorders
              The common themes that are shared by dissociative or conversion disorders are a partial or complete I·
              remit after a few weeks or months, particularly if their onset is associated with a traumatic life event. ~
              been classified as various types of "conversion hysteria". They are presumed to be psychogenic in origi
              physical illness would be manifest. Medical examination and Investigation do not reveal the presence o1
              relationship to psychological stress, and often appear suddenly. Only disorders of physical functions no
              classified under somatization disorder (F45.0). The possibility of the later appearance of serious physic;
                                                                                                       ExhibiM
                                                                                                        000228
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4385 Page 217 of
                                      251
           Case 1:18-cv-Of'·PLF Document 1-2 Filed 09/26!\ 0 age 194 of 215

     Haque et al. BMC Psychiatry 2014, 14:310
     http://www.blomedcentraJ.com/1471 ~244X/14/31 O
                                                                                                                                                             ~
                                                                                                                                                             Psychiatry




     Autobiographical memory and hierarchical search
     strategies in depressed and non-depressed
     participants
     Shamsul Haque'", Eka Juliana 2t, Rahmattullah Khan 3t and Penelope Hasking 4t


       Abstract
      Background: There is a growing body of literature showing individuals with depression and .other trauma-related
      disorders (e.g., posttraumatic stress disorder) recall more overgeneral and less specific autobiographical memories
      compared to normal participants. Although the mechanisms underlying overgeneral memory are quite clear, the
      search strategy operated within the autobiographical knowledge base, at time of recollection, requires further
      exploration. The current study aimed to examine the hierarchical search sequence used to recall autobiographical
      memories in depressed and non-depressed participants, with a view to determining whether depressed participants
      exhibited truncated search strategies.
      Methods: Thirteen depressed and an equal number of non-depressed participants retrieved 15 memories each, in
      response to 15 commonly used cue words. Participants reported the first memory that entered in their mind. All
      memory descriptions were recorded and later transcribed verbatim for content analysis.
      Results: Depressed parti.clpants retrieved autobiographical memories faster, produced shorter memory descriptions
      and were less likely to recall positive memories than non-depressed participants. Non-depressed participants were
      more likely to commence retrieval by accessing lifetime period knowledge followed by general event and event
      specific knowledge, whereas depressed participants showed a tendency to terminate retrieval at the general event
      level.
      Conclusions: It is concluded that depressed participants do adhere to the same hierarchical search strategy as
      non-depressed participants when retrieving specific autobiographical memories, but that they terminate their
      search early, resulting in overgeneral memories.
      Keywords: Autobiographical memory, Self-memory system, Depression, Hierarchical search, Autobiographical
      knowledge-base


    Background                                                                           over-represented in suicide attempters relative to con-
    Since first reported by Williams and Broadbent [1],                                  trol participants [8,1], even when controlling for de-
    research interest has focused on examining memo_ry                                   pression [9]. This pattern of recollection is consistent
    retrieval in people with depression, who have consistently                           across studies irrespective of the methods used to initi-
    demonstrated a tendency to recall more general, and                                  ate the retrieval process (i.e. free recall or cued recall),
    less specific autobiographical memories [2-5]. Specifically,                         and has been observed in adults, college students [10]
    overgeneral recall has been related to failure to recover                            and children [11]. Research indicates that overgeneral
    from depression [6], severity of depression [7], and is                              memory (OGM) is a vulnerability factor for depression
                                                                                         and posttraumatic stress disorder (PTSD), It predicts
    * Correspondence: shamsul@monash.edu                                                 the onset and/or recurrence of depression and PTSD
    1Equal contributors
    1
                                                                                         [12,13] and a worse course of depression ([14,15] for a
     Jeffrey Cheah School of Medicine and Health Sciences, Monash University
    Malaysla, Jalan Lagoon Selatan, Bandar Sunway, 47500 Subang Jaya,                    meta-analytic review). In early studies, it was also re-
    Selangor, Malaysla                                                                   vealed deficiencies in social problem solving [16] and
    Full lfst of author Information Is available at the end of the article


    Q lll!k91Mad Central                   e 2014 Haque et al; licensee BloMed Central Ltd. This Is an Open Access_ art!cle distributed under the terms of the Creative
                                           Commons Attribution License (http://creatJvecommons.org/llcenses/by/2.0}, which permits unrestricted use, dlstribut!on, and
                                           reprodualon In any med!ufll, provided the origlnal work Is properly credited. The Creative Commons Publk: Ooma!n
                                           Dedication waiver (http://creatlvecommons,org/publlcdomaln/zero/l.O/) applies to the data made avatlable In this article,
                                           unless otheiwlse stated.



                                                                                                                                                                     Exhibi~A
                                                                                                                                                                          000229
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4386 Page 218 of
                                     251
             Case 1:18-cv-o:('.pLF Document 1-2 Filed 09/26/J~:>age 195 of 215

     Haque et al. PMC Psychiatry 2014, 14:310                                                                               Page 2-pf 9
     httpi/www.blomedcentral.com/1471-244X/14/31 O




      feelings of increased hopelessness [17] are associated          functional avoidance (FA) hypothesis and impaired ex-
      withOGM.                                                        ecutive control (X) hypothesis [23]. More recent find-
        In considering an explanation for these findings, the           ings supporting this model have been thoroughly
      majority of researchers rely on the view of memory re-            discussed by Sumner [24]. According to the Impaired
     trieval proposed by Conway .and Pleydell-Pearce [18].              executive control hypothesis, retrieval processes re-
     Conway and Pleydell-Pearce's model, which they called              quire oversight by the central ex;ecutive, and working
     Self-Memory System (SMS), expanded on earlier pro-                 memory capacity to initiate and maintain the search
     posals that the retrieval of autobiographical memory is a          within the autobiographical knowledge structure [18].
     relatively lengthy process (usually 5s-10s) which repeats          Interfering with these processes, by distracting atten-
     through cycles of knowleclge elaboration, access, and              tion or overloading working memory, leads to early
     evaluation [19,20]. The SMS is a superordinate memory              termination of searc:h strategies and non-specific, over-
     system in which three sub-ordinate systems (working                general autobiographical memories [2].
     self, retrieval models, and knowledge base) are coordi-              The functional avoidance hypothesis suggests that people
     nated in a task to construct a memory. When an individ-            retrieve overgeneral memories as a method of avoiding
     ual is requested to retrieve an autobiographical memory           negative affect [25]. Specifically, retrieval of detailed, espe-
     in response to a cue word, a re'trleval model is first cre-       cially negative, memories is thought to cause distress, and
     ated against which knowledge is accessed, evaluated               thus. retrieval of overgeneral memories is negatively rein-
     and elaborated for further search. The working self that          forced. Supporting this, retrieval of negative events has
     contains currently active goals and plans of the self             been found to produce less distress in those who tend to
     operates to create this retrieval model. The SMS is also          recall overgeneral memories, and. less specific memory re-
     conceptualized as an emergent memory system as it oc-             trieval is associated with a repressive coping style [26].
     curs only when the working self interacts with the hier-             Finally, capture and rumination, the tendency to dwell
     archically organized knowledge base while in retrieval            upon events and thoughts, is considered to be one reason
    mode [21,22].                                                      for overgeneral memory retrieval [27}, and may operate in
       The current study is .concerned with the hierarchical           two ways. First, in line with the central executive hypoth-
    search within the autobiographical knowledge base that             esis, rumination may monopolise working memory cap-
    contains lifetime period knowledge, general event know-            acity, limiting the availability of resources required to
    ledge, and event specific knowledge [18]. Lifetime pe-             extract specific memories [23}. Secondly, p~ople tend to
    riods that form the highest level of hierarchy are the             ruminate .about things that concern them. When asked
    most general, most abstract, or most inclusive types of           to retrieve me_mories in response to clie words, these
    knowledge and denote time periods typically measured               cue words rhap onto the current concerns of individuals
    in units of years (e.g. Living with X~ It happened during         rather than prompting a search for a new memory [28].
    our liberation struggle In 1971). General events that form        This mapping of cues and concerns results in retrieval
    the middle level represent more specific types of event           of abstract, self-related knowledge rather than specific
    knowledge typically measured in units of months, weeks,           memories [29]. Consequently, rwnination results in more
    and days. General events are normally composed of                 recall of negative self-referent memories [30], while rumin-
    event memories which are either repeated or temporarily           ation about negative events has been shown to lead to more
    extended and thus lack temporal specificity (e.g. first day       overgeneral memories than positive rumination [31].
    at work; working in the office, suffering.from tonsillitis). in       Rather than working as separate processes, these three
    contrast, specific events, or ~vent specific knowledge,           processes may work together to produce overgeneral auto-
    which constitute the bottom level refer to memories of            biographical memory among people with depression. As
    events that occur at one specific point in time and are           limited attention and rwnination are often present in de-
    typically measured in units of seconds, minutes or hours          pression it is probable that in a depressed individual, ru-
    (e.g. ... one of them came very close to me, slapped my           mination facilitates mapping of cue words onto concerns
    face and asked my name).                                          of the individual and monopolises working memory cap-
       It has been proposed that in individuals with depression,      acity. Thus the cue word is mapped to the concern rather
    the failure to recall specific autobiographical memories is       than activating a new search for a specific memory, and
    the result of a truncated search strategy - that is a failure     working memory capacity is compromised,_ limiting the re-
    of hierarchical search strategies whereby individuals re-         sources available to conduct a search for a specific event.
    trieve information early in the hierarchy but fail to retrieve    Coupled with a desire to avoid negative affect and limit in-
    specific examples or events. Three hypotheses have been           trusive memories, the search for specific memories tends
    proposed that are summarized in the CaR-FA-X model to             to be terminated at an early stage in the search hierarchy.
    explain how this search may be truncated in depressed                 Overgeneral recall has several consequences for de-
    individuals: capture and rumination (CaR) hypothesis,             pressed individuals. Most notably, overgeneral memories




                                                                                                                             Exhibit1A
                                                                                                                              000230
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4387 Page 219 of
                                     251
           case 1:18-cv-or-PLF Document 1-2 Filed 09/26/('"age 196 of 215

     Haque et al. SMC PsyChlatry 2014, 14:310                                                                           Page 3 of9
     http://www.blomedcentral.com/1471-244X/14/31 0




     have been related to impaired problem solving ability            participants, t(24) = 0.66, p = 0.52. The mean chrono-
      and ability to generate solutions to potential futlire events   logical ages were also comparable between depressed
      [8,23], a concern given the emphasis of coping skills and       (36.00 years, SD = 11.97) and non-depressed (36.53 years,
     problem solving in many psychological treatments for de-         SD = 12.32) groups, t(24) = 0.113, p = 0.91. Three exclu-
     pression. However, although ample studies have inves-            sion criteria were used for both groups; (i) age below 18,
     tigated the specificity of autobiographical memory in            (ii) inability to speak Bahasa Malaysia (Malay Language),
     depressed patients, and have examined the roles of rumin-        and (iii) present intoxication with drugs or other addictive
     ation, affect regulation and attention in the relationship       substances.
     between overgeneral memory and depression, few studies
     have examined the sequencing of memory retrieval exhib-           Materials
     ited by depressed individuals, to determine whether they         Autobiographical memory test by cue words
     retrieve information in the hierarchical fashion proposed        We utilised the cued-recall paradigm first used by Galton
     by Conway and Pleydell-Pearce [18]. Specifically, while           [34J and later adopted by Wiliiams and Broadbent [1]
     non-clinical participants have been shown to access life         in which memory retrieval was cued by words com-
     time period knowledge, followed by general event know-           m.only used in everyday life. Fifteen words from five cat-
    ledge and event specific knowledge when retrieving an             egories (common locations, general obj.ects, positive
     autobiographical memory [32], it is unclear whether de-          emotions, negative emotions, and significant others)
     pressed individuals also access memories in this manner,         were chosen from lists of words used in previous auto-
     or whether the search sequence differs. Understanding            biographical memory studies [35]. The words were: res-
    how depressed individuals access the knowledge hier-              taurant, beach, cinema (common locations); car, chair,
    archy may aid in developing more effective methods of             telephone (general objects); happy,_ success, satisfaction
    enhan_cing recall of specific m.emories, and of facilitating      (positive emotions); sad, guilty, regretful (negative emo-
    effective problem solving in this populati.on.                    tions); and father, mother, friends (significant others).
       The present study aimed to compare depressed and               The words were administered in Bahasa Malaysia (Ma-
    non-depressed participants in relation to retrieval of            laysian language), and presented in a random order to
    autobiographical memories. Specifically we expected               participants.
    that 1) depressed participants would retrieve more gen-
    eral and Jess specific autob!ographical memories than             Beck depression Inventory (BDIJ
    non-depressed participants; 2) depressed participants             The BDI [36] consists of 21 forced choice items. Partici-
    would report more negative than positive memories                 pants were asked to mark the items that best described
    relative to the non-depressed group; 3) depressed par-            how they felt the previous week. This test was given to
    ticipants would terminate their retrieval search earlier          the non..depressed participants to ensure that they were
    in the search hierarchy than non-depressed participants.          not showing any depressive symptoms. The participants
                                                                      scoring above 20 (indicating moderate depression) were
    Methods                                                           excluded from participating in the non-depressed sample.
    Participants
    Thirteen depressed patients (7 females, 6 males) and 13           Procedure
    non-depressed individuals (9 females, 4 males) partici-           Use of data previously collected for a postgraduate degree,
    pated in the study. The depressed group consisted of 8            for the purposes of the current project, was approved by
    out-patients and 5 In-patients at a large metropolitan            the Monash University Human Research Ethics Committee
    hospital in Kuala Lumpur. Twenty five patients were ini-          (CF13/2878 - 2013001547). The process of data collection
    tially invited to participate but 12 declined. All patients       started with the participants reading an explanatory state-
    were diagnosed by a hospital psychiatrist as meeting the          ment. Participants were also verbally informed of the pur-
    DSM-N criteria for major depressive disorder [33]. The            pose of the study with an assurance that their participation
    non-depressed participants were recruited through ad-             would be voluntary and confidential, and the data they
    vertisements posted at a large university campus in               produce would be used for academic purposes only. Par-
    Selangor, Malaysia, which invited interested individuals to       ticipants were cautioned that they may feel distressed
    contact the researchers if they wished to participate in a        while recalling some of their personal memories, but
    study regarding how people recall memories for personal           could withdraw from the study at any time. Interested
    events. The recruitment of non:-depressed participants was        participants signed a written consent form, prior to data
    made in such a manner that they were equivalent to the            collection.
    patients in terms of age and education. The average length          All participants were tested individually by the second
    of schooling was similar in depressed (M = 13.46 years,           author. The patients were tested at the hospital, while
    SD= 1.45) and ·non-depressed (13.85 years, SD= 1.52)              the non-depressed group were tested at the university




                                                                                                                         ExhibiM
                                                                                                                          000231
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4388 Page 220 of
                                       251
           Case l:lB-cv-02('.pLF Document 1-2 Filed 09/26/l:-'"age 197 of 215

     Haque et al. BMC Psyrhlatry 2014, 14:310                                                                       Page 4 of 9
     http://www.blomedcentral.com/1471-244X/14/31 O




     campus. After providing written consent, participants        now became the administrative head of our district). The
    completed the Autobiographical Memory Test. Each              other category refers to the elements In which no informa-
    participant-was presented with one cue word at a time         tion associated with thought, lifetime period knowledge,
    and asked to bring to mind a specific memory the word         general event, and event specific knowledge is reported.
    reminded them of. The participants were informed that         The coding for these six types of knowledge was com-
    a specific memory refers to a personally experienced          pleted by the second author and an external rater. A high
    event that happened at a particular time (within one          level of consistency was observed (90% agreement), with
    day) and place, and were told the event could be im-          disagreements re.solved through discussion.
    portant or trivial. They were also informed that mem-           The memory descriptions were also e:?(:amined for
    ories could be retrieved from any point of their life,        knowledge sequence as we wanted to see if the two
    excluding the last month. Particular examples were            groups varied in terms of overall construction of their
    given to clarify what the term "specific" means; retriev~     autobiographical memories. For this purpose, memor-
    ing information such as '11 jog every morning in the          ies were selected on the basis that they were described
    park" in response to the cue word "parlt' would not be        with some elaboration and contained any combination
    appropriate as it does not contain any specific time.         of LTP, GE and ESK. Memories in which the partici-
    However, a response such as 11 Two days after we moved        pants only reported TH, MIX and/or ORT knowledge
    to our new house, I, along with my wife; went to the          were excluded. Each memory was coded according to the
    nearest park for a morning walk and surprisingly saw          knowledge sequence (e.g., LTP >GE> ESK; LTP > ESK;
    there one of my childhood friends approaching me and          LTP > GE; GE > ESK; and GE > LTP). To examine the
    smiling' would be suitable. In order to ensure partici-       consistency of coding, the second author and an external
    pants were able to understand their tasks correctly,          rater coded 30% of the memory protocols (95% agreement).
    they completed two practice trials in which two neutral       Once the coding was completed, statistical analyses such as
    items ("bread" and "grass") were used. If necessary,          Independent sample t-tests were performed. Although our
    additional practice trials were arranged until the partici-   sample size is relatively small for parametric tests, inde-
    pants were successful in retrieving a specific memory.        pendent sample t tests p~oduce error rates close to 5% and
      In each trial, a cue word printed in capital letters on a   are adequately powered when effect sizes are large [38]. As
    white card was presented. When the participants had a         our analyses produced large effect sizes, we feel the use of
    memory In mind they were asked to verbally describe           independent samples t tests in .this study is justified.
    the memory; descriptions were tape-recorded. Partici-
    pants were given one minute to retrieve a specific mem-       Results
    ory after each cue was presented. If participants did not     A total of 315 memory descriptions were gathered. In 75
    recall a memory in the given time, the next cue was pre-      trials, most of which were cued by negative emQtional
    sented. A stopwatch was used to measure the retrieval         words such as sad, guilt and regreifUt participants failed
    time. Once a memory was retrieved there was no time           to retrieve a memory. The success of recall was compar-
    limit on describing the memory. Total testing time for .a     able; depressed participants retrieved 156 memories,
    participant (both depressed and non-depressed) aver-          whereas non~depi"e~sed retrieved 159 memories.
    aged between one and one-and-a-half hours.
                                                                  Retrieval time
    Statistical analysis                                          Retrieval time for all memories produced by each partici-
    The transcribed memory descriptions were examined for         pant (up to 15 memories) was averaged. Since the retrieval
    elements such as, lifetime period knowledge (LTP), general    times for both groups were approximately normally
    event knowledge (GE), event specific knowledge (ESK),         distributed with no outliers, the data were qualified for
    thought (TH), mixed information (MIX), and other know-        independent-sample t-test. The results revealed that
    ledge (OTR) ([37] (or similar categorization). The main       depressed participants (M = 10.37 seconds, SD= 1.61)
    knowledge types (lifetime period, general event1 event spe~   were faster in recollection than non-depressed participants
    cific) were operationalised according to the definitions      (M = 13.55 seconds, SD= 2.67), t(24) = 3.67, p < 0.01,
    provided above. The thoughts category refers to the ele-      Cohen's d = 1.50.
    ments in which beliefs or conjectures were recalled1 rather
    than specific or general information (e.g. I feel I was the   Specificity of recollection
    most stupid student in Cairo um. ..I mean in my class).       Memory descriptions were examined for six types of
    The mixed information category refers to the element in       knowledge as mentioned earlier and counted for quanti-
    which various types of thoughts and information are           tative analysis. Consider the following two memories,
    recalled (e.g. My father was pleased by such a gift because   the first retrieved by a depressed participant and the sec-
    the person who presented it was actually his disciple and     ond by a non-depressed participant in which different




                                                                                                                     Exhibit1A
                                                                                                                      000232
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4389 Page 221 of
                                      251
          Case 1:18-cv-02l.PLF Document 1-2 Filed 09/26/{'"age 198 of 215

     Haque et al. BMC Psychiatry 2014, 14:310                                                                                               Pages of9
     http://www.blomedcentral.com/1471-244X/14/31 O




     types of knowledge/memory elements have been marked                               .and two DTR knowledge elements were reported. Ele-
     (within parentheses).                                                             ments were extracted in all 315 memories, then average
                                                                                       scores were calculated for LTP, GE, ESK, TH, MlX and
        Watching a movie in Malaysian cinema is cheaper                                OTR for each participant The means, smndard deviation
        than other countries (DTH). However, I rarely go to the                        scores and ranges for these memory elements are shown
        cinema (GE). I only go four or five times a year (GE)                          in Table 1. The distributions for memory elements for
        (retrieved by a depressed participant in response to                           both samples approached normal distribution and there
        the cue, CINEMA)                                                               were no outliers, thus qualifying them for independent
                                                                                       sample !-tests. The findings revealed significant differ-
        It happened during my first year in Cairo... it was in                         ences between depressed and non·depressed for lifetime
        2001 (LTP). I had just.finished my first year final                            period, t(24) = 3.77, p < 0.01, d = 1.54, general event, t(24) =
        exam (GE). I was not brave enough to see my exam                               2.11, p < 0.05, d = 0.86, event specific knowledge, t(24) =
        results because I felt it was bad (MIX). I thought I was                       6.44, p < O.ol, d = 2.63 and thought, t(24) = 3.66, p < O.Dl,
        the most stupid student in Cairo (TH), I mean ... in my                        d = 1.49. Depressed participants reported less lifetime
        class (TH). But suddenly, my friend called me. Her                             period knowledge, general event knowledge and event
        name ls X Her house ls near em ... What's the name...                          specific knowledge than the non-depressed participants.
        em...Near Yfactory... (ESK). I've forgotten the name of                        However, depressed participants were more likely to re·
        that district (DTH). She is one of my bestfriends (DTH).                       port thought components than the non-depressed partici-
        She said 'Jou should see your exam results", I replied "I                      pants. Cohen's d values indicate large effects for all four
       do not want to see It" (ESK). I thought that I've definitely                   memory elements.
       failed (TH). She said "No! You should see your results...                        To see whether the depressed and non-depressed partic-
       you should come to the campus" (ESK). She told me that                         ipants varied In terms of the overall length of the memory
       I passed with a very good grade, number llfrom the top                          descriptions, average scores for LTP, GE, ESK.. TH, MIX
       (ESK) (retrieved by a non-depressed participant in re-                         and OTR for each participant calculated for earlier ana-
       sponse to the cue, TELEPHONE)                                                  lyses were added. Independent sample t-test showed a
                                                                                      significant difference, t(24) = 6.33, p < 0.01, d = 2.58 with
     As can be seen in the first memory, two GE and one                               dep<essed participants (M = 3.06, SD = 0.55) being less
    DTR knowledge element were retrieved. In the sec<>nd                              elaborative in their memory descriptions than the non-
    memory, one LTP, one GE1 four ESK, three TH. one MIX,                             depressed participants (M = 4.33, SD= 0.47).

    Table 1 Mean {and standard deviation) ·scores for depressed and non-depressed participants on memory elements,
    emotional valence, and retrieval sequence
                                        Memory count                     Depressed                                     Non-depressed
    Memory elements                                                      Mean±SD                       Range           Mean±SD                Range
      ESK                                                                0.40±0.27                     0.10-1.08        1.40 ±0.49            0.42-2.62
      GE                                                                 0.96±0.41                     0.23-1.82        1.25±0.29             0.83-1.69
      LTP                                      315                       0.34±0.14                     0.00-0.55       0.53±0.11              0.39-0.75
      1H                                                                 0.56±0.21                     0.27-1.00       0.27±020               0.08-0.73
      MIX                                                                0.37±0.17                     0.08-0.62       0.45±0.23              0.17-0.91
      OTR                                                                Q.41 ±0.17                    0.15-0.77       0.41 ±0.16             0.15-0.75
    Emotional valence
      Positive                                                           0.14±0.06                     0.00-0.23       033±0.07               0.18-0.46
      Negative                                315                        0.52±0.12                     0.33-0.73       0.42±0.11              0.18-0.58
      Neutral                                                            0.35±0.12                     0.09-0.50       0.25±0.09              0.08-0.39
    Retrieval sequence
      LTP-GE-ioESK                                                       0.10±0.11                     0.00-0.33       0.36±0.18              0.09-0.73
      LTP-ESK                                                            0.06±0.11                     0.00-0.33       0.09±025               0.00-0.90

      LTP-GE                                  206                        0.39±0.16                     0.00-0.60       0.16±0.12              0.00-030
      GE-ESK                                                             0.32±026                      0.00-1.00       0.34±0.14              0.13-058
      GE-LTP                                                             0.13±0.12                     0.00-0.33       0.17±023               0,00-0.80
    LTP ... _IJfe time period knowledge; GE= general event knowledge; ESK= event specific knowledge.




                                                                                                                                             Exhibit1.&
                                                                                                                                              000233
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4390 Page 222 of
                          (""',            251                 /'-
           Case 1:18-cv-02,     .PLF Document 1-2 Filed 09/26/1,   "age 199 of 215

     Haque et al. BMC Psychiatry 2014, 14:310                                                                                  Page 6 of 9
     http://www.blomedcentral.com/1471~244X/14/310




       The memory content was also examined to see whether                These are the memories which contained various combi-
     the depressed patients had a tendency to recall memories             nations of LTP, GE and ESK. Five knowledge sequences
     containing elements that were predominantly of positive or           were identified (see below for examples).
     negative nature. In this case, the memory as a whole rather
     than its specific elements was considered. All memories                1. LTP > GE > ESK sequence: When my mother was still
     were classified as either: positive (e.g., success, satisfaction),         alive, I felt like killing her to relieve her pain as she
     negative (e.g. personal failure, accidents), or a neutral mem-             was suffering.from cancer (LTP). Um .... before she
     ory (i.e. no positive or negative connotations). The second               passed away I made a mistake (GE). On one of the
     author and an external rater categorised those memories                   Mother~ D(ly.. .I really felt guilty when I saw that
     (96% agreement), Consider the following three memory                       my mother was taking medicine on her own (ESK).
     protocols that were coded as positive, negative or neutral.                (Cue: GUILTY).
                                                                            2. LTP >GE sequence: I visited Washington DC in
       Positive: In 2003, I was very happy on the day when I                    the USA for the first time in 1984 with my
       was discharged from the hospital I felt satiefied                        colleagues (LTP), The restaurant in which we ate
       because I didn't like to stay ther~ I liked the doctors                  our dinner on arrival was a Chinese restaurant
       who discharged me from the ward. They gave me a lot                      (GE). (Cue: RESTAURANT).
       of advice. (Cue: HAPPY)                                              3. LTP > ESK sequence: I've never had a birthday party
                                                                                In all my life because I was born in January.....in
       Negative: It was when I went to the cinema with my                      which month the school has always been open (LTP).
       husband during Depavalli celebration. Before we went                    In one occasion, I wanted to buy a dress and
       to the movie, I saw my husband and my nephew                            celebrate my birthday, but my mother refased to
       sitting in.front of our neighbour~house which I didn't                  organize .that and said "one day someone will
       like at all. I was so angry that I couldn't watch the                   celebrate for you• (ESK). (Cue: HAPPY).
       movie, rather I started sleeping. My nephew woke me                  4, GE > ESK sequence: After graduation, i was
       up and said "aun~ please wake up and watch the                          travelling with my friends (GE). One day we saw a
       movie". I replied negatively. Th.en my husband c,ime to                 child standing at the corner of a road - very sad and
       me who I asked with despair why he sat in front of                      confased (ESK). We stopped and asked what
       that house. Why... ? We then came out of the cinema                     happened, she replied that her mother was sick and
       and went to a .restaurant. They asked me to eat                         they did not have money to visit a doctor (ESK). We
       something but I also refased, (Cue: CINEMA)                             quickly decided to visit her house; we saw her mother
                                                                               laying on the bed (ESK). We sent her to a doctor
       Neutral: When I was about em ... 10 years old, I went                   using our own money (ESK). (Cue: SATISFACTION)
       to a cinema in Penang. I don't remember the name of                  5. GE> LTP sequence: When I don't feel comfortable
       the cinema. The film was acted by P. Ramli and the                      and cannot sleep I always l'ay down on a sofa
       title was Anakku Sazall (Cue: CINEMA)                                   (GE). I've been doing this since I was a child
                                                                               (LTP}. (Cue: CHAIR)
       The proportion of positive, negative and neutral memor-
    ies was calculated for each participant The data fulfilled              Memories were counted for all five knowledge se-
    the requirements of I-tests as they approached normal dis-            quences for each participant and converted to proportion
    tribution with no outliers. The results showed depressed              values. The means, SD& and ranges of those proportion
    and non-depressed participants to vary in all three types             values are presented in Table 1. P-P plots were drawn to
    of memories; positive, t(24) = 7.85, p < O.ol, d = 3.21, nega-        check if the distributions were skewed for all five know-
    tive, t(24) = 2.21, p < 0.05, d = 0.90, and neutral, t(24) = 2.44,    ledge sequences for both samples. The plots showed the
    p < 0.05, d = 0,97. Depressed participants recalled fewer             distributions to be approximately normally distributed,
    positive memories, but more negative and neutral mem-                 fulfilling the requirement for independent sample t-tests.
    ories compared to their non-depressed counterparts. Both              Moreover, there were no outliers detected in any of the
    groups retrieved more n_egative memories Utan positive or             distributions. The findings revealed that non-depressed
    neutral memories (Table 1).                                           participants retrieved significantly more memories that
                                                                          contained the sequence, LTP > GE> ESK compared to the
    Accessing the autobiographical knowledge base                         depressed participants, t(24) = 4.43, p < 0,01, d = 1.81.
    To investigate whether the two groups differed in terms               However, depressed participants retrieved more know-
    of knowledge· sequence that they retrieved, 206 memories              ledge sequences of the form LTP > GE compared to their
    (77 from depressed and 129 from non-depressed partici-                non-depressed counterparts, t(22.73)" = 4,05, p < 0.01, d =
    pants) were selected from the total pool of 315 memories.             1.70 [39]. No other differences in retrieval sequences were



                                                                                                                                ExhibiM
                                                                                                                                 000234
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4391 Page 223 of
                                       251
           case 1:18-cv-o;('.pLF Document 1-2 Filed 09/26/('Page 200 of 215

     Haque et al. BMC Psychiatry 2014, 14:310                                                                                        Page_7 of 9
     http://www.blomedcentral.com/1471-244Xl14/31 a




    observed. In order to see if depressed participants re-                 search strategies used by depressed and non-depressed in-
    trieved more overgeneral memories, two knowledge se-                    dividuals to determine whether depressed individuals ad-
    quences, LTP > GE and GE> LTP were examined. In                         hered to the sequential hierarchical search as proposed by
    these two sequences, the participants only reported                     Conway and Pleydell-Pearce (18].
    general and abstract knowledge rather than specific details               Consistent with previous studies, our results revealed that
    of a particular event. As they represented overgeneral                  depressed participants reb:ieved fewer memories overall,
    memories, LTP > GE and. GE> LTP are combined, which                     and their descriptions of events were shorter than the de-
    revealed that depressed participants recalled more over-                scriptions produced by the non-depressed participants.
    general memories (51%) than their non-depressed coun-                   The results also revealed that depressed participant& were
    terparts (33%).                                                        less likely to retrieve specjfic event knowledge, and that
                                                                           memoties were _less likely to be positive in nature. In a
     Discussion                                                            novel result for this field, and offering support for Conway
    A substantial amount of research suggests that depressed               and Pleydell-Pearce's model, the depressed participants
    individuals are Impaired in their ability to recall specific           also showed impairments in their abillty to move sequen-
    autobiographical memories, showing a tendency to be                    tially through the hierarchy of the knowledge base in
    overgeneral in their recall [2-4,1]. According to Conway               order to construct an autobiographical memory. The non-
    and Pleydell-Pearce, individuals access specific autobio-              depressed participants retrieved autobiographical memor-
    graphical memories utilising a hierarchical search strategy,           ies by first accessing the most abstract knowledge (lifetime
    accessing life time period knowledge first, then general               periods) followed by less abstract general event knowledge
    event knowledge .and finally event specific knowledge [18].            and then specific event knowledge (LTP-+ GE-+ ESK).
    While this holds true for non-depressed indlviduals [32],              However, while depressed participants began their search
    it has been proposed that depressed individuals terminate              by accessing lifetime period knowledge, their search
    their search for specific memories early in this hierarchical          was more likely to terminate at general event knowledge
    search. While depressed individuals have previously been               from the intermediate level of the hierarchy (LTP-+ GE;
    shown to report more general level information than non-               Figure 1). That depressed participant& recalled fewer, less
    depre$sed "individuals, to date the sequence in which de-              detailed memories might also explain why depressed
    pressed individuals access autobiographical memories has               participants were faster to recall memories in response
    not been dlrectly tested. This study aimed to examine the              to cue words.


                                              Normal                                      Depressed



                                       Lifetime Period                            Lifetime Period
                                       Knowledge                                  Kilonledge




                                       General E,·ent                             General Event
                                       Knowledg;e                                 Knowledge




                                      Event Specific
                                      Knowledge




                                                  (a)                                        (b)
     Figure 1 Schematic representation of knowledge search seque_nce l:>y {a) non-depressed {specific; memory) and {b) depressed participants
     {overgeneral memory).




                                                                                                                                      Exhibit1A
                                                                                                                                        000235
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4392 Page 224 of
                       ('-,          251              /'
              Case 1:18-cv-02,                 ·PLF Document 1-2 Filed 09/26/J,                             "age 201 of 215

     Haque et al. BMC Psychiatry 2014, 14~10                                                                                        Page 8 of9
     http://www,blomedcentral.com/1471 ·244X/14/31 O




        Impaired executive control and rumination may explain capacity impedes access to general event information
      the tendency for depressed participants to terminate their and that functional avoidance of negative affect might
      search early, and thus report less specific autobiographical limit access to event specific knowledge. To our know-
      memorie:s, a fi.nding which mirrors previous findings in ledge, the differential effect of these three processes on
      this field [3,40,4,1,5]. Intrusive cognitions about past the hierarchical search sequence has not been directly
      events are important determinants of overgeneral recall as examined. Finally, although our results suggest that de-
     they consume working memory capacity [40]. Conse- pressed individuals are impaired in their ability to system-
     quently, although beginning their search by accessing life- atically search through the knowledge hierarchy to access
     time period knowledge and ·general event knowledge, specific autobiographical memories, it is also possible that
     limited executive control capacity inhibits the ability to depressed participants gave up their search at an inter-
     continue the search for event specific knowledge. Intru- mediate level as they found it difficult or tiring to proceed
     sions also promote rumination_ about the past and one's further. Given the length of the testing session, and the
     self, and as previously mentioned, result in more abstract fact that fatigue is commonly associated with depres-
     self-referent memories, rather than specific memories ap- sion, future studies should at.tempt to control for such a
     propriate to the cue word [29,30]. As. the depressed partic- possibility.
     ipants produced more thought elements in their memory
     descriptions than non-depressed participants it seems Conclusions
     plausible that such thoughts would interrupt the retrieval Despite the above limitations, the current study provides
     of specific memories.                                            prelirnlnary Support for the notion that depressed indi-
        Although depressed participants reported fewer positive viduals do attempt to access specific autobiographical
     memories relative to the non-depressed group, both de- memories following the hierarchical search strategy out-
     pressed and non-depressed participants were more likely lined by Conway and Pleydell-Pearce [18]. However,
     to recall negative than positive memories. Although older these participants are more likely to terminate the search
     adults tend to show a bias toward recalling positive even.ts, at an intermediate level (general event knowledge), thus
    numerous studies.have shown that younger adults demon- producing overgeneral memories in response to a request
    strate a negativity bias [41]. Although spanning a wide age for specific autobiographical memories. Confirmation that
    range, the majority of our participants were relatively the same hierarchical search sequence is attempted in
    young, thus a negativity bias is not unexpected. Further both depressed and non-depressed individuals opens the
    research would b.enefit from an examination of how the way for future research to examine specific elements of
    hierarchical search for autobiographical memories is af- the sequence in both participant groups.
    fected by aging,
       While further understanding of the search strategy used Endnote
    by depressed participants to recall autobiographicai mem-           'The assumption of homogeneity of variance was violated
    ories is important, the results of the study must be viewed for this analysis, thus Satterthwaite [39] approximate
    in light of the study's limitations. First, the relatively small degrees of freedom were used.
    sample limits the generalisability of the findings. Second,
    the two groups were recruited based on the presence or Competing interests
    absence of major depressive disorder. Yet the two samples The authors declare that they have no competing Interests.
    may also differ on other variables central to the relation-
                                                                     Authors' contributions
    ship under investigation. Consideration of individual dif- SH and EJ conceived the overall project, finalized study design and analysed
    ference factors, such as rumination, would be informative the data together with PH and R\<. PH and RK helped In data Interpretation
    in future studies examining the sequencing of autobio- and all four authors were Involved l_n finalizing the manuscript. All authors
                                                                     read and approved the final manuscript.
    graphical recall. Third, this study did not examine whether
    positive and negative memories were recalled in a similar Authors' Information
    fashion across the two groups. Previous research has 5hamsul Haque is Associate Professor of Psychology In the Jeffrey Cheah
    noted differences in retrieval time for positive and nega- Schoo! of Medicine and Health Sciences, Monash University Malaysla, and
                                                                     has a particular Interest in the construction of autoblographical memory In
    tive memories [Sh however examination of whether posi- psychiatric patients.
    tive or negative memories are r,etrieved following the Eka Juliana ls a postgraduate research student at the Department of
    same hierarchical sequence would inform future resear.ch Psychology, Kulllyyah of lslamlc Revealed Knowledge and Human Sciences,
                                                                     Jnternat!ona1 Islamic University Malaysla.
    in this area. Further, examination pf how attention1 _rumin- Rahmattullah Khan Is a clllilcal psychologist and his research interests
    ation and affect regulation may differentially affect the Include anxiety, depression and cognitive behavior therapy. He Is currently a
    search sequence would also be inforniative. It is possible, Professor In the Department of Psychology and Counse!Jng, Sultan ldrJs
                                                                     Education University, Millays!a.
    for example, that rumination impairs the ability to access Penelope HaskJng Is Associate Professor of Psychology in the Schoo! of
    lifetime period knowledge, limited working memory Psychology and Speech Pathology at Curtin University.



                                                                                                                                      Exhibit1A
                                                                                                                                       000236
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4393 Page 225 of
                          ~~            251                 ~
           Case 1:18-cv-02,  ·PLF Document 1-2 Filed 09/26/i, Page 202 of 215

     Haque et af. BMC PsychlatfY 2014, 14:310                                                                                                               Page 9 of9
     http://www.blomedcentral.com/1471-244X/14/31 o




    Aclmowledgments                                                                      19. Conway MA: Autob!ographlcal memories and autobiographical
    All participants, both patients and normal controls, are acknowledged for                 knowledge. In Remembering our pqst: Studies In autobiographical memol)I.
    giving valuable data for the study. The authors also thank the Psychiatry                 Edited by Rubin DC.'Cambridge, UK: Cambridge University Pfess; 1996:67-93.
    Department at Hospital Kuala Lumpur for allowing data collectlon from the            20. Wiiiiams DM, Hollan JD: The process of retrieval from very long-term
    patients. The Department of Psychology at International ls!amJc University                memory. Cogn Sr:/ 1981, 5:87-119.
    Malaysia Js acknowledged for supporting Eka Jullana.                                 21. Mosr:ovltch M: Recovered consciousness: A hypothesis concerning
                                                                                              modularity and episodic memory.J Clin Exp Neuropsychol 1995, 17:27&-290.
    Author detalls                                                                       22. Tulvlng E: Elements of episodic memory. Oxford, UK: Clarendon Press; 1983.
    1
     Jeffrey Cheah School of Medicine and Health Sciences, Monash University             23. Williams JMG, Bamhofer T, Crane c, Hermans D, Raes F, Watkins E, Dalgleish
    Malaysia, Ja!an Lagoon Selatan, Bandar· Sunway, 47500 Subang Jaya,                        T: A!JtQblographlcal memory specificity i!nd emotional disorder. Psycho/
    Selangor, Malaysia. 2Department of Psychology, lnternatlonal Jslar:n!c                    Bu//2007, 133:122-148.
    University Malaysia, Jalan Gombak. Kuala Lumpur, Selangor, Malaysia,                 24. Sumner JA: The mechanism underlying overgeneral autoblographlcal
    3                                                                                         memory: An evaJuatlve review of evidence for the CaR-FA-X model.
      Department of Psychology & Counseling, Sultari ldr!s Educ:atlon University,
    Tanjong Malim, Perak, Malaysia, 4Schoo1 of Psychology & Speech Pathology,                 C/ln Psycho/ Rev 2012, 32:34-48.
    Curtin University, Perth, Western Austral!a 6845, Australia.                        25. Hennans D, Defumc A. _Raes F, Williams JMG, Eelen P: Reduced autoblographlcal
                                                                                              memory speclflcity as an avoJdant coping style. Br J Gin Psycho! 2005,
    Received: 17 June 2013 Accepted: 21October2014                                           44:583-589,
    Published online: 18 November 2014                                                  26. Raes F, Hennan 01 Williams JMG, Eelen P: Reduced autobiographical memory
                                                                                             specificity and affect regulation. Cogn Emotion 2006, 3/4:402-429.
                                                                                        27. Barnard PJ, watklns ER, Ramponl C: Reducing specificity of autobiographical
    References                                                                               memory ln_nonctlnlcal participants: The role of rumination and schematic
     1. William JMG, Broadbent K: Autoblographlcal memory ln suicide-attempters.             models. Cogn Emotion 2006, 3/4:328-350.
        J Abnonn Psychol 1986, 95:144-149.                                              28. Wil!Jams JMG, E!lls NC1Tyel5 C, Healy H, Rose G, Macleod AK: The speclflclty
    2. Da!gle!sh T, Williams JMG, Go!den.AJ, Perkins N, Barrett LF, Barnard PJ,              of autoblographlcal memory and lmageablllty of the future. Mem Cogn
        Yeung AC, Murphy V, Elward R, Tchanturla K. Watkins E: Reduced speeiHclty            1996, 24:11&-125.
        of autobiographical memory and depression: The role of executive                29. Spinhoven P, Bockting CLH, Kremers IP, 5chene AH, Wiiiiams JMG: The
        control. J Exp Psycho/ Gen 2007, -136:23-42.                                         endorsement of dysfunctional attitudes Is associated with an Impaired
    3. Decker AD, Hermans D, Raes F, Eelen P: Autobiographical memory specificity            retrieval of specific autobiographical memories In ·response to match)ng
        and trauma In Inpatient adolescents. J CUn Child Adofesc Psydiof 2003,               cues. Memory 2007, 15:324-338.
        32:22-31.                                                                       30. Moulds ML, Kandrls E, Williams AD: The impact of rumination on memory
    4. Mackinger HF, Pachinger MM Leibetseder MM, Fartacek RR: Autoblographlcal              for self-referent material. Memory 2007, 15:814-821.
        memories Jn women remitted from major depression. J Abnorm Psycho/              31. Sutherland K. Bryant RA: Rumination i!nd overgeneral autoblographlcal
        2000, 109:331-334.                                                                   memory. 8ehav Res 1her 2007, 45:2407-2416.
    5. Williams JMG, Scott J: Autoblographlcal memory In depression. Psycho/            32. Williams JMG, Chan S, Crane C, Bamhofer T, Eade J, Healy H: Retrieval of
        Med l9BB, 18:69-695.                                                                 autoblbgraphlcal memories: The mechanisms and consequences of
    6. Brittlebank AD, Scott J, W!lllams JMG, Ferrier JN: Autobiographical memory            truncated search. Cogn Emotfon 2006, 3/4:351-382.
        In depression: State or trait marker? Br J Psychiatry 1993, 162:118-121.        33, American Psychiatric Association: Diagnostic and Statistical Manual of Mental
    7. Peeters F, Wessel I, Merckelbach H, Boon.Vermeeren M: Autoblographlcal                Disorders DSM-5. 5th edition. Washington, DC: American Psychiatric
        memory specificity and the course _of major depressive disorder. Compr               Publrshlng; 2013.
        Psychiatry 2002, 43:344-350.                                                    34. Gaitan F: Inquiries into human faculty and Its development London:
    8. Kavlanl H, Rahimi P, Naghavi HM: Iranian depressed patients attempting                Macrnlllan; 1883.
        suicide showed Impaired memory and problem-solving. Arch /fan Med               35. Haque S, Conway MA: Sampling the process of autoblographlcal memory
        2004, 7:1113-1117.                                                                   construction. Eur J Cogn Psycho! 2001, ·13:529-547.
    9. Lelbetseder MM, Rohrer RR. Mackinger HF, Fartacek RR: Suicide attempts:          36. Beck AT. Steer RA: Beck Depression Inventory: Manual. Orlando, FL: Harcourt
        Patients With and without an affective disorder show Impaired                        Brace; 1993.
        autobiographical memory specificity. Cogn Emotion 2006, 3/4:516---526.          37. Haque S, Conway MA: Direct and generative retrieval of autoblographlcal
    10. Rekart KN, MJneka S, Zlnbarg RE: Autobiographic memorr In dysphorlc                  memories. Bangladesh J Psychol 2000, 18:51-74.
        and non-dysphorlc college students using a computerised version of the          38. DeWinter JCF: Using the Studenfs t-test with extremely small sample sizes.
        AMT. Cogn Emotion 2006, 3/4:50&-515.                                                 Prad Assess Res Eva/ 2013, 18:1-12.
    11. Drummond LE, Dritschel B, AsteH A, O'Carroll RE, Dalgleish T: Effects of age,   39. Satterthwaite FE: An approximate distribution of estimates of variance
        dysphorla, and emotlon-focuslng on autobiographical memory specificity               components. Blom Bu/11946, 2:110-114.
        In children. Cogn Emotion 2006, 3/4:488-505.                                    40. Kuyken W. Brewln CF!: Autoblographlcal memory functioning In depression
    12. Klelm B, Ehlers A:. Reduced autobiographical memory specificity predicts             and reports of early abuse. J Abnom1 Psycho/ 1995, t 04:585-591.
        depression and posttraumatlc stress disorder after recent trauma.               41. Ready RE. Weinberger Ml, Jones KM: How happy have you felt lately? Two
        J Consult C//n Psycho/ 2008, 76:231-242.                                             diary studies of em,otlon r~ll ln older and younger adults. Cogn Emotion
    13. Sumner JA, Griffith NV, Mlneka 5, Rekart KN, Zinbarg RE, Craske MG:                  2007, 21:728-757.
        Ovetgeneral autoblograph!cal memory and chronic Interpersonal stress
        as predictors of the course of depression Jn adolescents. Cogn Emotfon           dol:1 0.1'1 86/st 2888-014-0310-z
        2011, 25:183-192.                                                                Cite this artide as: Haque et al.: Autoblographlcal memory and hierarchical
    14, Hennans D, Vandromme H, Debeer E, Raes F, Demyttenaere K, Brunfaut E.            search strategies Jn depressed and non-depressed participants. BMC
        Williams JM: Overgeneral autobiographical memory predicts diagnostic             Psychfat/)'201414:310.
        status Jn· depression. Behav Res Ther 2008, 46:668-677.
    15. Sumner JA, Griffith JW, Mlneka S: Overgeneral autobiographical memory
        as a predictor of the course of depression: A meta~analysls. Behav Res
        Ther 2010, 48:614-625.
    16. Goddard L, Dritschel B, Burton A: Role of autoblographlcal memory In social
        problem solvlng and depresslon.J Abnorm Psychol 1996, 105:609-616.
    17. Evans J, Willlams JMG, O'Loughlin S, Howells K: Autoblographlca! memory
        a_nd problem-solving strategies of parasulclde patients. Psycho/ Med 1992.
        22:399-405.
    18. Conway MA, Pleydetl-Pearce ON: The construction of autobiographical
        memories in the self-memory system. Psycho/ Rev 2000, 107:261-288.




                                                                                                                                                              Exhibil?A
                                                                                                                                                               000237
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4394 Page 226 of
                                         251
           Case 1:18-cv-02,~' ·PLF Document 1-2 Filed 09/26/1,~ Page 203 of 215
Speciii:!izelll Psyd1i01tric Cm.mseling




Shaker Clinic ) Leading Anxiety Treatment Center in Cleveland, OH ) Separation Anxiety Treatment & Care )
Signs & Symptoms of Separation Anxiety




Signs & Symptoms of Separation Anxiety

'" Statistics
., Causes and Risk Factors for Separation Anxiety Disorder
.. Signs and Symptoms of Separation Anxiety Disorder
" Effects of Separation Anxiety Disorder
" Co-Occurring Disorders

Separation anxiety disorder is a mental health condition that involves intense and excessive
anxiety and fear of being separated from a loved one or ones. The distress experienced by
people who are struggling with this disorder often causes a great deal of disruption in their
lives and an overall decline in daily functioning. Examples of fears that trigger this form of
anxiety can include:

   " The possibility of being separated from a loved one
   .. Ongoing worry that a loved one may suddenly die
   .. Panic that a loved one will get lost
   " Concern that a loved one will be kidnapped
   .. Trepidation that a loved one will get hurt
   " Anxiety that a loved one will become ill

Adults who are suffering from separation anxiety disorder often place their focus on the
health, wellbeing, and safety of their children, significant other, or another person with whom
there is a strong attachment. Cornerstone to this illness, however, is that the focus placed on
another person or persons is distressing and leads to a number of adverse effects. Adults
                                                                                                ExhibiAA
                                                                                                 000238
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4395 Page 227 of
                                       251
           Case l:l8-cv-02('·PLF Document 1-2 Filed 09/26/{'=>age 204 of 215
 with separation anxiety disorder may constantly check on the whereabouts of loved ones, be
 overly protective of children (regardless of the child's age), or refuse to be alone. Additionally,
 adults with this condition may report physical pain in the event separation from a loved one is
 imminent, develop another mental illness if symptoms of this disorder persist, and
experience discord among loved ones if appropriate care is not sought. Fortunately, there are
treatment options available that can alleviate symptoms, restore functioning, and help these
individuals form healthy relationships with loved ones without the distressing symptoms of
separation anxiety disorder.


                                GIEi ~l!JNIFUl!IEINlilAlL IHllEl\.11» !\Jl«l!W:

                             (855) 677-4044
                                              ~ IEMA~l l.9§




Statistics
Studies have determined that separation anxiety disorder is a disorder that typically begins
during childhood, yet its symptoms can carry over into adulthood. Researchers estimate that
nearly 1% to 2% of adults struggle with this form ofanxiety. Experts also believe that this
mental health condition affects more women than men.



Causes and Risk Factors for Separation Anxiety
Disorder
Professionals in the field have yet to conclude a single identifiable cause for separation
anxiety disorder. However, most in the field of mental health believe that the development of
this disorder occurs when certain genetic, physiological, and environmental factors are
working together. Additionally, research has concluded that there are some additional risk
factors that can make a person more susceptible to developing this form of anxiety. Consider
the following explanations:

Genetic: Research has found that 73% of individuals who meet diagnostic criteria for
separation anxiety disorder have a family history of this mental health condition. Because of
this link between family members who suffer from the same mental illness, it can be deduced
that separation anxiety disorder can, in fact, be inherited. This case is especially true for
individuals with a first-degree relative who have a history of this mental illness.


                                                                                        Exhibi'2A
                                                                                         000239
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4396 Page 228 of
                                               251
            case 1:18-cv-02('.PLF Document 1-2 Filed 09/26/{'=>age 205 of 215
Physical: As with other anxiety disorders, those who are suffering from separation anxiety
disorder have been found to have certain chemical imbalances in their brains. Specifically,
neurotransmitters that are responsible for regulating mood and impulses are often not
regulated in the brains of these individuals and can lead to the onset of anxiety symptoms.
When these chemicals are not balanced, a person's ability to respond to stress is hindered
and can cause an exacerbated startle response to minor triggers or to perceived fear or
danger.

Environmental: Experiencing an abrupt life stressor in which a person is separated from his or
her child, significant other, or other loved one as a result can ultimately lead to the
development of separation anxiety disorder. Examples of life stressors that can trigger this
form of anxiety Include the unexpected death of loved one, experiencing a disaster in which
one is separated from loved ones, and having a personal history of forced separation from
primary caregivers during childhood. Lastly, it has been found that those with a history of
codependent relationships that are romantic in nature can lead to the onset of symptoms if
an individual is not able to adjust when he or she is not around his or her partner.

Risk Factors:

   " Being female
   .. Having a family history of separation anxiety disorder or other mental health
      condition
   " Personal history of another mental health condition
   " Experiencing the loss of a loved one
   " Experiencing an abrupt major life change in which one is separated from a loved
      one
   o Being in an unhealthy, codependent, romantic relationship




Signs and Symptoms of Separation Anxiety Disorder
While the onset of separation anxiety disorder symptoms typically manifests during
childhood, there are a number of signs that can infer that an adult is suffering from this
mental health condition. Consider the following behavioral, physical, cognitive, and
psychosocial symptoms when trying to deduce if you or a loved one is battling this distressing
form of anxiety:

Behavioral symptoms:

  • Frequently checking up on the whereabouts of children, significant other, or other
    loved one
  " Refusing to leave home
                                                                                   Exhibil?il
                                                                                    000240
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4397 Page 229 of
                                       251
          case 1:18-cv-02('-PLF Document 1-2 Filed 09/26/('°'age 206 of 215
  '" Missing work
  " Social withdrawal or isolation
  " Refusing to sleep without or when away from children, significant other, or other
     loved one
  .. Avoiding travel
  " Ritualistic or repetitive behaviors
  • Cyclical thinking
  " Pacing
  " Restlessness

Physical symptoms:

  ., Labored breathing
  e Headaches or migraines
  " Stomachaches
  '" Nausea
  ., Vomiting
  " Frequent urination due to pervasive nervousness
  .. Dizziness
  " Muscle tension
  " Disturbed sleep
  e High blood pressure
  " Increased heart rate
  '" Appetite changes
  " Profuse sweating

Cognitive symptoms:

  • Nightmares
  .. Impaired memory
  " Compulsions
  " Ritualistic thinking
  ., Difficulty making decisions
  .. Lack of concentration
  m Inability to focus on tasks


Psychosocial symptoms:

  " Guilty feelings
  " Shame
  .. Irritability
  .. Derealization
                                                                                  Exhibi'1A
                                                                                   000241
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4398 Page 230 of
                                      251
          case 1:18-cv-02(\PLF Document 1-2 Filed 09/26/('~age 207 of 215
    '" Ongoing feelings of nervousness
    .. Agitation
    " Elevated levels of anxiety
    " Intense and excessive fear


        I~,.,   If :171t1111JJ flill®fi i:lhlii11!: y@ll!l Olli'® 6111 erii!ii!ll, @r air® 1hlO!lW10111g 1l:lhl@iwglhl11::1> ®JilJ©ll!Jtl: ihl11Jlll"tl:l111g
        ~       :lf©Mrn;;lillllf ©If' @tdhilillr!!, pfi!lllill!!li\l 11:.;iilH !@-1-~ ©II' g@ 1!:© i:he lflli\11\lll'll!l:llil: @11\l1111!li'~!El6'\lcy ll'©©m
        Gill    !rmm®©l!l\lil:l!lillf.




Effects of Separation Anxiety Disorder
Someone grappling with the symptoms of seP-aration anxietY. disorder should seek treatment
immediatelY. as there are a number of adverse effects that are likely to occur. Seeking
effective .and appropriate treatment can significantly reduce a person's chances of
experiencing the following outcomes:

   "       Social isolation
   "       Inability to maintain employment
   "       Financial problems
   ..      Increased conflict in interpersonal relationships
   "       Development of another mental health condition
   "       Development of a substance abuse problem or addiction
   "       Suicidal ideation
   "       Suicide attempts



Co-Occurring Disorders
When an adult is suffering from separation anxiety disorder, it is common for that individual
to also suffer from another mental health condition. The following psychiatric disorders are
known to occur alongside this form of anxiety:

  ., Specific phobias
  .. Posttraumatic stress disorder
  "        Panic disorder
  ..       Generalized anxiety disorder
  "        Socia.I anxiety disorder
  ..       Agoraphobia
  .,       Obsessive-compulsive disorder
                                                                                                                                                        Exhlblf/A
                                                                                                                                                          000242
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4399 Page 231 of
                                        251
           Case 1:18-cv-02('.PLF Document 1-2 Filed 09/26/r"age 208 of 215
   '" Personality disorders
   .. Depressive disorders
   .. Bipolar disorder


                         GEl «::OIMIFilOJEIMT~Al i-llELIP lf\IHOJW:

                       (855) 677=4044
                                      !1il !1 IEMAll lJSi




  Amtiety




  PTS!J



  Scliizoplmmia




  AFFILIATIONS & RECOGNITiON




                                                                      Exhibil1A
                                                                       000243
  Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4400 Page 232 of



 MotifiliS'"moctl-
                          (\           251
                                           2 Filed 09/26/r:>age 209 of 215




 Forcibly Separating Children From Their Mothers Doesn't Just
 Hurt the Kids
 "I think what we're potentially talking about is a total mental health catastrophe."
ROSA FURNEAUX          JUNE 21, 2018 6:00 AM




Mother Jones Illustration; Gregory Bull/AP



The sounds of sobbing children were still resonating yesterday as President Trump signed an executive order to end
family separation at the border. Anger and anguish over Trump's "zero tolerance" immigration policy came to a head this
week, after ProPublica obtained and published a recording of distra1,1ght kids at a US Customs and Border Control facility.
It conveyed the horrifying situation faced by hundreds of immigrant families: a sound few mothers could bear.

The psychological effect of traumatic child-parent separation on children is well documented. Less studied, though, is the
impact of that separation on the mothers. Yet the experts I spoke with warn that having a child taken away, especially
after a family reaches what is believed to be a safe haven, could have devastating effects, including depression, symptoms
of post-traumatic stress syndrome, and the loss of will to live. "!think what we're potentially talking about is a total
mental health catastrophe," says Aurelie Athan, a clinical psychologist who studies motherhood at Columbia University.

                                                                Dr. Patricia De Marco Centeno, a California psychiatrist who
                                                                specializes in maternal mental health, adds that mothers
"It's as ifyou lost your child to a motor                       forcibly separated from their children are likely to suffer from
vehicle crash, andyou don't know if they're
                                                                                                                 ExhibiflA
                                                                                                                  000244
   Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4401 Page 233 of
                    .        (\            251
              Case 1.18-cv-02,  .PLF Document 1-2 Filed 09/26/r:>age 210 of 215
 alive or not."                                               acute stress reactions such as extreme fear, panic-like
                                                              episodes, insomnia, poor eating, and poor self-care. ''The
 biggest risk," she says, is that these symptoms may develop into more-serious stress reactions such as PTSD. "What I
 think perpetuates the problem is the degree of uncertainty in the situation-the fact that there is no end point, the fact
 that there is no date of reunification. It's as if you lost your child to a motor vehicle crash, and you don't know if they're
 alive or not."

 The researchers point out that many of the mothers separated from their children by American authorities are already
 dealing with trauma as the result of violence and poverty in their home countries-not to mention the things they go
through during the harrowing journey north to the US border. People who experience a sequence of traumatic
experiences may end up with a particularly severe type of post-traumatic stress known as Complex PTSD. "It's a lot
harder to treat," De Marco Centeno says.

Complex PTSD, according to the Department of Veterans Affairs, is often associated with experiences in which the victim
is held in a long-term state of physical or emotional captivity-a concentration camp, for example, or an abusive and
violent relationship.

                                                                        Despite the lack of research on the mothers, Athan says a
                                                                        mother's and a child's experience are opposite sides of the
To/eave the women out of the                                            same coin. To leave the women out of the research, and out
conversation ''is to lose SO percent of the                             of the national conversation around Trump's policy, "is to
story!'                                                                 lose 50 percent of the story," she says. ''These are really the
                                                                        mothers at the margins."

To reduce the psychological damage, for both, De Marco Centeno is clear: "Stop and reunite. Stop and reunite.
Everything else can be figured out later," she says. The longer families are kept apart, "the more permanent the damage is
going to be." But the question of whether reunification will quickly reverse the trauma caused by forced separations is
unresolved. "l don't think we're talking about anything that can be cured, or even redressed," Athan told me. "l think what
we can talk about is to what degree it can be mitigated."

As it stands, thousands of children have been taken from their families, and while Trump's executive order is intended to
halt further separations, Homeland's plan for reuniting families temains unclear. On Monday, The New Yorker reported
that no protocols have been put in place for keeping track of parents and children concurrently, or for eventually
reuniting them. Reports have circulated of parents being deported without their children. Meanwhile, detained parents
may be foregoing legitimate claims for asylum by pleading guilty to expedite the return of their children. On Wednesday
evening, officials said children already separated from their families would not be immediately reunited in the wake of
the executive order.

In an interview with MSNBC, a Salvadoran mother identified as "Christina" who was separated from her ro-year-old son
and r6-year-old daughter by US authorities, shook her head when asked if she would have come to America knowing her
kids would be taken from her. "You suffer a lot on the journey and you think that it's over when you get here," she said
through a translator. "But once you are detained here, that's where the most painful part of the journey begins."

This article has been revised.
ROSA FURNEAUX
Rosa Furneaux is a Ben Bagdiklan editorial fellow in Mother Jones' San Francisco office. Find her on Twitter@rosafurneaux or emall
rfurneaux@motherjones.com.




                                                                                                                                 ExhiblflA
                                                                                                                                     000245
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4402 Page 234 of
                       ~.            251              ,('--.
               Case 1:18-cv-02,               ·PLF Document 1-2 Filed 09/26/J,                          ?age 211 of 215
                                                                                                                                          ISS



    Find a Therapist (City or Zip)                                                                                       @) ~erlned by Psychology 1bd1y




             Thwart Stress Effects of Memory
             Forced retrieval protects against stress-induced Impairment of memory.
             Posted Dec 29, 2016



                           SHARE                       TWEET                          EMAIL                          MORE


            It is well known that _;jlffi.§§: can Impair m!Sffi9..~· Everyone has had some experience of this kind. For a student
            suffering test anxiety, grades are llkely to suffer. Jn hlgh~stakes soclal or business interactions, the stress may
            well cause memory to fall us, as when presidential candidate Rick Perry forgot the name of the agency he
            wanted to aboJ[sh If elected, or when we forget a friend's name In the process of making a social Introduction.
            How does stress do this? Is there anything we can do about It?


            First, we need to know what stressful events· do to the body and~· Brain freezes, like Perry's, probably occur
            because thinking can get so preoccupied with the stress-inducing stimuli that othe_r thought.$ cannot emerge.
            But other kinds of stress-Induced memory impaired come from the well-known "fight or flight" response In which
            stress activates the release of adrenalin into the bloodstream. Adrenalin has many bodily effects that support
            fight or flight, such as raising heart rate and blood pressure, and Increasing arousal perhaps to the point of
            §D.15!@1Y,,,,and ~·The increased attentiveness may have a fleeting beneficial effect on memory, as has been
            demonstrated In laboratory experiments. But the other effects of adrenalln .on anxiety and distress are likely to
            Impair memory.


            The other thing that happens during stress is the activation of the anterior pituitary gland's release of ACTH,
            which In tum activates another part of the adrenal gland to dump cortisol Into the bloodstream. In the short term,
            cortisol can have many beneficial effects for combattlng stress, such as mobilizing white blood cells and
            enhancing the immune system. But cortisol binds to cells in the brain's hlppocampus, the area that converts new
            experiences Into memory. This binding actually disrupts the memory-forming process. Ultimately, If stress
           continues, the synaptic regions deteriorate, making the Impairment permanent.


           The effects of both adrenalin and cortlsol were revealed in an interesting study of mlld social stress. Here, the
           focus was on a theory of how stress effects on memory might be thwarted by a learning technique called forced
           retrieval. Prior research with students, had shown, that the usual study technique of re-reading notes or text Is
           not nearly as effective as requiring the learner to actively retrieve the Information, as one might do, with flash
           cards, for example. Just .a few months ago, I posted a blog on this forced retrieval phenomenon as a key
           element In "strategic studying."


           This new research was aimed at testing the possibility that forced retrieval might protect learners from the
           memory deficits caused by stress. Jn the study on the first day, 120 subjects studied a list of 30 nouns or Images
           of nouns one at a time. Then, one half of the group restudied the items while the other half practiced retrieval by
           recall Ing as many Items as they could {but wlthoutfeedback telling them if they got It right). One the next day,
           half of each group were stressed by being required to solve hard math problems and by giving speeches In
           front of two judges and three peers. Then they were tested. Twenty rnlnutes later they took a second test on
           Items thE!t had not been tested on the first tesl The results revealed that retrleval practice yielded better results.




                                                                                                                                    Exhlblt:?A
                                                                                                                                     000246
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4403 Page 235 of
                                     251
           case 1:18-cv-or-PLF Document 1-2 Filed 09/26/(',:iage 212 of 215
                                                                                                                                                  us

                              recall in study                                                                 practice protects
                                                                                                               agalnst stress

                                                   Stress Effects on Memory
                                 1;i



                         1!      .10

                         ""E"' •
                           "'
                           E
                         "'"'.. •
                          E
                          "a'.
                         ;::      4

                          rn ,
                          ~




                         ~"'
                                  0
                                                                                           Oei.iive& T'llrt
                                          Study             R~rieval               Study                Retrieval


                                                Non-stressed lilll             Stressed      0
                                                                                                               S<ionce.3S4!20lo), 1Q46-1047
            Sour~: W. R. Klemm




        On the first test, we see that the stressed learners who Just studied the Items the day before had fewer of the
        items remembered on the first test given immedlatety after the stress. But there was no such effect on the
        stressed learners who used retrieval practice during the ln!tial learning. This protective effect of retrfeval
        practice was evident on the second test 25 minutes later.. In fact, the retrieval practice effect was better than on
        the first test, even though different Items were tested. You may have noticed that the stressed study group on
        the second test did worse than they did on the first test. This Is attributed to a mild effect of adrenalin, which as
        mentioned above can have some benefit on memory. Adrenalin's action ls Immediate and Is apparently
        swamped on the second test by the d~layed release of cortisol, which shows· up by the second test. Students
        might note that the magnitude o~ difference may appear small.- but In percentage terms could equal to more
        than two letter grades (compare the two stressed groups on the delayed test).

        To explain why forced retrieval works, the authors speculate- that It provides better initial encoding. That Is, the
        new information Is registered more strongly If you make yourself try to retrieve It. This Is consistent with the
        everyday experience that most of us have had wherein Information that strongly grabs our attention Is more
        l!kely to be remembered. Forced retrieval Is a way to make ourselves pay better attention to what we are trying
        to lean.

        Readers wanting to learn more about Improving memory are urged to check out Memory Medic's books,
        Memory Power 101 and Better Grades, Less Effort.



           References

           Klemm, W. R. (2016). Strategic studying. October 9, http:l/thankyoubratn.blogspotcom/2016110/strateglc-studylng.html

           Smlth, Amy M. et al. (2016). Retrieval practice protects memory against acute stress. Science. 354 (6315}, 1046-1047.




                     SHARE                              1WGET                               EMAIL                               MORE


                                                                      5COMMENTS

                                                                                                                                              ExhibiM
                                                                                                                                               000247
  Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4404 Page 236 of
             Case 1:18-cv-02\r' -PLF Document 1-2 Filed 09/26/l,~Page 213 of 215
                                           251




Honduran Man Kills HimselfAfter Being
Separated From Family at U.S. Border,
Reports Say

June 10, 2018

A Honduran man who was separated from his family after he had crossed the United States
border into Texas with them last month strangled himself in his holding cell, according to
Customs and Border Protection officials, public records and media reports.

The man, Marco Antonio Munoz, crossed the Rio Grande with his wife and 3-year-old son in mid-
May near Granjeno, Tex., The Washington Post reported.

In a statement, a Customs and Border Protection spokesman said Mr. Munoz was apprehended
by Border Patrol agents on May 11 for "attempting illegal entry into the United States" and taken
to the Rio Grande Valley central processing center.

Once there, Mr. Munoz and his family said they wanted to apply for asylum, The Post reported;
Border Patrol agents then told them they would be separated.


                                                   Marco Antonio Mufioz
                                                   Starr County Sheriff's Office




While at the processing center, the Customs and Border Protection spokesman said, Mr. Munoz
"became disruptive and combative;• so the authorities moved him to a jail in Starr County, Tex. -
about 40 miles west of the processing center - for an overnight stay.
                                                                                    ExhibiCA
                                                                                     000248
  Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4405 Page 237 of
                                        251
             Case 1:18-cv-O{'·PLF Document 1-2 Filed 09/26/('=>age 214 of 215
Although the statement did not say whether Mr. Munoz was with family members at the border,
or explain why he became combative, media outlets reported that he grew upset after learning
that his family would be split up.

A public report posted by the Texas attorney general says Mr. Munoz, 39, was booked into the jail
the night of May 12. He was "combative and noncompliant" and scuffled with a detention officer,
the report said, before being placed in a padded cell late that night.

Throughout the evening, officers checked on Mr. Munoz every 30 minutes, the report said, but
during the morning shift, different officers found Mr. Munoz dead on the floor.

The death was listed in the report as a suicide by self-strangulation and hanging. Law
enforcement officials reviewed video recordings of what happened in the cell overnight, the
report said.

"C.B.P. takes every loss of life very seriously and has initiated an internal review to ensure these
policies were followed:' the agency's statement said, referring to the agency's standards on
transport, escort, detention and search.


            Got a confidential news tip?
           Do you or does someone you know have information from inside immigration
           detention centers, such as photos, videos, or audio? If so, please contact us at
           tips@nytimes.com. If you prefer to share anonymously, please do so by visiting
           nytimes.com/tips.



Representatives from the Starr County Sheriff's Office did not return multiple calls and emails for
comment on Saturday. A person who picked up the phone there said staff members were not
available on weekends.

On May 7, days before Mr. Munoz was apprehended at the border, Attorney General Jeff Sessions
announced that the Trump administration would criminally prosecute everyone who illegally
crosses the Southwest border, in what he called a "zero tolerance" policy intended to deter new
migrants, mainly from Central American countries like Honduras.

The policy imposes potential criminal penalties on border-crossers who would have previously
faced mainly civil deportation proceedings - and in the process, forces the separation of families
crossing the border.

Many who have criticized the policy have focused on its effect on children who are separated
from their parents.

                                                                                              Exhibi!l.I(
                                                                                               000249
 Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4406 Page 238 of
                                       251
            Case 1:1s-cv-02<>"LF Document 1-2 Filed 09/26/l('lage 215 of 215
But Justin Tullius, a lawyer at the nonprofit Raices, which works w1m migrants in Texas, said
adults who are detained have also suffered.

"We've worked with parents who have shared suicidal thoughts and who have attempted to take
their own lives because of the experience of detention:' Mr. Tullius said. "We can't allow policies
that traumatize parents and children. Families must be allowed to go through the process of
seeking protection in the U.S. together, without unnecessary and harmful separation."


Miriam Jordan contributed reporting.




                                                                                      Exhibi'3.B.
                                                                                       000250
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4407 Page 239 of
                                      251
            case 1:18-cv-('1-PLF Document 1-3 Filed 0912(' Page 1of13




                         Exhibit B
                           to the Complaint




                                                                      Exhibit A
                                                                       000251
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4408 Page 240 of
                                     251




     JOSEPH H. HUNT                            Lee Gelernt*
 1
     Assistant Attorney General                 Judy Rabinovitz*
 2   SCOTT G. STEWART                          Anand Balakrishnan*
     Deputy Assistant Attorney General         AMERICAN CIVIL LIBERTIES
 3
     WILLIAM C. PEACHEY                        UNION FOUNDATION
 4   Director                                   125 Broad St., 18th Floor
     Office of Immigration Litigation          New York, NY 10004
 5
     WILLIAM C. SILVIS                          T: (212) 549-2660
 6   Assistant Director                        F: (212) 549-2654
     Office of Immigration Litigation           lgelernt@aclu.org
 7
     SARAHB. FABIAN                            jrabinovitz@aclu.org
 8   Senior Litigation Counsel                 abalakrishnan@aclu.org
 9   NICOLE MURLEY
     Trial Attorney                            Bardis Vakili (SBN 247783)
10   Office of Immigration Litigation          ACLU FOUNDATION OF
     U.S. Department of Justice                SAN DIEGO & IMPERIAL
11
     Box 868, Ben Franklin Station             COUNTIES
12   Washington, DC 20442                      P.O. Box 87131
     Telephone: (202) 532-4824                 San Diego, CA 92138-7131
13
     Fax: (202) 616-8962                       T: (619) 398-4485
14                                             F: (619) 232-0036
                                               bvakili@aclusandiego.org .
15 ADAM L. BRAVERMAN
     United States Attorney
16 SAMUEL W. BETTWY                            Stephen B. Kang (SBN 292280)
17 Assistant U.S. Attorney                     Spencer E. Amdur (SBN 320069)
     California Bar No. 94918                  AMERICAN CIVIL LIBERTIES
18 Office of the U.S. Attorney                 UNION FOUNDATION
19 880 Front Street, Room 6293                 39 Drumm Street
     San Diego, CA 92101-8893                  San Francisco, CA 94111
20 619-546-7125                                T: (415) 343-1198
21 619-546-7751 (fax)                          F: (415) 395-0950
                                               skang@aclu.org
22 Attorneys for Federal Respondents-          samdur@aclu.org
23 Defendants
                                               Attorneys for Petitioners-
24                                             Plaintiffs
25                                             *Admitted Pro Hae Vice

26
27
28
                                                                            Exhibit A
                                                                             000252
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4409 Page 241 of
                                     251




 1
                               UNITED STATES DISTRICT COURT
 2                           SOUTHERN DISTRICT OF CALIFORNIA
 3
          MS. L, et al.,                               Case No. 18cv428 DMS MDD
 4
                    Petitioners-Plaintiffs,
 5
                                                       NOTICE LODGING
 6         vs.                                         AGREEMENT FOR COURT'S
                                                       APPROVAL
 7
          U.S. IMMIGRATION AND
 8        CUSTOMS ENFORCEMENT, et
          al.,
 9
10                  Respondents-Defendants.
11
12
           On August 16, 2018, this Court granted the plaintiffs in MMM v. Sessions,
13
14 No. 18-1832, a temporary restraining order ("TRO") barring Defendants "from
15 removing [specified persons] from the United States, until the merits of Plaintiffs'
16
   motion for a preliminary injunction is resolved." Order, ECF No. 55 at 15 (Aug. 16,
17
18 2018). The Court directed the parties to consider "how they wish to proceed on the

19 issues of class certification and Plaintiffs' entitlement to asylum proceedings under
20
     §§ 235 or 240," and to "meet and confer and propose a solution-one which follows
21
22 the law, and is equitable and reflective of ordered governance." Id. at 16. On August

23 17, 2018, following the status conference in Ms. L., the Court issued a further order
24
   directing that "[t]he parties shall meet and confer on the issue of whether removed
25
26 parents have a right to be reunified with their children in the United States. They

27 shall also meet and confer on class certification in MMM, and whether the plaintiffs
28
                                              I                            18cv42&°~:!1M MDD
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4410 Page 242 of
                                     251




     in that case are entitled to pursue asylum requests under § 235 or § 240." Ms. L. v.
 1
 2 ICE, No. 18-428, Order,ECFNo. 196at1, (Aug. 17, 2018);seealsoMs. L. Hearing
 3
     Tr.11-22(Aug.17,2018).
 4
           In accordance with the Court's orders and directions, the parties met and
 5
 6 conferred, both on the issues directed by the Court and additional issues raised in
 7
     these and related cases. Those conferrals included counsel for the plaintiffs in
 8
     MMM, counsel for the plaintiffs in Ms. L, counsel for the plaintiffs in Dora v.
 9
10 Sessions, No. 18-1938 (D.D.C.), and counsel for the Defendants in each of those
11
     cases. The parties' efforts have produced the attached agreement, which reflects their
12
     agreed resolution of the issues identified by the Court as well as other matters.
13
14        The parties identified now respectfully request that the Court approve the
15
     attached agreement and lift the TRO/stay in MMM See MMM, ECF No. 55 at
16
17 15. The parties request that the Court add the agreement to the agenda for the next
18 status conference, at which point the parties and the Court can address any
19
     procedural steps that may be necessary prior to approval of the agreement.
20
21
22
23
24
25
26
27
28
                                               2                              18cv42S°~:!IM MDD
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4411 Page 243 of
                                     251




 1   ATED: September 12, 2018        Respectfully submitted,
 2                                   Isl Lee Gelemt
 3                                  Lee Gelernt*
                                    Judy Rabinovitz*
 4                                  Anand Balakrishnan*
 5                                  AMERICAN CIVIL LIBERTIES UNION
                                    FOUNDATION
 6                                   125 Broad St., 18th Floor
 7                                  New York, NY 10004
                                    T: (212) 549-2660
 8                                  F: (212) 549-2654
 9                                   lgelernt@aclu.org
                                    jrabinovitz@aclu.org
10                                  abalakrishnan@aclu.org
11
                                    Bardis Vakili (SBN 247783)
12                                  ACLU FOUNDATION OF SAN DIEGO
13                                  & IMPERIAL COUNTIES
                                    P.O. Box 87131
14                                  San Diego, CA 92138-7131
15                                  T: (619) 398-4485
                                    F: (619) 232-0036
16                                  bvakili@aclusandiego.org
17
                                    Stephen B. Kang (SBN 292280)
18                                  Spencer E. Amdur (SBN 320069)
19                                  AMERICAN CIVIL LIBERTIES UNION
                                    FOUNDATION
20                                  39 Drumm Street
21                                  San Francisco, CA 94111
                                    T: (415) 343-1198
22                                  F: (415) 395-0950
23                                  skang@aclu.org
                                    samdur@aclu.org
24
25                                   Attorneys for Petitioners-Plaintiffs
                                           *Admitted Pro Hae Vice
26
27                                         and
28
                                       3                               18cv42&°~:\IM MDD
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4412 Page 244 of
                                     251




                                     JOSEPH H. HUNT
 1                                   Assistant Attorney General
 2                                   SCOTT G. STEWART
                                     Deputy Assistant Attorney General
 3                                   WILLIAM C. PEACHEY
 4                                   Director
                                     WILLIAM C. SILVIS
 5                                   Assistant Director
 6
                                     Isl Sarah B. Fabian
 7                                   SARAH B. FABIAN
 8                                   Senior Litigation Counsel
                                     NICOLE MURLEY
 9                                   Trial Attorney
10                                   Office of Immigration Litigation
                                     Civil Division
11                                   U.S. Department of Justice
12                                   P.O. Box 868, Ben Franklin Station
                                     Washington, DC 20044
13                                   (202) 532-4824
14                                   (202) 616-8962 (facsimile)
                                     sarah.b.fabian@usdoj.gov
15
16                                   ADAM L. BRAVERMAN
                                     United States Attorney
17                                   SAMUEL W. BETTWY
18                                   Assistant U.S. Attorney
19                                   Attorneys for Respondents-Defendants
20
21
22
23
24
25
26
27
28
                                       4                            18cv428°~~ MDD
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4413 Page 245 of
                                     251




    Plan to address the asylum claims of class-member parents and children who are physically
                                    present in the United States

    The government is willing to agree to the following procedures for addressing the asylum claims
    of MMM agreed class members and the claims of Ms. L class members (and Dora plaintiffs),
    other than those class members who agree to waive these procedures (and thus to waive any further
    claims or relief). 1 (In this document, references to Ms. L class members encompass Dora
    plaintiffs.) Class counsel are responsible for determining a class member's intentions related to
    waiver of the procedures set forth below. Upon approval of this agreed-upon plan by the U.S.
    District Court for the Southern District of California, MMM agreed class members agree to
    dismiss their pending litigation in the U.S. District Court for the District of Columbia, and to
    refrain from seeking preliminary injunctive relief in their litigation pending in the U.S. District
    Court for the Southern District of California; Dora plaintiffs agree to dismiss their pending
    litigation in the U.S. District Court for the District of Columbia; and MMM agreed class members
    and Ms. L class members agree to refrain from additional litigation seeking immigration- or
    asylum-related injunctive, declaratory, or equitable relief that arises from the facts and
    circumstances set forth in the Ms. L, MMM, and Dora complaints relating to those parents and
    children covered by this plan, including statutory claims. This plan applies only to Ms. L class
    members and MMM agreed class members who have been continuously physically present in
    the United States since June 26, 2018, and does not set any precedent for any additional group of
    aliens, and any exercise of legal authority or discretion taken pursuant to this plan is exercised only
    to effectuate the implementation of this plan in relation to this group of individuals. The Court's
    approval of this agreement will resolve the pending preliminary-injunction motion in MMM and
    will also lift the TRO issued in that matter. The Court will retain jurisdiction to enforce the
    provisions of this plan, which represents the substantive terms for the implementation of a
    settlement agreement and supersedes the prior written or oral communications between the parties
    regarding this plan.
    1. a. Ms. L class members and MMM agreed class members who are not currently detained in
               DHS custody (and are not currently in HHS custody) and who have been issued Notices to
    1
        The classes of individuals to whom this plan relates include:
    Ms. L Class Members and Dora Plaintiffs: All adult alien parents who entered the United States at or between
    designated ports of entry with their child(ren), and who, on or before the effective date of this agreement: (1) were
    detained in immigration custody by the DHS; (2) have a child who was or is separated from them by DHS and, on or
    after June 26, 2018, was housed in ORR custody, ORR foster care, or DHS custody, absent a determination that the
    parent is unfit or presents a danger to the child; and (3) have been (and whose child(ren) have been) continuously
    physically present within the United States since June 26, 2018, whether in detention or released. The class does not
    include alien parents with criminal histories or a communicable disease, or those encountered in the interior of the
    United States.
    M.M.M. Agreed Class Members: All alien children who are under the age of 18 on the effective date of this
    agreement who: (!) entered the United States at or between designated ports of entry with an alien parent, and who
    were separated from their parents, on or before the effective date of this settlement agreement; (2) have been or will
    be reunified with that parent pursuant to the preliminary injunction issued by the Court in Ms. L v. U.S. Immigration
    and Customs Enforcement, No. 18-428 (S.D. Cal. June 26, 2018); and (3) have been continuously physically present
    in the United States since June 26, 2018.

    All references to a "class" or "class member" in this document refer to the classes described above, as well as alien
    parents who are not part of the Ms. L class due to criminal history or communicable disease, but who the Court has
    ordered must be reunified.



                                                                                                                  Exhibit A
                                                                                                                   000257
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4414 Page 246 of
                                     251




           Appear (NTAs) will not be removed by DHS prior to issuance of a final removal order in
           their resulting removal proceedings conducted under Section 240 of the Immigration and
           Nationality Act (INA). If a Ms. L class member or MMM agreed class member was
           released from DHS or ORR custody, is not currently in Section 240 removal proceedings,
           and is not subject to a final removal order, that individual can affirmatively apply for
           asylum before U.S. Citizenship and Immigration Services (USCIS), USCIS will adjudicate
           such an application regardless of whether an untiled NTA exists, and USCIS will follow
           its established procedures concerning a parent's involvement in his or her minor child's
           asylum application process. If an MMM agreed class member (whether currently detained
           or released) received a final removal order in Section 240 removal proceedings prior to
           reunification, DHS and HHS will work in good faith with MMM counsel to identify such
           children within 15 days of approval of this agreement, and DHS will join in a motion to
           reopen those proceedings if requested by the MMM agreed class member no later than
           45 days from approval of this agreement. MMM agreed class members who have not
           been reunified with their parent(s) as of the effective date of this agreement will be afforded
           existing procedures for unaccompanied alien children pursuant to governing statutes and
           regulations, including but not limited to Section 240 removal proceedings, unless and until
           they are reunified with a parent, in which case the procedures described below will apply.
       b. If a detained, reunited MMM agreed class member child has been served with an NTA,
          but the NTA has not been filed with an immigration court, DHS will exercise its discretion
          under 8 C.F.R. § 239.2(a) to cancel the NTA within 15 days of the Court's approval of this
          agreement. For such a child who either had an NTA cancelled in this way, or who has never
          been served with an NTA, if the child is an arriving alien or was initially encountered by
          DHS within 14 days of entry and 100 miles of the border, ICE will then initiate expedited
          removal (ER) proceedings under Section 235 of the INA against the child. Where such a
          class member child asserts, or has already asserted, an intention to apply for asylum or a
          fear of persecution or torture, either directly or through counsel, they shall be referred to
          users for a credible fear determination.
       c. If a detained, reunited MMM agreed class member child has been issued an NTA that has
          been filed with an immigration court and the child is an arriving alien or was initially
          encountered by DHS within 14 days of entry and 100 miles of the border, DHS will file a
          motion to dismiss the pending Section 240 proceeding, seeking to do so jointly with the
          child's immigration attorney of record, as practicable. Such a motion shall be filed within
          30 days of the Comi's approval of this agreement and shall request expedited consideration
          by the immigration court. Upon dismissal of the Section 240 proceeding, ICE will initiate
          expedited removal proceedings under Section 235 of the INA against the child. Where such
          a class member child asserts, or has already asserted, an intention to apply for asylum or a
          fear of persecution or torture, either directly or through counsel, they shall be referred to
          users for a credible fear determination.
       d. For Ms. L class members who have not been issued an NTA and have final ER orders that
          have not been cancelled by DHS, USCIS will exercise its discretionary authority to sua
          sponte conduct in good faith a de novo review of the credible fear finding of the parent to
          determine if reconsideration of the negative determination is warranted. During that review
          process for Ms. L class members, USC IS will review the parent's case and the information
          provided and determine whether the individual has a credible fear of persecution or torture.

                                                     2

                                                                                                  Exhibit A
                                                                                                   000258
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4415 Page 247 of
                                     251




            For the limited purpose of this settlement agreement, USCIS will speak with the individual
            again for additional fact-gathering and the individual may present new or additional
            information at this time, with the assistance of the individual's counsel in-person unless
            ICE determines in good faith that in-person participation would adversely impact facility
            security or operations due to facility staffing, configuration, or access policies, in which
            case counsel will be permitted to participate telephonically, provided that counsel's
            attendance is at no expense to the government and does not unreasonably delay the process.
            In determining whether any factual inconsistencies between the original interview and the
            subsequent fact-gathering impact the credibility of the parent, due consideration will be
            given to the psychological state of the parent at the time of the initial interview. If the parent
            establishes that he or she can meet the credible fear standard, as it is described at Section
            235(b)(l)(B)(v) of the INA and 8 C.F.R. § 208.30(e)(2) and (3), then DHS will issue and
            subsequently file an NTA. The children will be treated as the parent's dependents under 8
            C.F.R. § 208.30(b). If the parent's credible fear determination remains negative, USCIS
            will screen the child individually for credible fear. The parent will be permitted to
            participate in the child(ren)'s credible fear interview and provide testimony on behalf of
            the child(ren), in addition to any testimony from the child(ren). Counsel for the child will
            be permitted to attend the interview in person unless ICE determines in good faith that in-
            person participation would adversely impact facility security or operations due to facility
            staffing, configuration, or access policies, in which case counsel will be permitted to
            participate telephonically, so long as it does not unreasonably delay the process and any
            attorney assistance is at no expense to the government.
        e. For Ms. L class members who are currently detained 2 with their MMM agreed class
           member child(ren) at an ICE FRC and are subject to reinstated orders ofremoval, ICE will
           initiate ER proceedings under Section 235 against the minor child(ren), upon a
           dete1mination that the child was initially encountered within 14 days of entry and 100 miles
           of the border. During those proceedings, the child(ren) will be referred for a credible fear
           determination if the child(ren) asserts, or has already asserted, a fear of return, either directly
           or through counsel. The credible fear claim will then be considered under the standards of
           8 C.F .R. § 208.30, as described above. USCIS will conduct the credible fear interview of
           the child(ren) in coordination with a sua sponte review of the reasonable fear determination
           for the parents to determine whether reconsideration of the negative reasonable fear
           determination is warranted.
            USC IS will review the parent's case and the information provided and determine whether
            the individual has a reasonable fear of persecution or torture. For the limited purpose of
            this settlement agreement, USCIS will speak with the individual again for additional fact-
            gathering and the individual may present new or additional information at this time, with
            the assistance of the individual's counsel in-person unless ICE determines in good faith
            that in-person participation is impracticable or would adversely impact facility security or
            operations due to facility staffing, configuration, or access policies, in which case counsel
            will be permitted to participate telephonically, provided that counsel's attendance is at no
            expense to the government and does not unreasonably delay the process. In determining
            whether any factual inconsistencies between the original interview and the subsequent fact-

    2
     This agreement does not impact the ability of Ms. L class members with reinstated orders of removal who are not
    detained to pursue any available appeal of such an order under existing law and subject to statutory time periods.

                                                            3

                                                                                                              Exhibit A
                                                                                                               000259
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4416 Page 248 of
                                     251




              gathering impact the credibility of the parent, due consideration will be given to the
              psychological state of the parent at the time of the initial interview. If the parent establishes
              that he or she can meet the reasonable fear standard, as it is described at 8 C.F .R.
              § 208.3l(c), then DHS will place the parent in withholding-only proceedings. The parent
              will be permitted to participate in the child(ren)'s credible fear interview and provide
              testimony on behalf of the child(ren), in addition to any testimony from the child(ren).
              Counsel for the child will be permitted to attend the interview in person unless ICE
              determines in good faith that in-person participation is impracticable or would adversely
              impact facility security or operations due to facility staffing, configuration, or access, in
              which case counsel will be permitted to participate telephonically, so long as it does not
              unreasonably delay the process and any attorney assistance is at no expense to the
              government.
         f.   If the parent's credible fear or reasonable fear finding remains negative upon review,
              users will notify the parent in writing that users declines to reconsider the existing
              negative credible fear or reasonable fear determination. If the child receives a separate
              negative credible fear determination, the child may seek review by an immigration judge.
         g. For purposes of the reviews and interviews of detained parents and/or children described
            in this proposal, the government shall provide the parent and/or child with the orientation
            that is normally provided for credible fear interviews, and shall provide at least 5 days'
            notice of such orientation. Notice of the orientation shall be provided no later than 3 days
            following the parent and/or child's execution of a document reflecting his or her decision
            pursuant to paragraph 8 of this agreement, and the notice shall state the purpose of the
            notice (orientation for an interview or review) and the date, time, and location of the
            orientation. Such reviews and interviews will be conducted at least 48 hours after the
            orientation, with due consideration given to any reasonable requests to continue the
            interview. The notice and time periods described in this paragraph will not apply if a parent
            affirmatively requests, in writing, that the review or interview take place on an expedited
            basis.
    2.        In the case of a parent and child(ren) both in ER proceedings under the process described
              above, if either the parent or the child establishes a credible fear of persecution or torture,
              USCIS will issue NTAs to both parent and child and place the family in Section 240 removal
              proceedings. See 8 C.F.R. §§ 208.30(f) (positive credible fear finding made by USCIS),
              1208.30(g)(2)(iv)(B) (positive credible fear finding made by immigration judge).
    3.        In the case of a parent and child(ren) both in ER proceedings under the process described
              above, if none of the family members establish credible fear of persecution or torture (and
              in the case of a child who seeks review of the credible fear finding by an immigration judge,
              such finding is upheld by an immigration judge), the ER orders may immediately be
              executed.
    4.        In the case of a parent who is subject to a reinstated order of removal, if the child(ren)
              establishes credible fear and the parent does not establish a reasonable fear, the child(ren)
              would be placed in Section 240 removal proceedings and the parent would at that time be
              subject to continued detention or release, in DHS's discretion, consistent with paragraph 7
              below. DHS will not remove a Ms. L class member who received a negative reasonable
              fear finding while his or her MMM agreed class member child goes through the credible


                                                         4

                                                                                                       Exhibit A
                                                                                                        000260
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4417 Page 249 of
                                     251




             fear process and, if applicable, Section 240 removal proceedings. Plaintiffs concede,
             however, that removal of any Ms. L class member with a reinstated removal order under
             this agreement is significantly likely to occur in the reasonably foreseeable future and that,
             if a parent initiates legal proceedings challenging their continued detention, DHS may
             immediately proceed with that Ms. L class member's removal, regardless of any injunctive
             orders issued in Ms.Land MMM, provided that DHS gives the parent at least 7 days'
             advance notice to the parent that he or she will be removed.
    5.       In the case of a parent who is subject to a reinstated order of removal, if the child(ren)
             establish credible fear and the parent establishes a reasonable fear, the child(ren) would be
             issued NTAs and placed in Section 240 removal proceedings, and the parent would be
             referred for withholding-only proceedings pursuant to 8 C.F.R. §§ 1208.2(c)(2) and
             1208.31(e).
    6.      If a Ms. L. class member who is currently detained 3 in an ICE FRC with his or her MMM
            agreed class member child is subject to a final removal order issued in proceedings conducted
            under Section 240 (other than a reinstated order) and the child is an arriving alien or was
            initially encountered by DHS within 14 days of entry and 100 miles of the border, ICE would
            initiate ER proceedings under Section 235 against the child within 7 days of the Court's
            approval of this agreement, and refer the child for a credible fear interview. While the final
            order parent would not be a party to the child's credible fear adjudication, the parent would
            be available to consult with and assist the child in the course of that process. The parent
            would be permitted to participate in the child(ren)'s credible fear interview and provide
            testimony on behalf of the child(ren), in addition to any testimony from the child(ren).
            Counsel for the child will be permitted to attend the interview in person, so long as it does
            not unreasonably delay the process and any attorney assistance is at no expense to the
            government, and the timing of the interview will be in accordance with Paragraph 1.g.
            above. If the child establishes a credible fear of persecution or torture, USCIS will place
            the child in Section 240 removal proceedings, and ICE will move for reopening of the
            parent's prior removal proceedings and consolidation of the parent's case with the child's
            before the immigration court. If the child does not establish credible fear of persecution or
            torture, the removal orders may immediately be executed.
    7.      Detention and custody decisions for aliens covered by this plan will be made consistent
            with DHS's authorities under Sections 235, 236, and 241, and the Order Granting Joint
            Motion Regarding Scope Of The Court's Preliminary Injunction in Ms. L. v. ICE, No. 18-
            428 (S.D. Cal.) (Aug. 16, 2018) (ECF 192) (recognizing that class members may be
            required to choose whether to waive their own right not to be separated from their minor
            child(ren) or to waive their child(ren)'s right under the Flores Settlement Agreement to be
            released, including the rights with regard to placement in the least restrictive setting
            appropriate to the minor's age and special needs, and the right to release or placement in a
            "licensed program.").
    8.      Ms. L counsel, MMM counsel, or Dora counsel may identify class members who wish to
            waive the procedures described herein and be promptly removed to their country of origin.

    3 This agreement does not impact the ability of Ms. L class members with final removal orders issued in Section 240

    removal proceedings, other than a reinstated order of removal, and who are not detained, to pursue individual appeals
    of such orders under existing law and subject to statutory time periods for challenging any such order.

                                                             5

                                                                                                                 Exhibit A
                                                                                                                  000261
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4418 Page 250 of
                                     251




             Ms. L counsel, MMM counsel, and Dora counsel will promptly develop a process for
             obtaining and documenting such a choice through a knowing and voluntary waiver.
             Defendants will not engage with class members on such matters, but will seek to effectuate
             such waiver decisions when communicated and documented by Ms. L counsel, MMM
             counsel, or Dora counsel. Class members may either pursue the relief described in this
             agreement or elect prompt removal, but may not pursue any other immigration- or asylum-
             related injunctive, declaratory, or equitable relief based on the allegations or claims made
             in any of the Ms. L, MMM, or Dora complaints filed in any court accruing as of the date
             this plan is approved by the Court, including statutory claims. This agreement does not
             affect the right of Ms. L class members to seek reunification under the June 26, 2018
             preliminary injunction in Ms. L.

                             The return of removed parents to the United States 4

    The government does not intend to, nor does it agree to, return any removed parent to the United
    States or to facilitate any return of such removed parents. The classes agree not to pursue any right
    or claim of removed parents to return to the United States other than as specifically set forth in this
    paragraph. Plaintiffs' counsel may raise with the government individual cases in which plaintiffs'
    counsel believes the return of a particular removed Ms. L class member may be warranted.
    Plaintiffs' counsel represent that they believe that such individual cases will be rare and unusual
    and that they have no basis for believing that such individual cases will be other than rare and
    unusual. Plaintiffs' counsel agree to present any such cases, including all evidence they would like
    considered by the government within 30 days of the approval of this agreement. In light of
    plaintiffs' counsel's representation that such cases will be rare and unusual, Defendants agree to
    provide a reply to any case presented by Plaintiffs within 30 days of receiving Plaintiffs' request
    to consider the case. Except as specifically set forth herein, the classes agree that existing law,
    existing procedures, and the Court-approved reunification plan address all interests that such
    parents or their children may have.

    With respect to MMM agreed class members who seek asylum and who have removed parents,
    the government agrees not to oppose requests that the removed parent provide testimony or
    evidence telephonically or in writing in the child's asylum or removal proceedings and that ICE
    attorneys appearing in immigration court (I) will not object to the admission of documentary
    evidence (such as photocopied, scanned, or faxed documents) provided by the removed parent on
    the grounds that such documentary evidence does not bear an original signature or is not an original
    copy (ICE reserves the right to object based on other grounds), and (2) will not object to telephonic
    participation by the parent in the MMM agreed class member's Section 240 removal proceedings
    provided that the alien (and his or her legal representative, if applicable) make appropriate motions
    to the immigration judge to permit telephonic testimony in advance of any merits hearing, that the
    alien is responsible for providing accurate contact information to permit the immigration judge to
    make contact with the parent, and that the parent's unavailability and faulty connections or other
    technological impediments may not serve as the basis for delaying scheduled hearings. Class


    4 For this section of this agreement, the classes are the same as in footnote 1 above except that the requirements of

    continuous physical presence in the United States do not apply to this section of the agreement, since this section
    addresses removed parents.

                                                             6

                                                                                                                Exhibit A·
                                                                                                                  000262
Case 3:18-cv-00428-DMS-AHG Document 282-1 Filed 10/15/18 PageID.4419 Page 251 of
                                     251




    members, however, recognize that ICE has no control over the technology or logistics of the
    Executive Office for Immigration Review.




                                                 7

                                                                                         Exhibit A
                                                                                          000263
